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                            No. 22-1386

      United States Court of Appeals
          for the Federal Circuit
                            ROKU, INC.,
                                           Appellant,
                                 v.
            INTERNATIONAL TRADE COMMISSION,
                                  Appellee,
                          and
                UNIVERSAL ELECTRONICS, INC.
                                   Intervenor.

   Appeal from the United States International Trade Commission in
                   Investigation No. 337-TA-1200.

    NONCONFIDENTIAL OPENING BRIEF OF APPELLANT

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                                      Counsel for Roku, Inc.
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                                       CLAIMS*

1. A first media device, comprising:
      [a] a processing device;
      [b] a high-definition multimedia interface communications port, coupled to
         the processing device, for communicatively connecting the first media
         device to a second media device;
      [c] a transmitter, coupled to the processing device, for communicatively
          coupling the first media device to a remote control device; and
      [d] a memory device, coupled to the processing device, having stored
         thereon processor executable instruction;
      [e] wherein the instructions, when executed by the processing device,
         [i] cause the first media device to be configured to transmit a first
             command directly to the second media device, via use of the high-
             definition multimedia communications port, to control an operational
             function of the second media device when a first data provided to the
             first media device indicates that the second media device will be
             responsive to the first command, and
         [ii] cause the first media device to be configured to transmit a second
             data to a remote control device, via use of the transmitter, for use in
             configuring the remote control device to transmit a second command
             directly to the second media device, via use of a communicative
             connection between the remote control device and the second media
             device, to control the operational function of the second media device
             when the first data provided to the first media device indicates that the
             second media device will be unresponsive to the first command.
3. The first media device as recited in claim 1, wherein the second media device
comprises a media sink device for the first media device acting as a media source
device and wherein the first media device transmits media data to the media sink
device via use of the high-definition multimedia interface communications port.
11. The first media device as recited in claim 1, wherein the transmitter comprises
a radio frequency (RF) transmitter.


*
 Appellant has added annotations to each limitation of claim 1 that align with those
used by the Commission. Appx12-13.
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13. The first media device as recited in claim 1, wherein the first data provided to
the first media device comprises data indicative of a success status of a test
command that was transmitted to the second media device.
14. The first media device as recited in claim 13, wherein the test command is
transmitted to the second media device by the first media device via use of the
high-definition multimedia interface communications port.
15. The first media device as recited in claim 13, wherein the test command
comprises a command transmitted to test a volume functional operation of the
second media device.
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                 Case: 22-1386              Document: 21            Page: 6            Filed: 06/15/2022



FORM 9. Certificate of Interest                                                                                      Form 9 (p. 3)
                                                                                                                        July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

 •          None/Not Applicable                             •
                                                            ✔        Additional pages attached

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Evi S. Li, Dickinson Wright PLLC Caleb Green, Dickinson Wright PLLC


               Rebecca A. Tie,                          Chad E. Eimers,                             Mark H. Rogge,
            Dickinson Wright PLLC                    Dickinson Wright PLLC                      Dickinson Wright PLLC




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).

 •          None/Not Applicable                             •        Additional pages attached
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 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).

 •✔         None/Not Applicable                             •        Additional pages attached
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                   Certificate of Interest - Additional Page

4. Legal Representatives, continued:

Kenneth J. Dyer,
Dickinson Wright PLLC
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                               CONFIDENTIAL MATERIAL OMITTED

The material omitted in the footnote on page 41 indicates the licensing fee of
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                      TABLE OF ABBREVIATIONS

      Abbreviation                               Meaning
’196 patent               U.S. Patent No. 10,593,196 [Appx648-674]
                          Final Initial Determination (July 9, 2021) [Appx47-
FID
                          586]
Opinion                   Commission Opinion (Nov. 10, 2021) [Appx1-46]
                          Commission Opinion on Standing (Mar. 3, 2021)
Standing Opinion
                          [Appx26168-26190]
                          Confidentiality & Invention Ownership Agreement
2004 Barnett Agreement
                          between UEI and Mr. Brian Barnett [Appx50123]
Roku                      Roku, Inc.
UEI                       Universal Electronics, Inc.
Commission                U.S. International Trade Commission
ALJ                       Administrative Law Judge
Section 337               19 U.S.C. § 1337
Subsection (B)            19 U.S.C. § 1337(a)(3)(B)
Subsection (C)            19 U.S.C. § 1337(a)(3)(C)
HDMI                      High-Definition Multimedia Interface
POSA                      Person of Ordinary Skill in the Art
                          U.S. Pub. Patent Appl. No. 2012/0249890
Chardon
                          [Appx46450-46470]
                          U.S. Pub. Patent Appl. No. 2001/0005197
Mishra
                          [Appx50100-50112]




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          STATEMENT WITH RESPECT TO ORAL ARGUMENT

      Pursuant to Federal Rule of Appellate Procedure 34(a), Appellant Roku, Inc.

(“Roku”) respectfully requests oral argument in this matter. This matter meets the

standards of Rule 34(a)(2) for oral argument, and Roku believes that oral argument

would significantly aid the Court’s decisional process.




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                      STATEMENT OF RELATED CASES

      Pursuant to Fed. Cir. R. 47.5, Appellant states that under subsection (a), an

appeal in or from the same proceeding in the lower tribunal was previously pending

before this appellate Court: Universal Electronics, Inc. v. ITC, Case No. 2022-1352.

This Court granted Universal Electronics, Inc.’s (“UEI”) unopposed motion to

voluntarily dismiss that appeal on February 16, 2022. Universal Electronics, Inc. v.

ITC, Case No. 2022-1352, ECF No. 18 (Feb. 16, 2022).

      One matter currently pending before the United States District Court for the

Central District of California, Universal Electronics, Inc. v. Roku, Inc., No. 8:20-cv-

00701, may be directly affected by this Court’s decision in the pending appeal. That

case is currently stayed.

      Additionally, there is an ex parte reexamination proceeding, In re reexam of

U.S. Patent No. 10,593,196 to Arling, Reexam Control No. 90/019,073, currently

pending before the U.S. Patent and Trademark Office that may be directly affected

by this Court’s decision in the pending appeal.




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                      STATEMENT OF JURISDICTION

      This is an appeal brought under 19 U.S.C. § 1337(c) from a final

determination of the U.S. International Trade Commission with respect to

Investigation No. 337-TA-1200.     This Court has jurisdiction under 19 U.S.C.

§ 1337(c) and 28 U.S.C. § 1295(a)(6). On November 10, 2021, the Commission

issued its Opinion, Limited Exclusion Order, Cease and Desist Order, and

Termination of Investigation No. 337-TA-1200. The period for presidential review

expired on January 10, 2022. Appellant filed this appeal on January 19, 2022.




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                         STATEMENT OF THE ISSUES 1

        1. Whether the Commission erred in finding that UEI has standing to assert

the ’196 patent.

        2. Whether a domestic industry analysis under Section 337(a)(3)(C) requires

a complainant to (a) allocate its expenditures to “articles protected by the patent,”

and (b) offer evidence of the “substantiality” of its expenditures “with respect to the

articles protected by the patent.”

        3. Whether the Commission erred in determining that the asserted claims of

the ’196 patent are not invalid for obviousness.

                             STATEMENT OF THE CASE

        A.     Introduction

        This appeal arises from a Section 337 investigation UEI requested on April

16, 2020. UEI alleged that Roku and certain television manufacturers violated

Section 337 by importing televisions, set top boxes, remote control devices,

streaming devices, and soundbars that infringe UEI’s patents.

        B.     The Parties

        Roku, Inc. is a corporation organized under the laws of Delaware that

pioneered streaming to the TV, and is the leading TV streaming platform in the

United States by hours streamed. Central to Roku’s platform is the Roku operating



1
    All emphasis and annotations added unless otherwise noted.
                                          2
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system (“Roku OS”) that is designed to run on a variety of electronic devices. Roku

OS also powers Roku TV models that are manufactured and sold by Roku’s TV

brand partners who license the Roku OS and leverage Roku’s smart TV hardware

reference designs. Roku TV models and Roku streaming players enable consumers

to access a wide selection of content by connecting their Roku device to Roku’s

streaming platform via a home broadband network.

      The patent owner and complainant below, UEI, is based in Scottsdale,

Arizona. Relevant to this appeal, UEI developed and sells QuickSet, which is a

software platform related to universal remote control technology.

      C.     The Proceedings Below

      In the underlying investigation, UEI’s complaint alleged that Roku and

Roku’s TV brand partners collectively infringed six UEI patents, including the ’196

patent. UEI withdrew its allegations as to three of the patents in advance of the April

2021 evidentiary hearing—including the allegations against Roku’s TV brand

partners, leaving Roku as the only remaining respondent in the investigation. After

the hearing, the ALJ issued a FID finding the asserted claims of U.S. Patent Nos.

7,589,642 and 10,600,317 (the “’642 and ’317 patents”) invalid, which the

Commission did not review (and therefore became final). The ALJ further found

that Roku violated Section 337 with respect to the ’196 patent, a determination the

Commission subsequently affirmed. Both UEI and Roku sought appeals to this


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Court. After Roku moved to dismiss UEI’s appeal of the invalidity findings on the

’642 and ’317 patents as untimely, UEI voluntarily dismissed its appeal. Thus, only

the ’196 patent remains at issue.

      The ’196 patent is a utility patent directed to “methods for appliance control

via use of . . . a remote control,” and is entitled “System and Method for Optimized

Appliance Control.” Appx649, Appx666 (1:66-2:6). With respect to the ’196

patent, the ALJ found (1) that certain Roku products 2 infringe claims 1, 3, 11, 13-15

of the ’196 patent; (2) UEI satisfied the domestic industry requirement with respect

to the ’196 patent under subsections (B) and (C); (3) that UEI has standing to assert

the ’196 patent; and (4) that, while Roku presented a prima facie case of

obviousness, the infringed claims were valid in view of purported evidence of

objective indicia of non-obviousness. Appx191.

      Roku and UEI both petitioned for review of the FID, and on September 9,

2021, the Commission determined to “review all issues relating to the ’196 patent”

and requested additional briefing on questions related to validity and domestic

industry. Appx27643-27644. On November 10, the Commission issued its Final

Determination Finding a Violation of Section 337; its Opinion; a Limited Exclusion

Order; and a Cease and Desist Order. Appx3. The Commission affirmed the ALJ’s


2
 The ALJ found that certain revised Roku products do not infringe the ’196 patent,
and the Commission affirmed this finding. Appx16 (n.7). The revised products are
not at issue in this appeal.
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determination that Roku violated Section 337 with respect to the ’196 patent by

importing certain products. Id. The Commission issued a limited exclusion order

and cease and desist order, but found that no bond was required. Id.

      Relevant to this appeal, the Commission found that UEI has standing to assert

the ’196 patent. Appx10 (adopting the ALJ’s findings as to standing). Further, the

Commission affirmed the ALJ’s finding that UEI satisfied the economic prong of

the domestic industry requirement based on UEI’s expenditures related to software

ultimately used by the actual articles—Samsung televisions—found to practice the

’196 patent. Appx36-37. However, the Commission found that UEI satisfied the

domestic industry requirement under only subsection (C)—it “took no position” on

the ALJ’s finding that UEI satisfied the domestic industry requirement under

subsection (B). 3 Id. Finally, the Commission also reversed the ALJ’s finding that

Roku presented a prima facie case of obviousness, and further found that even if

Roku had done so, UEI presented sufficient evidence of secondary considerations to

render the challenged claims non-obvious. 4 Appx29-31.



3
  When the Commission takes “no position” on an issue, the Commission essentially
vacates the ALJ’s finding, and the issue is not appealable to this Court. See Beloit
Corp. v. Valmet Oy, 742 F.2d 1421, 1422-23 (Fed. Cir. 1984).
4
  The Commission found a violation with respect to claims 1, 3, 11, and 13-15, but
its finding of non-obviousness rested solely on its analysis of claim 1—the only
independent claim at issue. Appx29-31. The Commission did not disturb the ALJ’s
findings that the prior art references at issue would have rendered dependent claims
3, 11, and 13-15 obvious but for the findings with respect to claim 1. Appx21,
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      On January 19, 2022, Roku filed its petition for review and appeal. This

appeal focuses on the Commission’s erroneous findings that (1) UEI has standing to

assert the ’196 patent; (2) UEI satisfied the economic prong of the domestic industry

requirement; and (3) the asserted claims of the ’196 patent are not invalid.

      D.     UEI’s Correction of Inventorship and Post-Complaint
             Assignment of the ’196 Patent

      Mr. Barnett is a UEI employee and named inventor of the ’196 patent.

Appx50123; Appx676. However, Mr. Barnett was not originally named as an

inventor. Appx649. In September 2020—five months after UEI filed the complaint

in this Investigation—UEI filed a petition for correction of inventorship to name Mr.

Barnett as an inventor of the patent. Appx50113-50122. Contemporaneous with the

petition for correction, Mr. Barnett executed an assignment transferring his rights in

the ’196 patent to UEI. Appx21594-21601.

      Once the Patent Office corrected the inventorship, Roku filed a motion for

summary determination, arguing that UEI lacks standing to assert the ’196 patent

because, at the time UEI filed the complaint and for months thereafter, Mr. Barnett

had not yet assigned his rights in the ’196 patent to UEI and accordingly UEI lacked

all substantial rights in the ’196 patent. Appx21499-21526. UEI opposed the motion

on two grounds. Appx23303-23329. The first ground was that Mr. Barnett allegedly



Appx31; Appx171-173 (“The additional features of the various dependent claims
are all disclosed in either Chardon or Mishra.”).
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conveyed his rights to the ’196 patent through an agreement that Mr. Barnett had

signed in 2004—i.e., the 2004 Barnett Agreement. 5 Appx23316-23320. The second

ground was that Mr. Barnett allegedly conveyed his rights through his prior

assignment of certain rights in three related patent applications, of which the ’196

patent is a continuation-in-part. Appx23320-23326.

      The ALJ granted summary determination, finding UEI lacks standing to assert

the ’196 patent. Appx25576. For UEI’s first ground, the ALJ found that the 2004

Barnett Agreement contained a “mere promise to assign rights in the future, not an

immediate transfer of expectant interests” and therefore “did not automatically

assign Mr. Barnett’s rights to the 196 Patent to UEI.” Appx25572 (citing Omni

Medsci, Inc. v. Apple Inc., No. 19-cv-05924, 2019 WL 9834334 (N.D. Cal. Nov. 25,

2019); Arachnid, Inc. v. Merit Indus., 939 F.2d 1574, 1581 (Fed. Cir. 1991)). For

UEI’s second ground, the ALJ found that “[b]ecause the 196 Patent derived from a

continuation-in-part application, and because the previous executed assignments

were only for ‘divisions and continuations,’ the three previous assignments do not

give UEI ownership of the 196 Patent.”          Appx25574 (quoting Appx21892,

Appx21964, Appx21990).




5
 The ’196 patent has an alleged date of invention after the date of the 2004 Barnett
Agreement. Appx649-650 (claiming priority to a provisional application filed
October 28, 2011).
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      UEI petitioned the Commission to review the standing issue, and the

Commission reversed, basing its entire analysis on UEI’s second ground. The

Commission found that Roku did not carry its burden to show that it was “entitled

to summary determination as a matter of law” that UEI lacked standing. Appx26168.

The Commission did not analyze UEI’s first ground for standing—whether the 2004

Barnett Agreement transferred Mr. Barnett’s rights to UEI. Appx26180 (“Because

the issue is moot in light of the 2012 Barnett Assignments, the Commission takes no

position on the dispute as to the 2004 Barnett Agreement.”).

      The parties proceeded to the evidentiary hearing on the ’196 patent. UEI

moved in limine to preclude Roku from arguing that Mr. Barnett’s assignments

failed to convey the ’196 patent to UEI before UEI filed the present complaint,

contending that the standing issue was “decided against Roku as a matter of law by

the Commission and is no longer subject to argument.” Appx28158-28159. The

ALJ denied the motion, explaining that “the only issue actually decided by the

Commission is that Roku did not meet its burden on summary determination.”

Appx28160. The ALJ also found that the Commission Opinion “did not find as a

matter of law that Mr. Barnett’s assignments conveyed his rights to the 196 Patent

to UEI and did not find that UEI has standing to assert the 196 Patent.” Appx28159.

      At the hearing, Mr. Barnett testified regarding his purported understanding of

the 2004 Barnett Agreement—specifically, that UEI would immediately own

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inventions he conceived while an employee at UEI. Appx40008 (30:21-24). He

also testified that “it was always my understanding that I had no ownership of the

[’196] patent from my start of employment.” Appx400019 (74:1-5). In the FID, the

ALJ relied on this testimony and stated that “Roku did not present evidence to the

contrary, or indeed, any new evidence at all.” Appx141. The ALJ found—based

only on the Barnett 2004 Agreement and Barnett’s testimony relating thereto—that

UEI has standing to assert the ’196 patent. Id. The ALJ did not make any factual

findings for UEI’s second ground, regarding the assignments in the priority

applications.     Appx139-141.    Roku petitioned the Commission to review the

standing issue, but the Commission affirmed the ALJ’s decision on standing without

analysis. Appx10 (“The Commission adopts the ID’s findings as to the ’196 patent

not addressed below, including the ID’s finding that UEI has standing to assert the

                          -141).”).   Consequently, in the Commission’s Final

Determination, the only basis for the Commission’s finding of standing is the 2004

Barnett Agreement, and that basis is the subject of this appeal.

      E.        QuickSet and The Domestic Industry Products

      To satisfy the Commission’s domestic industry requirement, UEI relied on its

QuickSet software, which enables control of various types of devices throughout the

home. Appx8. But because QuickSet alone does not practice all of the claim

limitations of the ’196 patent, UEI did not and could rely upon QuickSet as an


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“article protected by” the ’196 patent. 19 U.S.C. § 1337(a)(3). Instead, UEI claimed

that the articles “protected by” the ’196 patent were certain televisions made by a

third party, Samsung. Appx8.

      But to show “significant” or “substantial” domestic investments in a protected

article—also called the “economic prong” of the domestic industry requirement—

UEI did not rely upon expenditures directly related to the Samsung televisions.

Instead, UEI relied solely upon its own expenditures related to: (1) the QuickSet

software development kit (“QuickSet SDK”) that is ultimately supplied to Samsung,

as well as other customers not at issue here; (2) UEI’s cloud-based QuickSet service

(“QuickSet Cloud”); (3) UEI’s efforts to implement QuickSet software on the

Samsung televisions; and (4) the number of UEI employees that purportedly work

on the QuickSet software as a whole. Appx42000-42005; Appx40065 (258:24-

259:15); Appx187-190. For subsection (B)—labor and capital investments—UEI

attempted to allocate its expenditures to the Samsung televisions. Appx183-184.

On the other hand, for subsection (C)—engineering and research and development—

UEI did not allocate any expenditures to the Samsung televisions, asserting that

“there is no need to allocate the engineering and R&D investments [under subsection

(C)] in the QuickSet Platform to the Samsung DI Products (e.g. Samsung TVs).”

Appx26880; Appx187-188.




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      In his Initial Determination, the ALJ found that UEI satisfied the economic

prong of the domestic industry requirement for the ’196 patent through both

subsections (B) and (C). Appx183-190. Roku petitioned the Commission to review

both of these findings. Appx27368-27369. The Commission “determined to review

all issues relating to the ’196 patent,” including the ALJ’s domestic industry

findings. Appx27643. On review, the Commission took no position on whether

UEI satisfied the economic prong under subsection (B), and it “determined not to

review and thus adopted the ID’s findings that UEI satisfied the economic prong of

the domestic industry requirement with respect to [the ’196 patent] under Section

337(a)(3)(C).”   Appx36-37.      Accordingly, the only domestic industry issue

supporting the Commission’s finding of a violation of Section 337 (and thus the only

domestic industry issue on appeal) is whether UEI satisfied subsection (C). See

Beloit Corp., 742 F.2d at 1422-23.

      F.    The Technology of the ’196 Patent

      The ’196 patent is directed to improving the remote control of consumer

electronics devices in a home entertainment system. Appx649, Appx666 (1:41-53,

1:66-2:6). In particular, it is concerned with enabling a remote control to reliably

control such devices given the proliferation of devices using different

communication protocols. Appx666 (1:41-62). The ’196 patent uses software—

dubbed a “Universal Control Engine (UCE)”—to identify the appropriate


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communication protocol for controlling each device. Appx649, Appx666 (2:2-45);

Appx10 (citing Appx653 (Fig. 2), Appx667-668 (4:39-44, 6:62-7:4)).

      Each claim of the ’196 patent depends from claim 1. In short, claim 1 recites

that if “first data” indicates that the second media device will be responsive to a

command to control a functional operation sent via HDMI, 6 then the first media

device will send the command directly to the second media device via its HDMI

port. Appx674 (cl. 1); Appx11-12. On the other hand, if the “first data” indicates

that the second media device will be unresponsive to a command sent via HDMI,

then the first media device will instead send second data to a remote control to

configure the remote to control that functional operation. Appx674 (cl. 1); Appx11-

12. The decision logic of claim 1 of the ’196 patent can be seen in the following

demonstrative flowchart:




6
  HDMI refers to the High-Definition Multimedia Interface Specification, which is
an interface and cable for transmitting audiovisual signals among various devices in
a home entertainment system. Appx46519, Appx46525-46526; Appx40276-40277
(879:16-880:6); Appx162. HDMI includes a “CEC” line—referred to as HDMI-
CEC—which is used for control and status information, higher level control
functions, and setup tasks, and includes operands indicating a user has pressed a
particular button on a remote control which may be forwarded from the device
receiving the remote control signal to a connected device via CEC. Appx46693,
Appx46713, Appx46719-46720, Appx46724-46725, Appx46776; Appx40278
(884:17-22).
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                              “first data” is “provided” to “first media device”



                                                    Does
                                            “first data” indicate
           Responsive                  “second media device” will be               Unresponsive
                                       responsive or unresponsive to
                                             HDMI command?
                                                                              Control functional
            Control functional                                              operation by sending
           operation directly via                                         second data to remote for
             HDMI command                                                 use in configuring remote
                                                                                   control


Appx55145; Appx11-12. Claim 1 does not specify how the remote will control the

functional operation, but the written description explains that the Universal Control

Engine may “delegate[]” control of Infrared (IR) transmissions to the “remote

control” and thereby use it “as a relay device for those commands determined to be

best executed via IR transmissions.” Appx667 (4:46-50).

      G.      The Asserted Prior Art References

      Before the Commission, Roku relied on a combination of two prior art

references: U.S. Pub. Patent Appl. No. 2012/0249890 (“Chardon”) and U.S. Pub.

Patent Appl. No. 2001/0005197 (“Mishra”) to show that the asserted claims would

have been obvious. Just like the ’196 patent, Chardon’s system is designed to

address the complexity of remotely controlling the increasing variety of consumer

electronic devices in a home entertainment system, which use an increasing number

of different communication protocols, including HDMI-CEC. Appx46458 (¶¶ 1-5);

Appx40275 (875:13-18).              As Chardon notes, the introduction of HDMI-CEC


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introduced both additional functionalities and additional problems in implementing

remote control of HDMI appliances. Appx46458 (¶¶ 1-5). Because HDMI-CEC

may not always work with all devices, Chardon discloses using IR codes to control

a device when HDMI-CEC control does not work. Appx46463-46465 (¶¶ 58-62).




      Chardon’s entertainment system 100 includes various HDMI appliances 105

(e.g., HDMI display 105a and HDMI sources 105b), a multi-media gateway 110,

and remote control device 115. Appx46460 (¶¶ 29-31), Appx46451. As shown

above in Figure 1, the “remote control system 140” and “remote control engine 145,”

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can be located within each of the multi-media gateway, the remote control device,

and the other HDMI devices. Id.; Appx46458 (¶ 6), Appx46460-46462 (¶¶ 36, 38-

41, 43, 45); Appx40276 (876:23-877:1). The remote control engine is software that

selects the command code for controlling a particular functional operation of a target

device, including choosing between IR and CEC control. Appx46459-46461 (¶¶ 16,

26-27, 39-40), Appx46469 (¶ 88); Appx40280 (892:7-895:1).

      Chardon discloses various methods for choosing between sending IR and

CEC codes to control a target device. In one method, Chardon’s system attempts

CEC control, and if no response is received, the system switches to using IR control

instead.   Appx160-161 (citing Appx46459 (¶ 12), Appx46463-46464 (¶ 58),

Appx46455 (elements 510-530); Appx40281 (896:3-25)). In particular, the “remote

control system” may “monitor[] the CEC bus for a response issued from the second

HDMI appliance in response to receipt and execution of [a] CEC command code”

and “if a response is not issued from the second HDMI appliance . . . i) determin[e]

an IR command code that corresponds to the CEC command code for the second

HDMI appliance, and ii) transmit[] the IR command code to the second HDMI

appliance to perform a function associated with the CEC command code.”

Appx46459 (¶ 12). The remote control system stores the success or failure of CEC

commands and associates the target device with CEC or IR codes for use in future

attempts to control the same operation of that device. Appx161; Appx46450

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(Abstract), Appx46459-46460 (¶¶ 14, 20, 33-34), Appx46463-46464 (¶¶ 58-59),

Appx46466 (¶ 68); Appx40281-40282 (898:21-901:11). Thus, Chardon’s system

repeatedly tests whether CEC control worked, and if not, it records that failure and

falls back to using IR control instead.

      As Roku argued before the Commission, Chardon discloses each limitation of

claim 1 of the ’196 patent other than “transmitting second data to a remote control

device, via use of the transmitter, for use in configuring the remote control device to

transmit a second command directly to the second media device.” Appx27720-21;

Appx27036-27046. In particular, rather than using a remote control to send IR

commands, Chardon’s system uses an IR blaster that is built into the multimedia

gateway itself to send the IR commands. Appx27033 (citing Appx46455 (element

540), Appx46456 (element 630), Appx46458 (¶¶ 2-3), Appx46461 (¶ 40),

Appx46463-46466 (¶¶ 58, 60-61, 68, 70); Appx40320-40321 (940:18-25, 944:25-

946:6)).

      However, Roku argued that a second reference, Mishra, discloses the well-

known technique of relaying IR codes through a remote control. Like Chardon,

Mishra addresses the problems of controlling devices in a home entertainment

system, and, in particular, the same issue of too many devices having remote controls

with incompatible remote control codes. Appx50108 (¶¶ 2, 4-5); Appx40265

(833:12-835:22).

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      Mishra’s set-top system 12 stores a variety of infrared key codes. Appx50109

(¶ 20). The RCU transmits a signal identifying a pressed button, and in response,

system 12 sends a key code back to the RCU 18 (via path 24). Appx50110 (¶¶ 37,

39). The remote then outputs the code in an IR signal to the target device via path

22. Id.; Appx40266 (837:25-838:13). In an alternative embodiment, the RCU

“contain[s] sufficient memory that the master may send the RCU both the protocols

and the necessary codes to control the devices” which are then “save[d]” in the

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RCU’s “local memory.” Appx50110 (¶ 38). Thus, the RCU is fed “the information

needed to do all the different controls for a given device initially” and then “handles

those protocols on its own.” Id. (¶ 39).

      As Roku argued to the Commission, although Chardon does not disclose

sending data to the remote control to cause it to issue IR codes, relaying IR codes

through a remote control was a well-known alternative to IR blasters, and had known

benefits over IR blasters.       Appx27032-27033; Appx40265 (832:16-833:2),

Appx40321      (945:7-18);   Appx55009;         Appx46473,     Appx46478         (6:40-53);

Appx50110 (¶¶ 37, 39). For example, it was known that IR blasters can be difficult

and time-consuming to set-up by the user and constrain how the user can arrange the

devices in their home theater. Appx40320 (940:18-941:7). Thus, a POSA would

have been motivated to turn to a reference that provides details for controlling

devices by relaying IR codes through a remote control. Id. (941:19-942:24). Mishra

provides exactly those details. Appx50109-50110 (¶¶ 20, 37, 39), Appx50101;

Appx40319-40320 (938:10-940:4). Notably, both Chardon and Mishra are directed

to improving the remote control of home entertainment devices that use different

control protocols through the assistance of an intermediary devices (e.g., Chardon’s

remote control engine and Mishra’s System 12). Appx50108 (¶¶ 2-5); Appx46458

(¶¶ 1-3); Appx40265-40266 (835:1-22, 838:2-13), Appx40275 (875:13-18),

Appx40319-40320 (938:25-939:5), Appx40326 (965:3-15). Thus, a POSA would

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have been motivated to modify Chardon’s system to use Mishra’s technique of

relaying IR codes through the remote control—instead of Chardon’s use of IR

blasters in the multi-media gateway—as that would be a simple and predictable

substitution of one known element for another. Appx40320 (942:4-24).

                       SUMMARY OF THE ARGUMENT

      The Commission correctly determined that the ’642 and ’317 patents were

invalid, and that Roku’s products running the redesigned version of the Roku OS

software did not infringe the ’196 patent. But the Commission nonetheless found a

violation of Section 337 and issued exclusion and cease and desist orders covering

articles that infringe claims 1, 3, 11, and 13-15 of the ’196 patent. In doing so, the

Commission committed reversible error in three distinct areas: standing, domestic

industry, and obviousness. These errors each independently merit reversal.

      First, the Commission’s determination that UEI had standing to assert the ’196

patent based on Mr. Barnett’s 2004 agreement with UEI and his decades-later

interpretation of the agreement is contrary to law—specifically, this Court’s

holdings in Omni MedSci, Inc. v. Apple Inc., 7 F.4th 1148, 1152 (Fed. Cir. 2021) and

Arachnid, Inc. v. Merit Industries, 939 F.2d 1574 (Fed. Cir. 1991). There is no

dispute that the first time Mr. Barnett executed an express assignment of the ’196

patent was well after the complaint was filed, and that this assignment alone would

be insufficient to confer standing on UEI. But UEI argued—and the Commission


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ultimately agreed—that certain language in the 2004 agreement between Mr. Barnett

and UEI effected a then-present conveyance of Mr. Barnett’s rights in all his future

inventions, including the ’196 patent. Appx10; Appx141. The agreement, however,

includes a quintessential example of a promise to do something in the future—Mr.

Barnett agreed that his inventions made during his employment with UEI “shall be

the property of” UEI. Appx26179. The agreement’s “shall be” language indicates

that the invention(s) subject to this provision of the agreement would eventually

become property of UEI, but it does not contemplate precisely when or how this

would occur. Omni MedSci, 7 F.4th at 1152 (employee’s “shall be” promise is

merely a “promise to assign in the future”); Arachnid, 939 F.2d at 1580-81

(consulting agreement with “shall be” language was an agreement to assign, not an

assignment). Indeed, consistent with this language, Mr. Barnett entered into many

different assignment agreements with UEI over the years, including the belated ’196

patent assignment. Appx40019 (75:16-22). The Commission legally erred in relying

on Mr. Barnett’s after-the-fact trial testimony to override the plain language of his

agreement and this course of conduct.

      Second, the Commission ignored the requirements of its governing statute, as

well as this Court’s precedent, in finding that UEI satisfied the domestic industry

requirement. Section 337 requires that a domestic industry must exist “with respect

to articles protected by the patent.” 19 U.S.C. § 1337(a)(3). In Lelo Inc. v. ITC, this

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Court explained that Section 337’s plain text requires a “quantitative analysis” of the

“relative importance” of the complainant’s proffered domestic industry investments

to the patent-practicing articles. 786 F.3d 879, 883-84 (Fed. Cir. 2015). But here,

UEI did nothing of the sort. The patent-practicing articles at issue are complex,

expensive televisions—which are made not in the United States by UEI, but

manufactured abroad by a third party, Samsung. UEI, on the other hand, submitted

and relied upon evidence only of its own R&D and engineering investments in its

QuickSet software, a minor component sold to Samsung and other customers. But

UEI did not allocate its relied-upon QuickSet expenses to ensure that only

investments made “with respect to” Samsung televisions were appropriately counted

as domestic industry expenses. And UEI also did not present evidence of what other

investments were made, either by itself, Samsung, or others, in the protected articles

(the Samsung televisions)—evidence required to “determine whether there is a

‘significant’ increase or attribution by virtue of [UEI’s] asserted commercial activity

in the United States.” Lelo, 786 F.3d at 883. The Commission’s acceptance of UEI’s

domestic industry investments without requiring appropriate quantification violates

Section 337’s plain requirements that the investments be both “substantial” and

“with respect to” the patent-protected articles.

      Finally, the Commission erred in its obviousness analysis, committing clear

errors of both law and fact in finding that Roku failed to carry its burden to show

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obviousness and that secondary considerations outweighed any prima facie

showing.    In doing so, the Commission ignored the “expansive and flexible”

approach for obviousness required under KSR, and instead rejected each of the prior

art references for not individually teaching the entirety of certain limitations, and for

not reciting an express teaching, suggestion, or motivation to combine. KSR Int’l

Co. v. Teleflex, Inc., 550 U.S. 398, 415, 419 (2007). When viewed in light of the

appropriate legal standard, the evidence shows that Roku carried its obviousness

burden. Indeed, the undisputed evidence showed that Chardon discloses all of the

claim limitations other than sending data to configure a remote control, and that this

last limitation merely reflects the well-known technique of relaying IR codes

through a remote control as disclosed in Mishra, which a POSA would have been

motivated to substitute in place of Chardon’s IR blasters. Regarding secondary

considerations—an alleged long-felt need, widespread adoption, and industry praise

of Samsung televisions running UEI’s QuickSet software—the Commission legally

erred by finding a nexus between the alleged secondary considerations and the ’196

patent without first making the requisite determination that the Samsung televisions

are “coextensive” with the ’196 patent’s claims, and without any finding that the

secondary considerations were driven by the novel limitations of the claims. Fox

Factory, Inc. v. SRAM, LLC, 944 F.3d 1366, 1374 (Fed. Cir. 2019); Asyst Techs.,

Inc. v. Emtrak, Inc., 544 F.3d 1310, 1316 (Fed. Cir. 2008). As described below,

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because the ’196 patent covers at most a small portion of the QuickSet software,

which is itself just a small component of the Samsung televisions, there is no

evidence—let alone substantial evidence—supporting the Commission’s conclusion

on nexus.

                                  ARGUMENT

I.    Standard of Review

      This Court reviews a final determination of the Commission in accordance

with Chapter 7 of the Administrative Procedure Act (APA), 5 U.S.C. §§ 701-706.

See 19 U.S.C. § 1337(c). Accordingly, this Court reviews factual findings of the

Commission under the “substantial evidence” standard. Enercon GmbH v. ITC, 151

F.3d 1376, 1381 (Fed. Cir. 1998) (citing Checkpoint Sys., Inc. v. ITC, 54 F.3d 756,

759 (Fed. Cir. 1995)). In addition, this Court reviews the Commission’s factual

determination of whether the various jurisdictional provisions of the statute have

been met to determine if they are supported by substantial evidence. Enercon, 151

F.3d at 1381. Further, this Court reviews “questions of law, as interpreted and

applied by the ITC, de novo.” Lelo, 786 F.3d at 883.

      This Court reviews the question of standing to assert a patent claim de novo.

SiRF Tech., Inc. v. ITC, 601 F.3d 1319, 1325 (Fed. Cir. 2010); Rite-Hite Corp. v.

Kelley Co., 56 F.3d 1538, 1551 (Fed. Cir. 1995). This Court reviews for substantial

evidence underlying factual determinations upon which a conclusion of standing is


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based. SiRF, 601 F.3d at 1325; see also Finnigan Corp. v. ITC, 180 F.3d 1354,

1361-62 (Fed. Cir. 1999).

       As the agency charged with the administration of Section 337, the

Commission is entitled to appropriate deference to its interpretation of the statute.

See Chevron U.S.A., Inc. v. Nat’l Res. Def. Council, Inc., 467 U.S. 837, 844 (1984);

Suprema, Inc. v. ITC, 796 F.3d 1338, 1345-46 (Fed. Cir. 2015). Under Chevron,

this Court must determine “whether Congress has directly spoken to the precise

question at issue.” Chevron, 467 U.S. at 842. “If the intent of Congress is clear, that

is the end of the matter; for the court, as well as the agency, must give effect to the

unambiguously expressed intent of Congress.” Id. at 842-43 (footnote omitted).

This Court will therefore uphold the Commission’s interpretation of Section 337 if

it is reasonable in light of the language, policies and legislative history of the statute.

See Corning Glass Works v. ITC, 799 F.2d 1559, 1565 (Fed. Cir. 1986).

       Obviousness is a legal question based on underlying fact findings. Purdue

Pharma L.P. v. Epic Pharma, LLC, 811 F.3d 1345, 1351 (Fed. Cir. 2016). This

Court reviews legal determinations de novo and underlying factual determinations

for substantial evidence. Rambus Inc. v. Rea, 731 F.3d 1248, 1251 (Fed. Cir. 2013).




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II.   UEI Lacks Standing to Assert the ’196 Patent

      A.     Legal Standard

      It is well-settled law that “[w]here one co-owner possesses an undivided part

of the entire patent, that joint owner must join all the other co-owners to establish

standing.” Israel Bio-Eng’g Project v. Amgen Inc., 475 F.3d 1256, 1264 (Fed. Cir.

2007). If all patent co-owners are not joined, the complainant(s) do not have

standing to assert the patent. See, e.g., STC.UNM v. Intel Corp., 754 F.3d 940, 947

(Fed. Cir. 2014) (affirming the district court’s dismissal for lack of standing where

not all co-owners consented to join suit).       “This rule applies equally in ITC

investigations.” SiRF, 601 F.3d at 1326.

      Standing is a jurisdictional issue that may be raised at any time and the burden

always remains on the complainant. See, e.g., Abbott Point of Care Inc. v. Epocal,

Inc., 666 F.3d 1299, 1302 (Fed. Cir. 2012) (explaining that the patentee has “the

burden to show necessary ownership rights to support standing to sue”); Sicom Sys.,

Ltd. v. Agilent Techs., Inc., 427 F.3d 971, 976 (Fed. Cir. 2005) (“The party bringing

the action bears the burden of establishing that it has standing.”); see also Spokeo,

Inc. v. Robins, 578 U.S. 330, 338 (2016) (complainant bears burden of proof to show

standing). This Court has clearly articulated that “the plaintiff must demonstrate that

it held enforceable title to the patent at the inception of the lawsuit to assert

standing”—if it lacks such standing, “the suit must be dismissed, and the


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jurisdictional defect cannot be cured after the inception of the lawsuit.” Abraxis

Bioscience, Inc. v. Navinta LLC, 625 F.3d 1359, 1364 (Fed. Cir. 2010) (citations and

internal quotation marks omitted). That is, an assignment executed during the

pendency of an investigation, even one with purported nunc pro tunc effect, cannot

be used to cure a standing defect.

      B.     The 2004 Barnett Agreement Unambiguously Did Not Effect a
             Present Conveyance of Rights

      This Court applies “federal law to determine whether the contract here created

an automatic assignment or created an obligation to assign.” Omni MedSci, 7 F.4th

at 1151; DDB Techs., L.L.C. v. MLB Advanced Media, L.P., 517 F.3d 1284, 1290

(Fed. Cir. 2008) (treating as a matter of federal law “the question of whether a patent

assignment clause creates an automatic assignment or merely an obligation to assign

is intimately bound up with the question of standing in patent cases”). “Whether an

assignment of patent rights in an agreement is automatic or merely a promise to

assign depends on the contractual language itself. . . . [C]ontracts that obligate the

owner to grant rights in the future do not vest legal title to the patents in the

assignee.” Abraxis, 625 F.3d at 1364-65 (citations omitted). Indeed, an agreement

to assign “reflects a mere promise to assign rights in the future, not an immediate

transfer of expectant interests.” Bd. of Trs. of Leland Stanford Jr. Univ. v. Roche

Molecular Sys., Inc., 583 F.3d 832, 841 (Fed. Cir. 2009). Such a mere promise



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requires the execution of a subsequent written instrument. IpVenture, Inc. v. Prostar

Comput., Inc., 503 F.3d 1324, 1327 (Fed. Cir. 2007).

      The 2004 Barnett Agreement—the sole agreement relied upon by the

Commission in the Final Determination to establish UEI’s standing—imposed

nothing more than a mere obligation to assign patent rights in the future and did not

effect a present conveyance of any patent rights.        Instead, the 2004 Barnett

Agreement merely states that Mr. Barnett “hereby agree[s]” that his inventions made

during his employment “shall be the property of” UEI. Appx26179-26180. The

agreement’s “shall be” language indicates that the invention(s) subject to this

provision of the agreement would become property of UEI in the future, but it does

not contemplate precisely when or how this would occur. Such language therefore

indicates nothing more than a mere promise to assign to UEI Mr. Barnett’s

inventions at some indeterminate point in the future. Omni MedSci, 7 F.4th at 1152

(an employee’s “shall be” promise is merely a “promise to assign in the future”).

      In fact, when the ALJ granted summary determination that UEI lacked

standing to assert the ’196 patent, the ALJ correctly found just that—the

unambiguous language of the 2004 Barnett Agreement contained a “mere promise

to assign rights in the future, not an immediate transfer of expectant interests” and

therefore “did not automatically assign Mr. Barnett’s rights to the 196 Patent to

UEI.” Appx25572.

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      Indeed, this Court recently found that nearly identical language was a mere

promise to assign in the future, not evidence of a then-present assignment of rights.

In Omni MedSci, this Court found that a bylaw’s provision that “[p]atents and

copyrights . . . supported directly or indirectly . . . by funds administered by the

University . . . shall be the property of the University” is “most naturally read as a

statement of intended disposition and a promise of a potential future assignment, not

as a present automatic transfer.” 7 F.4th at 1150, 1152 (emphasis in original) (bold

added).   In doing so, the Court saw “no meaningful difference” between the

provision in the bylaws and a similar provision disputed in Arachnid, Inc. v. Merit

Industries, 939 F.2d 1574 (Fed. Cir. 1991), where the Court found the operative

language of “shall be the property of [Arachnid], and all rights thereto will be

assigned by IDEA . . . to [Arachnid]” lacked a present-tense active verb to convey

patent rights. 7 F.4th at 1153-54 (first emphasis added by Omni MedSci Court,

second emphasis added by Arachnid Court). Here, the operative language in the

2004 Barnett Agreement is identical to the relevant language of the agreement at

issue in Omni MedSci: “shall be the property of” the employer. Appx26179.

Without additional present-tense verbs of conveyance, the 2004 Barnett Agreement




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does not effect a present conveyance of patent rights. The Commission’s finding to

the contrary is, therefore, incorrect as a matter of law. 7

      C.     The ALJ and Commission Erred in Considering and Crediting
             Mr. Barnett’s Testimony

      The Commission erred by adopting the ALJ’s decision that credited litigation-

inspired, after-the-fact parol evidence contradicting the unambiguous 2004 Barnett

Agreement. The ALJ improperly credited Mr. Barnett’s testimony at the hearing

that he allegedly understood he never owned any rights in the ’196 patent. Appx10;

Appx141 (“[I]t was always my understanding that I had no ownership of the [196]

patent from the start of my employment.” (citing Appx40019 (74:1-5))). But the

ALJ legally erred by considering this parol evidence, because the 2004 Barnett

Agreement is unambiguous—“[a]bsent ambiguous provisions . . . there is no need

to resort to parol evidence to determine the parties’ intent.” Immunex Corp. v.

Sandoz Inc., 964 F.3d 1049, 1060 (Fed. Cir. 2020). Indeed, the ALJ found this

language to be unambiguous when he originally granted Roku’s motion for summary

determination. Appx25572.


7
  Any argument that the present tense language “hereby agree” is an express grant
of the ’196 patent to UEI should be rejected—in context, that language merely
indicates Mr. Barnett’s then-present agreement to be bound by the contract. Omni
MedSci, 7 F.4th at 1152 (“Nor does it say that the inventor ‘agrees to grant and does
hereby grant’ title to the patent—language that this court has previously held to
constitute a present automatic assignment of a future interest.”) (citation omitted).
And, as previously noted, see supra n.5, any alleged date of invention of the ’196
patent post-dates the 2004 Barnett Agreement.
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      The Commission should not have considered this testimony, which is

irrelevant in view of the unambiguous language of the 2004 Barnett Agreement. See

Immunex, 964 F.3d at 1060. In Immunex, this Court faulted the district court for

determining the intent of the parties before analyzing whether the contract provisions

at issue were ambiguous, because “there is no need to resort to parol evidence to

determine the parties’ intent” when the provisions are not ambiguous. Id. at 1060-

61. The Commission made the same error. Appx10; Appx141. The plain language

of the 2004 Barnett Agreement shows that Mr. Barnett promised to assign his rights

in the future—and “if the ‘provisions are clear and unambiguous, they must be given

their plain and ordinary meaning.’” McAbee Constr., Inc. v. United States, 97 F.3d

1431, 1435 (Fed. Cir. 1996) (citation omitted). But the Commission, by adopting

the FID, based its entire finding on one statement that Mr. Barnett understood that

he “had no ownership of the [196] patent from the start of [his] employment.”

Appx141 (citing Appx40019 (74:1-5)). The Commission erred by crediting any

such testimony that contradicts the unambiguous 2004 Barnett Agreement and the

ALJ’s prior finding that the agreement was unambiguous. 8




8
  Moreover, Mr. Barnett’s testimony is nonsensical and an improper lay opinion. It
is black-letter law that initial ownership of a patent vests first in the inventor. Beech
Aircraft Corp. v. EDO Corp., 990 F.2d 1237, 1248 (Fed. Cir. 1993). Therefore, as
a matter of law, Mr. Barnett must have owned the invention claimed by the ’196
patent.
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      And to the extent parol evidence should be considered, Mr. Barnett and UEI’s

course of dealing in the years since the 2004 Barnett Agreement directly contradicts

Mr. Barnett’s assertion that he believed he never owned the ’196 patent or any other

patent. Mr. Barnett acknowledged at the hearing that, well after the 2004 Barnett

Agreement, he repeatedly executed assignment after assignment transferring patent

rights to UEI, including the post-complaint assignment of the ’196 patent.

Appx40019 (75:16-22) (discussing the 2012 Barnett Assignments executed after

2004); Appx26179-26180. This longstanding post-2004 and pre-litigation conduct

undermines both Mr. Barnett’s testimony and UEI’s litigation-inspired argument

that it owned the ’196 patent all along—especially considering that UEI corrected

inventorship during the course of the Investigation. Accordingly, to the extent parol

evidence is considered—and it should not be—substantial evidence does not support

the Commission’s decision because the longstanding course of dealing contradicts

UEI’s standing theory.

      D.     The Commission’s Findings on Standing Rested on the 2004
             Barnett Agreement Alone

      To the extent UEI or the Commission may argue that this Court should

nonetheless affirm the Commission based on an alleged conveyance of the ’196

patent through assignments related to certain priority applications, the Chenery

doctrine forecloses any such argument. It is a well-settled principle of administrative

law that this Court cannot uphold an agency’s decision on a ground not ruled on by

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the agency. See SEC v. Chenery Corp., 318 U.S. 80, 87 (1943) (“The grounds upon

which an administrative order must be judged are those upon which the record

discloses that its action was based.”). Here, the ALJ’s standing decision—adopted

by the Commission—clearly rested on the 2004 agreement alone.               Appx10;

Appx141. The FID credited Mr. Barnett’s testimony—which addressed the 2004

Barnett Agreement, not the priority applications—and faulted Roku for not

“present[ing] any evidence to the contrary, or indeed, any new evidence at all.”

Appx141. Therefore, because the Commission and the ALJ decided the case based

on the 2004 Barnett Agreement, it would be improper for this Court to analyze in

the first instance whether Mr. Barnett transferred his rights in a CIP application

through the priority applications. See Beloit Corp., 742 F.2d at 1423 (“Most

importantly, this court does not sit to review what the Commission has not

decided.”).

III.   The Commission Legally Erred in Finding UEI Satisfied the Economic
       Prong of the Domestic Industry Requirement

       In finding UEI satisfied the domestic industry requirement, the Commission

legally erred in two distinct ways. First, the Commission legally erred by not

requiring UEI to quantify its domestic industry expenditures “with respect to the

articles protected by the [’196] patent,” as required by Section 337(a)(3) and this

Court’s precedent in Lelo v. ITC. Second, the Commission legally erred by not

evaluating the substantiality of UEI’s alleged domestic industry expenditures “with

                                        32
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respect to the articles protected by the [’196] patent,” as required by Section

337(a)(3), and instead evaluating the substantiality with respect to an unprotected

software component of the alleged protected articles.         Each of these errors

independently justifies reversal of the Commission’s determination.

      A.     The Domestic Industry Requirement

      Section 337 requires that a complainant must demonstrate the existence of a

domestic industry relating to each asserted patent. 9 19 U.S.C. § 1337(a)(2). The

domestic industry requirement may be satisfied in one of three ways: a complainant

may show that, with respect to the articles “protected by” the patent, it has made (A)

significant investment in plant and equipment, (B) significant employment of labor

or capital, or (C) substantial investment in the exploitation of the patent, including

engineering, research and development, or licensing. 19 U.S.C. § 1337(a)(3). At

issue in this appeal is whether UEI has satisfied subsection (C)’s requirement of

“substantial investment” in “exploitation [of the patent], including engineering,

research and development, or licensing.” Id.

      Based on the language of the statute, the Commission has long interpreted the

domestic industry requirement as consisting of an “economic prong” and a

“technical prong.” Broadcom Corp. v. ITC, 28 F.4th 240, 249 (Fed. Cir. 2022)



9
 While a complainant may also argue that a domestic industry may be “in the
process of being established,” this is not at issue on appeal.
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(citing Alloc, Inc. v. ITC, 342 F.3d 1361, 1375 (Fed. Cir. 2003)). To satisfy the

technical prong, a complainant must “identify ‘actual articles protected by the

patent.’” Id. at 249-50 (quoting Microsoft Corp. v. ITC, 731 F.3d 1354, 1361-62

(Fed. Cir. 2013)). That is, a complainant must show the existence of a product that

practices the limitations of at least one patent claim.

      With respect to the economic prong, a complainant “must demonstrate that its

investment in the protected article is ‘significant’ or ‘substantial.’” Id. at 250 (citing

19 U.S.C. § 1337(a)(3)). These terms of degree are typically used interchangeably,

and the Commission has explained that “there is no mathematical threshold test” for

what is considered “significant” or “substantial” within the meaning of Section 337.

Certain Male Prophylactic Devices, Inv. No. 337-TA-546, Comm’n Op. at 38 (Aug.

1, 2007). Instead, the determination “entails an examination of the facts in each

investigation, the article of commerce, and the realities of the marketplace.” Certain

Carburetors and Products Containing Such Carburetors, Inv. No. 337-TA-1123,

Comm’n Op. at 8-9 (Oct. 28, 2019) (quoting Certain Optoelectronic Devices for

Fiber Optic Communications, Inv. No. 337-TA-860, Comm’n Op. at 18-19 (May 9,

2014)). But in all cases, and under the clear language of the statute, “[t]he domestic

industry requirement under paragraph 337(a)(3) requires evidence that sufficient

economic activities and investments as set forth in subparagraphs (A), (B), or (C)

have taken place or are taking place with respect to the articles protected by the

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asserted patent.” Certain Earpiece Devices and Components Thereof, Inv. No. 337-

TA-1121, Comm’n Op. at 17 (Nov. 8, 2019) (citing 19 U.S.C. 1337(a)(3) and

Certain Variable Speed Wind Turbines & Components Thereof, Inv. No. 337-TA-

376, Comm’n Op. at 21 (Nov. 1996)).

      B.     The Commission Legally Erred by Not Requiring UEI to
             Appropriately Quantify Its Domestic Industry Expenses

      In Lelo, this Court explained that before the Commission can determine

whether a complainant’s investments are “significant” or “substantial,” it must first

quantify the alleged domestic industry investments. Lelo, 786 F.3d at 883-884.

Despite the plain language of Section 337 requiring that the relied-upon investments

be “with respect to the articles protected by the patent,” the Commission, in

affirming the ALJ’s subsection (C) findings, committed legal error in determining

that a complainant relying on R&D and engineering expenses under subsection

(C)—unlike a complainant relying on plant and equipment or labor and capital

expenses under (A) and (B)—need not allocate its expenses to the protected articles.

      The combination of the clear language of the statute and past Federal Circuit

and Commission precedent shows the opposite—the “with respect to” preamble

applies to all three subsections, and a complainant relying on engineering and

research and development expenditures under subsection (C) must allocate those

expenditures to articles that are actually protected by the patent. Absent such an

allocation, there is a risk that a complainant may rely on expenses unrelated to the

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protected articles. Cf. Microsoft Corp. v. ITC, 731 F.3d 1354, 1361 (Fed. Cir. 2013).

In Microsoft, this Court noted that there was “no question about the substantiality of

Microsoft’s investment in its operating system or about the importance of the

operating system to mobile phones on which it runs.” Id. But the Court also

explained that was “not enough under the statute”—Section 337 “unmistakably

requires that the [domestic industry] investments relate to actual ‘articles protected

by the patent,’” whether under subsection (C) or otherwise. Id. at 1361-62. Indeed,

just a few months earlier, this Court made this clear in InterDigital Communications,

LLC v. ITC:

      The “substantial investment in [the patent’s] exploitation, including
      engineering, research and development, or licensing” must be “with
      respect to the articles protected by the patent,” which means that the
      engineering, research and development, or licensing activities must
      pertain to products that are covered by the patent that is being
      asserted. Thus, just as the “plant or equipment” referred to in
      subparagraph (A) must exist with respect to articles protected by the
      patent, such as by producing protected goods, the research and
      development or licensing activities referred to in subparagraph (C)
      must also exist with respect to articles protected by the patent, such
      as by licensing protected products. This accords with the common
      description of the domestic industry requirement as having two
      “prongs”: the “economic prong,” which requires that there be an
      industry in the United States, and the “technical prong,” which
      requires that the industry relate to articles protected by the patent.

707 F.3d 1295, 1297-98 (Fed. Cir. 2013). Accordingly, the relied-upon expenditures

must both (1) be made in the exploitation of the ’196 patent, and (2) “relate to articles

protected by the patent.” Thus, under subsection (C), expenditures must be allocated


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to the protected articles. Consistent with that principle, the Commission has long

required that a complainant must allocate its domestic expenses to the domestic

industry product—without such allocation, the domestic industry may erroneously

include expenses unrelated to the protected articles, in violation of the statute. See

Prophylactic Devices, Inv. No. 337-TA-546, Comm’n Op. at 39; Earpiece Devices,

Inv. No. 337-TA-1121 at 17; see also Certain Electronic Stud Finders, Metal

Detectors and Electrical Scanners, Inv. No. 337-TA-1221, Comm’n Op. at 48-55

(Mar. 14, 2022) (finding complainant failed to properly allocate expenditures to

“articles protected by the asserted patent(s)” under subsections (A), (B), and (C)).

      Here, there is no dispute that UEI did perform an allocation for its labor and

capital expenses under subsection (B), 10 and that UEI did not allocate its alleged

R&D/engineering investments to “articles protected by the asserted patent” under

subsection (C). Indeed, UEI expressly argued that “there is no need to allocate the

engineering and R&D investments in the QuickSet Platform to the Samsung DI

Products (e.g. Samsung TVs) because . . . all of the R&D investments [have] a strong

and direct nexus to the claimed features of the Asserted Patents.” Appx26880.

      To be sure, the Commission has long required that because investments under

subsection (C) must entail “exploitation” of the Asserted Patent, there must be a


10
  As previously explained, the Commission took no position with respect to the
ALJ’s findings with respect to subsection (B). Accordingly, the Commission’s
domestic industry determination rests solely upon satisfaction of subsection (C).
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nexus between the investments and the Asserted Patent—an additional factor not

present when relying on plant and equipment or labor and capital expenses. Certain

Integrated Circuit Chips and Products Containing the Same, Inv. No. 337-TA-859,

Comm’n Op. at 42 (Aug. 22, 2014). But while showing a nexus is required under

subsection (C), it is not sufficient. The relevant question for this Court is not whether

UEI’s expenses that purportedly have a nexus to the ’196 patent are substantial—

the question is whether UEI’s expenses with respect to the articles protected by the

’196 patent and that have a nexus to the ’196 patent are substantial.               The

Commission legally erred by using “nexus” as a proxy for UEI’s failure to allocate

its investments to the patent-practicing articles, as required by Section 337. The

Court should therefore reverse the Commission’s finding that UEI satisfied the

economic prong of the domestic industry requirement.

      C.     The Commission Committed Legal Error Because it Failed to
             Evaluate the Substantiality of UEI’s Investments in the Context of
             the Protected Articles—Samsung’s Televisions

      The Commission’s domestic industry analysis suffers from a second,

independent legal defect. As previously explained, Section 337(a)(3)(C) requires

that investments must be substantial “with respect to the articles protected by the

patent.” Thus, evaluation of substantiality requires a complainant to not just produce

evidence of its R&D and engineering investments in absolute terms, but show how

those investments compare in the context of other investments in “the articles


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protected by the patent.” 11 In other words, a complainant must compare its domestic

expenditures in the protected articles to other expenditures in the protected articles.

UEI did not just fail to perform this comparison, but it did not present evidence

allowing for this context analysis to be made by the Commission, and the

Commission committed legal error by failing to require an evaluation of UEI’s

proffered investments in the context of other investments made in the “articles

protected by the patent.” 19 U.S.C. § 1337(a)(2)-(3).

      As noted above, while UEI relied on its investments in QuickSet software for

purposes of the economic prong, it acknowledged—as it must—that its QuickSet

software alone does not practice (and is therefore not “protected by”) the ’196

patent. 12 Thus, to satisfy the technical prong, UEI relied only upon certain Samsung

televisions—which are manufactured abroad by Samsung, not UEI, and merely

incorporate the QuickSet software as one of their many components.

      UEI’s reliance solely upon investments in QuickSet to satisfy the economic

prong of the domestic industry requirement created a mismatch:




11
   Because the statute requires that the investments be “substantial” “with respect to”
the protected articles, this substantiality analysis must be done in addition to and
after the allocation discussed above has taken place. See supra, § III.B.
12
   Even if QuickSet itself practiced the ’196 patent, it could not be a protected
“article” because it is merely software. See ClearCorrect Operating, LLC v. ITC,
810 F.3d 1283, 1289-94 (Fed. Cir. 2015).
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Appx55167. This mismatch led the Commission to commit legal error in affirming

the ALJ’s determination that UEI satisfied Section 337’s domestic industry

requirement.

      Section 337 explicitly requires that the relevant “industry”—i.e.,

investments—is with respect to the domestic industry article protected by the patent,

not to an unprotected component. As this Court explained in Lelo, Section 337’s

requirement for “substantial” investments “denote[s] ‘an assessment of the relative

importance of the domestic activities.’” 786 F.3d at 883 (quoting Certain Concealed

Cabinet Hinges and Mounting Plates, Inv. No. 337-TA-289, 1990 WL 10608981,

Comm’n Op. at *11 (Jan. 8, 1990)). The Court further explained in Lelo that the

Commission evaluates the “relative importance” of an investment “relative to [the]

overall investment with respect to the articles at issue.” Id. at 883-84 (citing Cabinet
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Hinges, Inv. No. 337-TA-289, 1990 WL 10608981, at *11-12). And since Lelo, the

Commission has continued to recognize that “the magnitude of the investment

cannot be assessed without consideration of the nature and importance of the

complainant’s activities to the patented products in the context of the marketplace

or industry in question.” Carburetors, Inv. No. 337-TA-1123, Comm’n Op. at 18

(quoting Certain Printing and Imaging Devices and Components Thereof, Inv. No.

337-TA-690, Comm’n Op. at 31 (Feb. 17, 2011)).

      Roku raised this very issue with the ALJ and the Commission during the

Investigation. See Appx27112-27116; Appx27369-27373. As Roku explained, the

protected articles are complex Samsung televisions, but UEI’s expenditures relate

only to QuickSet, a minor software component of those complex articles. A proper

substantiality analysis under Section 337 and Federal Circuit precedent must

examine UEI’s QuickSet-related expenditures in the context of the “articles

protected by the patent”—i.e., the expenditures in the Samsung televisions, whether

from UEI, Samsung, or others. 13 Apparently recognizing the critical relevance of

such information, UEI itself served a subpoena on Samsung early in the


13
   Indeed, the record shows that QuickSet is an insignificant and insubstantial
component that adds little value to the complex Samsung televisions. For example,
Samsung paid UEI a licensing fee of a mere                   per television to use
QuickSet—a minuscule fraction of the total cost of a Samsung television, which may
sell for hundreds or even thousands of dollars. Appx50000, Appx50068 (Samsung
Software License); Appx46480-46502 (Samsung television pricing); Appx40351
(1064:10-1065:10); Appx55176.
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Investigation, seeking information on Samsung’s investments in plant and

equipment, labor and capital, and R&D and engineering. Appx28389-28425. In

doing so, UEI specifically averred that “the requested materials are essential to the

Investigation, directed to specific elements of the domestic industry investigation.”

Appx28390-28391. Yet in the end, UEI presented no evidence of any Samsung

investments, arguing that investments made in the protected articles by third parties

are irrelevant to the domestic industry analysis. The Commission’s finding that

UEI’s expenditures are quantitatively substantial thus erroneously relies upon a

comparison between (1) UEI’s R&D and engineering expenditures purportedly

related to the Samsung televisions and (2) UEI’s own total QuickSet expenditures,

and does not consider the relative importance of these UEI investments to “overall

investments” in the protected articles. Lelo, 786 F.3d at 883-84 (citing Cabinet

Hinges, Inv. No. 337-TA-289, 1990 WL 10608981, at *11).

      The Commission’s fundamental legal error flies in the face of Lelo and

Section 337. Because the Commission performed its substantiality analysis in the

context of an unprotected component (QuickSet), not the protected articles

(Samsung televisions), this is a second reason why the Court should reverse the

Commission’s finding that UEI satisfied the economic prong of Section 337.




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IV.   The Commission Erred in Finding the ’196 Patent’s Claims Non-
      Obvious

      The Commission’s determination that the asserted claims of the ’196 patent

are not invalid under 35 U.S.C. § 103 was based on erroneous legal conclusions and

factual findings unsupported by substantial evidence. First, the Commission’s prima

facie obviousness analysis was legally erroneous and factually unsupported,

particularly because it adopted an improper requirement that one of the prior art

references must disclose the purported “fundamental tenet” of the claimed invention

rather than considering the combined teachings of the references. Second, the

Commission’s motivation to combine analysis was contrary to law and factually

unsupported, as exemplified by its erroneous requirement that the motivation to

combine must be found in the references themselves. Third, the Commission’s

secondary considerations analysis was legally erroneous and factually unsupported,

as it misapplied this Court’s precedent relating to the required “nexus” between the

claimed invention and the secondary considerations at issue. Because, as set forth

below, the Commission’s obviousness analysis misapplied this Court’s precedent,

and was not based on substantial evidence, this Court should reverse the finding of

non-obviousness. 14


14
  Though the Commission found a violation with respect to independent claim 1
and dependent claims 3, 11, and 13-15, its determination of non-obviousness rested
solely on its analysis of claim 1. Appx29-31. Should this Court reverse the
determination of non-obviousness as to claim 1, there is no need for any remand, as
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      A.     The Commission’s Obviousness Analysis Was Legally Flawed
             Because it Improperly Dismissed Chardon and Mishra for Not
             Individually Disclosing the Alleged “Fundamental Tenet” of
             Claim 1, Rather Than Addressing the Combined Teachings of the
             Prior Art

      Before the Commission, Roku argued that the combination of Chardon and

Mishra rendered all asserted claims of the ’196 patent obvious. In rejecting Roku’s

obviousness theory, the Commission committed legal error in concluding that the

differences between the claimed invention and the prior art are “substantial” by

improperly comparing the claimed invention to each reference individually rather

than to the proposed combination of references.

      In particular, the Commission concluded that the differences between the prior

art and the claimed invention were substantial because “neither Chardon nor Mishra

discloses the ‘fundamental tenet’ of the ’196 patent’s invention, namely, a system

configured to choose between two different control devices to trans[m]it commands

over different pathways.” Appx29. 15 However, this was legal error because the test




the Commission did not disturb the ALJ’s findings that the prior art references at
issue would have rendered dependent claims 3, 11, and 13-15 obvious but for the
findings with respect to claim 1. Appx23, Appx31 (adopting the FID’s obviousness
analysis with specific modifications unrelated to dependent claims); Appx171-173
(“The additional features of the various dependent claims are all disclosed in either
Chardon or Mishra.”).
15
   As discussed infra, Roku never argued that Chardon disclosed that its media
device was programmed to use two different control devices, but rather that the
claimed use of two different control devices was obvious in combination with
Mishra because replacing Chardon’s use of an IR blaster with Mishra’s use of the
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for obviousness is not what a single reference discloses individually, but “what the

combined teachings of the references would have suggested to those having ordinary

skill in the art.” In re Mouttet, 686 F.3d 1322, 1333 (Fed. Cir. 2012).

      The Commission also determined that the differences were substantial

because “neither Chardon nor Mishra discloses transmitting ‘second data’ to the

remote control ‘for use in configuring the remote control device to transmit’

commands in the manner set forth in limitation 1[e].” Appx29 (citing Appx40941

(938:10-24); Appx163, Appx166-167, Appx171). 16 This was error because it is

well-established that for obviousness, unlike anticipation, there is no legal

requirement to show all of the limitations in a single reference. In re Keller, 642

F.2d 413, 425 (CCPA 1981) (“The test for obviousness is not . . . that the claimed

invention must be expressly suggested in any one or all of the references” but rather

“what the combined teachings of the references would have suggested to those of

ordinary skill in the art.”); In re Merck & Co., Inc., 800 F.2d 1091, 1097 (Fed. Cir.

1986) (“Non-obviousness cannot be established by attacking references

individually”) (citations omitted). Similarly, there is no requirement that a single

reference has to supply the entirety of even an individual limitation. Nike, Inc. v.


technique of relaying of IR codes through a remote control would have been a simple
substitution. Appx27033; Appx27721-27722; Appx40320 (939:9-942:24).
16
   At the hearing and in briefing before the Commission, Roku referred to the
limitation identified by the Commission as “1[e][ii]” of claim 1 of the ’196 Patent
as limitation “1.f”. Appx27044; Appx12-13.
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Adidas AG, 812 F.3d 1326, 1335 (Fed. Cir. 2016) (“A claimed invention may be

obvious even when the prior art does not teach each claim limitation, so long as the

record contains some reason why one of skill in the art would modify the prior art to

obtain the claimed invention”). Indeed, Roku never argued that either Chardon or

Mishra individually taught the entirety of limitation 1[e] of the ’196 patent.

      Thus, although Chardon does not disclose sending data to a remote control to

configure it to control another device, that limitation was rendered obvious by the

well-known technique of relaying key codes through a remote control, such as the

technique disclosed in Mishra. Appx27033; Appx50109-50110 (¶¶ 20, 37, 39),

Appx50101; Appx40319-40320 (938:10-940:4).              It is undisputed that Mishra

discloses sending data to the remote control to configure it to control other devices.

In particular, Mishra discloses that, in response to a button press on the remote, “[t]he

master [STB or System 12] in turn sends the RCU the necessary codes to increment

the channel on the TV” and “[t]he RCU then takes these codes and sends them, for

example using a unidirectional infrared signal, to the TV using the protocols stored

in the RCU's memory.”         Appx50110 (¶¶ 37-39); Appx40319-40320 (938:10-

939:20); see also Appx78-80, Appx82, Appx161. And, it is undisputed that sending

IR codes to the remote control is sufficient to satisfy this language of limitation

1[e][ii] because the Commission found the exact same functionality in the accused

devices to infringe. Appx20-22.

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      Finally, the Commission also concluded that the differences were substantial

because Mishra “does not disclose using an HDMI connection.” Appx29. However,

Mishra’s failure to disclose an HDMI connection is irrelevant because Chardon

discloses the HDMI connection. Appx162-163 (citing Appx46461 (¶¶ 38-40),

Appx46452). Once again, the Commission’s analysis legally erred by analyzing the

prior art references individually rather than in the proposed combination as required

by this Court’s precedent. In re Mouttet, 686 F.3d at 1333.

      B.     The Commission’s Motivation to Combine Analysis Was Replete
             With Legal Errors

      The Commission committed numerous legal errors in determining that a

person of ordinary skill in the art would not have been motivated to combine

Chardon and Mishra in the manner claimed.           As explained below, had the

Commission evaluated the record evidence under the correct legal standards, it

would have found the asserted claims obvious.

      First, the Commission legally erred in finding no motivation to combine

Chardon and Mishra on the grounds that there was “no teaching, suggestion, or

motivation in Chardon or Mishra to divide control of the target devices between two

different control devices.” Appx30 (emphasis added). But this plainly contradicts

the Supreme Court’s holding in KSR, which rejected any requirement that the prior

art references themselves must recite a teaching, suggestion, or motivation to



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combine. KSR, 550 US at 418-19. 17 Moreover, although choosing between two

different control devices may be a purpose of the ’196 patent, it is well-established

that obviousness may be proven by showing that a person of ordinary skill in the art

would have been motivated by a different purpose to combine the prior art in the

manner claimed. See id. at 420 (“[A]ny need or problem known in the field of

endeavor at the time of invention and addressed by the patent can provide a reason

for combining the elements in the manner claimed.”); In re Kahn, 441 F.3d 977, 989

(Fed. Cir. 2006) (“[T]he skilled artisan need not be motivated to combine [a prior art

reference] for the same reason contemplated by the [inventor].”). Here, Roku

identified a particular motivation to combine Chardon and Mishra in the manner

claimed—overcoming the known problems of IR blasters by using the well-known

technique of relaying IR codes through a remote control.          Appx27033 (citing

Appx40265 (832:16-833:2), Appx40321 (945:7-18); Appx55009; Appx46473,

Appx46478 (6:40-53); Appx46461 (¶¶ 37, 39)). The Commission legally erred by

injecting into its obviousness analysis the requirement that the motivation to

combine must be found in the references themselves.

      Second, the Commission legally erred in concluding that the proposed

combination “would run contrary to Chardon’s teaching that either the multi-media


17
  As Roku’s expert at trial explained, there was, in fact, a suggestion in Chardon to
relay IR codes through the remote control. Appx40319 (935:17-938:9); Appx46461
(¶ 43). The Commission did not address this evidence.
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gateway or the remote control, but not both, is used to control all of the target

devices.” Appx30. Contrary to the Commission’s analysis, a reference does not

teach away simply because the reference does not disclose the components arranged

in the claimed manner. Rather, teaching away requires criticizing, discrediting, or

otherwise discouraging use of the claimed approach. In re Fulton, 391 F.3d 1195,

1201 (Fed. Cir. 2004). Under the correct legal standard, Chardon does not teach

away from use of the multi-media gateway and remote control together because

Chardon does not affirmatively criticize or discredit such use. 18

      Third, the Commission legally erred in misapprehending Roku’s proposed

combination as requiring physically adding components from Mishra to Chardon.

In particular, the Commission found there would be no motivation to combine

Chardon and Mishra on the grounds that “it would be ‘duplicative’ and ‘wasteful’ to

add a second IR command path that involves the remote control.” Appx30. To the

extent the Commission assumed that obviousness required physically combining

components of Mishra and Chardon, that was legal error, as physical combinability

is largely irrelevant to the obviousness analysis. See Uber Techs., Inc. v. X One,

Inc., 957 F.3d 1334, 1341 (Fed. Cir. 2020). Moreover, the unrebutted expert

testimony demonstrated that the proposed combination would involve no additional


18
   To the contrary, Chardon expressly discloses embodiments that involve
simultaneous use of the multi-media gateway and remote control. Appx46464-
46465 (¶ 62).
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hardware beyond what was already present in Chardon. Appx27033; Appx27721-

27722; Appx40320 (940:7-942:15). In any event, the Commission erred because

Roku’s proposed combination did not involve adding a second IR command path.

In particular, Roku’s proposed combination was expressly based on replacing

Chardon’s use of IR blasters with Mishra’s use of relaying IR codes through a remote

control, thereby making the remote control the path by which IR codes are

transmitted. Appx27033; Appx27721-27722; Appx40320 (940:7-942:15). Thus,

there was no “second IR command path” in Roku’s proposed combination, and the

Commission’s conclusion of no motivation to combine was erroneous and

unsupported by substantial evidence because it was based on a misapprehension of

Roku’s proposed combination.

      Fourth, the Commission legally erred in finding no motivation to replace

Chardon’s IR blasters with Mishra’s relaying of IR codes through a remote control

on the grounds that IR blasters have “some advantages” and that “their alleged

problems” can be solved “through other means,” and that it would have been “more

complicated” to use “two controlling devices.” Appx30. This was legal error

because it is well established that the motivation to combine references in a particular

manner “need not be supported by a finding that the prior art suggests that the

combination claimed . . . is the preferred, or most desirable, combination.” Bayer

Healthcare Pharms., Inc. v. Watson Pharms., Inc., 713 F.3d 1369, 1376 (Fed. Cir.

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2013) (quoting In re Fulton, 391 F.3d at 1200). Roku presented unrebutted evidence

that “IR blasters” are “difficult to line up effectively or connect inside an

entertainment cabinet,” and that a POSA would therefore have been motivated to

replace Chardon’s IR blasters with Mishra’s relaying of IR codes through a remote

control. Appx27721 (citing Appx40320 (940:18-942:24)). Thus, it was legal error

for the Commission to require Roku to “prove that a person of ordinary skill would

have selected” the proposed combination of Chardon and Mishra “over other prior

art” methods for addressing the problems of IR blasters or over simpler control

methods. Novartis Pharms. Corp. v. West-Ward Pharms. Int’l Ltd., 923 F.3d 1051,

1059 (Fed. Cir. 2019).    Moreover, the Commission’s characterization of the

proposed combination of “Mishra and Chardon” as “more complicated” because it

would use “two controlling devices (e.g., a set top box and a remote control),”

(Appx30) was not supported by substantial evidence, as Chardon itself already

discloses a system with a set top box (i.e., multi-media gateway) and a remote

control, both of which are used to control other devices. Appx27028-27029;

Appx46451 (elements 115, 110), Appx46460-46462 (¶¶ 30-31, 45), Appx46464-

46465 (¶ 62).




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      C.      The Commission’s Analysis of Secondary Considerations
              Disregarded this Court’s Precedent and Was Factually
              Unsupported

      Finally, the Commission erred in its obviousness analysis by crediting UEI’s

alleged evidence of secondary considerations in contravention of this Court’s

precedent.

      Secondary considerations of non-obviousness (also known as objective

indicia) are only material to an obviousness analysis when there is a nexus to the

claimed invention, and UEI, as the patentee, “bears the burden of showing that a

nexus exists.” WMS Gaming, Inc. v. Int’l Game Tech., 184 F.3d 1339, 1359 (Fed.

Cir. 1999); Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1312 (Fed. Cir. 2006).

A nexus is “a legally and factually sufficient connection between the [secondary

consideration] and the patented invention,” i.e., the secondary indicia at issue was

“driven by [a] novel aspect of the claimed invention.” ABT Sys., LLC v. Emerson

Elec. Co., 797 F.3d 1350, 1361 (Fed. Cir. 2015); see Asyst Techs., 544 F.3d at 1316

(success or praise attributable to “overall system,” as opposed to novel

“substitution,” is inadequate to overcome prima facie obviousness showing). A

patentee is entitled to a presumption that a nexus exists only when the product is

“coextensive” with the patent claim. Fox Factory, 944 F.3d at 1373-74. A product

is not coextensive with the claim if the patented invention is only a component of

the product. Id. at 1374.


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      The Commission determined that secondary considerations supported non-

obviousness on two grounds. First, the Commission concluded that UEI was entitled

to a presumption of a nexus because the evidence was tied to specific Samsung

products that practice the claimed invention. Appx31. Second, the Commission

concluded that UEI had shown a sufficient nexus because the evidence “identifies

the use of two controlling devices.” Id. Both of these findings were legally

erroneous and lacked substantial evidence.

             1.    The Commission Erred in Presuming a Nexus When There
                   Was No Showing of Coextensiveness

      The Commission’s conclusion that UEI is entitled to a presumption of a nexus

merely because the domestic industry products—Samsung televisions—were found

to practice the claimed invention violates this Court’s precedent. In particular, the

Commission, citing to this Court’s decision in Immunex Corp. v Sandoz, Inc., 964

F.3d 1049, 1067 (Fed. Cir. 2020), found that UEI is “entitled to a presumption of a

nexus because it has shown that this objective evidence is tied to specific Samsung

products that practice the invention disclosed and claimed in the ’196 patent.”

Appx31. However, the Commission clearly misapprehended this Court’s holding in

Immunex. Contrary to the Commission’s finding, Immunex did not hold that merely

practicing a claimed invention is sufficient to presume a nexus. Rather, Immunex

confirmed that a presumption of a nexus requires that the commercial “product is

the invention disclosed and claimed in the patent.” Immunex, 964 F.3d at 1067

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(citation omitted). And, as this Court explained in Fox Factory, this requires a

conclusion that the product is coextensive with the patent’s claims. Fox Factory,

944 F.3d at 1371-75. Neither the Commission nor the ALJ attempted to perform

any coextensiveness analysis.

      Indeed, as Roku argued to the Commission, there is no dispute that the

Samsung televisions are multifunctional television devices with numerous features

that are entirely unrelated to claim 1 of the ’196 patent. Appx25598. For example,

the Samsung televisions have screens which were praised in a Wall Street Journal

article—but claim 1 of the ’196 patent does not require any type of screen. Id.;

Appx50080 (praising “impressively bright and colorful” screen); Appx674 (cl. 1).

Additionally, undisputed testimony demonstrated that the Samsung televisions can

be used without using the QuickSet functionality alleged to practice the ’196 patent.

Appx40174 (565:4-566:5).

      Thus, the Commission wholly ignored this Court’s requirement that the

presumption of nexus is only triggered by coextensiveness, and instead committed

legal error by assuming that merely “practicing” the patent is sufficient. For the

same reason, no substantial evidence supports the Commission’s conclusion that

UEI was entitled to the presumption of a nexus.




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             2.    The Commission Erred in Finding that UEI had
                   Demonstrated a Nexus to the Secondary Considerations

      Additionally, the Commission legally erred in concluding that UEI had

demonstrated that a nexus exists as to long-felt need, industry praise, and widespread

adoption because the Commission wholly ignored the requirement that there must

be a nexus to the novel elements recited in the asserted claims. Appx31 (citing

Appx169-171).19 Moreover, the Commission’s conclusion regarding existence of a

nexus is not supported by substantial evidence.

      As to long-felt need, the Commission relied upon testimony from UEI’s

expert that the ’196 patent “solved specifically” the problem of a “proliferation of

devices” and “communication methods” by “determining the best command control

path for any given device to have reliable user-friendly operation.” Appx169,

Appx31.    However, as discussed above, the Commission found that Chardon

discloses exactly that. Appx160 (“Chardon discloses embodiments that choose

between IR and CEC codes.”) (citing Appx46459-46460 (¶¶ 12, 14, 20, 33-34),

Appx46463-46464 (¶¶ 58-59), Appx46466 (¶ 68), Appx46455 (elements 510-530);

Appx40281-40282 (896:3-25, 898:21-901:11)); Appx27. As a matter of law, no


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   The ALJ expressly made findings as to industry praise, long-felt need, and
widespread adoption. Appx169-171. The Commission’s opinion mentions that the
“secondary considerations” “include[]” “industry praise” and “widespread
adoption,” but does not expressly mention long-felt need. Appx31. This brief
addresses all three considerations, to the extent the Commission adopted the ALJ’s
findings as to long-felt need.
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nexus exists when the secondary considerations are directed to elements found in the

prior art. Ormco Corp., 463 F.3d at 1311-12 (Fed. Cir. 2006) (“[I]f the feature that

creates the commercial success was known in the prior art, the success is not

pertinent.”); In re Huai-Hung Kao, 639 F.3d 1057, 1068 (Fed. Cir. 2011) (“Where

the offered secondary consideration actually results from something other than what

is both claimed and novel in the claim, there is no nexus to the merits of the claimed

invention.”) (citations omitted).   The Commission disregarded this precedent,

adopting the ALJ’s conclusion that “Chardon does not solve the same long-felt need

as the 196 patent, because it does not teach the same type of interactions between a

remote control and a first media device.” Appx171. However, this is a legally

irrelevant non-sequitur.    Nothing in the alleged “need” articulated by the

Commission or ALJ required “the same type of interactions between a remote

control and a first media device.” Compare Appx169, with Appx171. That is, the

fact that Chardon does not anticipate (i.e., because it does not expressly send second

data to configure a remote control) does not mean that Chardon did not disclose an

approach that solved the alleged long-felt need resulting from the proliferation of

devices and communication methods.

      The Commission also relied upon two news articles as additional evidence of

“long felt need” as well as evidence of “industry praise”: a Wall Street Journal

publication and a CNET publication. Appx169-170; Appx31. But this evidence

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also fails to satisfy the requirement that the secondary consideration must have a

nexus to what is “both claimed and novel.” In re Huai-Hung Kao, 639 F. 3d at 1068.

As to the Wall Street Journal publication, the Commission noted that it had a figure

depicting all the physical components of claim 1 of the ’196 patent. Appx31;

Appx170 (citing Appx50081). However, claim 1 is plainly directed to far more than

the physical components. Indeed, the majority of claim 1 relates to the specific

“instructions” on a “first media device.” Appx674 (cl. 1). The cited figure in the

Wall Street Journal publication makes no mention of the claimed instructions to send

a command via HDMI-CEC when first data indicates the controlled device would be

responsive to such a command. Rather, it solely envisions control by “wirelessly

teach[ing] its remote how to control the [other] devices” including “point[ing] the

same remote at a device you want to control.” Appx50081. Indeed, the only

reference to control via HDMI-CEC identified by the Commission (through adopting

the ALJ’s findings) in the Wall Street Journal publication was the statement that

“some equipment uses infrared signals, while others communicate via HDMI.”

Appx31 (adopting Appx170 (citing Appx50080)). However, this simple factual

statement about the various ways that devices can be controlled does not rise to the

level of substantial praise of the novel claim elements of the ’196 patent, given the

disclosures of the prior art, including Chardon, which already discuss use of HDMI-

CEC.

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      The CNET publication that the Commission relied upon is equally inadequate.

In particular, the Commission adopted the ALJ’s erroneous finding that the article

praises the claimed invention merely because it mentions that “if the device works

with HDMI-CEC . . . the TV can recognize that and control it accordingly, [thereby]

operating the device via the HDMI connection” and “[i]f HDMI does not work, ‘the

TV . . . queries its database and programs the IR (infrared) commands of the TV

remote automatically.’” Appx31 (citing Appx170 (citing Appx50088)). However,

this passage merely describes—not praises—this functionality of the Samsung

televisions. And the cited passage also describes unclaimed functionality, including

“mapping the TV remote buttons to the appropriate commands.” Appx50088.

      Both the Wall Street Journal and CNET publications suffer from the same

flaw as the other long-felt-need evidence: there is no praise specifically directed to

the novel elements, i.e., those elements missing from Chardon. In particular,

although both publications mention the remote control, neither article praises the

claimed technique of configuring the remote control rather than issuing IR signals

directly from the TV. Appx674 (cl. 1); Appx50079-50084; Appx50085-50099;

Appx40327-40328 (968:11-974:5).         Indeed, neither publication contains any

meaningful, specific discussion of how the Samsung televisions improve upon the

prior art (i.e., choosing between CEC commands and IR commands sent via an IR

blaster), and instead at most merely mentions some claim limitations. Accordingly,

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the Commission erred by failing to consider whether the alleged secondary

considerations evidence was directed to the novel elements of claim 1. Indeed, there

is no substantial evidence to support the existence of a nexus under the proper legal

standard.

      Finally, as to “widespread adoption,” the Commission cited evidence of the

number of QuickSet operations per year by Samsung customers using their Samsung

TVs. Appx31; Appx169-170. But the Commission legally erred in crediting such

evidence without any showing that this reflected a substantial share of the TV

market. See Cable Elec. Prods., Inc. v. Genmark, Inc., 770 F.2d 1015, 1026-27 (Fed.

Cir. 1985) (rejecting purported secondary consideration that did not include

“economic evidence” showing “a substantial share of [a] definable market”); In re

Baxter Travenol Labs., 952 F.2d 388, 392 (Fed. Cir. 1991). Indeed, the only

evidence presented by UEI was that a single manufacturer, Samsung, had adopted

the claimed invention of the ’196 patent through the use of QuickSet, and the

Commission failed to consider whether the use of QuickSet by Samsung customers

constituted “widespread adoption” in the context of the overall TV market.

Additionally, the Commission erred because merely showing that there are many

QuickSet operations per year using Samsung TVs provides no evidence of

widespread adoption of the specific functionality claimed in the ’196 patent. In

particular, because there was no showing that every QuickSet operation corresponds

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to a separate instance of practicing the ’196 patent, the number of QuickSet

operations per year provides no evidence of the number of times the claimed

functionality of the ’196 patent is actually utilized.

      And once again, the Commission’s analysis fails to show a nexus to the

specific, novel limitations of the asserted claims of the ’196 patent. In particular,

the Commission did not find (because it could not) that QuickSet or the Samsung

televisions were coextensive with any claim of the ’196 patent, or that the purported

widespread adoption of QuickSet was attributable to the novel features of the ’196

patent. Appx170-171; Appx31. Although the Commission cited testimony from

Mr. Barnett that QuickSet “control rules” would cause a television to choose

between CEC and IR, the Commission cited no evidence that QuickSet necessarily

entails configuring the remote to use IR rather than using an IR blaster, little less

that such functionality of QuickSet was the basis for any alleged widespread

adoption. Appx169-170 (citing Appx40014-40015).

      Moreover, in finding a nexus of “widespread adoption” of QuickSet, the

Commission disregarded evidence that QuickSet includes various distinct modules

and capabilities unrelated to the ’196 patent.           Appx46353-46361 (113:12-13,

113:22-114:19, 115:14-147:18); Appx40326-40327 (966:13-967:20). Indeed, the

undisputed record evidence, which the Commission itself credited, demonstrated

that the comprehensiveness of QuickSet’s database of IR codes—an unclaimed

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feature—was one of QuickSet’s selling points. Appx46128-46135 (128:15-135:7);

Appx40326-40327 (966:24-967:20); Appx171.           Accordingly, the Commission

applied an erroneous legal standard and lacked substantial evidence in concluding

that a sufficient nexus existed between the alleged “widespread adoption” of

QuickSet and the asserted claims of the ’196 patent.

                                 CONCLUSION

      For the foregoing reasons, Roku, Inc. respectfully requests that this Court

reverse the decision of the United States International Trade Commission finding

that 1) UEI has standing to assert the ’196 patent; 2) UEI satisfied the economic

prong of the domestic industry requirement; and 3) the asserted claims are valid.




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                                          Respectfully submitted,

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Dated: June 15, 2022




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                     ADDENDUM
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                           NONCONFIDENTIAL VERSION


            UNITED STATES INTERNATIONAL TRADE COMMISSION
                             Washington, D.C.


In the Matter of
CERTAIN ELECTRONIC DEVICES,                            Investigation No. 337-TA-1200
INCLUDING STREAMING PLAYERS,
TELEVISIONS, SET TOP BOXES,
REMOTE CONTROLLERS, AND
COMPONENTS THEREOF


                             COMMISSION OPINION




                                     Appx1
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I.     INTRODUCTION

       2Q 6HSWHPEHUWKH&RPPLVVLRQGHWHUPLQHGWRUHYLHZLQSDUWWKHILQDOLQLWLDO

GHWHUPLQDWLRQ ³,'´ LVVXHG RQ-XO\E\WKHSUHVLGLQJDGPLQLVWUDWLYHODZMXGJH ³$/-´ .

)HG5HJ 6HSW 2QUHYLHZWKH&RPPLVVLRQDIILUPVWKH,'¶VILQGLQJWKDW

WKHUHLVDYLRODWLRQRIVHFWLRQ RIWKH7DULII$FWRIDVDPHQGHG U.S.C. § 1337

 ³6HFWLRQ´ ZLWKUHVSHFWWR863DWHQW1R ³WKH¶SDWHQW´ . The

&RPPLVVLRQIXUWKHUDIILUPV WKH,'¶VILQGLQJVWKDWWKHUHLVQR YLRODWLRQRI6HFWLRQ ZLWK

UHVSHFWWR863DWHQW1RV ³WKH‫ތ‬SDWHQW´ RU ³WKH‫ތ‬SDWHQW´ IRU

WKHUHDVRQVVWDWHGLQWKH,'DVPRGLILHGKHUHLQ.

       7KH&RPPLVVLRQKDVGHWHUPLQHGWRLVVXHDOLPLWHGH[FOXVLRQRUGHUDQGFHDVHDQG GHVLVW

RUGHUDJDLQVWUHVSRQGHQW5RNX ,QF ³5RNX´ , DQGLWILQGVWKHSXEOLFLQWHUHVWGRHVQRWSUHFOXGH

LVVXLQJVXFKDUHPHG\7KH&RPPLVVLRQKDVDOVRGHWHUPLQHGWRVHWDERQGLQWKHDPRXQWRI]HUR

  SHUFHQWRIHQWHUHGYDOXH RIVXEMHFWLPSRUWVGXULQJWKHSHULRGRI3UHVLGHQWLDOUHYLHZ. 7KLV

RSLQLRQVHWVIRUWKWKH&RPPLVVLRQ¶VUHDVRQLQJLQVXSSRUWRILWVILQDOGHWHUPLQDWLRQ

II.    BACKGROUND

       A.      Procedural History

       7KH&RPPLVVLRQLQVWLWXWHGWKHSUHVHQWLQYHVWLJDWLRQRQ0D\EDVHGRQD

FRPSODLQWILOHGE\8QLYHUVDO(OHFWURQLFV,QF ³8(,´ RI6FRWWVGDOH$UL]RQD)HG5HJ

31211- 0D\ 7KHFRPSODLQWDVVXSSOHPHQWHGDOOHJHVYLRODWLRQVRISeFWLRQ

LQWKHLPSRUWDWLRQLQWRWKH8QLWHG6WDWHVVDOHIRULPSRUWDWLRQRUVDOHLQWKH8QLWHG6WDWHVDIWHU

LPSRUWDWLRQRIFHUWDLQHOHFWURQLFGHYLFHVLQFOXGLQJVWUHDPLQJSOD\HUVWHOHYLVLRQVVHWWRSER[HV

UHPRWHFRQWUROOHUVDQGFRPSRQHQWVWKHUHRIE\ UHDVRQRILQIULQJHPHQWRIRQHRIPRUHRIWKH

DVVHUWHGFODLPVRIWKH‫ތ‬SDWHQWWKH¶SDWHQWWKH¶SDWHQWDQGRWKHUSDWHQWVWKDWZHUH




                                                Appx3
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RULJLQDOO\DVVHUWHGEXWVXEVHTXHQWO\ZLWKGUDZQDQGWHUPLQDWHGIURPWKHLQYHVWLJDWLRQ 1 The

QRWLFHRILQYHVWLJDWLRQQDPHG5RNXRI/RV*DWRV&DOLIRUQLDDVDUHVSRQGHQWDPRQJRWKHUVWKDW

ZHUHODWHUWHUPLQDWHGIURPWKLVLQYHVWLJDWLRQ 2 7KH2IILFHRI8QIDLU,PSRUW,QYHVWLJDWLRQVLVQRW

DSDUW\LQWKLVLQYHVWLJDWLRQId.

        2Q$XJXVWWKHSUHVLGLQJ$/-KHOGDWHFKQRORJ\WXWRULDODQGMarkman KHDULQJ

,'DW7KH$/-LVVXHGDMarkman RUGHURQ2FWREHUId2UGHU1R 2FW 

        2Q-DQXDU\WKH$/-LVVXHG2UGHU1R, JUDQWLQJ5RNX¶VPRWLRQIRUVXPPDU\

GHWHUPLQDWLRQWKDW8(,ODFNVVWDQGLQJWRDVVHUWWKH¶SDWHQW2UGHU1R -DQ 

7KH&RPPLVVLRQUHYHUVHG2UGHU1RDQGUHPDQGHGWKHVWDQGLQJLVVXHWRWKH$/-IRUIXUWKHU

SURFHHGLQJV&RPP¶Q1RWLFH )HE &RPP¶Q2S 0DU 


1
  TKH&RPPLVVLRQSDUWLDOO\WHUPLQDWHGWKHLQYHVWLJDWLRQZLWKUHVSHFWWRFHUWDLQRULJLQDOO\
DVVHUWHGFODLPVRIWKH¶SDWHQWWKH¶SDWHQWDQGWKH¶SDWHQWDVZHOODV863DWHQW
1RV; DQG LQWKHLUHQWLUHW\See 2UGHU1R 'HF 
unreviewed by &RPP¶Q1RWLFH 'HF 2UGHU1R 'HF unreviewed by
&RPP¶Q1RWLFH -DQ 2UGHU1R 'HF unreviewed by &RPP¶Q1RWLFH
 -DQ 2UGHU1R -DQ unreviewed by &RPP¶Q1RWLFH -DQ 
2UGHU1R )HE unreviewed by &RPP¶Q1RWLFH )HE 2UGHU1R )HE
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&RPP¶Q1RWLFH $SU 
2
  ,QDGGLWLRQWR5RNXWKH&RPPLVVLRQ¶VQRWLFHRILQYHVWLJDWLRQRULJLQDOO\QDPHGWKHIROORZLQJ
UHVSRQGHQWV7&/(OHFWURQLFV+ROGLQJV/WGRI1HZ7HUULWRULHV+RQJ.RQJ6KHQ]KHQ7&/
1HZ7HFKQRORJ\&R/WGRI6KHQ]KHQ&KLQD7&/.LQJ(OHFWULFDO$SSOLDQFHV&R/WG
+XL]KRX&KLQD77(7HFKQRORJ\,QFRI&RURQD&DOLIRUQLD7&/&RUSRI+XL]KRX&LW\
&KLQD7&/0RND,QW¶O/WGRI1HZ7HUULWRULHV+RQJ.RQJ7&/2YHUVHDV0DUNHWLQJ/WGRI
1HZ7HUULWRULHV+RQJ.RQJ7&/,QGXVWULHV+ROGLQJV&R/WGRI1HZ7HUULWRULHV+RQJ
.RQJ7&/6PDUW'HYLFH&RRI%DF7DQ8\HQ'LVWULFW9LHWQDP+LVHQVH&R/WGRI4LQJGDR
&KLQD+LVHQVH(OHFWURQLFV0DQXIDFWXULQJ&RRI$PHULFD&RUSRI6XZDQHH*HRUJLD+LVHQVH
,PSRUW ([SRUW&R/WGRI4LQJGDR&KLQD4LQJGDR+LVHQVH(OHFWULF&R/WGRI4LQJGDR
&KLQD+LVHQVH,QWHUQDWLRQDO&R/WGRI6KHQ:DQJ+RQJ.RQJ)XQDL(OHFWULF&R/WGRI
2VDND-DSDQ)XQDL&RUS,QFRI5XWKHUIRUG1HZ-HUVH\DQG)XQDL&R/WGRI1DNKRQ
5DWFKDVLPD7KDLODQG FROOHFWLYHO\³5HVSRQGHQWV´  )HG5HJDW31212. 7KH&RPPLVVLRQ
VXEVHTXHQWO\WHUPLQDWHGWKHLQYHVWLJDWLRQZLWKUHVSHFWWRDOORIWKHUHVSRQGHQWVRWKHUWKDQ5RNX
See 2UGHU1R $SU unreviewed by &RPP¶Q1RWLFH $SU .

                                                 2


                                              Appx4
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       7KH$/-KHOGDQHYLGHQWLDU\KHDULQJIURP$SULO-DQGLVVXHGWKHILQDO,'RQ

-XO\7KH,'ILQGVDYLRODWLRQRI6HFWLRQ EDVHGRQLQIULQJHPHQWRIWKH¶SDWHQW

EHFDXVH L 8(,KDVVWDQGLQJWRDVVHUWWKH¶SDWHQW LL WKHDFFXVHG5RNX8OWUDDQG6RXQGEDU

SURGXFWVLQIULQJHFODLPVDQG-RIWKH¶SDWHQW, DOWKRXJKLWVUHYLVHG8OWUDDQG

6RXQGEDUSURGXFWVGRQRWLQIULQJH WKHDVVHUWHGFODLPV LLL WKHDVVHUWHG FODLPVDUHQRWLQYDOLGDV

REYLRXVDQG LY 8(,VDWLVILHGWKHWHFKQLFDODQGHFRQRPLFSURQJVRIWKHGRPHVWLFLQGXVWU\

UHTXLUHPHQWZLWKUHVSHFWWRWKH¶SDWHQWID DW-02, 105--21, 133, 137.

7KH,'ILQGVQRYLRODWLRQZLWKUHVSHFWWRWKH¶SDWHQWRU¶SDWHQW EHFDXVHWKHLU DVVHUWHG

FODLPVWKRXJKLQIULQJHG DUHLQYDOLGIdDW-38.

       2Q-XO\WKH&RPPLVVLRQLVVXHGDQRWLFHVROLFLWLQJSXEOLFFRPPHQWVRQWKH

SXEOLFLQWHUHVWIDFWRUVLIDQ\WKDWPD\EHLPSOLFDWHGLIDUHPHG\ZHUHWREHLVVXHGSee )HG

RHJ  -XO\  7KH&RPPLVVLRQGLGQRWUHFHLYHDQ\SXEOLFFRPPHQWVLQUHVSRQVH

WRLWVQRWLFH. 1RSDUW\VXEPLWWHGSXEOLFLQWHUHVWFRPPHQWVSXUVXDQWWR&RPPLVVLRQ5XOH

 D   &.F.R. § 210. D  .

       2Q-XO\ERWK8(,DQG5RNXILOHGSHWLWLRQVIRUUHYLHZRIWKHILQDO,'7KH

SDUWLHVILOHGWKHLUUHVSHFWLYHUHSOLHVRQ$XJXVW

       2Q6HSWHPEHUWKH&RPPLVVLRQGHWHUPLQHGWRSDUWLDOO\UHYLHZWKH,'ZLWK

UHVSHFWWR L DOOLVVXHVUHODWLQJWRWKH‫ތ‬SDWHQW 4XHVWLRQV$-'  LL ZKHWKHU8(,VDWLVILHG

WKHWHFKQLFDOSURQJRIWKHGRPHVWLFLQGXVWU\UHTXLUHPHQWZLWKUHVSHFWWRWKH¶SDWHQW

4XHVWLRQ( DQG LLL ZKHWKHU8(,VDWLVILHGWKHHFRQRPLFSURQJRIWKHGRPHVWLFLQGXVWU\

UHTXLUHPHQW XQGHU6HFWLRQ D  % IRUWKH‫ތ‬SDWHQW DQG‫ތ‬SDWHQW 4XHVWLRQ) DVZHOO




                                                  3


                                                Appx5
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DVWKH¶SDWHQW. 3 )HGRHJ 51381, 51382- 6HSW 7KH&RPPLVVLRQGLGQRW

UHYLHZDQ\RWKHULVVXHVUHODWLQJWRWKH‫ތ‬SDWHQWRU‫ތ‬SDWHQWSee id.

       2Q6HSWHPEHU8(,DQG5RNXILOHGWKHLULQLWLDOUHVSRQVHVWRWKH&RPPLVVLRQ¶V

TXHVWLRQVRQUHYLHZDQGUHPHG\WKHSXEOLFLQWHUHVWDQGERQGLQJ 4 2Q2FWREHUWKH

SDUWLHVILOHGWKHLUUHSOLHVWRHDFKRWKHU¶VLQLWLDOVXEPLVVLRQVWRWKH&RPPLVVLRQ 5

       2Q2FWREHUZKLOHWKHLQYHVWLJDWLRQZDVVWLOOSHQGLQJILQDOGHWHUPLQDWLRQE\WKH

&RPPLVVLRQ5RNXILOHGD0RWLRQIRUD/LPLWHG5HRSHQLQJ RIWKH5HFRUGDQGIRUD6KRUWHQHG

5HVSRQVH7LPH ³0RWLRQ´ VRWKDWWKH&RPPLVVLRQFRXOGFRQVLGHUDOOHJHGO\FRQWUDGLFWRU\

GHSRVLWLRQWHVWLPRQ\IURPDFHUWDLQ8(,IDFWZLWQHVVWDNHQLQDQRWKHULQYHVWLJDWLRQLQYROYLQJWKH

VDPHSDUWLHVSURGXFWVDQGWHFKQRORJ\See Certain Televisions, Remote Controls, and

Components Thereof,QY1R-TA- ³WKH,QYHVWLJDWLRQ´ 2QWKHVDPHGDWH5RNX

DQG8(,ILOHGD-RLQW0RWLRQWR$PHQGWKH3URWHFWLYH2UGHUWR$GG3URYLVLRQV5HODWLQJWR

0DWHULDOVIURP,QY1R 337-TA- ³-RLQW$320RWLRQ´ 

       2Q2FWREHUWKH&RPPLVVLRQJUDQWHG5RNX¶VPRWLRQIRUDVKRUWHQHGUHVSRQVH

WLPHGLUHFWLQJ8(,WRILOHLWVUHVSRQVHE\WKHFORVHRIEXVLQHVVRQ1RYHPEHU&RPP¶Q

2UGHU 2FW 7KH&RPPLVVLRQGHQLHGWKHSDUWLHV¶-RLQW$320RWLRQDVPRRWId.




3
  $OWKRXJKWKH&RPPLVVLRQ¶V UHYLHZRIWKHHFRQRPLFSURQJXQGHU6HFWLRQ D  % LQFOXGHG
WKH¶SDWHQW4XHVWLRQ)LWVHOIGLGQRWPHQWLRQWKDWSDWHQW
4
 See &RPSODLQDQW¶V5HVSRQVHWRWKH&RPPLVVLRQ¶V1RWLFHRI5HYLHZ ³8(,¶V5HVS´ 
5HVSRQGHQW5RNX¶V2SHQLQJ6XEPLVVLRQRQWKH,VVXHV8QGHU5HYLHZ5HPHG\DQG%RQGLQJ
DQG3XEOLF,QWHUHVW ³5RNX¶V5HVS´ 
5
 See &RPSODLQDQW¶V5HSO\WR5HVSRQGHQW¶V2SHQLQJ6XEPLVVLRQ5HJDUGLQJWKH&RPPLVVLRQ
1RWLFHRI5HYLHZ ³8(,¶V5HSO\´ 5HVSRQGHQW5RNX¶V5HSO\6XEPLVVLRQRQWKH,VVXHV8QGHU
5HYLHZ5HPHG\DQG%RQGLQJDQG3XEOLF,QWHUHVW ³5RNX¶V5HSO\´ 

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                                                Appx6
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       2Q1RYHPEHU8(,ILOHGLWVRSSRVLWLRQWR5RNX¶V0RWLRQLQDFFRUGDQFHZLWKWKH

&RPPLVVLRQ¶VRUGHU

       7KH&RPPLVVLRQKDYLQJUHYLHZHGWKHSDUWLHV¶VXEPLVVLRQVWKH,'DQGWKHGHSRVLWLRQ

WHVWLPRQ\DWLVVXHKDVGHWHUPLQHGWRGHQ\5RNX¶VPRWLRQWRUHRSHQWKHUHFRUG5RNXDUJXHVWKDW

FHUWDLQGHSRVLWLRQWHVWLPRQ\LQWKH,QYHVWLJDWLRQFRQWUDGLFWVWHVWLPRQ\JLYHQE\WKHVDPH

ZLWQHVVLQWKHSUHVHQWLQYHVWLJDWLRQVXFKWHVWLPRQ\DOOHJHGO\EHLQJPDWHULDOWRWKH,'¶VILQGLQJV

RQWKHWHFKQLFDODQGHFRQRPLFSURQJVRI8(,¶VDVVHUWHGGRPHVWLFLQGXVWU\DQG8(,¶VHYLGHQFHRI

VHFRQGDU\FRQVLGHUDWLRQVRIQRQ-REYLRXVQHVVUHJDUGLQJWKH¶SDWHQW :LWKUHJDUGWR WKH

WHFKQLFDOSURQJIRUWKH¶SDWHQWWKH&RPPLVVLRQILQGVWKDWWKHSURIIHUHGGHSRVLWLRQWHVWLPRQ\

GRHVQRWVKRZWKDWWKH6DPVXQJ',3URGXFWVQHYHUXVH8(,¶V4XLFN6HWVRIWZDUHRUWKDWWKH\

QHYHUSUDFWLFHWKHDVVHUWHGFODLPVRIWKH¶SDWHQW(YHQLI WKHSURIIHUHGWHVWLPRQ\ZHUHWREH

WDNHQLQWRFRQVLGHUDWLRQLWGRHVQRWUHIXWHWKH,'¶VILQGLQJWKDW8(,KDVVDWLVILHGWKHWHFKQLFDO

SURQJRIWKHGRPHVWLFLQGXVWU\UHTXLUHPHQWZLWKUHVSHFWWRWKH¶SDWHQW5RNX¶VRWKHU

DUJXPHQWVDUHPRRWJLYHQWKDWWKH&RPPLVVLRQGLGQRWUHYLHZWKH,'¶VILQGLQJVWKDW8(,

VDWLVILHGWKHHFRQRPLFSURQJUHTXLUHPHQWXQGHU6HFWLRQ D  & DQGWKH&RPPLVVLRQKDV

GHWHUPLQHGWRUHYHUVHWKH,'¶VILQGLQJWKDW5RNXPDGHDprima facie VKRZLQJRIREYLRXVQHVV

ZLWKUHVSHFWWRWKH¶SDWHQWDVGLVFXVVHGEHORZ5RNXDOVRKDVQRWFLWHGDQ\VWDWXWHUXOHRU

SUHFHGHQWLQVXSSRUWRIVXFKDQH[WUDRUGLQDU\UHPHG\$FFRUGLQJO\5RNXKDVQRWVKRZQ

VXIILFLHQWJURXQGVWRZDUUDQWWKHH[WUDRUGLQDU\UHPHG\RIUHRSHQLQJWKHUHFRUGDWWKLVODWHVWDJH

       B.      The Asserted Patents

       The WKUHHSDWHQWVDWLVVXHLQWKH,'UHODWHWRUHPRWHFRQWUROGHYLFHVDQGV\VWHPVWKDWDUH

FDSDEOHRIFRQWUROOLQJPXOWLSOHFRQVXPHUPHGLDGHYLFHVVXFKDVWHOHYLVLRQVVHWWRSER[HV

GLJLWDOYLGHRUHFRUGHUV ³'95V´ GLJLWDOYLGHRGLVF ³'9'´ SOD\HUVDQGRWKHUPHGLDGHYLFHV



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See ,'DW-. The UEI SDWHQWVDUHDOVRGLUHFWHGWRV\VWHPVIRUVWUHDPOLQLQJWKHSURFHVVRI

VHWWLQJXSXQLYHUVDOFRQWUROGHYLFHVRUV\VWHPVIRUFRQWUROOLQJPXOWLSOHPHGLDGHYLFHVId.

       7KHIROORZLQJSDWHQWVDQGFODLPVDUHDVVHUWHGIRULQIULQJHPHQWRUGRPHVWLFLQGXVWU\

       x       ‫ތ‬SDWHQW, FODLPV-DQG-15.

       x       ‫ތ‬SDWHQWFODLPVDQG11, ZKLFKDOOGHSHQGRQXQDVVHUWHGFODLP

       x       ‫ތ‬SDWHQWLQGHSHQGHQWFODLP

,'DW

       C.      The Accused Products

       7KHDFFXVHGSURGXFWVLQFOXGHFHUWDLQ5RNXVWUHDPLQJER[HVVRXQGEDUVDQGDVVRFLDWHG

UHPRWHFRQWUROGHYLFHV,'DW-8(,DFFXVHGERWKWKHRULJLQDODQGUHYLVHGYHUVLRQVRIWKH

5RNX8OWUDDQG5RNX6RXQGEDURILQIULQJLQJWKH‫ތ‬SDWHQWId. DW8(,RULJLQDOO\DFFXVHG

WKH5RNX8OWUD6RXQGEDUDQG6WUHDPLQJ6WLFNVRILQIULQJLQJWKH‫ތ‬SDWHQWEXWODWHUZLWKGUHZ

LWVLQIULQJHPHQWDOOHJDWLRQVZLWKUHVSHFWWRWKH5RNX6WUHDPLQJ6WLFNVId.

       D.      The Domestic Industry Products

       )RUWKH¶DQG¶SDWHQWV 8(,¶VGRPHVWLFLQGXVWU\SURGXFWVLQFOXGHFHUWDLQ

WHOHYLVLRQVPDQXIDFWXUHGE\WKLUGSDUW\6DPVXQJWKDWLQFRUSRUDWH8(,¶V4XLFN6HWVRIWZDUH

³6DPVXQJ',3URGXFWV´ ZKLFKSXUSRUWHGO\HQDEOHVWKH6DPVXQJ',3URGXFWVWRVDWLVI\FHUWDLQ

FODLPIXQFWLRQV  ID DWUEI EDVHVLWVGRPHVWLFLQGXVWU\RQLWVRZQLQYHVWPHQWVLQWKH

GHYHORSPHQWPDLQWHQDQFHLPSURYHPHQWDQGLQWHJUDWLRQRILWV4XLFN6HWVRIWZDUHLQWRWKH

6DPVXQJ',3URGXFWV WHOHYLVLRQV Id. DW-37.





 8(,UHOLHVRQFHUWDLQUHPRWH FRQWUROGHYLFHVIRULWVGRPHVWLFLQGXVWU\ZLWKUHVSHFWWRWKH¶
SDWHQWZKLFKLVQRWSUHVHQWO\DWLVVXH See ,'DW GLVFXVVLQJ2UGHU1R -DQ 
unreviewed by &RPP¶Q1RWLFH )HE 

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III.   COMMISSION REVIEW OF THE FINAL ID

       :KHQWKH&RPPLVVLRQUHYLHZVDQLQLWLDOGHWHUPLQDWLRQLQZKROHRULQSDUWLWUHYLHZVWKH

GHWHUPLQDWLRQde novo. Certain Soft-Edged Trampolines and Components Thereof,QY1R-

TA-&RPP¶Q2SDW 0D\ 8SRQUHYLHZWKH³&RPPLVVLRQKDVµDOOWKHSRZHUV

ZKLFKLWZRXOGKDYHLQPDNLQJWKHLQLWLDOGHWHUPLQDWLRQ¶H[FHSWZKHUHWKHLVVXHVDUHOLPLWHGRQ

QRWLFHRUE\UXOH´Certain Flash Memory Circuits & Prods. Containing Same,QY1R-

TA-86,7&3XE1R&RPP¶Q2SDW– -XO\  TXRWLQJCertain Acid-Washed

Denim Garments & Accessories,QY1R-TA-&RPP¶Q2SDW 1RY :LWK

UHVSHFWWRWKHLVVXHVXQGHUUHYLHZ³WKH&RPPLVVLRQPD\DIILUPUHYHUVHPRGLI\VHWDVLGHRU

UHPDQGIRUIXUWKHUSURFHHGLQJVLQZKROHRULQSDUWWKHLQLWLDOGHWHUPLQDWLRQRIWKHDGPLQLVWUDWLYH

ODZMXGJH´&)5 F 7KH&RPPLVVLRQDOVR³PD\WDNHQRSRVLWLRQRQVSHFLILF

LVVXHVRUSRUWLRQVRIWKHLQLWLDOGHWHUPLQDWLRQ´DQG³PD\PDNHDQ\ILQGLQJRUFRQFOXVLRQVWKDWLQ

LWVMXGJPHQWDUHSURSHUEDVHGRQWKHUHFRUGLQWKHSURFHHGLQJ´Id.; see also Beloit Corp. v.

Valmet Oy)G )HG&LU 

IV.    ANALYSIS

       )RUWKHUHDVRQVVHWIRUWKEHORZWKH&RPPLVVLRQKDVGHWHUPLQHGWRDIILUPWKH,'¶V

ILQGLQJVRILQIULQJHPHQWDQGYDOLGLW\RIWKH‫ތ‬SDWHQWZLWKVRPHFODULILFDWLRQV7KH

&RPPLVVLRQDOVRDIILUPVWKH,'¶VILQGLQJRIQRYLRODWLRQZLWKUHVSHFWWRWKH‫ތ‬SDWHQWDOEHLW

ZLWKVRPHPRGLILFDWLRQWRLWVILQGLQJWKDW8(,VDWLVILHG WKHWHFKQLFDOSURQJRIWKHGRPHVWLF

LQGXVWU\UHTXLUHPHQW. 7KH&RPPLVVLRQWDNHVQRSRVLWLRQRQZKHWKHU8(,VDWLVILHGWKHHFRQRPLF

SURQJXQGHUSHFWLRQ D  % ZLWKUHVSHFWWRDQ\RIWKHDVVHUWHGSDWHQWV. 7KH&RPPLVVLRQ

GHWHUPLQHGQRWWRUHYLHZDQGWKXVDGRSWHGWKH,'¶VILQGLQJVWKDW8(,VDWLVILHGWKHHFRQRPLF

SURQJUHTXLUHPHQWZLWKUHVSHFWWRDOOWKUHHSDWHQWVXQGHU6HFWLRQ D  & See ,'DW-



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)HG5HJDW7KH&RPPLVVLRQRWKHUZLVHDIILUPVDQGDGRSWVWKH,'¶VILQGLQJV

FRQFOXVLRQVDQGVXSSRUWLQJDQDO\VeVWKDWDUHQRWLQFRQVLVWHQWZLWKWKLVRSLQLRQ

       A.      7KH‫ތ‬3DWHQW

       7KH&RPPLVVLRQGHWHUPLQHGWRUHYLHZDOOLVVXHVUHODWLQJWRWKH‫ތ‬SDWHQWLQFOXGLQJWKH

FRQVWUXFWLRQDQGDSSOLFDWLRQRIWKHWHUP³IRUXVHLQFRQILJXULQJWKHUHPRWHFRQWUROGHYLFHWR

WUDQVPLW´ LQWKHILQDOFODXVHRIFODLP, LQIULQJHPHQW, DQGLQYDOLGLW\. See &RPP¶Q1RWLFH

)HG5HJDW 4XHVWLRQV$-'  7KH&RPPLVVLRQDGRSWVWKH,'¶VILQGLQJVDVWRWKH¶

SDWHQWQRWDGGUHVVHGEHORZLQFOXGLQJWKH,'¶VILQGLQJWKDW8(,KDVVWDQGLQJWRDVVHUWWKH‫ތ‬

SDWHQW ,'DW- , WKDW8(,KDVVDWLVILHGWKHWHFKQLFDOSURQJRIWKHGRPHVWLFLQGXVWU\

UHTXLUHPHQW id. DW- DQGWKDW8(,KDVVDWLVILHGWKHHFRQRPLFSURQJ RIWKHGRPHVWLF

LQGXVWU\UHTXLUHPHQWXQGHU6HFWLRQ D  & ZLWKUHVSHFWWRWKH¶SDWHQW id. DW- 

               1.      Background

       7KH¶SDWHQWLVGLUHFWHGWRDKDUGZDUHVRIWZDUHXQLWFDOOHGD8QLYHUVDO&RQWURO(QJLQH

³8&(´ ZKLFKFDQLGHQWLI\DQGVHOHFWWKHRSWLPDOFRPPXQLFDWLRQVSDWKZD\IRUWUDQVPLWWLQJ

FRPPDQGVLJQDOVWRFRQWUROHDFKWDUJHWGHYLFH, EDVHGRQLQIRUPDWLRQDERXWWKDWGHYLFHUHFHLYHG

IURPD UHPRWHFRQWURO GHYLFH. See ¶SDWHQWDW$EVWUDFW--20. )RUH[DPSOHLQ

)LJXUHEHORZWKH8&((100) LVDVWDQG-DORQHGHYLFHWKDWFDQWUDQVPLWFRQVXPHUHOHFWURQLF

FRQWURO ³&(&´ FRPPDQGVRYHUDKLJK-GHILQLWLRQPXOWLPHGLDLQWHUIDFH ³+'0,´ FRQQHFWLRQWR

FRQQHFWHGPHGLDGHYLFHVVXFKDVDWHOHYLVLRQ  RU LWFDQGHVLJQDWHWKHUHPRWHFRQWURO GHYLFH

(200) WRWUDQVPLWFRPPDQGVYLDLQIUDUHG ³,5´ (210) RUDQRWKHUZLUHOHVVIUHTXHQF\WRFRQWURO

RWKHUWDUJHWGHYLFHVVXFKDVDDVD SOD\HU(108) RU DVR (110). Id. DW-44-)LJ




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¶SDWHQW)LJ2. The UCE PD\EHHLWKHUDVWDQG-DORQHGHYLFHRULWPD\EHLQFRUSRUDWHGLQWRD

PHGLDGHYLFHVXFKDVDWHOHYLVLRQId. DW---)LJV, 4.

       7KHFODLPHGLQYHQWLRQLVGLUHFWHGWRWKHVHW-XSRIWKH³ILUVWPHGLDGHYLFH´ e.g.8&( DQG

DUHPRWHFRQWURO GHYLFHIRUFRQWUROOLQJDWDUJHWGHYLFHVXFKDVDWHOHYLVLRQ RU'95. See id. DW

- FODLP $IWHUWKHXVHUHQWHUVLQIRUPDWLRQLGHQWLI\LQJWKHW\SHDQGEUDQGRIDWDUJHW

GHYLFH ³VHFRQGPHGLDGHYLFH´ WKHUHPRWHFRQWUROWUDQVPLWV³ILUVWGDWD´WRWKH8&(LQGLFDWLQJ

ZKHWKHUWKDW WDUJHWGHYLFHZLOOEH³UHVSRQVLYH´RU³XQUHVSRQVLYH´WRD³ILUVWFRPPDQG´ e.g., D

&(&FRPPDQG VHQWRYHU+'0, Id. DW---,IWKe ³ILUVWGDWD´

LQGLFDWHVWKDWWKHWDUJHWGHYLFHZLOOEHUHVSRQVLYHWRFRPPDQGVVHQWRYHU+'0,WKHQWKH³ILUVW

PHGLDGHYLFH´ZLOOEHFRQILJXUHGWRWUDQVPLWFRPPDQGVRYHU+'0,WR WKHWDUJHWGHYLFHSee id.



                                                  


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DW--55, )LJV7KLVLVUHIHUUHGWRDVWKH³UHVSRQVLYH´FDVHDVVHWIRUWKLQ

OLPLWDWLRQ>H@>L@ RIFODLPEHORZSee id. DW-21.

       ,IRQWKHRWKHUKDQGWKH³ILUVWGDWD´LQGLFDWHVWKDWWKHWDUJHWGHYLFHZLOOQRWEHUHVSRQVLYH

WRDFRPPDQGVHQWRYHU+'0,WKHQWKH8&(ZLOOWUDQVPLW³VHFRQGGDWD´WRWKHUHPRWHFRQWURO

³IRUXVHLQFRQILJXULQJWKHUHPRWHFRQWURO´WRLVVXHDFRPPDQG e.g.YLD,5 IRUGLUHFWO\

FRQWUROOLQJWKHWDUJHWGHYLFH. See id. DW-38. ThLVLVWKH³XQUHVSRQVLYH´FDVHDVVHWIRUWKLQ

WKHILQDOFODLPOLPLWDWLRQ>H@>LL@EHORZ See idDW- OLPLWDWLRQ>H@>LL@ . $VDUHVXOW RI

WKH³UHVSRQVLYH´DQG³XQUHVSRQVLYH´FDVHV, WKHV\VWHPFDQ EHFRQILJXUHGWRFRQWUROPXOWLple

GHYLFHVXVLQJWKHPRVWDSSURSULDWHSDWKZD\IRUHDFKGHYLFHId. DW$EVWUDFW-,'DW-.

       &ODLPUHFLWHVWKHIROORZLQJZLWK EUDFNHWHGOHWWHUVDGGHGWRLGHQWLI\FHUWDLQOLPLWDWLRQV

DQGWKHFODLPWHUPVLQGLVSXWHLGHQWLILHGE\LWDOLFV

       1. >S@ $ILUVWPHGLDGHYLFHFRPSULVLQJ

               >D@ DSURFHVVLQJGHYLFH

               >E@ DKLJK-GHILQLWLRQPXOWL-PHGLDLQWHUIDFH>+'0,@FRPPXQLFDWLRQVSRUW
                   FRXSOHGWRWKHSURFHVVLQJGHYLFHIRUFRPPXQLFDWLYHO\FRQQHFWLQJWKH
                   ILUVWPHGLDGHYLFHWRDVHFRQGPHGLDGHYLFH

               >F@ DWUDQVPLWWHUFRXSOHGWRWKHSURFHVVLQJGHYLFHIRUFRPPXQLFDWLYHO\
                   FRXSOLQJWKHILUVWPHGLDGHYLFHWRDUHPRWHFRQWUROGHYLFHDQG

               >G@ DPHPRU\GHYLFHFRXSOHGWRWKHSURFHVVLQJGHYLFHKDYLQJVWRUHG
                   WKHUHRQSURFHVVRUH[HFXWDEOHLQVWUXFWLRQ

               >H@ ZKHUHLQWKHLQVWUXFWLRQVZKHQH[HFXWHGE\WKHSURFHVVLQJGHYLFH

                   >L@ FDXVHWKHILUVWPHGLDGHYLFHWREHFRQILJXUHGWRWUDQVPLWDILUVW
                   FRPPDQGGLUHFWO\WRWKHVHFRQGPHGLDGHYLFHYLDXVHRIWKHKLJK-
                   GHILQLWLRQPXOWL-PHGLD>+'0,@FRPPXQLFDWLRQVSRUWWRFRQWURODQ
                   RSHUDWLRQDOIXQFWLRQRIWKHVHFRQGPHGLDGHYLFHZKHQDILUVWGDWD
                   SURYLGHGWRWKHILUVWPHGLDGHYLFHLQGLFDWHVWKDWWKHVHFRQGPHGLD
                   GHYLFHZLOOEHUHVSRQVLYHWRWKHILUVWFRPPDQGDQG

                   >LL@ FDXVHWKHILUVWPHGLDGHYLFHWREHFRQILJXUHGto transmit a second
                   data to a remote control deviceYLDXVHRIWKHWUDQVPLWWHUfor use in

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                    configuring the remote control device to transmit a second command
                    GLUHFWO\WRWKHVHFRQGPHGLDGHYLFHYLDXVHRIDFRPPXQLFDWLYH
                    FRQQHFWLRQEHWZHHQWKHUHPRWHFRQWUROGHYLFHDQGWKHVHFRQGPHGLD
                    GHYLFHWRFRQWUROWKHRSHUDWLRQDOIXQFWLRQRIWKHVHFRQGPHGLDGHYLFH
                    ZKHQWKHILUVWGDWDSURYLGHGWRWKHILUVWPHGLDGHYLFHLQGLFDWHVWKDWWKH
                    VHFRQGPHGLDGHYLFHZLOOEHXQUHVSRQVLYHWRWKHILUVWFRPPDQG

‫ތ‬SDWHQWDW- EUDFNHWHGOHWWHUVHPSKDVLVDGGHG 

               2.      Claim Construction

       7KHSDUWLHV¶LQIULQJHPHQWGLVSXWHIRFXVHV SULPDULO\RQOLPLWDWLRQ>H@>LL@ZKLFKVWDWHV

WKDWLIWKH³ILUVWGDWD´LQGLFDWHVWKHWDUJHWGHYLFH ³VHFRQGPHGLDGHYLFH´ ZLOOEH³XQUHVSRQVLYH´

WRDFRPPDQGVHQWYLD+'0,WKHQWKe ³ILUVWPHGLDGHYLFH´ e.g.8&( ZLOOWUDQVPLWD³VHFRQG

GDWD´WRWKHUHPRWHFRQWURO GHYLFH ³for use in configuring the remote control device to transmit a

second command´WRWKHWDUJHWGHYLFHIRU FRQWUROOLQJWKDWWDUJHWGHYLFHSee ‫ތ‬SDWHQWDW

- OLPLWDWLRQ>H@>LL@ HPSKDVLVDGGHG .

       7KHSDUWLHVGLGQRWVHHNDFRQVWUXFWLRQRI³IRUXVHLQFRQILJXULQJWKHUHPRWHFRQWUROWR

WUDQVPLW´GXULQJWKHMarkman SURFHHGLQJV. See 2UGHU1R 2FW  Markman RUGHU .

7KH$/-DOVRGLGQRW SURYLGHDFRQVWUXFWLRQ LQHLWKHUWKHMarkman RUGHURUWKH,'DSDUWIURP

DSSO\LQJWKDWWHUPDFFRUGLQJWRLWVSODLQDQGRUGLQDU\PHDQLQJId.; ,'DW

       7KH,'DGGUHVVHVWKHWHUPRQO\DVSDUWRILWVLQIULQJHPHQWDQDO\VLVILQGLQJWKDW³5RNX

PLVFKDUDFWHUL]HV>FODLP¶V@UHTXLUHPHQWVDQGWRWKHH[WHQW5RNX¶VSRVLWLRQLPSOLFDWHVFODLP

FRQVWUXFWLRQLWVSURSRVHGFRQVWUXFWLRQLVUHMHFWHG´,'DWThe ,'ILQGVQRUHTXLUHPHQWWKDW

WKH³VHFRQGGDWD´PXVW DFWXDOO\FKDQJHWKHFRQILJXUDWLRQRUVHWWLQJVRIWKHUHPRWHFRQWURODV

5RNXDUJXHGId. ³,WLVHQRXJKWKDWWKHVHFRQGGDWDLVµIRUXVHLQFRQILJXULQJWKHUHPRWHFRQWURO

GHYLFH¶WRSHUIRUPLWVSDUWLFXODURSHUDWLRQ´WKH,'ILQGVId. DW-The ,'DOVRILQGVLWWREH

LUUHOHYDQWZKHWKHUDGGLWLRQDOGDWDLVFRPPXQLFDWHGEHWZHHQWKHUHFHLSWRIWKH³ILUVWGDWD´DQGWKH

WUDQVPLVVLRQRIWKH³VHFRQGGDWD´SURYLGHGWKH³VHFRQGGDWD´LV³IRUXVHLQFRQILJXULQJWKH


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UHPRWHFRQWUROGHYLFH´DQG³WRFRQWUROWKHRSHUDWLRQDOIXQFWLRQRIWKHVHFRQGPHGLDGHYLFH´Id.

DW GLVFXVVLQJ‫ތ‬SDWHQWDW- 

       7KH&RPPLVVLRQDVNHGWKHSDUWLHVRQUHYLHZZKHWKHUWKHWHUP³IRUXVHLQFRQILJXULQJWKH

UHPRWH FRQWUROGHYLFHWRWUDQVPLW´UHTXLUHVFRQVWUXFWLRQDQGLIVRZKDWFRQVWUXFWLRQ VKRXOGEH

DGRSWHG. &RPP¶Q1RWLFH)HG5HJDW 4XHVWLRQ $ . 8(,DUJXHGWKDWWKHWHUPGRHV

QRWUHTXLUHFRQVWUXFWLRQDVQHLWKHUSDUW\LGHQWLILHGLWIRUFRQVWUXFWLRQGXULQJWKHMarkman

SURFHHGLQJDQGQRSDUW\RUH[SHUWKDVLGHQWLILHGDQ\VSHFLDOOH[LFRJUDSK\GLVFODLPHURURWKHU

HYLGHQFHWKDWZRXOGZDUUDQWGHSDUWXUHIURPWKHWHUP¶VRUGLQDU\PHDQLQJSee 8(,¶V5HVSDW-

 5RNXDUJXHVWKDWWKHWHUP³IRUXVHLQFRQILJXULQJWKHUHPRWHFRQWURO´VKRXOGEHFRQVWUXHG

DFFRUGLQJWRLWVSODLQDQGRUGLQDU\PHDQLQJWRUHTXLUHWKDWWKH³VHFRQGGDWDPXVWEHXVHGLQ

FKDQJLQJWKHVHWWLQJVRIWKHUHPRWHFRQWURO´See 5RNX¶V5HVSDW-3.

       2QUHYLHZRIWKHSDUWLHV¶EULHIVWKH,'DQGHYLGHQFHRIUHFRUGWKH&RPPLVVLRQDIILUPV

WKH,'¶VILQGLQJWKDW³IRUXVHLQFRQILJXULQJWKHUHPRWHFRQWUROWRWUDQVPLW´VKRXOGEHXQGHUVWRRG

DQGDSSOLHGDFFRUGLQJWRLWVSODLQDQGRUGLQDU\PHDQLQJ LQWKHDUWLQWKHFRQWH[WRIWKHSDWHQW¶V

LQWULQVLFHYLGHQFHi.e.LWVFODLPODQJXDJHVSHFLILFDWLRQDQGSURVHFXWLRQKLVWRU\. See Phillips v.

AWH Corp., )G-17 )HG&LU cert. denied86   The

&RPPLVVLRQDIILUPVWKH,'¶VUHMHFWLRQRI5RNX¶VDWWHPSWWRQDUURZWKLVWHUPWRPHDQWKH

³VHFRQGGDWD´LWVHOI³PXVWEHXVHGLQFKDQJLQJWKHVHWWLQJVLQWKHUHPRWHFRQWURO´See 5RNX¶V

5HVSDW7KHUHLVQRWKLQJLQWKHFODLPODQJXDJHRUVSHFLILFDWLRQWKDWUHTXLUHVWKH³VHFRQG

GDWD´WRFKDQJHDQ\VHWWLQJVRUGLUHFWO\FRQILJXUHWKHUHPRWHFRQWURO,QFRQWUDVWFODLPVWDWHV

WKDWWKHH[HFXWHGLQVWUXFWLRQVPXVW³cause WKHILUVWPHGLDGHYLFHto be configured WRWUDQVPLW´D

³ILUVWFRPPDQG´RU³VHFRQGGDWD´UHVSHFWLYHO\LQWKH³UHVSRQVLYH´RU³XQUHVSRQVLYHFDVH´See

‫ތ‬SDWHQWDW-- HPSKDVLVDGGHG 7KHWHUP³for use LQFRQILJXULQJ´LVEURDGHU



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WKDQ³cause WREHFRQILJXUHG´WKHWHUP³IRUXVHLQFRQILJXULQJ´GRHVQRWUHTXLUHWKH³VHFRQG

GDWD´WRGLUHFWO\RULPPHGLDWHO\FKDQJHDQ\VHWWLQJVRUFRQILJXUDWLRQ RIWKHUHPRWHFRQWURO

        The SDUWLHVKDYHQRWLGHQWLILHGQRUKDVWKH&RPPLVVLRQIRXQGDQ\ VSHFLDOGHILQLWLRQRU

GLVFODLPHULQWKH LQWULQVLFUHFRUGRIWKH ‫ތ‬SDWHQWWKDWZDUUDQWV GHSDUWXUHIURPWKH WHUP¶V

RUGLQDU\PHDQLQJ7RWKHFRQWUDU\WKHVSHFLILFDWLRQVD\VOLWWOHDERXW³FRQILJXULQJ´WKHUHPRWH

FRQWUROGHYLFH, DSDUWIURPVHQGLQJFRPPXQLFDWLRQVEHWZHHQWKHUHPRWHFRQWURODQG8&(. See,

e.g., idDW-----7KHVSHFLILFDWLRQDOVRVWDWHVWKDW³WKH

8&(PD\ GHOHJDWHWKHWUDQVPLVVLRQRI,5FRPPDQGV210 WRWKHUHPRWHFRQWUROGHYLFH200, i.e.,

XVHUHPRWHFRQWURO200 DVa relay device IRUWKRVHFRPPDQGVGHWHUPLQHGWREHEHVWH[HFXWHGYLD

,5WUDQVPLVVLRQV´IdDW-50 HPSKDVLVDGGHG . 7KLVSDVVDJHPDNHVQRPHQWLRQRI

³FRQILJXULQJ´WKHUHPRWHFRQWURORUFKDQJLQJLWVVHWWLQJVLWVD\VRQO\WKDWWKHUHPRWHFRQWURO

PD\EHXVHGVLPSO\DVD³UHOD\GHYLFH´See id. 7RWKHH[WHQWWKLVSDVVDJHLVUHOHYDQWWRFODLP

LWGRHVQRWUHTXLUHWKDWWKH³VHFRQGGDWD´FKDQJHDQ\VHWWLQJVRUFRQILJXUDWLRQLQWKHUHPRWH

FRQWURODQGWKXVGRHVQRWVXSSRUW5RNX¶VPRUHQDUURZFRQVWUXFWLRQ.

        7KH&RPPLVVLRQDOVRUHMHFWV5RNX¶VDWWHPSWWROLPLWWKHVFRSHRIWKHFODLPWHUPWRD

SDUWLFXODUHPERGLPHQWLQUHODWHG863DWHQW$SSOLFDWLRQ 3XEOLFDWLRQ ³WKH‫ތ‬

$SSOLFDWLRQ´ RUGLFWLRQDU\GHILQLWLRQ. See 5RNX¶V5HVSDW-2. 5RNX KDVZDLYHGWKLVDUJXPHQW

E\IDLOLQJWR UDLVHLWLQLWVSUH-KHDULQJEULHISRVW-KHDULQJEULHI, RUSHWLWLRQIRUUHYLHZSee 2UGHU

1R 0D\ *URXQG5XOHV 13.1 &)5 &RPPLVVLRQ5XOH 

        (YHQLILWZHUHWLPHO\5RNX¶VDUJXPHQWZRXOGIDLORQLWVPHULWV7RWKHH[WHQWWKH¶

SDWHQWPHQWLRQVWKH‫ތ‬$SSOLFDWLRQDSDUWIURPDJHQHULFLQFRUSRUDWLRQRIWKLVDQGRWKHUUHODWHG

DSSOLFDWLRQV see ‫ތ‬SDWHQWDW- WKHVSHFLILFDWLRQUHIHUVRQO\WRWKHWHDFKLQJVRIWKH¶

$SSOLFDWLRQDERXWVFDQQLQJ+'0,DSSOLDQFHVWRLGHQWLI\WKRVHWKDWDUH&(&FRPSDWLEOH id. DW



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- The SDVVDJH5RNXDFWXDOO\TXRWHVWRVXSSRUWLWVSRVLWLRQKRZHYHUGRHVQRWDGGUHVV

VXFKVFDQQLQJEXWVWDWHV RQO\WKDWWKHUHPRWHFRQWUROGHYLFH³PD\EHFRQILJXUHG´WRLQFOXGH

VWRULQJ DSRLQWHURUGRZQORDGLQJGDWDIURPDUHPRWHVHUYHU. TKH¶$SSOLFDWLRQGRHVQRWUHIHU

WRGDWD³IRUXVHLQFRQILJXULQJ´WKHUHPRWHFRQWUROSee 5RNX¶V5HVSDW FLWLQJ‫ތ‬072

$SSOLFDWLRQ  7KXVWKHLQWULQVLFUHFRUGGRHVQRWVKRZWKDWDSHUVRQVNLOOHGLQWKHDUWZRXOG

LQWHUSUHWWKHWHUP³IRUXVHLQFRQILJXULQJWKHUHPRWHFRQWURO´DVQDUURZO\DV5RNXDUJXHV.

        The &RPPLVVLRQWKXVDGRSWVWKH,'¶VILQGLQJVUHJDUGLQJFRQVWUXLQJDQGDSSO\LQJWKH

WHUP³IRUXVHLQFRQILJXULQJWKHUHPRWHFRQWUROGHYLFHWRWUDQVPLW´DFFRUGLQJWRLWVSODLQDQG

RUGLQDU\PHDQLQJ7KH³VHFRQGGDWD´PXVWEHXVHGLQWKHSURFHVVRIFRQILJXULQJWKHUHPRWH

FRQWUROEXWLWGRHVQRWQHHGWRDFWXDOO\RUGLUHFWO\FKDQJHDQ\VHWWLQJVLQWKHUHPRWHFRQWURODV

WKH,'FRUUHFWO\ILQGV. ,'DW-

                3.      Infringement

        7KH&RPPLVVLRQDVNHGWKHSDUWLHVZKHWKHULQYLHZRIWKHLUUHVSRQVHWR4XHVWLRQ $ 

DERYHWKHDFFXVHG5RNXSURGXFWVLQIULQJHFODLPRIWKH‫ތ‬SDWHQWSee &RPP¶Q1RWLFH

FeG5HJDW 4XHVWLRQ % . The &RPPLVVLRQKDVGHWHUPLQHGRQUHYLHZWRDIILUPWKH

,'¶VILQGLQJWKDWWKH5RNX8OWUDDQG6RXQGEDUSURGXFWVLQIULQJHWKH‫ތ‬SDWHQW. 7

                        a.      Legal Standard

        6HFWLRQ SURKLELWV³WKH LPSRUWDWLRQLQWRWKH8QLWHG6WDWHVWKHVDOHIRULPSRUWDWLRQRU

WKHVDOHZLWKLQWKH8QLWHG6WDWHVDIWHULPSRUWDWLRQRIDUWLFOHVWKDWLQIULQJHDYDOLGDQG

HQIRUFHDEOH8QLWHG6WDWHVSDWHQW´86& D  % 'LUHFWLQIULQJHPHQWLQFOXGHV




7
  7KLVVHFWLRQDGGUHVVHVRQO\WKHRULJLQDOYHUVLRQVRIWKHDFFXVHG5RNX8OWUDDQG6RXQGEDU
SURGXFWVFXUUHQWO\LQGLVSXWH. See ,'DW-7. The &RPPLVVLRQDIILUPVWKH,'¶VILQGLQJVWKDWWKH
UHYLVHG5RNX8OWUDDQG6RXQGEDUSURGXFWVGRQRWLQIULQJHWKH‫ތ‬SDWHQWSee id. DW-102.

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PDNLQJXVLQJRIIHULQJWRVHOORUVHOOLQJDSDWHQWHGLQYHQWLRQRULPSRUWLQJDSDWHQWHGLQYHQWLRQ

LQWRWKH8QLWHG6WDWHVZLWKRXWFRQVHQWRIWKHSDWHQWRZQHU86& D 

          7RSURYHGLUHFWLQIULQJHPHQWWKHSODLQWLIIPXVWHVWDEOLVKE\DSUHSRQGHUDQFHRIWKH

HYLGHQFHWKDWRQHRUPRUHFODLPVRIWKHDVVHUWHGSDWHQWUHDGRQWKHDFFXVHGSURGXFWRUSURFHVV

HLWKHUOLWHUDOO\RUXQGHUWKHGRFWULQHRIHTXLYDOHQWV 8 Advanced Cardiovascular Sys., Inc. v.

Scimed Life Sys., Inc.)G )HG&LU (DFKOLPLWDWLRQLQDSDWHQWFODLPLV

FRQVLGHUHGPDWHULDODQGHVVHQWLDOWRDQLQIULQJHPHQWGHWHUPLQDWLRQSee London v. Carson Pirie

Scott & Co.)G )HG&LU ³/LWHUDOLQIULQJHPHQWRIDFODLPH[LVWVZKHQ

HDFKRIWKHFODLPOLPLWDWLRQVUHDGVRQRULQRWKHUZRUGVLVIRXQGLQWKHDFFXVHGGHYLFH´Allen

Eng. Corp. v. Bartell Indus.)G )HG&LU ,IDQ\FODLPOLPLWDWLRQLV

IRXQGWREHDEVHQWIURPWKHDFFXVHGSURGXFWRU SURFHVVWKHQWKHUHLVQROLWHUDOLQIULQJHPHQW

Bayer AG v. Elan Pharm. Research Corp.)G )HG&LU 

                         b.      The Accused Roku Products

          The ,'ILQGVWKDWWKHDFFXVHG5RNX8OWUDDQG5RNX6RXQGEDUDUHHDFKPHGLDVWUHDPLQJ

GHYLFHV ³ILUVWPHGLDGHYLFH´ ZLWKDSURFHVVRU ³SURFHVVLQJGHYLFH´ D³PHPRU\GHYLFH´

FRXSOHGWRWKHSURFHVVRUIRUVWRULQJ³H[HFXWDEOHLQVWUXFWLRQV´DQ+'0,SRUWFRXSOHGWRWKH

SURFHVVRU IRUFRPPXQLFDWLQJZLWKDWDUJHWGHYLFH ³VHFRQGPHGLDGHYLFH´ DQGD³WUDQVPLWWHU´

FRXSOHGWRWKHSURFHVVRU IRUFRPPXQLFDWLQJZLWKD³UHPRWHFRQWUROGHYLFH´See ,'DW-.

          7KH,'ILQGVWKDWGXULQJVHW-XSWKH5RNXGHYLFHWUDQVPLWVD &(&FRPPDQGRYHU+'0,

i.e., WRPXWHWKHWHOHYLVLRQRU WR WXUQLWRII DQGTXHULHVWKHXVHUWRFRQILUPZKHWKHUWKDWCEC

FRPPDQGKDVEHHQVXFFHVVIXO i.e., ³LVWKHWHOHYLVLRQPXWHG?´ RU³LVWKHWHOHYLVLRQRII"´ Id. DW

 ,IWKHXVHUFRQILUPVWKH+'0,&(&WHVWFRPPDQGZDVVXFFHVVIXO i.e., WKHWHOHYLVLRQLV


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    7KHGRFWULQHRIHTXLYDOHQWVLVQRWDWLVVXHKHUH

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PXWHRURII WKHQWKHDFFXVHG5RNXGHYLFHLVFRQILJXUHGWRWUDQVPLW&(&FRPPDQGVGLUHFWO\WR

WKHWHOHYLVLRQYLDWKH+'0,FRQQHFWLRQId. DW

        ,IRQWKHRWKHUKDQGWKHXVHUUHVSRQGVWKDWWKH+'0,&(&WHVWFRPPDQGZDVQRW

VXFFHVVIXO i.e.WKHWHOHYLVLRQZDVQRWPXWHGRUWXUQHGRII WKHQWKHDFFXVHG5RNXGHYLFHVZLOO

VHQGWHVWFRGHVWRWKHUHPRWHFRQWUROIRUVHQGLQJ,5FRPPDQGVIURPWKHUHPRWHFRQWUROWR

GLUHFWO\FRQWUROWKHWHOHYLVLRQId. DW-7KHSURFHVVLVLWHUDWLYHWKH,' H[SODLQVLQWKDWWKH

DFFXVHG5RNXGHYLFHVPD\VHQGPXOWLSOHFRGH VHWVVXFFHVVLYHO\XQWLOLWLGHQWLILHVWKHFRGH VHW

WKDWZLOOHIIHFWLYHO\FRQWUROWKHWDUJHWWHOHYLVLRQWKHXVHUDEDQGRQVWKHSURFHVVRUWKHXVHUVWDUWV

RYHUE\LGHQWLI\LQJDGLIIHUHQWEUDQGRIWHOHYLVLRQId. DW 5RNXDFNQRZOHGJHVWKDWWKH

VXFFHVVIXO,5FRGHVHWZKHWKHULGHQWLILHGWKHILUVWWLPHRUDIWHUPXOWLSOHWULHV ³LVIRUXVHLQ

FRQILJXULQJWKHUHPRWHFRQWURO´EHFDXVHLWLVVWRUHGLQWKHVHWWLQJVRIWKHUHPRWHFRQWURODQGLV

XVHGWRJHQHUDWHDOOVXEVHTXHQWWUDQVPLVVLRQVRI,5FRPPDQGV 5RNX¶V5HVSDW-

                        c.      Analysis

        7KH&RPPLVVLRQDIILUPVWKH,'¶VILQGLQJWKDWWKHDFFXVHG5RNX8OWUDDQG6RXQGEDU

SURGXFWVLQIULQJHLQGHSHQGHQWFODLPDQGGHSHQGHQWFODLPVDQG-15 RIWKH‫ތ‬SDWHQW

,'DW 7KHUHLVQRGLVSXWHWKDWWKHDFFXVHG5RNXSURGXFWVVDWLVI\WKHKDUGZDUHOLPLWDWLRQVRI

FODLP WKHSUHDPEOHDQGOLPLWDWLRQV>D@->G@ IRUWKHUHDVRQVJLYHQLQWKH,'Id. DW-

        The ID DOVRSURSHUO\ILQGVWKDWWKHXVHU¶VUHVSRQVH \HVRUQR WRWKHTXHU\IURPWKH

DFFXVHG5RNXGHYLFH i.e.³LVWKHWHOHYLVLRQPXWHG"´RU³LVWKHWHOHYLVLRQRII"´ FRUUHVSRQGVWR

WKH³ILUVWGDWD´LQFODLP ,'DW7KH,'¶VDSSOLFDWLRQRIWKLVWHUPLVFRQVLVWHQWZLWKWKH

VSHFLILFDWLRQ, ZKLFKGHVFULEHVWKHLQYHQWLRQLQWHUPVRIDIORZFKDUWZKHUHLQWKHXVHULVSURPSWHG

WRUHVSRQGWRYDULRXVLQTXLULHV LQWKHIORZFKDUW¶VGHFLVLRQWUHH. See, e.g., ‫ތ‬SDWHQWDW-53

VROLFLWLQJXVHU¶VUHVSRQVHVWRFHUWDLQHIIHFWV-REVHUYDEOHFRPPDQGVGXULQJWHVWLQJ 0 LQ)LJ 

7- VROLFLWLQJXVHU¶VUHVSRQVHVGXULQJWHVWLQJ1528 LQ)LJ 
                                                   


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       The &RPPLVVLRQDOVRDIILUPVWKH,'¶VILQGLQJWKDWWKHDFFXVHG5RNXSURGXFWVSUDFWLFH

WKH³UHVSRQVLYH´SDUWRIOLPLWDWLRQ>H@>L@. See ID DW- ,IWKHXVHUUHVSRQGVDIILUPDWLYHO\

³ILUVWGDWD´ WKDWWKH+'0,&(&WHVWFRPPDQGZDVVXFFHVVIXO e.g.WHOHYLVLRQLVPXWHG RU

WXUQHG RII WKHQWKHDFFXVHG5RNXGHYLFH ³ILUVWPHGLDGHYLFH´ LVFRQILJXUHGWRWUDQVPLW

FRPPDQGV ³ILUVWFRPPDQG´ WRWKHWHOHYLVLRQ ³VHFRQGPHGLDGHYLFH´ YLDWKH+'0,

FRQQHFWLRQDVUHTXLUHGE\OLPLWDWLRQ>H@>L@. See id. DW- DSSO\LQJ¶SDWHQWDW-21

OLPLWDWLRQ>H@>L@ . 7KLV³UHVSRQVLYH´SDUWLVGHSLFWHGRQWKHOHIWVLGHRIWKHIORZFKDUWEHORZ

VWDUWLQJZLWK³\HV´WR³8VHUFRQILUPV&(&FRPPDQGZRUNV"´ 




8(,¶V5HVSDW7KLVIORZFKDUWZDVLQLWLDOO\SUHSDUHGDVDGHPRQVWUDWLYH 5';-& IRU

5RNX¶VH[SHUW0U/LSRII DQGZDVODWHUDQQRWDWHGLQUHGE\8(, WRLGHQWLI\WKH³ILUVWGDWD´DQG

³VHFRQGGDWD´RIFODLPLQWKH5RNX6RXQGEDUDQG8OWUDGHYLFHV. Id.5RNX¶V5HVSDW FLWLQJ

+U¶J7U /LSRII DW--7U 3HWHUV DW- 




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       7KH&RPPLVVLRQDOVRDIILUPVWKH,'¶VILQGLQJWKDWWKHDFFXVHG5RNXSURGXFWVSUDFWLFH

WKH³XQUHVSRQVLYH´SDUWRIOLPLWDWLRQ>H@>LL@See ,'DW-5HIHUULQJDJDLQWRWKHIORZFKDUW

DERYHWKH³XQUHVSRQVLYH´SRUWLRQFRUUHVSRQGVWRWKHULJKW-VLGH EUDQFK ³QR´ DIWHUWKH³ILUVW

GDWD´ ³8VHUFRQILUPV&(&FRPPDQGZRUNV"´ . UEI LGHQWLILHVWZRFDQGLGDWHVIRUWKH³VHFRQG

GDWD´PDUNHGLQUHGDERYH See 8(,¶V5HVSDW-8. ,IWKHWDUJHWGHYLFHLV³XQUHVSRQVLYH´WR

WKH&(&WHVWFRPPDQGWKH5RNX8OWUDRU6RXQGEDUGHYLFHWUDQVPLWVDQ5)VLJQDO WKHLQLWLDO

³VHFRQGGDWD´ WRWKHUHPRWHFRQWUROGHYLFHWKDWFRQWDLQVWKHSDUDPHWHUVIRUDQ,5WHVWFRPPDQG

See id. DW. 5RNXDFNQRZOHGJHVWKDWWKHUHPRWHFRQWUROGHYLFHH[WUDFWVWKRVHSDUDPHWHUV DQG

XVHVWKHPWRJHQHUDWHDQGWUDQVPLWDFRUUHVSRQGLQJIR VLJQDO5RNX¶V5HVSDW- FLWLQJ+U¶J

7U /LSRII DW-+U¶J7U 3HWHUV DW-- +U¶J7U

5RVHQEHUJ DW- 5RNXDUJXHVKRZHYHUWKDWWKLV5)VLJQDOLVQRW³IRUXVHLQ

FRQILJXULQJWKHUHPRWHFRQWURO´ EHFDXVHLWLVQRWVWRUHGLQWKHUHPRWHFRQWURO DQGGRHVQRW

FKDQJHLWVVHWWLQJVEXWRQO\SDVVHVWKURXJKLWOLNH³ZDWHUWKURXJKDSLSH´See id.

       8(,¶VVHFRQGFDQGLGDWHIRUWKH³VHFRQGGDWD´LVWKHILQDOIR FRQILJXUDWLRQGDWDWKDWWKH

5RNX8OWUDRU6RXQGEDUGHYLFHWUDQVPLWVWRWKHUHPRWHFRQWURODIWHUWKHXVHUFRQILUPVWKDWDQIR

WHVWFRPPDQGVXFFHVVIXOO\FRQWUROVWKHWDUJHWWHOHYLVLRQ. See id. DW; 8(,¶V5HVSDW-8. 5RNX

DFNQRZOHGJHVWKDWWKLVODWWHU³VHFRQGGDWD´LV³IRUXVHLQFRQILJXULQJWKHUHPRWHFRQWURO´EHFDXVH

LWLVVWRUHGLQWKHVHWWLQJVRIWKHUHPRWHFRQWURODQGXVHGWRJHQHUDWHDOOVXEVHTXHQWWUDQVPLVVLRQV

RI,5FRPPDQGV5RNX¶V5HVSDW- FLWLQJ+U¶J7U /LSRII DW-+U¶J7U

3HWHUV DW- 5RNX¶V5HSO\DW FLWLQJ+U¶J7U 0HQGHQKDOO DW- 

1RQHWKHOHVV5RNXDUJXHVWKDWWKLV,5FRQILJXUDWLRQGDWDGRHVQRWVDWLVI\WKH³VHFRQGGDWD´

OLPLWDWLRQVLQFODLP EHFDXVHLWLVQRW ³EDVHGRQ´WKH³ILUVWGDWD´See 5RNX¶V5HVSDW-

5RNX¶V5HSO\DW-5.



                                                 18


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       The &RPPLVVLRQILQGVLWXQQHFHVVDU\WRGLYLGHWKH³XQUHVSRQVLYH´EUDQFKDERYHLQWR

WZRSDUWVIRUSXUSRVHVRILQIULQJHPHQW$VVKRZQEHORZWKHHQWLUHULJKW-VLGHEUDQFKRIWKH

IORZFKDUWGHVFULEHVWKHSURFHVVRIFRQILJXULQJWKHUHPRWHFRQWUROWRWUDQVPLW,5FRPPDQGV

³VHFRQGFRPPDQG´ XVLQJDQDSSURSULDWH,5FRGHVHWUHJDUGOHVVRIZKHWKHUWKHRSHUDWLYH,5

FRGHVHWLVLGHQWLILHGDIWHUWHVWLQJRQO\RQH ,5WHVWFRPPDQGRUPXOWLSOH,5WHVWFRPPDQGVLQ

VXFFHVVLRQ DVUHSUHVHQWHGE\WKHIHHGEDFNORRSDWULJKW See ,'DW FLWLQJ+U¶J7U

5RVHQEHUJ DW- see also +U¶J7U 5RVHQEHUJ DW--23.




8(,¶V5HSO\DW RULJLQDOGHPRQVWUDWLYHE\5RNXDQQRWDWLRQVDGGHGE\8(, 

       /LPLWDWLRQ>H@>LL@ GRHVQRWUHTXLUHWKDWWKH³VHFRQGGDWD´GLUHFWO\RULPPHGLDWHO\UHVXOW

LQWKHVXFFHVVIXOFRQILJXUDWLRQRIWKHUHPRWHFRQWUROWRWUDQVPLWD³VHFRQGFRPPDQG´ e.g.YLD

,5 IRUFRQWUROOLQJWKHWDUJHWGHYLFH ³VHFRQGPHGLDGHYLFH´ See ‫ތ‬SDWHQWDW-32,'DW

-1RUGRHVOLPLWDWLRQ>H@>LL@SUHFOXGHWUDQVPLWWLQJDGGLWLRQDOGDWDRUFRPPDQGVEHWZHHQ

WKH³VHFRQGGDWD´DQGWKHXOWLPDWHFRQILJXUDWLRQRIWKHUHPRWHFRQWUROWRWUDQVPLWD³VHFRQG

FRPPDQG´IRUFRQWUROOLQJWKHWDUJHWGHYLFHDV ORQJDVWKH³VHFRQGGDWD´LV³for use in


                                                


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configuring WKHUHPRWHFRQWURO´WRXOWLPDWHO\WUDQVPLWD³VHFRQGFRPPDQG´WRFRQWUROWKHWDUJHW

GHYLFH,'DW 7KHUHLV DOVR QRPHULWWR5RNX¶VDUJXPHQWWKDWWKH³VHFRQGGDWD´³VHFRQG

FRPPDQG´RUFRQILJXUDWLRQRIWKHUHPRWHFRQWUROPXVWEH³EDVHGRQ´WKH³ILUVWGDWD´DVWKHUHLV

QRVXFKUHTXLUHPHQWLQWKHFODLPSee ¶SDWHQWDW-32.

       $FFRUGLQJO\WKH&RPPLVVLRQILQGVWKDWWKHLQLWLDO5)VLJQDOZKLFKFRQWDLQVWKH

SDUDPHWHUVIRUJHQHUDWLQJWKHLQLWLDO,5WHVWFRPPDQG, FRUUHVSRQGVWRWKH³VHFRQGGDWD´ LQ

OLPLWDWLRQ>H@>LL@. 7KHUHPRWH FRQWUROH[WUDFWVWKRVHSDUDPHWHUVDQGXVHVWKHPWRJHQHUDWHDQG

WUDQVPLWWKH,5WHVWVLJQDOWKDWLVSDUWRIWKHFRQILJXUDWLRQSURFHVVDV5RNXDFNQRZOHGJHV

5RNX¶V5HVSDW- FLWLQJ+U¶J7U /LSRII DW-+U¶J7U 3HWHUV - 

7KLV³VHFRQGGDWD´LVVXIILFLHQWWRVDWLVI\WKHOLPLWDWLRQ³IRUXVHLQFRQILJXULQJWKHUHPRWH

FRQWURO´EHFDXVH WKHLQLWLDO5)VLJQDOLVXVHGWKHSURFHVVRIFRQILJXULQJWKHDFFXVHGUHPRWH

FRQWURO GHYLFHVVSHFLILFDOO\LQLGHQWLI\LQJ WKHDSSURSULDWH,5FRGHVHWZKLFKLVWKHQORDGHG

VWRUHGDQGXVHGWRFRQILJXUHWKHUHPRWHFRQWUROUHJDUGOHVVRIZKHWKHUWKDW,5FRGH VHWZDV

LGHQWLILHGDIWHUWHVWLQJWKHLQLWLDO,5WHVWFRPPDQGRUPXOWLSOH,5WHVWFRPPDQGVDVQHHGHGId.

       The &RPPLVVLRQWKXVILQGVWKDW WKH LQLWLDO5)VLJQDOXVHGWRJHQHUDWHWKH,5WHVW

FRPPDQGLVWKH³VHFRQGGDWD´WKDWLV³IRUXVHLQFRQILJXULQJWKHUHPRWHFRQWUROWRWUDQVPLWD

VHFRQGFRPPDQG´IRUGLUHFWO\FRQWUROOLQJWKHWDUJHWGHYLFHDVVHWIRUWKLQOLPLWDWLRQ>H@>LL@

The &RPPLVVLRQDIILUPVWKH,'¶VILQGLQJVWKDWWKHDFFXVHG5RNXSURGXFWVLQIULQJHFODLPDQG

WKHDVVHUWHGGHSHQGHQWFODLPVRIWKH¶SDWHQW ID DW-101-02, 137.

       7KH&RPPLVVLRQUHFRJQL]HVWKDWWKH,'¶VILQGLQJRILQIULQJHPHQW UHVWVRQUHVROYLQJWKH

SDUWLHV¶GLVSXWHDVWRZKHWKHU³WDN>LQJ@WKH5)FRPLQJIURPWKH5RNX%R[FRQYHUWLQJLWWR,5

DQGWKHQVHQGLQJLWEDFNGRZQ´ i.e.VHQGLQJWKH,5WHVWFRPPDQGIURPWKHUHPRWHFRQWUROWRWKH

WDUJHWGHYLFHIRUWHVWLQJ TXDOLILHVDV³FRQILJXULQJ´WKH UHPRWHFRQWUROSee ,'DW- TXRWLQJ



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+U¶J7U /LSRII DW-  $OWKRXJKWKH&RPPLVVLRQ¶VDQDO\VLVDERYHLVVXIILFLHQWWR

FRQFOXGHWKDWOLPLWDWLRQ>H@LVVDWLVILHGWKH&RPPLVVLRQIXUWKHUDIILUPVWKH,'¶VILQGLQJWKDW

³FRQYHUWLQJ´WKH5)VLJQDOWR,5 LQ5RNX¶VWHUPV DQGWUDQVPLWWLQJWKDW,5VLJQDOWRWKHWDUJHW

GHYLFHDOVRVDWLVILHVWKLVFODLPOLPLWDWLRQHYHQXQGHU5RNX¶VQDUURZLQWHUSUHWDWLRQ RI³IRUXVHLQ

FRQILJXULQJ.´ SRPHLQWHUQDO³VHWWLQJV´PXVWEHFKDQJHGHYHQWHPSRUDULO\ ZLWKLQWKHUHPRWH

FRQWUROWRFDXVHLWWRUHFHLYHDQ5)VLJQDOH[WUDFWWKHDSSURSULDWHSDUDPHWHUVIURPLW XVe WKHPWR

JHQHUDWHDVSHFLILF,5WHVWFRPPDQG, DQGWKHQWUDQVPLW WKDW,5WHVWFRPPDQG WRWKHWHOHYLVLRQ.

See 5RNX¶V5HVSDW3, 5-. ,QRWKHUZRUGVFKDQJLQJWKHUHPRWHFRQWURO¶VVHWWLQJVWRUHFHLYHDQ

5)VLJQDOGHFRQVWUXFWLWDQGXVHLWVSDUDPHWHUVWRJHQHUDWHDQGWUDQVPLWDQHZVLJQDOLQD

GLIIHUHQWIRUPDW ,5 LVPRUHFRPSOLFDWHGWKDQ³ZDWHUIORZLQJWKURXJKDSLSH´DV5RNX

FRQWHQGV. TKHVH FKDQJHVDUHWKXVVXIILFLHQWWRDPRXQWWR ³FRQILJXULQJ´WKHUHPRWHFRQWUROHYHQ

WHPSRUDULO\ LQWKHFRQWH[WRIFODLP. See ,'DW- TXRWLQJ+U¶J7U 5RVHQEHUJ DW-

 ; see also 5RNX¶V5HVSDW

       ,QVXPWKH&RPPLVVLRQDIILUPVWKH,'¶VILQGLQJWKDWWKH5RNX8OWUDDQG6RXQGEDU

SURGXFWVLQIULQJHFODLPVDQG-RIWKH‫ތ‬SDWHQW,'DW-101-02, 137.

               4.      Validity

       7KH&RPPLVVLRQDOVRGHWHUPLQHGWRUHYLHZWKH,'¶VILQGLQJVRQYDOLGLW\VSHFLILFDOO\

ZKHWKHU WKHDVVHUWHGFODLPVRIWKH‫ތ‬DUHREYLRXVRYHU&KDUGRQ 863DWHQW$SSO. 3XE1R

 LQFRPELQDWLRQZLWK0LVKUD 863DWHQW$SSO. 3XEO1R See

)HG5HJDW 4XHVWLRQV& ' . I'DW-121. 8SRQUHYLHZ RIWKHSULRUDUWWKH,'WKH

SDUWLHV¶VXEPLVVLRQVDQG HYLGHQFHRIUHFRUGWKH&RPPLVVLRQKDVGHWHUPLQHGWRDIILUPZLWK

VRPHPRGLILFDWLRQ WKH,'¶VILQGLQJWKDW5RNXIDLOHGWRSURYHE\FOHDUDQGFRQYLQFLQJHYLGHQFH

WKDWWKHDVVHUWHGFODLPVDUHLQYDOLGDVREYLRXVRYHU&KDUGRQLQFRPELQDWLRQZLWK0LVKD



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                       a.      Legal Standard

       $SDUW\FDQQRWEHKHOGOLDEOHIRULQIULQJHPHQWLIWKHDVVHUWHG SDWHQWFODLPLVLQYDOLGSee

Pandrol USA, LP v. AirBoss Railway Prods., Inc)G )HG&LU 3DWHQW

FODLPVDUHSUHVXPHGYDOLG 86& VRDSDUW\FKDOOHQJLQJYDOLGLW\PXVWSUHVHQW³FOHDU

DQGFRQYLQFLQJHYLGHQFH´RILQYDOLGLW\WRRYHUFRPHWKLVVWDWXWRU\SUHVXPSWLRQ. Checkpoint

Systems, Inc. v. Int’l Trade Comm’n)G )HG&LU 

       $SDWHQWLVLQYDOLGDVREYLRXVLI³WKHGLIIHUHQFHVEHWZHHQWKHVXEMHFWPDWWHUVRXJKWWREH

SDWHQWHGDQGWKHSULRUDUWDUHVXFKWKDWWKHVXEMHFWPDWWHUDVDZKROHZRXOGKDYHEHHQREYLRXVDW

WKHWLPHWKHLQYHQWLRQZDVPDGHWRDSHUVRQKDYLQJRUGLQDU\VNLOOLQWKHDUWWRZKLFKVDLGVXEMHFW

PDWWHUSHUWDLQV´86& SUH-$,$ 2EYLRXVQHVVLVDOHJDOFRQFOXVLRQWKDWLVEDVHGRQ

XQGHUO\LQJ ILQGLQJVRIIDFWMotorola Mobility, LLC v. Int’l Trade Comm’n)G

 )HG&LU 7KHVHIDFWXDOILQGLQJVNQRZQDVWKHGraham IDFWRUVDUH  WKHVFRSH

DQGFRQWHQWRIWKHSULRUDUW  WKHGLIIHUHQFHEHWZHHQWKHSULRUDUWDQGWKH FODLPVDWLVVXH

 WKHOHYHORIRUGLQDU\VNLOOLQWKHDUWDWWKHWLPHWKHLQYHQWLRQZDVPDGH DQG  DQ\REMHFWLYH

LQGLFLDRIQRQ-REYLRXVQHVVId. FLWLQJGraham v. John Deere Co., 383 U.S. 1, 17-  

$OOIRXUGraham IDFWRUVPXVWEHFRQVLGHUHGZKHUHHYLGHQFHLVRIIHUHGDQGLWLVHUURUWRUHDFKD

FRQFOXVLRQRIREYLRXVQHVVXQWLODOORIWKRVHIDFWRUVDUHFRQVLGHUHGPolaris Indus., Inc. v. Arctic

Cat, Inc.)G- )HG&LU 

       $SDUW\FKDOOHQJLQJDSDWHQWDVREYLRXVWKURXJK DFRPELQDWLRQRIUHIHUHQFHVPXVWDOVR

GHPRQVWUDWHE\FOHDUDQGFRQYLQFLQJHYLGHQFHWKDWDSHUVRQRIRUGLQDU\VNLOOLQWKHDUWZRXOG

KDYHEHHQPRWLYDWHGWRFRPELQHWKHWHDFKLQJVRIWKHSULRUDUWWRDFKLHYHWKHFODLPHGLQYHQWLRQ

DQGZRXOGKDYHKDGDUHDVRQDEOHH[SHFWDWLRQRIVXFFHVVLQGRLQJVROSRAM Sylvania, Inc. v.

Am. Induction Techs., Inc.)G- )HG&LU $IOH[LEOHWHDFKLQJ

VXJJHVWLRQRUPRWLYDWLRQWHVWFDQEHXVHIXOWRSUHYHQWKLQGVLJKWELDVZKHQGHWHUPLQLQJZKHWKHU
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DFRPELQDWLRQRINQRZQHOHPHQWVZRXOGKDYHEHHQREYLRXVNorgren Inc. v. Int’l Trade

Comm’n, )G- )HG&LU 2EYLRXVQHVVKRZHYHUFDQQRWEHFRQILQHG

WRDULJLGDSSOLFDWLRQRIDWHDFKLQJVXJJHVWLRQRUPRWLYDWLRQWHVWKRZHYHUDVFRQVLGHUDWLRQRI

WKHFRPPRQVHQVHDQGRUGLQDU\FUHDWLYLW\RIRQHRIRUGLQDU\VNLOOLQWKHDUWPXVWDOVREHSDUWRI

WKHDQDO\VLVId. GLVFXVVLQJKSR Int’l Co. v. Teleflex Inc.86-   (YHQ

VRWKHSDUW\DVVHUWLQJREYLRXVQHVVPXVWVWLOOVKRZWKHUHZDVDQDSSDUHQWUHDVRQRUPRWLYDWLRQWR

FRPELQHWKHNQRZQHOHPHQWVLQWKHIDVKLRQFODLPHGE\WKHSDWHQWDWLVVXH See KSR86DW

418-

       :KHQDSDWHQWLVEHLQJFKDOOHQJHGIRUREYLRXVQHVVDSDWHQWHHPD\UHVSRQGE\SUHVHQWLQJ

HYLGHQFHRI³REMHFWLYHLQGLFLD´ RU³VHFRQGDU\FRQVLGHUDWLRQV´ RIQRQ-REYLRXVQHVVVXFKDVWKH

FRPPHUFLDOVXFFHVVRIWKHLQYHQWLRQORQJ-IHOWEXWXQPHWQHHGIRUWKHVROXWLRQLWSURYLGHVIDLOXUH

RIRWKHUVWRDFKLHYHWKHLQYHQWLRQSUDLVHRIWKHLQYHQWLRQRUFRS\LQJE\RWKHUVFox Factory,

Inc. v. SRAM, LLC, )G- )HG&LU  FLWLQJinter alia Graham, 383 U.S.

DW-18 7KHSDWHQWHHPXVWDOVRGHPRQVWUDWHWKDWWKHUHLVD³QH[XV´i.e.DOHJDOO\DQGIDFWXDOO\

VXIILFLHQWFRQQHFWLRQ EHWZHHQWKHREMHFWLYHLQGLFLDDQGWKHPHULWVRIWKHLQYHQWLRQ Id. DW

$UHEXWWDEOHSUHVXPSWLRQRIDQH[XVH[LVWVLIWKHSDWHQWHHFDQVKRZWKDWWKHREMHFWLYHHYLGHQFHLV

WLHGWRDVSHFLILFSURGXFWWKDW LVWKHLQYHQWLRQGLVFORVHGDQGFODLPHGLQWKHSDWHQW Id.; Immunex

Corp. v Sandoz, Inc.)G )HG&LU  6XFKDVKRZLQJLVQRWUHTXLUHG

KRZHYHUDVWKHSDWHQWHHPD\SURYHDQH[XVE\VKRZLQJWKDWWKHREMHFWLYHLQGLFLDLIDQ\DUHWKH

GLUHFWUHVXOWRIWKHXQLTXHFKDUDFWHULVWLFVRIWKHFODLPHGLQYHQWLRQFox Factory)GDW

1373. +RZHYHUZKHUHWKHVHFRQGDU\FRQVLGHUDWLRQV³DFWXDOO\UHVXOWIURPVRPHWKLQJRWKHUWKDQ

ZKDWLVERWKFODLPHGDQGQRYHOLQWKHFODLPWKHUHLVQRQH[XVWRWKHPHULWVRIWKHFODLPHG

LQYHQWLRQ´In re Huai-Hung Kao)G )HG&LU 



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                      b.      The ID

       Chardon. &KDUGRQ, 5RNX¶VSULPDU\SULRUDUWUHIHUHQFHLVGLUHFWHGWRD³UHPRWHFRQWURO

V\VWHP´(140) IRULGHQWLI\LQJDQGVHOHFWLQJWKHPRVWDSSURSULDWHFRQWUROFRGHV e.g., HDMI&(&

RUZLUHOHVV,5 IRUFRQWUROOLQJWKHPHGLDGHYLFHVLQDKRPHHQWHUWDLQPHQWV\VWHP (100).

&KDUGRQ-3 ,Q)LJXUHEHORZD UHPRWHFRQWUROV\VWHP(140) ZLWKDVRIWZDUH

FRPSRQHQWNQRZQDVD UHPRWHFRQWUROHQJLQH(145), LVLQVWDOOHGRQHDFKPHGLDGHYLFH, VXFKDVD

³PXOWL-PHGLDJDWHZD\´(110), DUHPRWHFRQWUROGHYLFH(115), DQHDMI GLVSOD\ e.g.WHOHYLVLRQ 

(105a)DQGRWKHUPHGLDGHYLFHV(105b). Id., 8, 32, -40, 88.




       The ID LGHQWLILHV&KDUGRQ¶V³PXOWL-PHGLDJDWHZD\´DVWKH³ILUVWPHGLDGHYLFH´LQFODLP

EHFDXVHLWLQFOXGHVDSURFHVVRU ³SURFHVVLQJGHYLFH´ WUDQVFHLYHUVPHPRU\ ³PHPRU\GHYLFH´ 

DQGD&(&EXV ³+'0,SRUW´ ,'DW-10. The PXOWL-PHGLDJDWHZD\(110) VHUYHVDVDEULGJH

IRUUHFHLYLQJFRPPDQGFRGHV e.g., ,5 IURPDUHPRWHFRQWUROGHYLFH(115), WUDQVODWLQJWKRVH

                                               24


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FRPPDQGFRGHVIURPRQHPHGLXPWRDQRWKHUPHGLXP e.g., IR WR&(& RU5) DVQHFHVVDU\DQG

WKHQWUDQVPLWWLQJWKH FRGHV WRWKHWDUJHWGHYLFH ³VHFRQGPHGLDGHYLFH´ . &KDUGRQ-31.

7KH,'ILQGVWKDW&KDUGRQVDWLVILHVWKH KDUGZDUHOLPLWDWLRQV>D@->G@LQFODLP,'DW-14.

       7KH,'DOVRILQGVWKDW&KDUGRQGLVFORVHVWKH³UHVSRQVLYH´SDUWLQ OLPLWDWLRQ>H@>L@Id.

&KDUGRQGLVFORVHVWZRZD\VLQZKLFKWKH³UHPRWHFRQWUROV\VWHP´FKRRVHVEHWZHHQ&(&DQG,5

FRGHV Id. DW&KDUGRQ)LJ5. 7KHILUVWZD\LQYROYHVPRQLWRULQJD&(&EXVWR

GHWHUPLQHZKHWKHUWKHWDUJHW+'0,GHYLFHUHVSRQGV WRD&(&WHVWFRPPDQGDQGLILWGRHVQRW

GHWHUPLQLQJDFRUUHVSRQGLQJ,5FRPPDQGFRGH, WUDQVPLWWLQJLWWRWKHWDUJHWGHYLFH, DQGVWRULQJ

WKHDSSURSULDWH&(&RU,5FRGHVIRUIXWXUHXVHLQFRQWUROOLQJWKDWGHYLFH ID DW-08, 112-13

FLWLQJ&KDUGRQ-34, 58-  ,QWKHVHFRQGZD\WKHUHPRWHFRQWUROV\VWHPXVHV

LGHQWLI\LQJ LQIRUPDWLRQ e.g., DQ([WHQGHG'LVSOD\,GHQWLILFDWLRQ'DWD6WDQGDUGRUD&(&YHQGRU

ID WRGHWHUPLQHZKHWKHURUQRWWKHWDUJHWGHYLFHZLOOEHUHVSRQVLYHWRVSHFLILF&(&FRPPDQGV,

DQGWKHQWUDQVPLWVFRPPDQGVYLD&(&RU,5DFFRUGLQJO\,'DW, 112-13 FLWLQJ&KDUGRQ

10-12,  .

       5RNXDGPLWVDQGWKH,'DJUHHVWKDW&KDUGRQGRHVQRWGLVFORVHWKH³XQUHVSRQVLYH´SDUW

LQOLPLWDWLRQ>H@>LL@See ,'DW5RNX¶V5HVSDW-12. (DFKRI&KDUGRQ¶VHPERGLPHQWV

WKH,'ILQGVXVHV HLWKHUWKHPXOWL-PHGLDJDWHZD\RUWKHUHPRWHFRQWUROEXWQRWERWK, WRLVVXH

FRPPDQGVIRUFRQWUROOLQJWKHWDUJHWGHYLFH ID DW-15. (YHQWKRXJK&KDUGRQGLVFORVHVD

UHPRWHFRQWURO(115) WKDWPD\EHFRQILJXUHGWRWUDQVPLWDQGUHFHLYHFRPPDQGFRGHV, CKDUGRQ¶V

PXOWL-PHGLDJDWHZD\VHQGV,5FRGHVGLUHFWO\WRWKHWDUJHWGHYLFHDQGGRHVQRWWUDQVPLWWKHPWR

WKHUHPRWHFRQWUROIRUFRQILJXULQJWKDWUHPRWHFRQWUROId. DW FLWLQJ&KDUGRQ- 

)XUWKHUPRUH&KDUGRQGRHVQRWGLVFORVHDQHPERGLPHQWWKDWVHOHFWV EHWZHHQWZRGHYLFHV e.g.,

WKHPXOWL-PHGLDJDWHZD\RUWKHUHPRWHFRQWURO WRWUDQVPLWFRPPDQGVWRGLIIHUHQWWDUJHWGHYLFHV



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QRUGRHVLWPDNHDQ\VXFKVHOHFWLRQEDVHGRQWKHVDPH³ILUVWGDWD´DVLQFODLP RIWKH¶

SDWHQW. Id. DW- FLWLQJ&KDUGRQ- +U¶J7U 5RVHQEHUJ DW-. 7KXV

WKH,'ILQGVDQG 5RNXDJUHHVWKDW&KDUGRQIDLOVWRGLVFORVHD³ILUVWPHGLDGHYLFH´WKDW

³WUDQVPLW>V@DVHFRQGGDWDWRDUHPRWHFRQWUROGHYLFHYLDXVHRIDWUDQVPLWWHUIRUXVHLQ

FRQILJXULQJWKHUHPRWHFRQWUROGHYLFHWRWUDQVPLWDVHFRQGFRPPDQGGLUHFWO\WRWKHVHFRQG

PHGLDGHYLFH´DVLQOLPLWDWLRQ>H@>LL@Id. DW5RNX¶V5HVSDW-12.

       Mishra. 7KH,'ILQGVWKDW0LVKUDGLVFORVHVWKHHOHPHQWV WKDWDUHPLVVLQJIURP&KDUGRQ

0LVKUDGLVFORVHVDQHPERGLPHQWLQZKLFKDVHWWRS ER[(12) VHQGVFRGHVDQGSURWRFROVWRD

UHPRWHFRQWUROHLWKHUDOODWRQFHRURQDQDV-QHHGHGEDVLVZKLFKWKHUHPRWHFRQWUROXVHVIRU

FRQWUROOLQJKRPHWKHDWHUGHYLFHV 0LVKUD-7KH,'ILQGVWKDW0LVKUDWKXVGLVFORVHVD

WUDQVPLWWHUIRUWUDQVPLWWLQJ³VHFRQGGDWD´IURPD ³ILUVWPHGLDGHYLFH´ VHWWRS ER[ WRD UHPRWH

FRQWUROZKLFKPD\UHFHLYHWKDWVHFRQGGDWDDQGXVHVLWWRWUDQVPLWD³VHFRQGFRPPDQG´GLUHFWO\

WRDWDUJHWGHYLFH ³VHFRQGPHGLDGHYLFH´ See ,'DW-15.

       Combination of Chardon and Mishra. 7KH,'ILQGVWKDWDVNLOOHGDUWLVDQZRXOGKDYH

EHHQFDSDEOHRIDGGLQJ0LVKUD¶VWUDQVPLWWHUDQGUHPRWHFRQWUROWR&KDUGRQ,'DW7KH,'

IXUWKHUDFFHSWV5RNX¶VDUJXPHQWWKDWDSHUVRQVNLOOHGLQWKHDUWZRXOGKDYHEHHQPRWLYDWHGWR

FRPELQH&KDUGRQZLWK0LVKUDWRDGGUHVVSXUSRUWHGO\NQRZQ³SUREOHPV´ZLWK&KDUGRQ¶V³,5

EODVWHUV´E\UHSODFLQJWKRVH,5EODVWHUVZLWK0LVKUD¶VUHPRWHFRQWUROWRGLUHFWO\FRQWUROWKHWDUJHW

GHYLFHId. 7KH,'FRQFOXGHVWKDW5RNXHVWDEOLVKHG Dprima facie FDVHRIREYLRXVQHVVDOEHLWD

³PDUJLQDO´RQHGXHWRWKHUHODWLYHO\³VXEVWDQWLDO´ GLIIHUHQFHVEHWZHHQWKHSULRUDUWDQGWKH

FODLPHGLQYHQWLRQDQGWKHQHHGWRHQJDJHLQ³DFHUWDLQDPRXQWRIFKHUU\-SLFNLQJ´WRLGHQWLI\WKH

FODLPHOHPHQWVLQHDFKSULRUDUWUHIHUHQFHSee ,'DW4-




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                                               Appx28
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       1RQHWKHOHVVWKH,'ILQGV 8(,¶VHYLGHQFHRIREMHFWLYHLQGLFLDRIQRQ-REYLRXVQHVVLV

³VXEVWDQWLDOLQGHHG WKH\DUHGLVSRVLWLYH´DQGRXWZHLJKV 5RNX¶V³PDUJLQDO´prima facie FDVHRI

REYLRXVQHVV,'DW 7KH,'FRQFOXGHVWKDW5RNXIDLOHGWRSURYHE\FOHDUDQGFRQYLQFLQJ

HYLGHQFHWKDWWKH‫ތ‬SDWHQWFODLPVDUHLQYDOLGDVREYLRXVId. DW-38.

                       c.      Analysis

       7KH&RPPLVVLRQ DIILUPVWKH,'¶VILQGLQJWKDW5RNXIDLOHGWRSURYHE\FOHDUDQG

FRQYLQFLQJHYLGHQFHWKDWWKH‫ތ‬SDWHQWFODLPVDUHREYLRXVRYHU&KDUGRQFRPELQHGZLWK

0LVKUD, LQFOXGLQJLWVILQGLQJWKDW8(,¶VVHFRQGDU\FRQVLGHUDWLRQVRIQRQ-REYLRXVQHVVDUH

³VXEVWDQWLDO´DQG³GLVSRVLWLYH´See ,'DW-18, 138. 7KH&RPPLVVLRQZULWHVVHSDUDWHO\

KRZHYHUWRUHYHUVHWKH,'¶VILQGLQJWKDW5RNXPDGH Dprima facie VKRZLQJRIREYLRXVQHVV. Id.

DW

       7KH,'DFNQRZOHGJHVWKDWD³FHUWDLQDPRXQWRIFKHUU\-SLFNLQJLVUHTXLUHG´WRILQGWKH

OLPLWDWLRQVRIFODLPLQHLWKHU&KDUGRQRU0LVKUDEHFDXVHWKHUHIHUHQFHVDUH³QRWHVSHFLDOO\

DQDORJRXVWRWKH‫ތ‬SDWHQW´DQGWKHGLIIHUHQFHVEHWZHHQWKHFODLPHGLQYHQWLRQDQGWKHSULRUDUW

DUH³VXEVWDQWLDO´See id. DW-,QSDUWLFXODUQHLWKHU&KDUGRQQRU0LVKUDGLVFORVHVWKH

³IXQGDPHQWDOWHQHW´RIWKH‫ތ‬SDWHQW¶VLQYHQWLRQQDPHO\DV\VWHPFRQILJXUHGWRFKRRVH

EHWZHHQWZRGLIIHUHQWFRQWUROGHYLFHVWRWUDQVLW FRPPDQGVRYHUGLIIHUHQWSDWKZD\V HJ+'0,

YV,5 WRGLIIHUHQWWDUJHWGHYLFHVEDVHGRQZKHWKHUWKH³ILUVWPHGLDGHYLFH´GHWHUPLQHVWKDWWKH

WDUJHWGHYLFHZLOOEHUHVSRQVLYHRUXQUHVSRQVLYHWRWKH³ILUVWFRPPDQG´RYHU+'0,See ‫ތ‬

SDWHQWDW-40, - OLPLWDWLRQ>H@ +U¶J7U 5RVHQEHUJ DW--

-24, -$OVRQHLWKHU&KDUGRQQRU0LVKUDGLVFORVHVWUDQVPLWWLQJ³VHFRQG

GDWD´WRWKHUHPRWHFRQWURO³IRUXVHLQFRQILJXULQJWKHUHPRWHFRQWUROGHYLFHWRWUDQVPLW´

FRPPDQGVLQWKHPDQQHUVHWIRUWKLQOLPLWDWLRQ>H@See +U¶J7U 5XVV DW-,'DW

110, 113-14, 118. 0LVKUDDOVRGRHVQRWGLVFORVHXVLQJDQ+'0,FRQQHFWLRQ,'DW
                                                 27


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       7KH&RPPLVVLRQIXUWKHUILQGVWKDWFRPELQLQJ&KDUGRQZLWK0LVKUDGRHV QRWLQYROYHD

VLPSOHVXEVWLWXWLRQRINQRZQHOHPHQWVDV5RNXDUJXHV5RNXLGHQWLILHVQRWHDFKLQJVXJJHVWLRQ

RUPRWLYDWLRQLQ&KDUGRQRU0LVKUDWRGLYLGHFRQWURORIWKHWDUJHWGHYLFHV EHWZHHQWZRGLIIHUHQW

FRQWUROGHYLFHVDVLWZRXOGUXQ FRQWUDU\WR&KDUGRQ¶VWHDFKLQJWKDWHLWKHUWKHPXOWL-PHGLD

JDWHZD\RUWKHUHPRWHFRQWUROEXWQRWERWKLVXVHGWRFRQWURODOORIWKHWDUJHWGHYLFHVSee, e.g.,

&KDUGRQ-,'DW+U¶J7U 5XVV DW-0RUHRYHU

&KDUGRQ¶VUHPRWHFRQWUROHQJLQHFDQDOUHDG\FRQWUROWKHWDUJHWGHYLFHRYHU+'0,&(&RU,5 RU

DQRWKHUSDWKZD\ VRLWZRXOGEH³GXSOLFDWLYH´DQG³ZDVWHIXO´WRDGGDVHFRQG,5FRPPDQGSDWK

WKDWLQYROYHVWKHUHPRWHFRQWUROSee +U¶J7U 5RVHQEHUJ DW-

       7KH&RPPLVVLRQDOVRILQGVWKDW5RNX¶VHYLGHQFHRIDOOHJHGSUREOHPVZLWK,5EODVWHUV

GRHVQRWVXIILFHWRVKRZWKDWDSHUVRQVNLOOHGLQWKHDUWZRXOGKDYHEHHQPRWLYDWHGWRFRPELQH

&KDUGRQDQG0LVKUDLQWKHPDQQHUUHTXLUHGWRUHQGHUWKHLQYHQWLRQREYLRXV5RNXFLWLQJLWV

H[SHUW'U5XVVDUJXHV WKDW,5EODVWHUVKDYHFHUWDLQ³OLPLWDWLRQV´VXFKDVEHLQJGLIILFXOWWROLQH

XSHIIHFWLYHO\RUFRQQHFWLQVLGHDQHQWHUWDLQPHQWFDELQHW. See 5RNX¶V5HVSDW FLWLQJe.g.,

+U¶J 7U 5XVV DW-- <HW'U5XVVWHVWLILHGWKDW,5EODVWHUVDOVRKDYH

³VRPHDGYDQWDJHV´DQGLQGLFDWHG WKDW WKHLUDOOHJHGSUREOHPVFDQEHDOOHYLDWHGE\DUUDQJLQJWKH

PHGLDGHYLFHVLQDSURSHUZD\RUWKURXJKRWKHUPHDQVSee +U¶J7U 5XVV DW- The

&RPPLVVLRQDOVRILQGVQRHYLGHQFHWRVXJJHVWWKDWWKHDOOHJHGSUREOHPVZLWK,5EODVWHUVZRXOG

KDYHPRWLYDWHGDSHUVRQVNLOOHGLQWKHDUWWRUHSODFHWKHVLQJOHFRQWUROGHYLFHGLVFORVHGLQ

&KDUGRQZLWKDPRUHFRPSOLFDWHGV\VWHPWKDWXVHVWZRFRQWUROOLQJGHYLFHV e.g.DVHWWRS ER[

DQGDUHPRWHFRQWURO WRFRQWUROGLIIHUHQWPHGLDGHYLFHVSDUWLFXODUO\ZKHUHERWKGHYLFHVDUH

VHOHFWHGDFFRUGLQJWRWKHVDPH³ILUVWGDWD´DVLQFODLP




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       )RUWKHVHUHDVRQVWKH&RPPLVVLRQILQGVWKDW5RNXKDVQRWHVWDEOLVKHGHYHQD³PDUJLQDO´

prima facie FDVHIRUREYLRXVQHVV DQGUHYHUVHVWKH,'RQWKDWSRLQWSee ,'DW118. The

&RPPLVVLRQDOVRILQGVWKDW 8(,¶VHYLGHQFHRIVHFRQGDU\FRQVLGHUDWLRQVLVHYHQPRUH

³VXEVWDQWLDO´³LPSUHVVLYH´RU³GLVSRVLWLYH´WKDQWKH,'UHFRJQL]HVSee id. DW-18. 7KLV

HYLGHQFHZKLFKLQFOXGHVLQGXVWU\SUDLVHIRUWKHLQYHQWLRQ DQGZLGHVSUHDGDGRSWLRQLGHQWLILHV

WKHXVHRIWZRFRQWUROOLQJGHYLFHV VXFKDVDVHWWRS ER[DQGDVHSDUDWHUHPRWHFRQWURO DQGWKXV

H[KLELWVDFOHDUQH[XVEHWZHHQWKHLQYHQWLRQDQGWKHVHFRQGDU\FRQVLGHUDWLRQVIRUWKHUHDVRQV

VWDWHGLQWKH,'. See id. DW-17. 8(,LVDOVRHQWLWOHGWRDSUHVXPSWLRQRIDQH[XVEHFDXVHLW

KDVVKRZQWKDWWKLVREMHFWLYHHYLGHQFHLVWLHGWRVSHFLILF6DPVXQJSURGXFWVWKDWSUDFWLFHWKH

LQYHQWLRQGLVFORVHGDQGFODLPHGLQWKH¶SDWHQWSee Immunex Corp. v Sandoz, Inc.)G

 )HG&LU 5RNXKDVQRWRYHUFRPHWKLVSUHVXPSWLRQPDGHDprima facie

VKRZLQJRIREYLRXVQHVV RUGLVSHOOHG8(,¶VVXEVWDQWLYHHYLGHQFHRIVHFRQGDU\FRQVLGHUDWLRQV

       7KH&RPPLVVLRQWKXVDIILUPVWKH,'¶VFRQFOXVLRQWKDW5RNXIDLOHGWRSURYHE\FOHDUDQG

FRQYLQFLQJHYLGHQFHWKDWWKH‫ތ‬SDWHQWFODLPVDUHLQYDOLGDVREYLRXVDOEHLWLWUHYHUVHVWKH,'¶V

ILQGLQJWKDW5RNXPDGHHYHQDprima facie VKRZLQJRIREYLRXVQHVV.

       B.      7KH‫ތ‬3DWHQW

       The &RPPLVVLRQDGRSWHGWKH,'¶VILQGLQJVWKDWWKHUHLVQRYLRODWLRQRI6HFWLRQ ZLWK

UHVSHFWWRWKH‫ތ‬SDWHQWEHFDXVHWKHDVVHUWHGFODLPV DUHLQYDOLG DVDQWLFLSDWHGREYLRXVDQG

GLUHFWHGWRSDWHQW-LQHOLJLEOHDEVWUDFWVXEMHFWPDWWHUSXUVXDQWWR86&-103,'DW-

50, 57-83, 138- 1RQHWKHOHVVWKH&RPPLVVLRQGHWHUPLQHGWRUHYLHZWKH,'¶VILQGLQJ WKDW8(,

VDWLVILHVWKHWHFKQLFDOSURQJRIWKHGRPHVWLFLQGXVWU\UHTXLUHPHQWZLWKUHVSHFWWRWKH‫ތ‬SDWHQW

WRFRUUHFWDQLWHPLQWKH,'¶VDQDO\VLV. Id. DW-57.




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                1.      Legal Standard

        :KHQD6HFWLRQ LQYHVWLJDWLRQLVEDVHGRQDOOHJDWLRQVRISDWHQWLQIULQJHPHQWWKH

FRPSODLQDQWPXVWVKRZWKDW³DQLQGXVWU\LQWKH8QLWHG6WDWHVUHODWLQJWRWKHDUWLFOHVSURWHFWHGE\

WKHSDWHQWH[LVWVRULVLQWKHSURFHVVRIEHLQJHVWDEOLVKHG´86& D  ³>$@Q

LQGXVWU\LVFRQVLGHUHGWRH[LVWLIWKHUHLVLQWKH8QLWHG6WDWHVZLWKUHVSHFWWRWKHDUWLFOHV

SURWHFWHGE\WKHSDWHQWFRQFHUQHG–

        $ VLJQLILFDQWLQYHVWPHQWLQSODQWDQGHTXLSPHQW

        % VLJQLILFDQWHPSOR\PHQWRIODERURUFDSLWDORU

        & VXEVWDQWLDOLQYHVWPHQWLQLWVH[SORLWDWLRQLQFOXGLQJHQJLQHHULQJUHVHDUFKDQG

GHYHORSPHQWRUOLFHQVLQJ´ 86& D  

        7KH³GRPHVWLFLQGXVWU\UHTXLUHPHQW´FRQVLVWVRIDVR-FDOOHG³WHFKQLFDOSURQJ´DQG DQ

³HFRQRPLFSURQJ´$FRPSODLQDQWVDWLVILHVWKHWHFKQLFDOSURQJE\VKRZLQJLWLVSUDFWLFLQJ

OLFHQVLQJRURWKHUZLVHH[SORLWLQJWKHSDWHQWVDWLVVXHCertain Microsphere Adhesives, Process

for Making Same and Products Containing Same, Including Self-Stick Repositionable Notes,QY

1R-TA-3&RPP¶Q2SDW -DQ 7KHWHVWIRU³SUDFWLFLQJ´DSDWHQWLV

HVVHQWLDOO\WKHVDPHDVLWLVIRULQIULQJHPHQWRQO\LWLQYROYHVFRPSDULQJWKHFRPSODLQDQW¶VRZQ

³GRPHVWLFLQGXVWU\SURGXFWV´WRRQHRUPRUHFODLPVRIWKHSDWHQWAlloc, Inc. v. Int’l Trade

Comm’n)G )HG&LU ,WLVVXIILFLHQWWKDWWKHGRPHVWLFLQGXVWU\

SURGXFWSUDFWLFHVDWOHDVWRQHFODLPRIHDFKSDWHQWWKDWVHUYHVDVDEDVLVIRUUHOLHILWLVQRW

QHFHVVDU\IRUWKHFRPSODLQDQWWRSUDFWLFHWKHVDPHFODLPV LWLVDVVHUWLQJDJDLQVWWKHUHVSRQGHQW

Certain Male Prophylactic Devices,QY1R-TA-&RPP¶Q2SDW $XJ 

                2.      The ID

        7KH¶SDWHQWLVGLUHFWHGWRDV\VWHPIRUVHWWLQJXSDXQLYHUVDOUHPRWHFRQWUROGHYLFHE\

XVLQJDQLQWHUDFWLYHLQVWUXFWLRQVHWDQGFRQWUROODEOHDSSOLDQFHVXFKDVDVHWWRS ER[¶SDWHQW

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DW$EVWUDFW-5, -)LJV,QSHUWLQHQWSDUWWKH,'ILQGVWKDW8(,VDWLVILHVWKH

WHFKQLFDOSURQJRIWKHGRPHVWLFLQGXVWU\UHTXLUHPHQWE\UHO\LQJRQFHUWDLQ6DPVXQJWHOHYLVLRQV

³6DPVXQJ',3URGXFWV´ WKDWLQFRUSRUDWHDQGXVH8(,¶V4XLFN6HWVRIWZDUHSee ,'DW-53.

        The ³SULPDU\GLVSXWH´WKH,'H[SODLQV, LVZKHWKHUWKH6DPVXQJ',3URGXFWVVDWLVI\

OLPLWDWLRQ>E@ZKLFKUHTXLUHV³DWUDQVPLWWHUIRUWUDQVPLWWLQJFRPPXQLFDWLRQVWRDGLVSOD\

GHYLFHFRXSOHGWRWKHFRQWUROOHGGHYLFH´,'DW 8(,LGHQWLILHGWKH6DPVXQJWHOHYLVLRQDVWKH

³FRQWUROOHGGHYLFH´DQGLWVLQWHUQDO/&'SDQHODVWKH³GLVSOD\GHYLFH´Id. 5RNXKRZHYHU

DUJXHGWKDWWKHLQWHUQDO/&'SDQHOFDQQRWEH³FRXSOHGWRWKHFRQWUROOHGGHYLFH´ WHOHYLVLRQ 

EHFDXVH³DSDUWRIVRPHWKLQJLVQRWµFRXSOHGWR¶WKHZKROH¶´Id. FLWLQJinter alia Cutsforth, Inc.

v. Motivepower, Inc.)$SS¶[ )HG&LU$SU  QRQ-SUHFHGHQWLDO 

        7KH,'PDNHWZRDOWHUQDWLYHILQGLQJV)LUVWWKHID ILQGVWKDW HYHQLIWKH³FRQWUROOHG

GHYLFH´PXVWEHSK\VLFDOO\VHSDUDWHIURPWKH³GLVSOD\GHYLFH´ DV5RNXDUJXHVWKHQFODLPLV

VDWLVILHGE\LGHQWLI\LQJWKH³PDLQERDUG´LQWKH6DPVXQJ',3URGXFWVDVWKH³FRQWUROOHGGHYLFH´

DQGWKH/&'SDQHODVWKH³GLVSOD\GHYLFH´ID DW- The ,'ILQGVWKDWWKHPDLQERDUG LV³D

GLVWLQFWFRPSRQHQWRUVHWRIFRPSRQHQWV LQVLGHWKH6DPVXQJ58>WHOHYLVLRQ@WKDWLV

SK\VLFDOO\VHSDUDWHIURPWKH/&'GLVSOD\SDQHO´DQG³HOHFWULFDOO\FRQQHFWHG WR>i.e.³FRXSOHG

WR´@WKHGLVSOD\ SDQHO,´ DVVKRZQLQWKHILJXUHVEHORZ. Id. The ID ILQGVWKHPDLQERDUGDOVR

LQFOXGHVD³WUDQVPLWWHUIRUVHQGLQJGLVSOD\VLJQDOVWRWKHGLVSOD\SDQHO´DVUHTXLUHGE\FODLP




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                                       MATERIAL      Filed: 06/15/2022
                                                 OMITTED




,'DW UHSURGXFLQJ&;-& .

       6HFRQGWKH,'ILQGVWKDWWKH‫ތ‬SDWHQWH[SUHVVO\VWDWHVWKDWWKHFODLPHGLQYHQWLRQPD\

EHFRQWDLQHGZLWKLQWKHVDPHKRXVLQJDVWKHGLVSOD\GHYLFHDVLQDWHOHYLVLRQDQGGRHVQRW

QHFHVVDULO\KDYHWREHDVWDQG-DORQHGHYLFHSee id. DW FLWLQJ‫ތ‬SDWHQWDW- . The ID

ILQGVWKDWLQWKLVFRQWH[WWKHQWKH³GLVSOD\GHYLFH´PD\ EH³FRXSOHGWR´WKHWHOHYLVLRQDQGWKXV

WKH 6DPVXQJ',3URGXFWVVDWLVI\OLPLWDWLRQ>E@ XQGHUHLWKHULQWHUSUHWDWLRQId. DW-57. The ID

WKXVUHMHFWV5RNX¶VDUJXPHQWWKDWLIWKH³FRQWUROOHGGHYLFH´LVWKHWHOHYLVLRQWKH³GLVSOD\

GHYLFH´FDQQRWEHSDUWRIWKH³FRQWUROOHGGHYLFH´ WHOHYLVLRQ Id. DW

       5RNXDUJXHV WKDWWKH,'HUUVLQILQGLQJWKDWWKH/&'SDQHOFDQEH³FRXSOHGWR´WKH

6DPVXQJWHOHYLVLRQXQGHUHLWKHUWKHRU\)LUVW5RNXDUJXHV WKDWWKHID HUUVLQILQGLQJWKDW

OLPLWDWLRQ>E@FDQEHVDWLVILHGE\LGHQWLI\LQJWKHPDLQERDUGDVWKH³FRQWUROOHGGHYLFH´EHFDXVH

WKHPDLQERDUGGRHVQRWKDYH³DUHFHLYHUIRUUHFHLYLQJFRPPXQLFDWLRQVIURPDUHPRWHO\ORFDWHG

FRQWUROOLQJGHYLFH´DVUHTXLUHGE\FODLPSee 5RNX¶V5HVSDW 6HFRQG5RNXUHLWHUDWHV

WKDWWKH/&'SDQHOFDQQRWEH³FRXSOHGWR´WKHWHOHYLVLRQWKDWFRQWDLQVWKDWSDQHOSee id.

               3.      Analysis

       7KH&RPPLVVLRQKDVUHYLHZHGWKH,'¶VILQGLQJVDVWRZKHWKHUWKH6DPVXQJ',3URGXFWV

SUDFWLFHFODLPRIWKH‫ތ‬SDWHQWIRFXVLQJRQWKHWHUP³FRXSOHGWR´DQGWKHSURSHU

LGHQWLILFDWLRQRIWKHKDUGZDUHOLPLWDWLRQVLQWKH 6DPVXQJ',3URGXFWV. See )HG5HJDW

                                                 32


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 4XHVWLRQ(  8SRQUHYLHZRIWKH,'DQGWKHSDUWLHV¶VXEPLVVLRQVWKH&RPPLVVLRQ

DGRSWVWKH,'¶VFRQFOXVLRQEXWPRGLILHVFHUWDLQILQGLQJV. See ,'DW-

       7KHUHLVQRGLVSXWHWKDWWKH6DPVXQJ',3URGXFWVFRQWDLQHDFKRIWKHKDUGZDUH

FRPSRQHQWVUHFLWHGLQWKHDVVHUWHGFODLPV e.gD³UHFHLYHU´³UHPRWHO\ORFDWHGFRQWUROOLQJ

GHYLFH´³WUDQVPLWWHU´³GLVSOD\GHYLFH´³SURFHVVLQJGHYLFH´³PHPRU\´HWF DQGXVHWKH

4XLFN6HWVRIWZDUHWRSHUIRUPWKHFODLPHGIXQFWLRQDOLWLHVSee ,'DW--577KHRQO\

TXHVWLRQLVZKHWKHUWKH\FDQEHSURSHUO\DOLJQHGZLWKWKHOLPLWDWLRQV DVQHHGHGWRVDWLVI\FODLP

       7KH&RPPLVVLRQILQGVWKHSDUWLHVKDYHQRWGLVSXWHGWKHPHDQLQJRI³GHYLFH´RUVRXJKWWR

LPSRVHDQ\VSHFLILFRUQDUURZLQJFRQVWUXFWLRQV RQWKDWWHUP7KHRUGLQDU\PHDQLQJRI³GHYLFH´

DVXVHGLQFODLP e.g., ³FRQWUROOHGdevice´ ³FRQWUROOLQJdevice´³GLVSOD\device´³SURFHVVLQJ

device´HWF , KDVDEURDGDQGIOH[LEOHVFRSH7KH&RPPLVVLRQIXUWKHUQRWHVWKDW5RNXKDVQRW

REMHFWHGFRQFHSWXDOO\WR LGHQWLI\LQJDFRPSRQHQW, VXFKDVWKHPDLQERDUG, DVWKH³FRQWUROOHG

GHYLFH´RWKHUWKDQWRDUJXHWKDWLWGRHVQRWVDWLVI\DOOWKHDSSOLFDEOHOLPLWDWLRQVRIFODLP

       ,QWKLVFRQWH[WWKHQWKH&RPPLVVLRQILQGVWKDW8(,FRUUHFWO\SURSRVHVWKDWWKH/&'

VFUHHQFRXOGEHLGHQWLILHGDVWKH³GLVSOD\GHYLFH´DQGWKHPDLQERDUGSOXV%OXHWRRWKWUDQVFHLYHU

³UHFHLYHU´ FRXOGEHWKH³FRQWUROOHGGHYLFH´See 8(,¶V5HSO\DW-23; 8(,¶V5HVSDW20-22.

$OWHUQDWLYHO\WKH/&'VFUHHQFRXOGEHLGHQWLILHGDVWKH³GLVSOD\GHYLFH´DQGWKHUHVWRIWKH

6DPVXQJWHOHYLVLRQLQFOXGLQJWKHPDLQERDUGWUDQVFHLYHUDQGDOORWKHUFRPSRQHQWVDVWKH

³FRQWUROOHGGHYLFH´JLYHQWKHEUHDGWKRIWKHWHUP³GHYLFH´ ThXVWKHUHDUHPXOWLSOHZD\V LQ

ZKLFK WKH6DPVXQJ',3URGXFWVFDQVDWLVI\ OLPLWDWLRQ>E@ DQGDOORWKHUOLPLWDWLRQVQHHGHGWR

SUDFWLFHFODLP

       $VIRUWKH³FRXSOHGWR´OLPLWDWLRQWKH&RPPLVVLRQUHFRJQL]HVWKDWWHUPVOLNH³FRXSOHG

WR´PD\EHFRQVWUXHGLQFHUWDLQFRQWH[WVWRUHTXLUHWKDWWKHFRXSOHGFRPSRQHQWV DUHVHSDUDWH



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FRPSRQHQWVSee, e.g., Certain Collapsible and Portable Furniture,QY1R-TA-1178,

&RPP¶Q2S:/DW Q 86,7&0D\ FROOHFWLQJFDVHV 

1RQHWKHOHVVWKHID SURSHUO\ILQGVLQWKLVFDVHWKDWWKH‫ތ‬SDWHQWWHDFKHVWKDWWKHFODLPHG

LQYHQWLRQ WKH³FRQWUROOHGGHYLFH´ PD\EHLPSOHPHQWHGDVHLWKHUDVWDQG-DORQHVHWWRS ER[RU

LQWHJUDWHGLQWRDWHOHYLVLRQRURWKHUPHGLDGHYLFH,'DW- FLWLQJ‫ތ‬SDWHQWDW-48 .

'HSHQGHQWFODLPIRUH[DPSOHLVOLPLWHGWR D³FRQWUROOHGGHYLFHFRPSULV>LQJ@ DVHW-WRS ER[DQG

WKHGLVSOD\GHYLFHFRPSULV>LQJ@ DWHOHYLVLRQ´See ¶SDWHQWDW-14. 7KLVPHDQVWKDWFODLP

DVWKHLQGHSHQGHQWFODLPVKRXOGEHFRQVWUXHGPRUHEURDGO\WRFRYHUERWKHPERGLPHQWVLQ

ZKLFKWKH³FRQWUROOHGGHYLFH´FDQEHHLWKHUDVHWWRS ER[RULQWHJUDWHGLQWRWKHWDUJHWGHYLFHSee

Eko Brands, LLC v. Adrian Rivera Maynez Enterprises, Inc.)G )HG&LU

 FRQVWUXLQJDFODLPWRH[FOXGHDSUHIHUUHGHPERGLPHQWLVUDUHO\LIHYHUFRUUHFWDQGZRXOG

UHTXLUHKLJKO\SHUVXDVLYHHYLGHQWLDU\VXSSRUW  ,QWKLVFRQWH[WWKH&RPPLVVLRQILQGVWKDWWKH

LQWULQVLFHYLGHQFHVKRZVWKDWDQLQWHUQDO³GLVSOD\GHYLFH´ /CD SDQHO PD\EH³FRXSOHGWR´WR

WKHWHOHYLVLRQFRQWDLQLQJWKHLQYHQWLRQIRUSXUSRVHVRISUDFWLFLQJFODLPDV8(,DUJXHGSee

8(,¶V5HVSDW8(,¶V5HSO\DW-23.

       7KH&RPPLVVLRQWKXVDIILUPVWKH,'¶VILQGLQJVWKDWWKH6DPVXQJ',3URGXFWVZKLFK

FRQWDLQ8(,¶V4XLFN6HWVRIWZDUH, SUDFWLFH WKHDVVHUWHGFODLPVRIWKH‫ތ‬SDWHQW. UEI WKXV

VDWLVILHVWKHWHFKQLFDOSURQJRIWKHGRPHVWLFLQGXVWU\UHTXLUHPHQWZLWKUHVSHFWWRWKLVSDWHQW

       C.      Domestic Industry: Economic Prong

       7KH&RPPLVVLRQGHWHUPLQHGWRUHYLHZWKH,'¶VILQGLQJWKDW8(,VDWLVILHGWKHHFRQRPLF

SURQJRIWKHGRPHVWLFLQGXVWU\UHTXLUHPHQWXQGHU6HFWLRQ D  % ZLWKUHVSHFWWRWKH‫ތ‬

DQG‫ތ‬SDWHQWV, )HG5HJDW2 4XHVWLRQF DVZHOODVWKH¶SDWHQW. The

&RPPLVVLRQKDYLQJUHYLHZHGWKH,'WKHSDUWLHV¶VXEPLVVLRQVDQGWKHHYLGHQFHRIUHFRUGKDV

GHWHUPLQHGWRWDNHQRSRVLWLRQDVWRZKHWKHU8(,VDWLVILHGWKHHFRQRPLFSURQJZLWKUHVSHFWWR
                                                 34


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DQ\RIWKHWKUHHSDWHQWVXQGHU6HFWLRQ D  %   7KH&RPPLVVLRQGHWHUPLQHGQRWWRUHYLHZ

DQGWKXVDGRSWHGWKH,'¶VILQGLQJVWKDW8(,VDWLVILHGWKHHFRQRPLFSURQJRIWKHGRPHVWLF

LQGXVWU\UHTXLUHPHQWZLWKUHVSHFWWRDOOWKUHHSDWHQWVXQGHU6HFWLRQ D  & See ,'DW-

)HG5HJDW

V.      REMEDY, THE PUBLIC INTEREST, AND BONDING

        7KH&RPPLVVLRQKDV³EURDGGLVFUHWLRQLQVHOHFWLQJWKHIRUPVFRSHDQGH[WHQWRIWKH

UHPHG\´Viscofan, S.A. v. US. Int’1 Trade Comm’n)G )HG&LU 

        A.      Limited Exclusion Order

        6HFWLRQ G  SURYLGHVWKDW³>L@IWKH&RPPLVVLRQGHWHUPLQHVDVDUHVXOWRIDQ

LQYHVWLJDWLRQXQGHUWKLVVHFWLRQWKDWWKHUHLVDYLRODWLRQRIWKLVVHFWLRQLWVKDOOGLUHFWWKDWWKH

DUWLFOHVFRQFHUQHGLPSRUWHGE\DQ\SHUVRQYLRODWLQJWKHSURYLVLRQRIWKLVVHFWLRQEHH[FOXGHG

IURPHQWU\LQWRWKH8QLWHG6WDWHVXQOHVVDIWHUFRQVLGHULQJWKH>SXEOLFLQWHUHVW@LWILQGVWKDWVXFK

DUWLFOHVVKRXOGQRWEHH[FOXGHGIURPHQWU\´86& G  

        7KH&RPPLVVLRQKDYLQJIRXQGDYLRODWLRQRI6HFWLRQ ZLWKUHVSHFWWRWKH‫ތ‬SDWHQW

KDVGHWHUPLQHGWRLVVXHDOLPLWHGH[FOXVLRQRUGHU ³/(2´ SUHFOXGLQJWKHLPSRUWDWLRQRI

WHOHYLVLRQVVHWWRS ER[HVUHPRWHFRQWUROGHYLFHVVWUHDPLQJGHYLFHVDQGVRXQGEDUVWKDW

LQFRUSRUDWH5RNXFRPSRQHQWV WKDWLQIULQJHRQHRUPRUHRIDVVHUWHGFODLPVDQG-RI

WKH‫ތ‬SDWHQWSXUVXDQWWR6HFWLRQ G   7KH&RPPLVVLRQKDVGHWHUPLQHGWRLQFOXGH

³WHOHYLVLRQV´LQLWV/(2 EHFDXVHWKH¶SDWHQWDVH[SODLQHGHDUOLHUPD\FRYHUHPERGLPHQWVLQ




  9LFH&KDLU6WD\LQMRLQVWKH&RPPLVVLRQ¶VGHWHUPLQDWLRQWRWDNHQRSRVLWLRQRQWKLVLVVXH,IWKH
&RPPLVVLRQZHUHWRUHDFKWKHLVVXHKHZRXOGDIILUPWKH,'¶VILQGLQJVWKDW8(,VDWLVILHGWKH
HFRQRPLFSURQJZLWKUHVSHFWWRDOOWKUHHSDWHQWVXQGHU6HFWLRQ D  % ,QKLVYLHZ8(,LV
QRWUHTXLUHGWRVKRZLWV4XLFN6HWLQYHVWPHQWVDUHVLJQLILFDQWLQFRPSDULVRQWRWKH6DPVXQJ',
3URGXFWVDQG8(,GHPRQVWUDWHGWKDWLWVLQYHVWPHQWVDUHVLJQLILFDQWDVVHWIRUWKLQWKH,'See ID
DW-34.

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ZKLFKWKH³VHFRQGPHGLDGHYLFH´ KHUHWKH5RNX6RXQGEDURU8OWUD LVHLWKHUDVWDQG-DORQH

GHYLFHRULQFRUSRUDWHGLQWRDWHOHYLVLRQ7KH/(2DOVRLQFOXGHVWKHVWDQGDUGFHUWLILFDWLRQ

SURYLVLRQDOORZLQJ86&XVWRPVDQG%RUGHU3URWHFWLRQ ³&%3´ DWLWVGLVFUHWLRQWRUHTXLUHDQ

LPSRUWHUVHHNLQJWRLPSRUWWRFHUWLI\WKDWWRWKHEHVWRILWVNQRZOHGJH DQGDIWHUKDYLQJREWDLQHGD

GHWHUPLQDWLRQIURPWKH&RPPLVVLRQ, WKDWWKHDUWLFOHVLWVHHNVWRLPSRUWDUHQRWH[FOXGHGIURP

HQWU\XQGHUWKH/(2

       7KH&RPPLVVLRQDVLVFXVWRPDU\LVQRWOLPLWLQJWKH/(2WRFRYHUHGSURGXFWVWKDWZHUH

DFWXDOO\DGMXGLFDWHGWRLQIULQJHWKH‫ތ‬SDWHQW VRWKDWLWPD\HQVXUHWKDWWKHH[FOXVLRQRUGHU

DIIRUGVFRPSODLQDQW³FRPSOHWHUHOLHI´DQGFDQQRWEH³HDVLO\FLUFXPYHQWHG´ See Certain

Graphics Systems, Components Thereof, and Consumer Products Containing Same,QY1R

337-TA-&RPP¶Q2SDW 6HSW  /(2FRYHUVDQ\RIUHVSRQGHQWV¶SURGXFWV

WKDWLQIULQJHWKHSDWHQWDWLVVXHDQGLVQRWOLPLWHGWRSDUWLFXODUPRGHOV Certain Human Milk

Oligosaccharides and Methods of Producing Same&RPP¶Q2SDW-:/DW

  -XQH  UHGHVLJQHGSURGXFWVPD\VWLOOIDOOZLWKLQWKHVFRSHRIWKHUHPHGLDORUGHUV

HYHQLIWKH\ZHUHQRWDGMXGLFDWHGIRULQIULQJHPHQWLQWKHRULJLQDOLQYHVWLJDWLRQ , aff’d, Jennewein

Biotechnologie GmbH v. Int’l Trade Comm’n:/ )HG&LU6HSW 

XQSXEOLVKHG ; Certain Hardware Logic Emulation Systems and Components Thereof, ,QY1R

337-TA-&RPP¶Q2S:/DW  0DU  &RPPLVVLRQ¶VUHPHGLDO

RUGHUVW\SLFDOO\H[WHQGWRSURGXFWVFRYHUHGE\WKHSDWHQWFODLPV DWLVVXHDQGDUHQRWOLPLWHGRQO\

WRVSHFLILFPRGHOV VHOHFWHGIRUWKHLQIULQJHPHQWDQDO\VLV LQRUGHUWRDYRLGHDV\FLUFXPYHQWLRQ 

       2QDJUHHPHQWRIWKHSDUWLHVWKH&RPPLVVLRQLQFOXGHVDQH[HPSWLRQIRUWKRVHUHYLVHG

5RNXSURGXFWVWKDWZHUHDGMXGLFDWHGLQWKLVLQYHVWLJDWLRQDQGIRXQGWREHQRQ-LQIULQJLQJ,

VSHFLILFDOO\WKH5RNX8OWUD %U\DQ DQG5RNX6RXQGEDU )UXLWODQG 7KLVH[HPSWLRQGRHVQRW



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DSSO\WRDQ\SURGXFWVWKDWZHUHQRWDGMXGLFDWHGLQWKLVLQYHVWLJDWLRQRUQRWIRXQGWREHQRQ-

LQIULQJLQJ 7KH&RPPLVVLRQDOVRGHFOLQHVWRH[WHQGWKLVH[HPSWLRQWR5RNXSURGXFWVWKDW

DOOHJHGO\³FRQWDLQWKHVDPHIXQFWLRQDOLW\´DVWKHVHQRQ-LQIULQJLQJSURGXFWVEHFDXVHVXFKD

FODXVHZRXOGEHWRREURDGDQGYDJXHDQGWKXVFRPSOLFDWHUDWKHUWKDQIDFLOLWDWHHQIRUFHPHQW

       7KH&RPPLVVLRQDOVRGHFOLQHV5RNX¶VUHTXHVWWRLQFOXGHDQH[HPSWLRQIRUZDUUDQW\,

VHUYLFH, DQGUHSDLUDV5RNXIDLOHGWRSURYLGHVXIILFLHQWHYLGHQFHWRVXSSRUWVXFKDSURYLVLRQ

7KH&RPPLVVLRQGHFOLQHVWRLQFOXGHDQH[HPSWLRQIRUVSDUHSDUWVRURWKHUFRPSRQHQWVEHFDXVH

5RNXGLGQRWSURYLGHDQ\HYLGHQFHWRVXSSRUWVXFKDQH[HPSWLRQ, LGHQWLI\DQ\VSDUHSDUWVWREH

H[HPSWHGRUH[SODLQWKHLPSRUWDQFHRIVXFKVSDUHSDUWVSee Certain Non-Volatile Memory

Devices and Products Containing Same,QY1R-TA-&RPP¶Q2SDW:/

DW  2FW  ILQGLQJH[HPSWLRQIRUVHUYLFHRUUHSDLUZDVQRWZDUUDQWHGZKHQ

WKHUHVSRQGHQWGLGQRWLGHQWLI\DQ\VSHFLILFUHSODFHPHQWSDUWVRUH[SODLQZKDWUHSDLUVZHUH

QHHGHG .

       B.      Cease and Desist Order

       6HFWLRQ I  SURYLGHVWKDWLQDGGLWLRQWRRULQOLHXRIWKHLVVXDQFHRIDQH[FOXVLRQ

RUGHUWKH&RPPLVVLRQPD\LVVXHDFHDVHDQGGHVLVWRUGHU ³&'2´ DVDUHPHG\IRUYLRODWLRQRI

6HFWLRQ. See 86&  I  &'2VDUHJHQHUDOO\LVVXHGZKHQZLWKUHVSHFWWRWKH

LPSRUWHGLQIULQJLQJSURGXFWVUHVSRQGHQWVPDLQWDLQFRPPHUFLDOO\VLJQLILFDQWLQYHQWRULHVLQWKH

8QLWHG6WDWHVRUKDYHVLJQLILFDQWGRPHVWLFRSHUDWLRQVWKDWFRXOGXQGHUFXWWKHUHPHG\SURYLGHG

E\DQH[FOXVLRQRUGHU 10 See, e.g., Certain Table Saws Incorporating Active Injury Mitigation


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   :KHQWKHSUHVHQFHRILQIULQJLQJGRPHVWLFLQYHQWRU\RUGRPHVWLFRSHUDWLRQVLVDVVHUWHGDVWKH
EDVLVIRUD&'2XQGHU6HFWLRQ I  &RPPLVVLRQHU6FKPLGWOHLQGRHVQRWDGRSWWKHYLHZ
WKDWWKHLQYHQWRU\RUGRPHVWLFRSHUDWLRQVQHHGVWREH³FRPPHUFLDOO\VLJQLILFDQW´LQRUGHUWRLVVXH
WKH&'2See, e.g., Certain Magnetic Tape Cartridges and Components Thereof,QY1R-
TA-&RPP¶Q2SDWQ 0DU Table Saws&RPP¶Q2SDW-Q )HE
 ,Q&RPPLVVLRQHU6FKPLGWOHLQ¶VYLHZWKHSUHVHQFHRIVRPHLQIULQJLQJGRPHVWLF
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                         CONFIDENTIAL     Page: 120
                                       MATERIAL      Filed: 06/15/2022
                                                 OMITTED



Technology & Components Thereof ³Table Saws´ ,QY1R-TA-&RPP¶Q2SDW-

)HE Certain Protective Cases & Components Thereof,QY1R-TA-780, USITC

3XE1R&RPP¶Q2SDW 1RY  &RPSODLQDQWVEHDUWKHEXUGHQRQWKLVLVVXH

³$FRPSODLQDQWVHHNLQJDFHDVHDQGGHVLVWRUGHUPXVWGHPRQVWUDWHEDVHGRQWKHUHFRUGWKDWWKLV

UHPHG\LVQHFHVVDU\WRDGGUHVVWKHYLRODWLRQIRXQGLQWKHLQYHVWLJDWLRQVRDVWRQRWXQGHUFXWWKH

UHOLHISURYLGHGE\WKHH[FOXVLRQRUGHU´Table Saws&RPP¶Q2SDW FROOHFWLQJFDVHV see

also +55(31R-DW  

        7KH&RPPLVVLRQKDVGHWHUPLQHGWRLVVXHDCDO GLUHFWHGWRUHVSRQGHQW5RNXZLWKWKH

VWDQGDUGODQJXDJHDQGWKHH[HPSWLRQQRWHGDERYHIRUSURGXFWVDGMXGLFDWHGLQWKLVLQYHVWLJDWLRQ

DQGIRXQGWREHQRQ-LQIULQJLQJ7KH&RPPLVVLRQILQGVWKDWDFHDVHDQGGHVLVWRUGHULVZDUUDQWHG

LQYLHZRI5RNX¶V                              RIGRPHVWLFLQYHQWRU\ RISURGXFWVWKDWLQIULQJHWKH

‫ތ‬SDWHQW. 5'DW-$OWKRXJK5RNXGLVSXWHVZKHWKHUWKLVLQYHQWRU\LV³FRPPHUFLDOO\

VLJQLILFDQW´LWGRHVQRWGLVSXWHLWVWRWDOYDOXHZKLFKLVVXEVWDQWLDO

        C.      Public Interest

        6HFWLRQ UHTXLUHVWKH&RPPLVVLRQXSRQILQGLQJDYLRODWLRQRI6HFWLRQWRLVVXHDQ

/(2³XQOHVVDIWHUFRQVLGHULQJWKHHIIeFWRIVXFKH[FOXVLRQXSRQWKHSXEOLFKHDOWKDQGZHOIDUH

FRPSHWLWLYHFRQGLWLRQVLQWKH8QLWHG6WDWHVHFRQRP\WKHSURGXFWLRQRIOLNHRUGLUHFWO\

FRPSHWLWLYHDUWLFOHVLQWKH8QLWHG6WDWHVDQG8QLWHG6WDWHVFRQVXPHUVLWILQGVWKDWVXFKDUWLFOHV




LQYHQWRU\RUGRPHVWLFRSHUDWLRQVUHJDUGOHVVRILWVFRPPHUFLDOVLJQLILFDQFHSURYLGHVDEDVLVWR
LVVXHD&'2Id.

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VKRXOGQRWEHH[FOXGHGIURPHQWU\´86& G O The &RPPLVVLRQPXVWDOVR

FRQVLGHUWKHVHSXEOLFLQWHUHVWIDFWRUVEHIRUHLVVXLQJD&'286& I  

        8QGHUDSSURSULDWHIDFWVDQGFLUFXPVWDQFHVWKH&RPPLVVLRQPD\GHWHUPLQHWKDWQR

UHPHG\VKRXOGLVVXHEHFDXVHRIWKHDGYHUVHLPSDFWVRQWKHSXEOLFLQWHUHVWSee, e.g., Certain

Fluidized Supporting Apparatus & Components Thereof,QY1RV37-TA-86,7&

3XE&RPP¶Q2SDW–2, 23– 2FW  ILQGLQJWKDWWKHSXEOLFLQWHUHVWZDUUDQWHG

GHQ\LQJFRPSODLQDQW¶VUHTXHVWHGUHOLHI 0RUHRYHUZKHQWKHFLUFXPVWDQFHVRIDSDUWLFXODU

LQYHVWLJDWLRQ VR UHTXLUHWKH&RPPLVVLRQKDVWDLORUHGLWVUHOLHILQOLJKWRIWKHVWDWXWRU\SXEOLF

LQWHUHVWIDFWRUV

        7KHVWDWXWHUHTXLUHVWKH&RPPLVVLRQWRFRQVLGHUDQGPDNHILQGLQJVRQWKHSXEOLFLQWHUHVW

LQHYHU\FDVHLQZKLFKDYLRODWLRQLVIRXQGUHJDUGOHVVRIWKHTXDOLW\RUTXDQWLW\RISXEOLFLQWHUHVW

LQIRUPDWLRQVXSSOLHGE\WKHSDUWLHV86& G O  I O 7KH&RPPLVVLRQSXEOLVKHVD

QRWLFHLQYLWLQJWKHSDUWLHVDVZHOODVLQWHUHVWHGPHPEHUVRIWKHSXEOLFDQGLQWHUHVWHGJRYHUQPHQW

DJHQFLHVWRJDWKHUDQGSUHVHQWHYLGHQFHRQWKHSXEOLFLQWHUHVWDWPXOWLSOHMXQFWXUHVLQWKH

SURFHHGLQJ 11 86& G O   I O  7KH&RPPLVVLRQUHFHLYHGQRUHVSRQVHWRLWV

UHTXHVWIRUFRPPHQWVRQWKHSXEOLFLQWHUHVWIURPDQ\LQWHUHVWHGWKLUGSDUWLHVSee 8 )HG5HJ.

 -XO\ 

        5RNXDGPLWVWKDWWKHVWDWXWRU\SXEOLFLQWHUHVWIDFWRUVGRQRWSUHFOXGHLVVXDQFHRID

UHPHGLDORUGHU LIWKH&RPPLVVLRQILQGV DYLRODWLRQ5RNX¶V5HVSDW7KH&RPPLVVLRQDOVR

ILQGV WKHSXEOLFLQWHUHVWGRHV QRWZDUUDQWWKHUHSDLUDQGUHSODFHPHQWSURYLVLRQVEURDGHU

H[HPSWLRQVRURWKHUSURYLVLRQV 5RNX VRXJKWWRLQFOXGHLQWKHUHPHGLDORUGHUVSee id. DW



11
  7KH&RPPLVVLRQGLGQRWDVNWKH$/-WRPDNHILQGLQJVUHJDUGLQJWKHSXEOLFLQWHUHVWZKHQLW
LQVWLWXWHGWKHLQYHVWLJDWLRQSee )HG5HJ DW-12.

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             1.        Public Health and Welfare

       The FRYHUHGSURGXFWVDUHFHUWDLQPHGLDVWUHDPLQJSURGXFWVUHPRWHFRQWUROVDQGUHODWHG

FRPSRQHQWV LPSRUWHGVROGIRULPSRUWDWLRQRUVROGLQWKH8QLWHG6WDWHVDIWHULPSRUWDWLRQE\

5RNXWKDWLQIULQJHRQHRUPRUHFODLPVRIWKH‫ތ‬SDWHQW7KH&RPPLVVLRQILQGVDQG5RNXGRHV

QRWFRQWHQGRWKHUZLVHWKDWWKHVHFRQVXPHUSURGXFWVGRQRWLPSOLFDWHDQ\SXEOLFKHDOWKQDWLRQDO

VHFXULW\RUZHOIDUHRURWKHUSXEOLFLQWHUHVWFRQFHUQV7KXVDQ H[FOXVLRQRUGHUZLOOQRWDGYHUVHO\

LPSDFWSXEOLFKHDOWKRUZHOIDUH XQGHU6HFWLRQ G   I  

             2.        Competitive Conditions in the United States

       7KH&RPPLVVLRQILQGVDQG5RNXGRHVQRWGLVSXWHWKDWWKHUHDUHPXOWLSOHPDQXIDFWXUHUV

DQGLPSRUWHUVRIVLPLODUDQGPHGLDVWUHDPLQJGHYLFHV See 8(,¶V5HVSDW7KHH[FOXVLRQRI

5RNX¶VFRYHUHGSURGXFWVZLOOQRWDGYHUVHO\DIIHFWFRPSHWLWLYHFRQGLWLRQVLQWKH8QLWHG6WDWHVRU

WKHDELOLW\RIRWKHUFRPSDQLHVWRLQQRYDWHRUFRPSHWHLQWKLVVSDFH 7RWKHFRQWUDU\HIIHFWLYH

HQIRUFHPHQWRIOHJLWLPDWHSDWHQWULJKWV HQFRXUDJHVFRPSHWLWLRQDPRQJSURYLGHUVDQGLQQRYDWLRQ

LQQHZWHFKQRORJLHVDQGFRPSHWLQJSURGXFWV 0RUHRYHUWKHH[HPSWLRQIRU5RNXSURGXFWVWKDW

ZHUHDGMXGLFDWHGDQGIRXQGWREHQRQ-LQIULQJLQJZLOORIIVHW5RNX¶VFRQFHUQVUHJDUGLQJ

SRWHQWLDOO\GHQ\LQJFRQVXPHUVDFFHVVWRODZIXOQRQ-LQIULQJLQJSURGXFWVSee 5RNX¶V5HVSDW

 7KXVWKH&RPPLVVLRQ ILQGVWKDWLVVXLQJDQH[FOXVLRQRUGHUZLOOQRWDGYHUVHO\LPSDFW

FRPSHWLWLYHFRQGLWLRQVLQWKH86HFRQRP\ XQGHU6HFWLRQ G   I  

             3.        The Production of Like or Directly Competitive Articles in the United
                       States

       7KH&RPPLVVLRQILQGVDQG5RNXGRHVQRWGLVSXWHWKDWWKHH[FOXVLRQRI5RNX¶VFRYHUHG

SURGXFWVZLOOQRWDGYHUVHO\DIIHFWWKHSURGXFWLRQRIOLNHRUGLUHFWO\FRPSHWLWLYHDUWLFOHVLQWKH

8QLWHG6WDWHV 1HLWKHUSDUW\LQIDFWSUHVHQWVDQ\HYLGHQFHWKDWDQ\FRPSHWLWLYHDUWLFOHVDUH

SURGXFHGLQWKH8QLWHG6WDWHVDSDUWIURP8(,¶VLQYHVWPHQWVLQ5 'DQGHQJLQHHULQJODERU


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UHODWLQJWR4XLFN6HW0RUHRYHUWKHH[FOXVLRQRIDQXQODZIXOO\LQIULQJLQJSURGXFWPD\

HQFRXUDJHWKHGHYHORSPHQWPDUNHWLQJDQGVDOHRISURGXFWVLQODZIXOGRPHVWLFFRPSHWLWLRQ

ThH&RPPLVVLRQILQGVWKDWDQH[FOXVLRQRUGHUZLOOQRWDGYHUVHO\LPSDFWWKHSURGXFWLRQRIOLNHRU

GLUHFWO\FRPSHWLWLYHDUWLFOHVLQWKH8QLWHG6WDWHV XQGHU6HFWLRQ G   I  

             4.          United States Consumers

       The &RPPLVVLRQILQGVDQG5RNXGRHVQRWGHQ\ WKDWWKHUHDUHPXOWLSOHSURYLGHUVRI

PHGLDVWUHDPLQJGHYLFHVRURWKHUFRPSHWLWLYHSURGXFWVLQFOXGLQJ8(,DQGLWVOLFHQVHHV6DPVXQJ

DQG6RQ\DQGRWKHUWKLUGSDUWLHV8(,¶V 5HVSDW([FOXVLRQRIWKHFRYHUHGSURGXFWVZLOOQRW

DGYHUVHO\LPSDFW86FRQVXPHUVZKRZLOOEHDEOHWRSXUFKDVHRWKHUFRPSHWLWLYHSURGXFWV IURP

WKHVHDQGRWKHUSURYLGHUVSee id. 7KH&RPPLVVLRQDOVRILQGVWKDWWKHSXEOLFDQG86

FRPSHWLWLYHLQWHUHVWVJHQHUDOO\EHQHILWIURPHQIRUFHPHQWRILQWHOOHFWXDOSURSHUW\ULJKWVCertain

Two-Handle Centerset Faucets & Escutcheons & Components Thereof,QY1R-TA-422,

&RPP¶Q2SDW -XO\  7KXVWKH&RPPLVVLRQILQGVWKDWDQH[FOXVLRQRUGHUZLOOQRW

DGYHUVHO\LPSDFW86FRQVXPHUVXQGHU6HFWLRQ G   I  

       E.         Bond

       ,IWKH&RPPLVVLRQHQWHUVDQH[FOXVLRQRUGHURUDFHDVHDQGGHVLVWRUGHUDUHVSRQGHQW

PD\FRQWLQXHWRLPSRUWDQGVHOOLWVSURGXFWVGXULQJWKH-GD\SHULRGRI3UHVLGHQWLDOUHYLHZ

XQGHUDERQGLQDQDPRXQWGHWHUPLQHGE\WKH&RPPLVVLRQWREH³VXIILFLHQWWRSURWHFWWKH

FRPSODLQDQWIURPDQ\LQMXU\´86&  M  VHHDOVR&)5 D  

       :KHQUHOLDEOHSULFHLQIRUPDWLRQLVDYDLODEOHLQWKHUHFRUGWKH&RPPLVVLRQKDVRIWHQVHW

WKHERQGLQDQDPRXQWWKDWZRXOGHOLPLQDWHWKHSULFHGLIIHUHQWLDOEHWZHHQWKHGRPHVWLFSURGXFW

DQGWKHLPSRUWHGLQIULQJLQJSURGXFWSee Certain Microsphere Adhesives, Processes for Making

Same, & Prods. Containing Same, Including Self-stick Repositionable Notes,QY1R-TA-



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86,7&3XE1R&RPP¶Q2SDW -DQ 7KH&RPPLVVLRQKDVDOVRXVHGD

UHDVRQDEOHUR\DOW\UDWHWRVHWWKHERQGDPRXQWZKHUHDUHDVRQDEOHUR\DOW\UDWHFRXOGEH

DVFHUWDLQHGIURPWKHHYLGHQFHLQWKHUHFRUGSee, e.g., Certain Audio Digital-to-Analog

Converters & Prods. Containing Same,QY1R-TA-&RPP¶Q2SDW 0DU 

:KHUHWKHUHFRUGHVWDEOLVKHVWKDWWKHFDOFXODWLRQRIDSULFHGLIIHUHQWLDOLVLPSUDFWLFDORUWKHUHLV

LQVXIILFLHQWHYLGHQFHLQWKHUHFRUGWRGHWHUPLQHDUHDVRQDEOHUR\DOW\WKH&RPPLVVLRQKDV

LPSRVHGDSHUFHQWERQGSee, e.g., Certain Liquid Crystal Display Modules, Prods.

Containing Same, & Methods Using the Same,QY1R-TA-&RPP¶Q2SDW- 1RY

 7KHFRPSODLQDQWEHDUVWKHEXUGHQRIHVWDEOLVKLQJWKHQHHGIRUDERQGCertain

Rubber Antidegradants, Components Thereof & Prods. Containing Same,QY1R-TA-533,

86,7&3XE1R&RPP¶Q2SDW -XO\ 

       7KH&RPPLVVLRQKDVGHWHUPLQHGWRLPSRVHDERQGLQWKHDPRXQWRI]HUR  SHUFHQWRI

HQWHUHGYDOXHGXULQJWKHSHULRGRI3UHVLGHQWLDOUHYLHZ8(,GRHVQRWVHWRXWDQ\SULFH

FRPSDULVRQVLQLWVEULHIVRQUHYLHZEXWLWGLGDUJXHLQLWVSRVW-KHDULQJEULHIWKDW³WKH$FFXVHG

3URGXFWVFDQYDU\GUDPDWLFDOO\LQSULFH IRU5RNXUHPRWHWRIRUD5RNX8OWUDWR

IRUD5RNX6RXQGEDUWRWKRXVDQGVRIGROODUVIRU5RNX79V DVGRWKH',3URGXFWV YHUVXV

WKRXVDQGVRIGROODUVIRUVRPH6DPVXQJWHOHYLVLRQV ´&RPSODLQDQW¶V,QLWLDO3RVW-+HDULQJ%ULHI

DW. 8(,KRZHYHUGRHVQRWH[SODLQZKLFKRIWKHDFFXVHG5RNXSURGXFWVKRZPDQ\RUWR

ZKDWH[WHQWWKH\DFWXDOO\FRPSHWHDJDLQVWGRZQVWUHDPSURGXFWV WHOHYLVLRQV PDGHE\8(,¶V

OLFHQVHHVLQFOXGLQJ6DPVXQJ

       7KXV8(,KDVQRWFDUULHGLWVEXUGHQRIHVWDEOLVKLQJWKHQHHGIRUDERQG RUWKHDPRXQWRI

DQ\ERQG. See Rubber Antidegradants&RPP¶Q2SDW; Certain Digital Video Receivers and




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Related Hardware and Software Components,QY1R-TA-&RPP¶Q2SDW 0D\

  GHQ\LQJERQGGXHWRODFNRIHYLGHQFHRQSULFHGLIIHUHQWLDOVRUUHDVRQDEO\UR\DOWLHV 

VI.    CONCLUSION

       )RUWKHUHDVRQVVHWIRUWKKHUHLQ DQGLQWKH,'WKH&RPPLVVLRQGHWHUPLQHVWKDW 8(,KDV

HVWDEOLVKHG DYLRODWLRQRI6HFWLRQ E\5RNXZLWKUHVSHFWWRFODLPV1, 3, DQG-RIWKH

‫ތ‬SDWHQWThe LQYHVWLJDWLRQLVKHUHE\WHUPLQDWHGZLWKDILQGLQJRIDYLRODWLRQRI6HFWLRQ.

7KH&RPPLVVLRQGHWHUPLQHVWKDWWKHDSSURSULDWHUHPHG\LVDOLPLWHGH[FOXVLRQRUGHUDQGFHDVH

DQGGHVLVWRUGHU7KH&RPPLVVLRQIXUWKHUILQGVWKDWWKHSXEOLFLQWHUHVWGRHVQRWSUHFOXGH

LVVXDQFHRIDUHPHG\DQGLWVHWVDERQGRI]HUR  SHUFHQWDSSOLFDEOHWRLPSRUWVGXULQJWKH

3UHVLGHQWLDOUHYLHZSHULRG

       %\RUGHURIWKH&RPPLVVLRQ




                                                             6HFUHWDU\WRWKH&RPPLVVLRQ
,VVXHG 1RYHPEHU




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CERTAIN ELECTRONIC DEVICES, INCLUDING                              Inv. No. 337-TA-1200
STREAMING PLAYERS, TELEVISIONS, SET TOP
BOXES, REMOTE CONTROLLERS, AND
COMPONENTS THEREOF

                    CONFIDENTIAL CERTIFICATE OF SERVICE

       I, Lisa R. Barton, hereby certify that the attached COMMISSION OPINION has been
served upon the following parties as indicated, on November 10, 2021.




                                               U.S. International Trade Commission
                                               500 E Street, SW, Room 112
                                               Washington, DC 20436

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                               NONCONFIDENTIAL VERSION




             UNITED STATES INTERNATIONAL TRADE COMMISSION

                                      Washington, D.C.



  In the Matter of

  CERTAIN ELECTRONIC DEVICES,
  INCLUDING STREAMING PLAYERS,                              Inv. No. 337-TA-1200
  TELEVISIONS, SET TOP BOXES,
  REMOTE CONTROLLERS, AND
  COMPONENTS THEREOF



         INITIAL DETERMINATION ON VIOLATION OF SECTION 337 AND
           RECOMMENDED DETERMINATION ON REMEDY AND BOND

                          Administrative Law Judge Cameron Elliot

                                        (July 9, 2021)

       Pursuant to the Notice of Investigation and Rule 210.42(a) of the Rules of Practice and

Procedure of the United States International Trade Commission, this is my Initial Determination

in the matter of Certain Electronic Devices, Including Streaming Players, Televisions, Set Top

Boxes, Remote Controllers, And Components Thereof, Investigation No. 337-TA-1200.




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                              to transmit a first command directly to the second media device,
                              via use of the high-definition multimedia communications port,
                              to control an operational function of the second media device
                              when a first data provided to the first media device indicates that
                              the second media device when the first data provided to the first
                              media device indicates that the second media device will be
                              responsive to the first command, and cause the first media
                              device to be configured to transmit a second data to a remote
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TABLE OF ABBREVIATIONS


CDX               Complainant’s Demonstrative Exhibit

CIB               Complainant’s Initial Post-Hearing Brief

CPB               Complainant’s Pre-Hearing Brief

CSB               Complainant’s Supplemental Pre-Hearing Brief

CPX               Complainant’s Physical Exhibit

CRB               Complainant’s Reply Post-Hearing Brief

CX                Complainant’s Exhibit

Dep. Tr.          Deposition Transcript

Tr.               Hearing Transcript

JX                Joint Exhibit

RDX               Respondents’ Demonstrative Exhibit

RIB               Respondents’ Initial Post-Hearing Brief

RPB               Respondents’ Pre-Hearing Brief

RSB               Respondents’ Supplemental Pre-Hearing Brief

RPX               Respondents’ Physical Exhibit

RRB               Respondents’ Reply Post-Hearing Brief

RX                Respondents’ Exhibit




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       INTRODUCTION

              Procedural Background

       Complainant Universal Electronics Inc. (“UEI” or “Complainant”) filed the complaint

underlying this investigation on April 16, 2020. The complaint identified Roku Inc. (“Roku”);

TCL Electronics Holdings Limited, f/k/a TCL Multimedia Holdings Limited, Shenzhen TCL New

Technology Company Limited, TCL King Electrical Appliances (Huizhou) Company Limited,

TTE Technology Inc. d/b/a/ TCL USA and TCL North America, TCL Corp., TCL Moka, Int’l

Ltd., TCL Overseas Marketing Ltd., TCL Industries Holdings Co., Ltd., TCL Smart Device

(Vietnam) Company, Ltd. (collectively, “TCL”); Hisense Co. Ltd., Hisense Electronics

Manufacturing Company of America Corporation d/b/a Hisense USA, Hisense Import & Export

Co. Ltd., Qingdao Hisense Electric Co., Ltd., Hisense International (HK) Co., Ltd. (collectively,

“Hisense”); Funai Electric Co., Ltd., Funai Corporation Inc., and Funai (Thailand) Co., Ltd.

(together, “the Respondents”) as Respondents. The complaint alleged that Respondents import or

sell in connection with an importation certain touch-controlled mobile devices, including

smartphone and tablet devices, computers, including notebook and laptop computers, and

associated components, that infringe one or more of claims 1, 2, 4, 6-9, and 11-16 of U.S. Patent

No. 9,911,325 (“the 325 patent”); claims 1, 2-7, 12, 14, 19, 20, and 22-25 of U.S. Patent No.

7,589,642 (“the 642 patent”) (together “the Mui patents”); claims 1-6 and 20 of U.S. Patent No.

7,969,514 (“the 514 patent”); claims 1-11 of U.S. Patent No. 10,600,317 (“the 317 patent”)

(together “the Haughawout patents”); claims 1-22 of U.S. Patent No. 10,593,196 (“the 196

patent”); and claims 1-3 and 5-8 of U.S. Patent No. 9,716,853 (“the 853 patent”). By publication

of a notice in the Federal Register on May 22, 2020, the U.S. International Trade Commission

commenced an investigation into:

       [W]hether there is a violation of subsection (a)(1)(B) of section 337 in the




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       importation into the United States, the sale for importation, or the sale within the
       United States after importation of certain products identified in paragraph (2) by
       reason of infringement of one or more of claims 1, 2, 4, 6-9, and 11-16 of the '325
       patent; claims 1, 2-7, 12, 14, 19, 20, and 22-25 of the '642 patent; claims 1-6 and
       20 of the '514 patent; claims 1-11 of the '317 patent; claims 1-22 of the '196 patent;
       claims 1-3 and 5-8 of the '853 patent; and whether an industry in the United States
       exists as required by subsection (a)(2) of section 337;

85 Fed. Reg. 31211 (May 22, 2020). On June 17, 2020, I set a target date of September 22, 2020

for completion of this investigation. Order No. 7. Also on June 17, 2020, I set a Markman hearing

date of August 19-20, 2020 and an evidentiary hearing date of March 1–5, 2021. Id. On December

30, 2020 Roku moved for summary determination that UEI lacked standing to assert the 196

Patent. I granted this motion in a non-final initial determination, Order No. 40 (February 1, 2021).

The Commission reversed the decision on February 24, 2021. EDIS Doc. No. 735072. In light of

the Commission’s decision, I issued an initial determination revising the target date to November

10, 2021 and moving the hearing date to April 19, 2021. Order No. 59 ( February 26, 2021). The

Commission did not review this initial determination. EDIS Doc. No. 737267.

       On August 19, 2020, I held a technology tutorial and Markman hearing, and on October 1,

2020 I issued Order No. 24, construing certain claim terms of the patents at issue. On July 22,

2020 Respondents moved for summary determination that the asserted claims of the 514 and 317

patents are invalid for claiming patent ineligible subject matter under 35 U.S.C. § 101, which was

denied on September 14, 2020 with Order No. 21. On December 29, UEI moved for summary

determination that claim 19 of the 642 patent is practiced by the domestic industry products and

infringed by Roku’s accused products. By a non-final initial determination, I granted summary

determination that claim 19 of the 642 patent is practiced by the domestic industry products and is

infringed by the Elk series of accused products. The Commission determined not to review Order

No. 38 on February 19, 2021. EDIS Doc. No 734530. On December 30, 2020 UEI moved for

summary determination that the technical prong of the domestic industry requirement is satisfied




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as to certain claims of the 642 and 325 patents. I issued an initial determination granting the

motion for summary determination that the technical prong for the 325 Patent is satisfied by the

Sony domestic industry products and the Microsoft domestic industry products and denying

summary determination as to the 642 patent. Order No. 41 (January 25, 2021). The Commission

did not review this non-final ID. EDIS Doc. No. 735069 (February 24, 2021).

       With various motions, UEI moved to terminate the investigation as to various claims,

patents, and respondents. All of the motions were granted by non-final initial determinations, and

the Commission did not review these non-final ID’s. See Orders 27, 32, 34, 44, 49, 66, and 67

and Commission decisions not to review, EDIS Doc. Nos. 728820, 729547, 731388, 734624,

735095, 739284, and 740651, respectively. Thus, the only remaining respondent is Roku and the

remaining asserted patent claims are: claim 19 of the 642 patent; claims 3, 6, 9, and 11 of the 317

patent; and claims 1, 3, 11, 13-15 of the 196 patent for issues of infringement and claims 1 and 2

of the 196 patent for issues of domestic industry.

       The evidentiary hearing took place as scheduled on April 19-23, 2021.

       Pursuant to the procedural schedule, and Order No. 64, the parties submitted initial and

reply post-hearing briefs on May 10, 2021 and May 19, 2021, respectively. As of the date of this

initial determination, no motions remain pending.

               The Parties

       Complainant Universal Electronics Inc. is a United States corporation organized and

existing under the laws of Delaware and has its principal place of business in Scottsdale, Arizona.

CIB at 1. UEI researches, designs, and produces products in the area of entertainment interaction

and control. UEI’s products include remote-controlled home entertainment devices and home

automation control modules, as well as wired Consumer Electronics Control (“CEC”) and wireless




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Internet Protocol (“IP”) control protocols commonly found on many of the latest HDMI and

internet connected devices. Complaint, ¶¶ 9-10. UEI’s QuickSet, in which the asserted patents

are incorporated, is a product family dedicated to simplifying and automating the configuration

and control of remote controls and home entertainment devices. Complaint, ¶ 11.

       Respondent Roku, Inc. is a corporation organized and existing under the laws of Delaware,

with a principal place of business in Los Gatos, California. Complaint, ¶ 16. Roku creates TV

streaming platforms and also partners with third party TV manufacturers for the development of

Roku-branded TVs. RIB at 9. .

               The Asserted Patents and Claims

       The Asserted Patents all relate to remote controls and functionality for controlling

televisions and other electronic devices. Remote controls operate a second device, such as a TV,

by communicating via wireless protocols and signals. Historically, remote controls were device

specific and capable of controlling only one particular device. The present patents relate to

“universal remotes” that are programmed to operate a variety of types and/or brands of devices,

and specifically, are related to processes for automating and streamlining the process for setting

up a universal remote control to control a target device.

       The following patent claims are at issue in this investigation:

             U.S. Patent No.                  Roku            Domestic Industry

             7,589,642                          19                       19

             10,600,317                     3, 6, 9, 11              3, 6, 9, 11

             10,593,196                   1, 3, 11, 13-15                1, 2

See CIB at 12, 29, 93.




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       The 642 patent was filed on December 16, 2003 and issued on September 15, 2009, and is

entitled “Relaying Key Code Signals Through A Remote Control Device.” The 642 patent is

assigned on its face to UEI Cayman Inc. UEI owns by assignment all rights, title, and interest in

the 642 patent. Complaint at ¶ 62. The 642 patent generally relates to remote control devices and,

more specifically, “to relaying key code signals through a remote control device to operate an

electronic consumer device.” JX-0002 (642 patent) at 1:7-8. The 642 patent teaches a remote

control device to control a selected one of multiple different electronic consumer devices without

requiring the code set associated with the selected electronic consumer device to be stored on the

remote control device. JX-0002 (642 patent) at 1:59-62.

       The 317 patent issued on March 24, 2020 from a continuation application that was filed on

April 24, 2019. The 317 patent is entitled “System And Method For Simplified Setup Of A

Universal Remote Control,” and is assigned on its face to UEI. The 317 patent generally relates

to a “system and method for enabling set up of a controlling device capable of controlling a

plurality of appliances, via an interactive instruction set and associated programming.” 317 patent,

Abstract. The 317 patent describes a universal remote control that is “easily setup and configured

to command appliances of various types and various manufacturers.” 317 patent at 2:26-27.

       The 196 patent is entitled, “System And Method For Optimized Appliance Control,” and

was filed on November 21, 2018. Through a series of continuations and a continuation-in-part,

the 196 patent claims the benefit of a provisional application filed on October 28, 2011. CSB at

6. The 196 patent relates generally to enhanced methods for appliance control via use of a

controlling device, such as a remote control, smart phone, tablet computer, etc., and in particular

to methods for taking advantage of improved appliance control communication methods and/or




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command formats in a reliable manner that is largely transparent to a user and/or seamlessly

integrated with legacy appliance control technology. 196 patent at 1:66-3:6.

               Products at Issue

                       Domestic Industry Products

       The domestic industry products (“DI Products”) in this investigation are UEI’s IR and RF

remote controllers, model numbers R35602B00-00001, R35602BA00-00004, R32140BA00-

00001, R32140BA00-00002, R32040AA00-00007, and R32027BA00-00012. CIB at 14. UEI

further claims that its QuickSet technology, which is deployed in third party set-top boxes,

television, and game consoles, is part of its domestic industry. Id.

       The third party products that purportedly use UEI’s QuickSet and are a part of its domestic

industry in this investigation are made by Sony, with the Sony TV 43X800G being a representative

of the Sony DI Products; Microsoft, with the Xbox One S being a representative of the Microsoft

DI Products; and Samsung, with the Samsung RU8000 TV being a representative of the Samsung

DI Products. Id. at 14-15.

                       Accused Products

       The accused products in this investigation include the Roku Streaming Boxes (“Roku

STBs”), Roku Streaming Sticks (“Roku sticks”), and Roku soundbars (“Roku soundbar”) (CX-

1139C at ¶4). The Parties stipulated that Roku Ultra, Platform: Bryan 2 (Launch Date Oct. 2019)

with Roku OS version 9.3.0 or 9.4.0 is representative of the Roku Streaming Boxes (CX-1139C at

¶20). See CX-1139C at ¶2 and CX-1327C at 21-22. The Parties stipulated that the Roku Streaming

Stick +, Platform: Amarillo (Launch Date Oct. 2019) with Roku OS version 9.3.0 or 9.4.0 is

representative of the Roku Streaming Sticks (CX-1139C at ¶20). See CX-1139C at ¶1 and CX-

1327C at 21-22. The Parties stipulated that the Roku Smart Soundbar, Platform: Fruitland (Launch




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Date Oct. 2019) with Roku OS version 9.3.0 or 9.4.0 is representative of the Roku Streaming

Soundbars. See CX-1139C at ¶3 and CX-1327C at 21-22.

        The accused products also include Roku RF/IR remotes, which Roku calls Alice Remotes

(Alice-2, Alice-4, Alice-5, Alice-6, Alice-7, Alice-8, and Alice-9) and Elk Remotes (i.e., Elk-1,

Elk-2, and Elk-3). The Parties stipulated that Alice-7 is representative of the Alice Remotes. CX-

1139C at ¶27.

        The following table summarizes the patents, products, and claims currently asserted against

Roku:

                Asserted Patent         Accused Product           Asserted Claims

                   642 Patent          Roku Elk Remotes,       1-7,12, 19, and 22-24
                                       Roku Alice Remotes
                   317 Patent           Roku Ultra, Roku           3, 6, 9, and 11
                                        Streaming Stick+,
                                         Roku Soundbar
                   196 Patent          Roku Ultra, Revised         1, 3, 11, 13-15
                                        Roku Ultra, Roku
                                        Soundbar, Revised
                                         Roku Soundbar


        Roku alleges that after this investigation was instituted, it designed, implemented and

imported “Revised Roku Products” that do not infringe the 196 Patent. RIB at 42. UEI submits

that these Revised Roku Products are not properly part of this investigation. CIB at 50. These

products are discussed below.

        STANDARDS OF LAW

                Standing

        Commission Rule 210.12 requires the complainant(s) filing an intellectual property-based

complaint to show that “at least one complainant is the owner or exclusive licensee of the subject

intellectual property.” 19 C.F.R. § 210.12(a)(7); see also IpVenture, Inc. v. ProStar Computer,




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Inc., 503 F.3d 1324, 1325 (Fed. Cir. 2007) (the only entity(ies) that can enforce the rights protected

by a patent is the entity(ies) that owns or controls all substantial rights in that patent). Standing is

ordinarily a question of law, which may rest on underlying findings of jurisdictional fact. Abraxis

Bioscience, Inc. v. Navinta LLC, 625 F.3d 1359, 1363-64 (Fed. Cir. 2010).

       Ownership of a patent initially vests in the inventor(s) as a matter of law. Regents of the

University of New Mexico v. Knight, 321 F.3d 1111, 1118-19 (Fed. Cir. 2003) (“UNM”). An

inventor, however, can assign all or part of his/her interests in a patent, patent application, or

invention to another person or entity (the assignee) by means of a written assignment. Id. When

a patent has multiple co-owners, each possessing an undivided part of the patent, all co-owners

must be joined to establish standing to bring a civil action for patent infringement. Israel Bio-

Eng’g Project v. Amgen Inc., 475 F.3d 1256, 1264-65 (Fed. Cir. 2007). Without joinder, a single

co-owner lacks the standing needed to sue for patent infringement. Id.

       Issues of patent ownership are thus distinct from questions of inventorship. Id. at 1263.

Ownership depends upon the substance of what was granted through assignment. Id. at 1265. A

court must carefully consider the intention of the parties and the language of the grant in order to

construe the substance of an assignment. Id. The interpretation of an assignment is ordinarily a

question of law, which in some cases may rest on underlying factual findings. Abraxis, 625 F.3d

at 1363. Although contractual obligations and transfers of property are ordinarily governed by

state law, a patent assignment is interpreted pursuant to federal law when it is intimately related to

the issue of standing. Abraxis, 625 F.3d at 1364; UNM, 321 F.3d at 1118-19.

               Claim Construction

       “The construction of claims is simply a way of elaborating the normally terse claim

language in order to understand and explain, but not to change, the scope of the claims.” Embrex,




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Inc. v. Serv. Eng'g Corp., 216 F.3d 1343, 1347 (Fed. Cir. 2000). Although most of the disputed

claim terms were construed in an earlier order, some of the issues presented below are only

resolvable with additional claim construction.

          Claim construction focuses on the intrinsic evidence, which consists of the claims

themselves, the specification, and the prosecution history. See Phillips v. AWH Corp., 415 F.3d

1303, 1314 (Fed. Cir. 2005) (en banc); see also Markman v. Westview Instr., Inc., 52 F.3d 967,

979 (Fed. Cir. 1995) (en banc). As the Federal Circuit in Phillips explained, courts must analyze

each of these components to determine the “ordinary and customary meaning of a claim term” as

understood by a person of ordinary skill in art at the time of the invention. 415 F.3d at 1313.

“Such intrinsic evidence is the most significant source of the legally operative meaning of disputed

claim language.” Bell Atl. Network Servs., Inc. v. Covad Commc'ns Grp., Inc., 262 F.3d 1258,

1267 (Fed. Cir. 2001).

          “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

which the patentee is entitled the right to exclude.”’          Phillips, 415 F.3d at 1312 (quoting

Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed. Cir.

2004)).     “Quite apart from the written description and the prosecution history, the claims

themselves provide substantial guidance as to the meaning of particular claims terms.” Id. at 1314;

see Interactive Gift Express, Inc. v. Compuserve Inc., 256 F.3d 1323, 1331 (Fed. Cir. 2001) (“In

construing claims, the analytical focus must begin and remain centered on the language of the

claims themselves, for it is that language that the patentee chose to use to ‘particularly point [ ] out

and distinctly claim [ ] the subject matter which the patentee regards as his invention.”). The

context in which a term is used in an asserted claim can be “highly instructive.” Phillips, 415 F.3d

at 1314. Additionally, other claims in the same patent, asserted or unasserted, may also provide




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guidance as to the meaning of a claim term. Id. “Courts do not rewrite claims; instead, we give

effect to the terms chosen by the patentee.” K-2 Corp. v. Salomon S.A., 191 F.3d 1356, 1364 (Fed.

Cir. 1999). “[T]he specification ‘is always highly relevant to the claim construction analysis.

Usually it is dispositive; it is the single best guide to the meaning of a disputed term.’” Phillips,

415 F.3d at 1315 (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir.

1996)). “[T]he specification may reveal a special definition given to a claim term by the patentee

that differs from the meaning it would otherwise possess. In such cases, the inventor’s

lexicography governs.” Id. at 1316.

       In addition to the claims and the specification, the prosecution history should be examined,

if in evidence. Phillips, 415 F.3d at 1317; see Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898,

913 (Fed. Cir. 2004). The prosecution history can “often inform the meaning of the claim language

by demonstrating how the inventor understood the invention and whether the inventor limited the

invention in the course of prosecution, making the claim scope narrower than it would otherwise

be.” Phillips, 415 F.3d at 1317; see Chimie v. PPG Indus. Inc., 402 F.3d 1371, 1384 (Fed. Cir.

2005) (“The purpose of consulting the prosecution history in construing a claim is to exclude any

interpretation that was disclaimed during prosecution.”).

       When the intrinsic evidence does not establish the meaning of a claim, then extrinsic

evidence (i.e., all evidence external to the patent and the prosecution history, including

dictionaries, inventor testimony, expert testimony, and learned treatises) may be considered.

Phillips, 415 F.3d at 1317. Extrinsic evidence is generally viewed as less reliable than the patent

itself and its prosecution history in determining how to define claim terms. Id. “The court may

receive extrinsic evidence to educate itself about the invention and the relevant technology, but the

court may not use extrinsic evidence to arrive at a claim construction that is clearly at odds with




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the construction mandated by the intrinsic evidence.” Elkay Mfg. Co. v. Ebco Mfg. Co., 192 F.3d

973, 977 (Fed. Cir. 1999).

       The construction of a claim term is generally guided by its ordinary meaning. However,

courts may deviate from the ordinary meaning when: (1) “the intrinsic evidence shows that the

patentee distinguished that term from prior art on the basis of a particular embodiment, expressly

disclaimed subject matter, or described a particular embodiment as important to the invention;” or

(2) “the patentee acted as his own lexicographer and clearly set forth a definition of the disputed

claim term in either the specification or prosecution history.” Edwards Lifesciences LLC v. Cook

Inc., 582 F.3d 1322, 1329 (Fed. Cir. 2009); see GE Lighting Sols., LLC v. AgiLight, Inc., 750 F.3d

1304, 1309 (Fed. Cir. 2014) (“the specification and prosecution history only compel departure

from the plain meaning in two instances: lexicography and disavowal.”); Omega Eng’g, Inc, v.

Raytek Corp., 334 F.3d 1314, 1324 (Fed. Cir. 2003) (“[W]here the patentee has unequivocally

disavowed a certain meaning to obtain his patent, the doctrine of prosecution disclaimer attaches

and narrows the ordinary meaning of the claim congruent with the scope of the surrender.”); Rheox,

Inc. v. Entact, Inc., 276 F.3d 1319, 1325 (Fed. Cir. 2002) (“The prosecution history limits the

interpretation of claim terms so as to exclude any interpretation that was disclaimed during

prosecution.”). Nevertheless, there is a “heavy presumption that a claim term carries its ordinary

and customary meaning.” CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359, 1366 (Fed. Cir.

2002) (citations omitted). The standard for deviating from the plain and ordinary meaning is

“exacting” and requires “a clear and unmistakable disclaimer.” Thorner v. Sony Computer Entm’t

Am. LLC, 669 F.3d 1362, 1366-67 (Fed. Cir. 2012); see Epistar Corp. v. Int’l Trade Comm’n, 566

F.3d 1321, 1334 (Fed. Cir. 2009) (requiring “expressions of manifest exclusion or restriction,




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representing a clear disavowal of claim scope” to deviate from the ordinary meaning) (citation

omitted).

                Infringement

         “An infringement analysis entails two steps. The first step is determining the meaning and

scope of the patent claims asserted to be infringed. The second step is comparing the properly

construed claims to the device accused of infringing.” Markman, 52 F.3d at 976.

         A patentee may prove infringement either literally or under the doctrine of equivalents.

Infringement of either sort must be proven by a preponderance of the evidence. SmithKline

Diagnostics, Inc. v. Helena Labs. Corp., 859 F.2d 878, 889 (Fed. Cir. 1988). A preponderance of

the evidence standard “requires proving that infringement was more likely than not to have

occurred.” Warner-Lambert Co. v. Teva Pharm. USA, Inc., 418 F.3d 1326, 1341 n.15 (Fed. Cir.

2005).

         Literal infringement, a form of direct infringement, is a question of fact. Finisar Corp. v.

DirecTV Group, Inc., 523 F.3d 1323, 1332 (Fed. Cir. 2008). “To establish literal infringement,

every limitation set forth in a claim must be found in an accused product, exactly.” Microsoft

Corp. v. GeoTag, Inc., 817 F.3d 1305, 1313 (Fed. Cir. 2016) (quoting Southwall Techs., Inc. v.

Cardinal IG Co., 54 F.3d 1570, 1575 (Fed. Cir. 1995)). If any claim limitation is absent, there is

no literal infringement of that claim as a matter of law. Bayer AG v. Elan Pharm. Research Corp.,

212 F.3d 1241, 1247 (Fed. Cir. 2000).

                Domestic Industry

         In an investigation based on a claim of patent infringement, Section 337 requires that an

industry in the United States, relating to the articles protected by the patent, exist or be in the

process of being established. 19 U.S.C. § 1337(a)(2). Under Commission precedent, the domestic




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industry requirement has been divided into (i) a “technical prong” (which requires articles covered

by the asserted patent) and (ii) an “economic prong” (which requires certain levels of activity with

respect to the protected articles or patent itself). See Certain Video Game Systems and Controllers,

Inv. No. 337-TA-743, Comm’n Op. at 6-7 (April 14, 2011) (“Video Game Systems”).

                       Technical Prong

       The technical prong of the domestic industry requirement is satisfied when the complainant

in a patent-based section 337 investigation establishes that it is practicing or exploiting the patents

at issue. See 19 U.S.C. §§ 1337 (a)(2), (3); Certain Microsphere Adhesives, Process for Making

Same and Prods. Containing Same, Including Self-Stick Repositionable Notes, Inv. No. 337-TA-

366, Comm’n Op. at 8 (U.S.I.T.C. Jan. 16, 1996). “In order to satisfy the technical prong of the

domestic industry requirement, it is sufficient to show that the domestic industry practices any

claim of that patent, not necessarily an asserted claim of that patent.” Certain Ammonium

Octamolybdate Isomers, Inv. No. 337-TA-477, Comm’n Op. at 55 (U.S.I.T.C. Aug. 28, 2003).

Historically, the Commission permits the complainant’s products, and those of its licensees, to be

considered for technical prong purposes. See Certain Magnetic Tape Cartridges and Components

Thereof, Inv. No. 337-TA-1058, Comm’n Op. at 28-29 (April 9, 2019).

       The test for claim coverage for the purposes of the technical prong of the domestic industry

requirement is the same as that for infringement. See Certain Doxorubicin and Preparations

Containing Same, Inv. No. 337-TA-300, Initial Determination at 109 (U.S.I.T.C. May 21, 1990),

aff’d, Views of the Commission at 22 (U.S.I.T.C. Oct. 31, 1990); Alloc, Inc. v. Int’l Trade Comm’n,

342 F.3d 1361, 1375 (Fed. Cir. 2003). “First, the claims of the patent are construed. Second, the

complainant’s article or process is examined to determine whether it falls within the scope of the

claims.” Certain Doxorubicin and Preparations Containing Same, Inv. No. 337-TA-300, Initial

Determination at 109. As with infringement, the technical prong of the domestic industry can be




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satisfied either literally or under the doctrine of equivalents. Certain Dynamic Sequential Gradient

Devices and Component Parts Thereof, Inv. No. 337-TA-335, ID at 44, Pub. No. 2575 (U.S.I.T.C.

May 15, 1992). In short, the patentee must establish by a preponderance of the evidence that the

domestic product practices one or more claims of the patent.

                       Economic Prong

       The “economic prong” of the domestic industry requirement is satisfied when there exists

in the United States, in connection with products practicing at least one claim of the patent at issue:

(A) significant investment in plant and equipment; (B) significant employment of labor or capital;

or (C) substantial investment in its exploitation, including engineering, research and development,

and licensing. 19 U.S.C. § 1337(a)(3). Establishment of the “economic prong” is not dependent

on any “minimum monetary expenditure” and there is no need for complainant “to define the

industry itself in absolute mathematical terms.” Certain Stringed Musical Instruments and

Components Thereof, Inv. No. 337-TA-586, Comm’n Op. at 25-26 (May 16, 2008) (“Stringed

Instruments”). However, a complainant must substantiate the significance of its activities with

respect to the articles protected by the patent. Certain Printing and Imaging Devices and

Components Thereof, Inv. No. 337-TA-690, Comm’n Op. at 30 (Feb. 17, 2011) (“Imaging

Devices”). Further, a complainant can show that its activities are significant by showing how those

activities are important to the articles protected by the patent in the context of the company’s

operations, the marketplace, or the industry in question. Id. at 27-28. That significance, however,

must be shown in a quantitative context. Lelo Inc. v. Int’l Trade Comm’n, 786 F.3d 879, 886 (Fed.

Cir. 2015). The Federal Circuit noted that when the ITC first addressed this requirement, it found

the word “‘significant’ denoted ‘an assessment of the relative importance of the domestic

activities.’” Id. at 883-4 (internal citation omitted) (emphasis added). In general, “[t]he purpose

of the domestic industry requirement is to prevent the ITC from becoming a forum for resolving




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disputes brought by foreign complainants whose only connection with the United States is

ownership of a U.S. patent.” Certain Battery-Powered Ride-On Toy Vehicles, Inv. No. 337-TA-

314, USITC Pub. No. 2420, Initial Determination at 21 (Aug. 1991).

               Invalidity

                       35 U.S.C. § 102

       Pursuant to 35 U.S.C. § 102, a patent claim is invalid as anticipated if:

       (a) the invention was known or used by others in this country, or patented or
       described in a printed publication in this or a foreign country, before the invention
       thereof by the applicant;

       (b) the invention was patented or described in a printed publication in this or a
       foreign country or in public use or on sale in this country, more than one year prior
       to the date of the application for patent in the United States;

       (e) the invention was described in (1) an application for patent, published under
       section 122(b), by another filed in the United States before the invention by the
       applicant for patent or (2) a patent granted on an application for patent by another
       filed in the United States before the invention by the applicant for patent;”

       (g)(2) before such person’s invention thereof, the invention was made in this
       country by another inventor who had not abandoned, suppressed, or concealed it.

35 U.S.C. § 102 (pre-AIA). “A patent is invalid for anticipation if a single prior art reference

discloses each and every limitation of the claimed invention. Moreover, a prior art reference may

anticipate without disclosing a feature of the claimed invention if that missing characteristic is

necessarily present, or inherent, in the single anticipating reference.” Schering Corp. v. Geneva

Pharm., Inc., 339 F.3d 1373, 1377 (Fed. Cir. 2003) (citations omitted); see Santarus, Inc. v. Par

Pharm., Inc., 694 F.3d 1344, 1354 (Fed. Cir. 2012). “A century-old axiom of patent law holds

that a product ‘which would literally infringe if later in time anticipates if earlier.’” Upsher-Smith

Labs., Inc. v. Pamlab, L.L.C., 412 F.3d 1319, 1322 (Fed. Cir. 2005) (quoting Schering Corp., 339

F.3d at 1322). Anticipation, and all other grounds of patent invalidity, must be proved by clear

and convincing evidence. Microsoft Corp. v. I4I Ltd. P'ship, 564 U.S. 91, 95, (2011).




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                       35 U.S.C. § 103

       Section 103 of the Patent Act states:

       A patent may not be obtained though the invention is not identically disclosed or
       described as set forth in section 102 of this title, if the differences between the
       subject matter sought to be patented and the prior art are such that the subject matter
       as a whole would have been obvious at the time the invention was made to a person
       having ordinary skill in the art to which said subject matter pertains. Patentability
       shall not be negated by the manner in which the invention was made.

35 U.S.C. § 103(a) (pre-AIA). “Obviousness is a question of law based on underlying questions

of fact.” Scanner Techs. Corp. v. ICOS Vision Sys. Corp. N.V., 528 F.3d 1365, 1379 (Fed. Cir.

2008). The underlying factual determinations include: “(1) the scope and content of the prior art,

(2) the level of ordinary skill in the art, (3) the differences between the claimed invention and the

prior art, and (4) objective indicia of non-obviousness.” Id., citing Graham v. John Deere Co. of

Kansas City, 383 U.S. 1, 17-18 (1966)). These factual determinations are often referred to as the

“Graham factors.”

       The critical inquiry in determining the differences between the claimed invention and the

prior art is whether there is a reason to combine the prior art references. KSR Int’l Co. v. Teleflex

Inc., 550 U.S. 398, 418-21 (2007). In KSR, the Supreme Court rejected the Federal Circuit’s rigid

application of the teaching-suggestion-motivation test. While the Court stated that “it can be

important to identify a reason that would have prompted a person of ordinary skill in the relevant

field to combine the elements in the way the claimed new invention does,” it described a more

flexible analysis:

       Often, it will be necessary for a court to look to interrelated teachings of multiple
       patents; the effects of demands known to the design community or present in the
       marketplace; and the background knowledge possessed by a person having ordinary
       skill in the art, all in order to determine whether there was an apparent reason to
       combine the known elements in the fashion claimed by the patent at issue . . . . As
       our precedents make clear, however, the analysis need not seek out precise
       teachings directed to the specific subject matter of the challenged claim, for a court




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        can take account of the inferences and creative steps that a person of ordinary skill
        in the art would employ.

Id. at 418.

        Since KSR, the Federal Circuit has announced that, where a patent challenger contends that

a patent is invalid for obviousness based on a combination of prior art references, “the burden falls

on the patent challenger to show by clear and convincing evidence that a person of ordinary skill

in the art would have had reason to attempt to make the composition or device . . . and would have

had a reasonable expectation of success in doing so.” PharmaStem Therapeutics, Inc. v. ViaCell,

Inc., 491 F.3d 1342, 1360 (Fed. Cir. 2007); see KSR, 550 U.S. at 399 (“The proper question was

whether a pedal designer of ordinary skill in the art, facing the wide range of needs created by

developments in the field, would have seen an obvious benefit to upgrading Asano with a sensor.”).

In addition to demonstrating that a reason exists to combine prior art references, the challenger

must demonstrate that the combination of prior art references discloses all of the limitations of the

claims. Hearing Components, Inc. v. Shure Inc., 600 F.3d 1357, 1373-4 (Fed. Cir. 2010)

(abrogated on other grounds by Nautilus, Inc. v. Biosig Instruments, Inc., 134 S.Ct. 2120 (2014))

(upholding finding of non-obviousness based on the fact that there was substantial evidence that

the asserted combination of references failed to disclose a claim limitation); Velander v. Garner,

348 F.3d 1359, 1363 (Fed. Cir. 2003) (explaining that a requirement for a finding of obviousness

is that “all the elements of an invention are found in a combination of prior art references”).

        An obviousness determination should also include a consideration of “secondary

considerations,” that is, “commercial success, long felt but unsolved needs, failure of others, etc.,

might be utilized to give light to the circumstances surrounding the origin of the subject matter

sought to be patented.” Graham, 338 U.S. at 17-18. “For [such] objective evidence to be accorded

substantial weight, its proponent must establish a nexus between the evidence and the merits of




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the claimed invention.” In re GPAC Inc., 57 F.3d 1573, 1580 (Fed. Cir. 1995); see Merck & Cie

v. Gnosis S.P.A., 808 F.3d 829, 837 (Fed. Cir. 2015). “Where the offered secondary consideration

actually results from something other than what is both claimed and novel in the claim, there is no

nexus to the merits of the claimed invention.” In re Huai-Hung Kao, 639 F.3d 1057, 1068 (Fed.

Cir. 2011); see Apple Inc. v. Samsung Elecs. Co., Ltd., 839 F.3d 1034, 1054-1056 (Fed. Cir. 2016).

         IMPORTATION AND JURISDICTION

         Roku does not dispute it imports the Accused Roku Players or the Accused Roku Remotes

(CX-0379C Roku (Bright Dep. Tr. 21:3-25; 24:4-22; CPX-0078C) Thus, the Commission has in

rem jurisdiction. Subject-matter jurisdiction exists because UEI has alleged that Roku has engaged

in unlawful and unfair acts in conjunction with its importation, sale for importation, and/or sale

after importation of articles into the United States. See Certain Ammonium Octamolybdate

Isomers, Inv. No. 337-TA-477, Comm’n Op. at 15-16 (Jan. 5, 2004). Personal jurisdiction exists

because Roku has appeared and participated in this investigation.

         U.S. PATENT NO. 7,589,642

                Level of Ordinary Skill in the Art

         I earlier determined that a person having ordinary skill in the art of the 642 patent at the

time of invention “would have a bachelor’s degree in electrical engineering or equivalent degree

with two years of work experience relating to communications and consumer electronics.” Order

No. 24 at 7. The parties do not challenge this definition (see CIB at 9; see generally RIB; RRB).

                Claims-at-Issue

         Claim 19 is the only claim of the 642 patent remaining at issue in this investigation, either

through allegations of infringement or domestic industry economic prong (the domestic industry

technical prong was found to be satisfied in Order No. 38). See CIB at 12. Claim 19 is reproduced

below:




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        19. A remote control device, comprising:
        a keypad;
        an RF receiver;
        an IR transmitter; and
        means for receiving a key code from said RF receiver and for sending said key code to said
IR transmitter such that said key code is modulated onto an IR carrier signal, said IR carrier signal
with said key code modulated thereon being transmitted from said remote control device by said
IR transmitter, wherein said means is a microcontroller.

JX-0002 (642 patent) at cl. 19.

               Claim Construction

       As part of the Markman process, the following claim terms of the 642 patent were

construed, either as agreed between the parties or determined by Order No. 24:

 Claim Term                                       Construction
 key code                                         A code corresponding to the function of an
                                                  electronic device, optionally including timing
                                                  information

  means for receiving a key code from said        Not means-plus-function
  RF receiver and for sending said key code
  to said IR transmitter such that said key       Plain and ordinary meaning
  code is modulated onto an IR carrier signal
See Order No. 24 at 17, 25.

                       “wherein said means is a microcontroller”

       The last term of claim 19 recites “means for receiving a key code from said RF receiver . . .,

wherein said means is a microcontroller.” As noted above, I construed the “means for” limitation

as not falling under 35 U.S.C. § 112(6), but instead having its plain and ordinary meaning. Order

No. 24 at 17, 25. However, during the hearing it became apparent that the final limitation of claim

19, “wherein said means is a microcontroller,” needs to be construed.

       UEI argues that “a microcontroller” refers to “one or more microcontrollers.” CIB at 14.

UEI cites Commission and Federal Circuit precedent for this construction, which is that “[a]s a

general rule, the words ‘a’ or ‘an’ in a patent claim carry the meaning of ‘one or more.’” CIB at




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14-15, citing, inter alia, 01 Communique Lab., Inc. v. LogMeIn, Inc., 687 F.3d 1292, 1297 (Fed.

Cir. 2012); Certain Automated Media Library Devices, Inv. 337-TA-746, Rev. Comm’n Op. (Jan

9, 2013) at 41-44. UEI further asserts that the “exceptions to this rule are extremely limited: a

patentee must evince a clear intent to limit ‘a’ or ‘an’ to ‘one.’” CIB at 14-15 (quoting Baldwin

Graphic Sys., Inc. v. Siebert, Inc., 512 F.3d 1338, 1342 (Fed. Cir. 2008)). UEI states that in this

case, the only evidence to support a finding that the term is limited to a single microcontroller is

the claim language itself, and that nowhere do “the claims, specification, or prosecution history

ever refer to a ‘single microcontroller.’” Id. at 15 (emphasis in original). UEI further argues that

the specification contains only “permissive” language that “alone cannot be the ‘clear intent’

necessary to overcome the black letter rule.” Id.

       UEI is correct that as “a general rule, the words ‘a’ or ‘an’ in a patent claim carry the

meaning of ‘one or more.’” Baldwin Graphic Sys., Inc. v. Siebert, Inc., 512 F.3d 1338, 1342-43

(Fed.Cir.2008). However, the question whether “a” or “an” is treated as singular or plural

“depends heavily on the context of its use.” Norian Corp. v. Stryker Corp. 432 F.3d 1356, 1359

(Fed.Cir.2005). The general rule does not apply when the context clearly evidences that the usage

is limited to the singular. See Baldwin Graphic, 512 F.3d at 1344. “While in some instances claim

language alone may disclose unambiguously the limits of claim coverage . . . this court seeks the

meaning of the claim terms by examining their fuller context.” Abtox, Inc. v. Exitron Corporation,

122 F.3d 1019, 1024 (Fed. Cir. 1997) (citation omitted). The written description therefore

“supplies additional context for understanding whether the claim language limits the patent scope.”

Id.

       The general rule does not apply. First, the claim recites only one “means” for performing

two functions. Specifically, there must be a single means that both receives the key code from the




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RF receiver and sends the key code to the IR transmitter, with the further limitation that the means

“is a microcontroller.” The claim language does not preclude other microcontrollers performing

other functions, or even performing the same two functions of receiving and sending, but there

must be at least one microcontroller that performs those two functions.

        Second, nothing in the specification contradicts this conclusion. The specification teaches

only that the remote control has a single microcontroller. When describing the remote control, the

specification consistently refers to one microcontroller. See, e.g., JX-0002 (642 patent) at 3:63-

4:3, 6:43-53. In fact, it goes so far as to identify a single specific microcontroller that may be used.

JX-0002 (642 patent) at 6:52-53 (“for example, a Z8 microcontroller available from Zilog, Inc. of

San Jose, Calif”). Moreover, a single microcontroller comports with the invention’s goal of having

a remote control that is inexpensive. See JX-0002 (642 patent) at 6: 49-50; 9:30-34.

        Third, the limitation “wherein the means is a microcontroller” lacks the open-ended term

“comprising.” Such claim language indicates that the inventors did not intend “a” to mean one or

more. The inventors certainly knew how and when to convey a plurality limitation by using the

term “comprising,” as the claims of the 642 patent are replete with that term; however, the term is

absent when reciting “a microcontroller.” See, e.g., Tivo, Inc. v. Echostar Communications

Corporation, et al., 516 F.3d 1290, 1304 (Fed. Cir. 2008) (“although the open-ended term

‘comprising’ is used to refer generally to the limitations of the hardware claims, the ‘assembles’

limitation itself does not contain that term. Rather, the claim language simply refers to the

assembly of two components into ‘an MPEG stream.’”).

        Accordingly, the term “wherein said means is a microcontroller” is construed to require a

microcontroller that performs both the receiving and sending functions.

                Infringement




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                       Elk Remotes

       Roku’s Elk Remotes have already been found to infringe claim 19, per Order No. 38. The

Commission did not review the order (EDIS Doc. No. 734530). However, as discussed below,

claim 19 is invalid under 35 U.S.C. § 103(a).

                       Roku’s IR-Only, RF-Only, and Non-Programmable RF/IR Remotes

       Roku asks that I make “an explicit ruling” that its IR-Only, RF-Only, and Non-

Programmable RF/IR remotes “do not infringe claim 19 because: (a) they are within the scope of

the investigation (i.e., they are ‘remote control devices’); (b) UEI was on notice of these products

because they were included in the parties’ representative product stipulation (JX-0323C at 8-10);

(c) Roku disclosed its contention throughout this investigation that these remotes do not infringe

claim 19 (see RPHB 33), and (d) UEI does not accuse them of infringement and has not presented

evidence or argument that they infringe (see CPHB 58; RX-0814C at RFA 672, 675, 678, 681,

684, 691 (2nd supp. responses)).” RIB at 11-12. Roku does not assert that these particular remotes

are redesigns of specific remotes that were included in UEI’s complaint and/or listed as accused

products by UEI.

       UEI argues that Roku’s request seeks an inappropriate advisory opinion on products that

have not been part of this investigation. I agree. The remotes listed by Roku are not “accused

products” and have not been part of this investigation. See Certain MEMS Devices, Inv. No. 337-

TA-700, Order No. 8 at 6-7 (July 12, 2010) (“While Knowles may be correct that the Notice of

Investigation is broad enough to encompass the three processes at issue in this motion, that fact

does not necessarily lead to the conclusion that the three processes are, in fact, part of the

investigation. The products accused of infringement are determined by the infringement

contentions”); Certain Ceramic Capacitors, Inv. No. 337-TA-692, Order No. 37 at 4 (June 24,

2010) (“To the extent that Respondents, for their part, seek a determination that their MLCC that




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have not been identified as accused products are thereby deemed not to infringe that patent, that

determination is not germane to this Investigation”). Roku admits that these three classes of

remotes are neither identified as accused products nor redesigned products, and thus, a finding of

non-infringement is not proper.

                       Alice Remotes

       The Parties agree that the Alice-7 remote is representative of all of the Alice remotes, which

include the Alice-2, Alice-4, Alice-6, Alice 7, Alice-8, and Alice-9. Further, the Parties agree that

the Alice Remotes satisfy every element of claim 19, except the final clause “wherein said means

is a microcontroller.” CIB at 18, RIB at 12. As properly construed, this limitation requires that

only one microcontroller performs the claimed function of receiving a key code from the RF

receiver and sending the key code to the IR transmitter such that the key code is modulated onto

an IR carrier signal, the IR carrier signal with the key code modulated thereon being transmitted

from the remote control by the IR transmitter.

       Under this claim construction, the Alice Remotes do not infringe claim 19 of the 642 patent

because “the Alice Remotes have two microcontrollers – an OZMO 2000 microcontroller and a

Texas Instruments (TI) microcontroller.” CIB at 19, citing (Tr. (Lipoff) at 543:9-17, 540:23-

542:19, 533:10-537:15; see also Tr. (Peters) at 474:9-475:12; 488:3-489:14; JX-0107C (Peters) at

473:1-474:1; RDX-0007C.6-.7 (Lipoff) at 534:8-537:15).

       In its Pre-Hearing Brief, UEI argued that the OZMO chip alone performs both of the

claimed functions of receiving a key code from the RF receiver and sending the key code to the IR

transmitter. CIB at 61. UEI asserted that the TI chip was a “pass-through” for the IR key code.

Id. UEI appears to have dropped this argument as none of its experts so testified at the hearing

and UEI did not present this argument in its post-hearing briefs. Furthermore, Roku’s expert, Mr.

Lipoff, testified that the TI chip generates the modulated control signal and sends the IR key code




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to the IR transmitter “such that said key code is modulated onto an IR carrier signal.” JX-0002

(642 patent) at cl. 19; Tr. (Lipoff) 539:16-540:22; see also Tr. (Lipoff) 539:16-540:9; RDX-

0007C.11; JX-0324C at Microchip_ITC_INV1200_001116

                                                   Tr. (Lipoff) 540:10-22




       Accordingly, Roku’s Alice Remotes do not infringe claim 19 of the 642 patent because

they do not meet the limitation of using only one microcontroller.

               Domestic Industry – Technical Prong

       By a non-final initial determination (Order No.38), it was summarily determined that claim

19 of the 642 patent is practiced by the domestic industry products. The Commission determined

not to review Order 38 on February 19, 2021. EDIS Doc. No 734530. Again, however, claim 19

of the 642 patent is invalid under 35 U.S.C. § 103(a).

               Validity

       Roku asserts that claim 19 of the 642 patent is invalid under 35 U.S.C. § 103(a). See

generally RIB at 14-28. Roku asserts that U.S. Patent Application No. 2001/0005197 (“Mishra”

or “JX-0316”) is prior art to the 642 patent, a point not disputed by UEI. RIB at 15. Mishra is

prior art under pre-AIA 35 U.S.C. §§ 102(b) and 102(e) because it was filed on February 17, 2001

and published on June 28, 2001, both more than one year before December 16, 2003, the 642

patent’s priority date. JX-0316; JX-0002. Roku also submits that U.S. Patent No. 8,132,105

(“Dubil” or “JX-0320”) is prior art to the 642 patent, a point also not disputed by UEI. RIB at 16.

Dubil is prior art under pre-AIA 35 U.S.C. § 102(e) because it was filed on October 10, 2000,

before the December 16, 2003 priority date. JX-0320.




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                      Mishra

       UEI contends that two issues exist in resolving the validity of claim 19 of the 642 patent:

whether Mishra “discloses a remote control that receives a key code over Radio Frequency (RF),

as required by Claim 19’s limitation of ‘means for receiving a key code from said RF receiver,’”

and “whether a POSITA would have been motivated to combine” Mishra and Dubil. CIB at 20.

Roku argues that Mishra discloses all limitations in claim 19 except for the “outputted key code

being ‘modulated onto an IR carrier signal.’” RIB at 15. Roku further argues that key codes

modulated on an IR carrier signal were well-known and were required for remote controls to

control existing devices in the marketplace. Id. Thus, Roku reasons, it would have been obvious

to implement Mishra’s remote using IR modulation on a carrier signal in the manner claimed, such

as disclosed by Dubil. Id.

       Thus, the Parties’ positions actually are quite similar and focused. The main reference is

Mishra, which discloses “a way to program a remote control unit to handle a variety of electronic

devices in a fashion which is easy and quick for the user.” JX-0316 at ¶ 5. Fig. 1 of Mishra is

reproduced below.




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          Figure 1 is a schematic illustration of control system 10, which includes processor-based

system 12 in communication with remote control unit 18. JX-0316 at ¶ 14. System 12 may be a

set-top computer system that works with a conventional television receiver 14. Id. Remote control

unit 18 may include display 32, keypad 34, and joy-stick navigational control 44. Id. at ¶ 15. In

addition, remote control unit 18 may include telephone off-hook button 46 and buttons 50 and 52

that act as “on” and “off” controls for dedicated electronic devices, such as audio/visual receiver

16. Id.

          Remote control unit 18 may communicate with system 12 using wireless communication

such as infrared or radio-frequency links, and system 12 can translate a command signal received

from radio control unit 18 into a format appropriate for controlling device 16. Id. at ¶¶ 18, 20.

“That is, it is not necessary to program [remote control unit 18] independently. Instead a variety

of codes may be stored in the system 12.” Id. at ¶ 20. Thus, when remote control unit 18 transmits

a signal corresponding to a known function, system 12 can translate that signal and send

information back to remote control unit 18 to control the particular device that remote control unit

18 is to operate. Id. Figure 1 depicts two communication pathways that illustrate this relaying

process. Pathway 24 provides bidirectional communication between remote control unit 18 and

system 12, and pathway 22 is between remote control unit 18 and device 16. Id. at ¶ 34.

          For example, if a user presses a button on remote control unit 18, such as a “channel up

button,” remote control unit 18 transmits a command to system 12, which receives the signal and

“in turn sends [remote control unit 18] the necessary codes to increment the channel on the TV.”

Id. at ¶ 37. Remote control unit 18 takes these codes and sends them, for example using an IR

signal, to the TV using protocols stored in its memory. Id.




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       The particular claim elements of claim 19 of the 642 patent in light of Mishra follows, with

particular reference to Fig. 2 of Mishra, which is given below:




                       a.      Limitation 19(preamble)        –   “A    remote    control    device,
                               comprising”

       The Parties agree that Mishra’s “remote control unit (RCU) 18” is a remote control device.

JX-0316 (Mishra) at Abstract, Fig. 1 (element 18), Fig. 2, ¶¶ 14-15; RIB at 18; Tr. (Russ) at 842:25-

843:12; CPHB at 117-119; Tr. (Sprenger) at 1161:23-1162:2.

                       b.      Limitation 19(a) – “a keypad”

       The Parties agree that Mishra’s RCU 18 contains “keypad 34.” JX-0316 (Mishra) at Fig. 2

(element 34), ¶¶ 15, 23; RIB at 18-19; Tr. (Russ) at 843:13-843:24 (discussing RDX-0001.29-30);

CPHB at 117-119; Tr. (Sprenger) at 1161:23-1162:2.

                       c.      Limitation 19(b) – “an RF receiver”




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       The Parties agree that Mishra’s RCU 18 contains “RF transceiver 30,” which includes an

RF receiver. JX-0316 (Mishra) at Fig. 2 (element 30), ¶¶ 18, 22; RIB at 19; Tr. (Russ) at 843:25-

845:4; CPHB at 117-119; Tr. (Sprenger) at 1161:23-1162:2.

                       d.     Limitation 19(c) – “an IR transmitter”

       The Parties agree that Mishra’s RCU 18 contains “IR transmitter 35.” JX-0316 (Mishra)

at Fig. 2 (element 35), ¶¶ 22, 37; RIB at 19: Tr. (Russ) at 845:5-846:1; CPHB at 117-119; Tr.

(Sprenger) at 1161:23-1162:2.

                       e.     Limitation 19(d) – “means for receiving a key code from said RF
                              receiver and for sending said key code to said IR transmitter
                              such that said key code is modulated onto an IR carrier signal,
                              said IR carrier signal with said key code modulated thereon
                              being transmitted from said remote control device by said IR
                              transmitter, wherein said means is a microcontroller.”

                                      (i)     Remote control “Receiving a Key Code From
                                              Said RF Receiver”

       Mishra discloses microcontroller 26 that receives signals from RF transceiver 30 via

phased lock loop 27, or from IR transceiver 28, and then forwards signals to IR transmitter 35,

which transmits the signals to “legacy devices 16.” JX-0316 at Fig. 2; ¶¶ 22, 25. The signals the

microcontroller receives and sends carry the “necessary codes to control the devices,” that is, key

codes. Id. at ¶¶ 37, 38. So most of this element is expressly disclosed in Mishra.

       UEI argues that Mishra does not disclose a remote control “receiving a key code from said

RF receiver.” CIB at 21. Instead, UEI argues, Mishra shows “that the remote control can receive

some type of communication over RF,” but fails to “expressly or clearly disclose receiving key

codes over RF.” Id. at 23 (emphasis in original), citing, inter alia, JX-0316 (Mishra) at ¶¶ 18, 22,

37). UEI argues that the three paragraphs disclosing RF communications in Mishra “do not

expressly or clearly disclose receiving key codes of RF,” and thus Mishra’s disclosure is

“insufficient.” Id. Moreover, UEI argues that paragraph 18 of Mishra fails to present clear and




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convincing evidence that RCU 18 can receive key codes over RF. CIB at 22. UEI suggests that

the use of “or” when describing how the RCU communicates with system 12 is mere speculation

that the teaching actually means that “Mishra’s specification [teaches that ] it could use infrared

or radio frequency.” Id. at 24. Furthermore, UEI asserts that “the only communication method

[taught in Mishra] for key codes is infrared (IR).” Id.

       I disagree. Paragraph 18 of Mishra expressly discloses communications between system

12 and the remote control (RCU 18) that occur exclusively via RF. Paragraph 18 states, “RCU 18

may communicate with the system 12 using wireless communication such as infrared or radio-

frequency links.” JX-0316 (Mishra) at ¶ 18 (emphasis added). The experts acknowledged that

Mishra teaches that the RCU can receive the key codes via the RF receiver. Tr. (Russ) at 844:16-

845:4, 848:9-849:9; Tr. (Sprenger) at 1167:20-1168:2.        UEI’s argument ignores the well-

established meaning and use of the word “or” to indicate alternatives. See SkinMedica, Inc. v.

Histogen Inc., 727 F.3d 1187, 1199 (Fed. Cir. 2013) (“The disjunctive ‘or’ plainly designates that

a series describes alternatives.”); Schumer v. Lab. Comput. Sys., Inc., 308 F.3d 1304, 1311 (Fed.

Cir. 2002) (“We have consistently interpreted the word ‘or’ to mean that the items in the sequence

are alternatives to each other.”). In sum, Mishra teaches that the remote controller is capable of

communicating with the system 12 using RF links.

       Moreover, Mishra teaches key codes being transferred to the RCU as “signals,” “codes,”

and/or “information” that are sent via IR or RF. See, e.g., JX-0316 (Mishra) at ¶¶ 18 (RCU 18

may communicate with the system 12 using wireless communication such as infrared or radio

frequency links”); 20 (“a variety of codes may be stored in the system 12. . . the system 12 can

translate the signal and send information back to the RCU 18 to enable the RCU 18 to control the

particular device the RCU 18 is to operate); 34 (“the appropriate signal information is sent to the




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RCU 18 by the system 12 . . . In other words, the RCU 18 may be provided with protocols to

control a given device,”); 37 (“When the TV button is pushed, the appropriate commands are

sent to the master [which may be system 12, (¶ 26)] informing the master that the user now

wishes to control the TV. The next button that is pushed, for example, the channel up button,

causes the appropriate command to be sent to the master telling it, for example, that the user

wishes to go to the next highest channel. The master in turn sends the RCU the necessary

codes to increment the channel on the TV.”).             In fact, claim 12 of Mishra covers

communication between system 12 and RCU 18 using both RF and IR. See JX-0316 (Mishra)

at cl. 12. Mishra provides no indication that the communication between system 12 and the RCU

is only IR. See also Tr. (Russ) at 840:17-841-3, 844:23-845:4; 848:9-850:4, 947:8-12; Tr.

(Sprenger) at 1166:16-1167:14.

                                     (ii)    Mishra Does Not Limit Use of RF to Telephone
                                             Functionality

       UEI further argues that “Mishra explicitly show[s] that RF is used only for the cordless

home telephone communications, not key code applications.” CIB at 23. According to UEI, “the

only express disclosure in Mishra is that RF communication is for telephone communication [and]

the only communication method for key codes is infrared (IR).” Id. This argument fails for the

same reason as given above – Mishra presents this functionality as one possible feature and not

the only one. See JX-0316 (Mishra) at ¶¶ 18, 20.

       UEI further argues that “the telephone functionality in Mishra is a core teaching” and thus,

the telephone functionality is not optional. CIB at 26. In other words, Mishra’s teachings relate

solely to “adding telephone functionality to a remote control.” Id., citing Tr. (Sprenger) at

1120:10-13, 1122:2-1123:3. But UEI’s argument, that the use of “may” in this context is not

optional, is contrary to the law. In re Johnston, 435 F.3d 1381, 1384 (Fed. Cir. 2006) (the word




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“may” indicates “optional elements”). While Mishra’s Abstract and claims relate to telephone

functionality, the entire specification is not so limited, because it also discusses controlling other

electronic devices. See, e.g., JX-0316 (Mishra) at ¶¶ 19, 20, 26-34, 36-39. Moreover, as Roku

points out, “it is well-established that the specification of a prior art patent or patent application

can contain a broader disclosure than its claims.” RIB at 21-22, citing In re Rasmussen, 650 F.2d

1212, 1214 (CCPA 1981) (“Disclosure is that which is taught, not that which is claimed.”); In re

Lemelson, 397 F.2d 1006, 1009 (CCPA 1968) (“The use of patents as references is not limited to

what the patentees describe as their own inventions.”); Tr. (Russ) at 988:22-23.

                                       (iii)   Mishra’s Phase Lock Loop and “Powered Down”
                                               Features

       Mishra teaches that a phase lock loop may be used to tune the RF transceiver to a particular

wireless telephone technology. JX-0316 (Mishra) at ¶ 24. UEI’s expert testified that this teaching

illustrates Mishra’s remote control does not receive key codes via RF, because a PLL is a circuit

that can lock onto a specific frequency and obtain a precise lock and Mishra does not disclose

anything about using that for sending key codes to a remote control using RF. See Tr. (Sprenger)

at 1198:21-1199:3; JX-0316 (Mishra) at ¶ 24 (“A phase locked loop device 27 may be used”). But

as noted, this is not Mishra’s only teaching, so it is irrelevant that Mishra discloses tuning via

phased lock loop.

       UEI’s expert also testified that Mishra’s disclosure of powering down unused systems

illustrates that Mishra’s remote control does not receive key codes via RF. See Tr. (Sprenger) at

1135:23-1136:13 (“you could not receive key codes via RF and then send them out via IR if the

RF is turned on and IR module is turned off.”). This, too, is irrelevant. The actual teachings in

Mishra are that certain features may be powered down when not in use during a telephone

communication in order to save power. See JX-0316 (Mishra) at ¶¶ 23, 42. These features are not




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relevant to the other embodiments of Mishra discussed above related to controlling other electronic

devices.

       Accordingly, Mishra teaches all limitations in claim 19 except for “outputted key code

being modulated onto an IR carrier signal.”

                      U.S. Patent No. 8,132,105 to Dubil

       Fig. 1 of Dubil is shown below:




       Dubil “relates to remote control devices and to a service for enabling the programming of

remote controls to be used with consumer electronics (CE) equipment.” JX-0320 (Dubil) at 1:6-

8. As shown in Fig. 1, system 100 comprises server 102 connected via Internet 104 to appliance

106, such as a set-top box or personal computer, at a user’s home. Id. at 4:48-51. Server 102

includes database 116, which maintains an inventory of control codes for commercially available

consumer electronics equipment of various brands and types. Id. at 4:60-62. The user has a




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“universal programmable remote control device 108,” which includes transmitter 112 for sending

control codes to electronics equipment, such as TVs, VCRs, CD players, set-top boxes, DVD

players, audio pre-amplifiers, and tuners. Id. at 4:51-57. Input 114 of remote control device 108

allows for communication with appliance 106. Id. at 4:57-59. In operation, “[t]he user requests

via appliance 106 a code set from server 102 for control of the apparatus, type, brand, serial no.,

etc., as specified by the user and to be controlled via remote 108.” Id. at 5:6-8. The codes

maintained in database 116 are formatted as XML (Extensible Markup Language) documents such

that “relevant parameters of a particular control code or command are defined using XML tags.”

Id. at 4:64-66. “For example, tags are defined for the relevant controllable apparatus to which a

code pertains, for its type number, for the IR or RF carrier frequency, for the duty cycle, the

protocol type, for the repetition time, for the on/off times of the signal, etc.” Id. at 4:66-5:3.

Notably, Dubil also discloses different “protocol[s]” that may be used in transmitting control

codes, including “PWM.” Id. at 4:33-37.

                         Discussion

       Determining whether claim 19 of the 642 patent is invalid requires consideration of the

Graham factors: (1) the scope and content of the prior art, (2) the level of ordinary skill in the art,

(3) the differences between the claimed invention and the prior art, and (4) objective indicia of

non-obviousness. Scanner Techs. Corp. v. ICOS Vision Sys. Corp. N.V., 528 F.3d 1365, 1379

(Fed. Cir. 2008). UEI offers no objective indicia of non-obviousness, and as noted, the differences

between claim 19 and Mishra are small. See CIB at 26-27. The prior art contains all the elements

of claim 19, with Dubil supplying the one element missing from Mishra: a key code modulated

onto a carrier signal.     JX-0002 (642 patent) at cl. 19.      Moreover, a skilled artisan would

undoubtedly have been familiar with various modulation schemes, and the 642 patent itself




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suggests that “modulat[ion] onto carrier signals” was a known method of “generat[ing] key code

signals.” Id. at 1:38; see Tr. (Russ) at 842:9-19.

        UEI submits that one skilled in the art would not have been motivated to combine Mishra

and Dubil because “Mishra’s and Dubil’s teachings would have required a POSITA to use the

unjustifiably complicated XML ‘container’ [of Dubil] to transport key codes from the [set-top box]

to the remote control” and “Dubil’s XML container does not make sense in the context of the 642

patent, where extensive codesets are not stored on the remote control.” CRB at 13 (emphasis in

original).   UEI asserts that the combination would have been “needlessly complex [and]

expensive,” and would have “required a POSITA to complicate Mishra further by using Dubil’s

teachings of an XML container, a more powerful processor, and a driver, which a POSITA would

not have done.” CRB at 14.

        UEI’s argument is beside the point. Roku cites Dubil not for its XML disclosure, but “for

its disclosure about storing, transferring, and using information about modulation, and then taking

the information about modulation and using it to actually perform modulation.” Tr. (Russ) at

842:4-8; id. at 870:10-12. That disclosure is what one skilled in the art would know to apply to

the teachings of Mishra to accomplish the function of claim 19 of the 642 patent. The prior art

need not serve precisely the same purpose as that disclosed in the challenged patent’s specification

to support the conclusion that the claimed subject matter would have been obvious. See In re

Lintner, 458 F.2d 1013, 1016 (CCPA 1972) (question is merely whether the reference teachings

would appear to be sufficient for one of ordinary skill in the relevant art to make the proposed

substitution, combination or other modification); see also KSR International Co. v. Teleflex Inc.,

550 U.S. 398, 419 (2007) (“neither the particular motivation nor the avowed purpose of the

patentee controls”). UEI improperly focuses on the Dubil teachings related to an XML container,




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and therefore allegedly incompatible with Mishra, instead of Dubil’s narrow teachings related to

modulation. See Orthopedic Equip. Co. v. United States, 702 F.2d 1005, 1013 (Fed. Cir. 1983)

(“There is a distinction between trying to physically combine the two separate apparatus disclosed

in two prior art references on the one hand, and on the other hand trying to learn enough from the

disclosures of the two references to render obvious the claims in suit.”).

       Lastly, in its Final Written Decision (“FWD”) for each of the Inter Partes Reviews for the

642 patent and for a continuation patent, U.S. Patent No. 8,004,389 (“the 389 Patent”), the U.S.

Patent Office determined that Dubil taught “different modulation schemes that may be used in

transmitting control codes having different bit patterns, including frequency-shift keying (‘FSK’),

binary phase-shift keying (‘BPSK’), and pulse-width modulation (‘PWM’).” See RX-1587 at 33

(FWD for IPR2019-01612 (the 642 patent) (March 29, 2021)) and RX-1588 at 37 (FWD for IPR

2019-01613 (March 29, 2021)), citing Dubil at 4:33-37. The Patent Office further found that it

would have been obvious to one skilled in the art to combine Mishra and Dubil for modulation.

See RX-1587 at 42; RX-1588 at 50. That is, inasmuch as Dubil does not expressly use the term

“modulation,” it nonetheless would have been clear to a POSITA that Dubil teaches modulation

methods, including, for example, pulse width modulation. JX-0320 (Dubil) at 4:37 (reciting

“PWM”).

       Therefore, in view of the Graham factors, claim 19 of the 642 patent is invalid as being

unpatentable under 35 U.S.C. § 103(a) over Mishra and Dubil.

       U.S. PATENT NO. 10,600,317

               Level of Ordinary Skill in the Art

       A person having ordinary skill in the art of the 317 patent at the time of invention “would

have had a bachelor’s degree in electrical engineering, computer science, or equivalent degree with




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two years of work experience relating to communications or consumer electronics.” Order No. 24

at 7.

               Claims-at-Issue

        Claims 3, 6, 9, and 11 of the 317 patent are at issue in this investigation, either through

allegations of infringement or of the domestic industry technical prong. CIB at 4. All of these

claims depend directly from claim 1:

        1. A controlled device, comprising:
        a receiver for receiving communications from a remotely located controlling device;
        a transmitter for transmitting communications to a display device coupled to the controlled
                device;
        a processing device coupled to the receiver and the transmitter; and
        a memory storing executable instructions, wherein the instructions, when executed by the
                processing device, cause the controlled device to:
        automatically progress through a plurality of setup procedure steps in response to each of
                a plurality of communications received via use of the receiver from the controlling
                device;
        transmit to the display device via use of the transmitter communications to cause the
                display device to display instructional information to a user while progressing
                through the plurality of setup procedure steps; and
        in response to at least a type and brand of a target device to be controlled via use of the
                controlling device being identified via use of the plurality of setup procedure steps,
                select at least one command code set which has been predetermined to be likely to
                be usable by the controlling device to control operational functions of the target
                device when subsequently provisioned to the controlling device.

        3. The controlled device as recited in claim 1, wherein the at least one command code set
               comprises an infrared command code set.

        6. The controlled device as recited in claim 1, wherein the instructions cause the controlled
                device to exit the plurality of setup procedure steps in response to a predetermined
                communication being received via use of the receiver from the controlling device.

        9. The controlled device as recited in claim 1, wherein the instructional information being
               displayed by the display device comprises a series of displayed navigable menus.

        11. The controlled device as recited in claim 1, wherein the controlled device comprises a
               transceiver coupled to the processing device for receiving the executable
               instructions from a remote server for storage in the memory.




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317 patent at cls. 1, 3, 6, 9, and 11.

                Claim Construction

        No claims of the 317 patent that remain asserted were construed earlier. CIB at 80. Now,

however, UEI submits that the “primary dispute” between the parties is the construction of three

limitations of claim 1. CIB at 78, 80-81. These are (with identifiers added):

        1(e) automatically progress through a plurality of setup procedure steps in response
                to each of a plurality of communications received via use of the receiver
                from the controlling device;

        1(f) transmit to the display device via use of the transmitter communications to
                cause the display device to display instructional information to a user while
                progressing through the plurality of setup procedure steps;

        1(g) in response to at least a type and brand of a target device to be controlled via
                use of the controlling device being identified via use of the plurality of setup
                procedure steps, select at least one command code set which has been
                predetermined to be likely to be usable by the controlling device to control
                operational functions of the target device when subsequently provisioned to
                the controlling device

                        Limitation 1(e)

        UEI argues that the construction of limitation 1(e) is the plain and ordinary meaning, when

“read and considered together [with 1(f)], and in light of the specification.” CIB at 81. UEI asserts

that when so read, the claimed “plurality of setup procedure steps” requires that an actual procedure

be accomplished at each step – for instance, “the entry or provisioning of a code in order to test or

confirm that the code set is likely to work.” CIB at 81. Thus, according to UEI, element 1(e)

requires a plurality of setup procedure steps; and while a user prompt (for example an inquiry of

the type and brand of device to be controlled) is part of a procedure step, a prompt alone is not a

procedure step and/or two user prompts is not a plurality of setup procedure steps. CIB at 82.

Thus, UEI asserts that the steps of selecting a device type, then selecting a device brand, and then

displaying a set-up code comprise only a single procedure step. Id. (“While user prompts




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(including for a type and a brand) can be part of any given procedure step, there is nothing in the

claim or specification suggesting that a user prompt alone is a procedure step or that two user

prompts is a plurality of setup procedure steps”). UEI further submits that the “automatically

progress” term should be construed to be “the use of multiple” setup procedure steps, as shown in

the bottom of Figure 7 to, for example, iteratively test or verify different code sets, and the

instructional information is used to guide the user through that exact process. CRB at 47; JX-0004

at Fig. 7.

        Roku also argues that limitation 1(e) should be given its plain and ordinary meaning;

however, Roku submits that UEI’s construction of element 1(e) is not the “plain and ordinary

meaning” because it adds the limitation that a code set must be tested as part of the “automatic

progress through a plurality of setup procedure steps.” RIB at 78. Roku argues that UEI is

“deliberately vague” about exactly what the term means, and in any event UEI incorrectly argues

that the “plurality of setup procedure steps” includes only the “iterative procedure steps, used to

test or confirm the codes,” and not the steps of selecting type or brand, or displaying a setup code,

of a target device. RRB at 41, citing CIB at 84.

        Roku’s position is more compelling.        UEI’s construction is overly complicated and

supported neither by the 317 specification nor its own expert. For example, UEI’s assertion that

the term “setup procedure steps” does not include a prompt alone (for example an inquiry of the

type and brand of device to be controlled) is directly contradicted by its own expert, Dr. Rosenberg:

        Q. Dr. Rosenberg, the ’317 patent describes a setup process, correct?
        A. Yes, it does.
        Q. And that setup process involves a plurality of setup procedure steps, correct?
        A. Yes, it does.
        Q. And those setup procedure steps may include screens prompting the user
        information input to identify device type and brand information, correct?
        A. Yes, it does.




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Tr. (Rosenberg) at 1308:8-17.

        As another example, the specification does not support UEI’s position that a prompt to the

user does not amount to a setup procedure step, or that the steps of selecting a type, selecting a

brand, and displaying a set-up code comprise only a single set-up procedure step. Fig. 7 of the

317 patent describes “in flowchart form, a summary of the steps described below [for setup] and

illustrated in FIGS. 4 through 6.” JX-0004 (317 patent) at 5:12-16. Figs. 4 and 7 illustrate the step

of selecting a brand, id. at 4:20-5:53, and Figs. 5 and 7 illustrate the step of displaying a set-up

code, id. at 54-56. Figs. 6 and 7 illustrate the testing of the operation to determine if the code

works. Id. at 5:64-76.3. Each of these are described as separate setup procedural steps and

displayed as such in the flow chart of Fig. 7 as separate boxes.

        Finally, claim 1 itself recites that selecting a type and brand comprise a “plurality” of setup

procedure steps. Limitation 1(g) recites, in part, “in response to at least a type and brand of a target

device . . . being identified via use of the plurality of setup procedure steps.” Thus, the claim

recites that a “plurality of setup procedure steps” can include a plurality of such steps to identify

“a type and brand of a target device.”

        Therefore, limitation 1(e) is construed as possessing its plain and ordinary meaning,

wherein an individual step can consist of a selection of an individual type or brand.

                        Limitation 1(f)

        UEI asserts that this term, like 1(e), is the plain and ordinary meaning, when “read and

considered together [with term 1(e)], and in light of the specification.” CIB at 81. Within element

1(f) is the term “instruction information,” and it is this term where the parties’ definition differs.

UEI defines “instruction information” as a “true instruction, for example, an instruction to point

the remote at the target device or to enter a code into the remote.” Id.at 82. UEI asserts that “the

specification specifically calls questions to a user about the type or brand of the target device ‘user




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prompts’ (Tr. (Rosenberg) at 1260:18-1261:6). In contrast, the specification reserves the word

‘instructions’ to discuss times where the user must actually take an action or perform a task, like

pointing the remote at the target device or entering a test code into the remote (id.).” CRB at 47,

citing Tr. (Rosenberg) at 1260:18-1261:6).

       Roku also argues the element should be given its plain and ordinary meaning, but that UEI

improperly imports a “testing” requirement into its construction “by asserting that ‘[i]n the claim,

the user is provided instruction information . . . (which the specification teaches is used for the

purpose of testing a code).’” RRB at 42, citing CIB at 82. Roku further asserts that the plain and

ordinary meaning of “instructional information” is not restricted to information displayed in testing

steps and improperly excludes information displayed in other set-up procedure steps. Id.

       The specification does not limit the meaning of “instruction information” in the manner

that UEI asserts. A directive to select a type or brand of target device fits comfortably within the

plain and ordinary meaning of “instruction.” Granted, the specification occasionally uses the terms

“instructions and prompts” when discussing the relevant portion of the set-up procedure, but the

terms are not used separately to signify different operations. But for the most part, the specification

uses the term “prompt” when referring to either of UEI’s scenarios. See, e.g., JX-0004 (317 patent)

at 5:20-21 (“application 406 may also prompt the user to select an appropriate language”); 6:37-

39 (using a TV screen to “present prompts such as ‘Did your DVD player respond to the Power

On command? Press ‘1’ for yes, or press ‘0’ for no”); 7:9-10 (“application 406 may interactively

prompt the user to enter information regarding device usage”); 7:48 (“user may be prompted 806

to specify a device to be used”).

       Therefore, limitation 1(f) possesses its plain and ordinary meaning, and the term

“instruction information” specifically is construed as encompassing user prompts to select a target




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device’s brand or type.

                        Limitation 1(g)

        UEI asserts that this limitation should be given its plain and ordinary meaning, “in light of

the proper context provided by the specification.” CIB at 92. Specifically, UEI argues that the

limitation “requires that the command code set be predetermined to be likely to work with the

target device itself, not some general device of the same type and brand.” Id. (emphasis in

original). In other words, the plain and ordinary meaning is “that the controlled device . . . select[s]

the command code set that it has predetermined is likely to be usable (by the controlling device)

to control operational function of the target device (as opposed to a general device of a certain type

and brand) when subsequently provisioned to the controlling device.” CIB at 93.

        Roku argues that UEI’s interpretation is not the plain and ordinary meaning because UEI’s

construction “import[s] a limitation from the specification – that the claim requires testing.” RIB

at 80. According to Roku, “the dispute regarding limitation 1(g) boils down to one word—

‘likely’—in the phrase ‘predetermined to be likely to be usable’ to control the target device. UEI

argues that the use of ‘likely’ means that limitation 1(g) covers only testing steps, and not the steps

of selecting type and brand.” RRB at 43-44.

        The disagreement actually revolves around the words “predetermined to be likely.” UEI

asserts that the claim requires that the command code set be predetermined to be likely to work

with the specific target device itself, as opposed to a device of the same type and brand. CIB at

92.   But the specification describes the process as retrieving a command code that is

“predetermined” (i.e., without actual testing) to be “likely” (i.e., the possible code is narrowed

down from the universe of all possible codes) to work with the type and brand selected by a user:




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JX-0004 (317 patent) at Fig. 7.

       Upon initiation of setup the user is asked “what device do you want to setup for control?”

and is given a list of devices (such as TV or DVR) to choose from (JX-0004 (317 patent) at 5:15-

20); the user selects the type of device, and is asked to select the brand name of the device (id. at

5:31-34). The user then selects the brand and is shown a display of “the remote control setup code




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number most likely to result in selection of an infrared code set which will operate appliances of

the type and manufacture indicated” (id. at 5:42-47); the user enters the code number, and the

remote control transmits an infrared command that corresponds to the user’s choice of code

number (id. at 5:54-62). After the remote transmits the code, it is tested to determine if the code

actually controls the device. Neither the specification nor claim 1 specify that the code number

input by the user is likely to be usable by the specific target device. Instead, the process taught

and claimed is a system that selects a “likely” command code set by narrowing the number of

possible codes based on a type and brand of target device, without testing the code set. Tr.

(Balakrishnan) at 707:8-709:1; RDX-0004C.49; see also Tr. (Rosenberg) at 1301:16-21. The

“predetermined” nature of the code is that the code is obtained by reference to data 404, which is

stored locally on the set top box or another memory that is accessible by the set top box, and which

is “periodically updated.” JX-0004 (317 patent) at 4:28-36; 5:44-48.

       Therefore, limitation 1(g) is construed to have its plain and ordinary meaning, in particular

that a command code set is predetermined to be likely to be usable based only on the type and

brand of device selected by the user, without further specificity and without testing of the code set.

       A final point on claim construction. UEI argues that its proposed construction of these

elements is correct because the examiner would not have allowed the claims over the disclosed

prior art if these limitations were construed to have simply their plain and ordinary meaning. CIB

at 89-91. During prosecution of the 317 patent, UEI filed an Information Disclosure Statement,

listing the SVR-2000 Setup Guide, which Roku does not dispute is almost identical to the SVR-

3000 Setup Guide. But the Information Disclosure statement contained almost 40 other references,

and there is no evidence the SVR-2000 Setup Guide was ever substantively discussed during




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prosecution.     CX-0152C.0070-75.    Therefore, this reference is not germane to the claim

construction.

                Infringement

        UEI asserts that the Roku Ultra, Streaming Stick+, and Soundbar (collectively the “Roku

317 Accused Players) directly infringe claims 3, 6, 9, and 11 of the 317 patent. CIB at 93. Each

of the asserted claims depend from independent claim 1, and thus, the Roku 317 Accused Players

also must meet each limitation of claim 1.

                       Overview of Functionality

        The Roku Soundbar will configure itself and its included remote to control the power on

and power off functionality of the attached TV. The Roku Ultra and Soundbar control the TV via

CEC over the HDMI connection or IR commands from the Roku remote directly to the TV.

        Roku Ultra and Roku Streaming Stick+

        The Roku Ultra and Roku Streaming Stick+ configure themselves and their included

remote to control the power on, power off, volume up, volume down, and mute operations of the

TV attached to the Roku. JX-0024; see generally Tr. (Rosenberg) at 105:24 -120:16. For the

Roku Ultra, remote control programming starts by selecting the “Set up remote for TV control”

feature in the Remote Settings menu. JX-0024; Tr. (Rosenberg) at 106:15-22. The setup procedure

initially uses the                             to identify the brand of the TV. CPX-0115C at

ROKU_ITC_SC_0000449. After this feature is initiated, information appears on the television,

such as “[p]lease point your Roku remote at this TV” (CIB at 98), and then the user is asked “is

music playing,” and the user can select “Yes, music is playing” or no. JX-0024.




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CPX-0106; CDX-0002C.7.

       If the user selects “Yes, music is playing,” the Roku Ultra sends a mute command to the

TV via CEC over the HDMI connection; the Roku Streaming Stick+ operates like the Ultra, except

that it controls the TV only via IR. Tr. (Rosenberg) at 109:5-16. The next screen asks if the music

has stopped playing:




Id.; CPX-0106; CDX-0002C.8.

       If the user selects “Yes, the music has stopped playing,” the Roku Ultra is configured to

use CEC to control power on, power off, volume up, volume down, and mute. Thus, if a user

presses one of those control buttons on the Roku remote, the corresponding command will be




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transmitted from the Roku Ultra to the TV via CEC. Tr. (Rosenberg) at 109:17-110:15. However,

if the user selects “no,” the music did not stop playing, the Roku Ultra configures the Roku remote

to control the TV via IR. In this case, the Roku Ultra sends data to the Roku remote that causes

the Roku remote to transmit the first IR mute command associated with the detected brand of the

attached TV. Tr. (Rosenberg) at 110:16-111:19. The user is then presented with a variation of the

same basic question as before:




Id.; CPX-0106; CDX-0002C.11.

       If the music stops, the user selects the “yes” option, and the Roku Ultra finalizes

configuration of the Roku remote to transmit the IR commands for power on, power off, volume

up, volume down, and mute. If the music does not stop (indicating that the command was

unsuccessful), the Roku Ultra automatically transmits the next IR mute command associated with

the detected brand of the TV. Tr. (Rosenberg) at 111:5-113:19. This process continues until there

is either a successful command or there are no more code sets to try for the detected brand. Id. If

all of the code sets for a given brand are unsuccessful, the user can either exit the process or

manually enter a brand and begin the testing process again with the code sets for that brand.




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       Roku Soundbar

       The Roku Soundbar operates similarly to the Roku Ultra with respect to the “Set up remote

for TV control” functionality. Tr. (Rosenberg) at 120:4-16. However, the Roku Soundbar tests

the power functionality of the TV instead of testing a mute command. Id.

                       Claim 1 of the 317 Patent

       The Parties agree that the Roku 317 Accused Players meet the limitations of 1(a) – 1(f)

(using the same identifiers as were used for the claim construction discussion). Thus, the only

limitation for which there is disagreement is 1(g). In order to fully appreciate the recitation of 1(g)

however, limitations 1(e) and 1(f) also must be discussed. Again:

               1(e) automatically progress through a plurality of setup procedure steps in response
                       to each of a plurality of communications received via use of the receiver
                       from the controlling device;

               1(f) transmit to the display device via use of the transmitter communications to
                       cause the display device to display instructional information to a user while
                       progressing through the plurality of setup procedure steps;

               1(g) in response to at least a type and brand of a target device to be controlled via
                       use of the controlling device being identified via use of the plurality of setup
                       procedure steps, select at least one command code set which has been
                       predetermined to be likely to be usable by the controlling device to control
                       operational functions of the target device when subsequently provisioned to
                       the controlling device


       UEI argues that the Roku 317 Accused Players meet limitations 1(e) – 1(g) because each

Player (the controlled device) selects a command code set

                     via the use of the automatic setup procedure discussed above (limitation 1(e)).

CIB at 99. UEI asserts that by “invoking the setup procedure to configure the remote [which is

the controlling device], the type of the device is identified to be a TV (Tr. (Rosenberg) at 153:24-

154:23). Additionally, the setup procedure initially and automatically uses

              to identify the brand of the TV using                                   (CPX-0115C at




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ROKU_ITC_SC_0000449).” Id. Instructional information is displayed to the user during the

setup, such as instructing the user to test whether sound is on or off and/or whether the power is

on or off, depending on the particular Roku device (limitation 1(f)). CIB at 97-98. Finally, the

Roku Players select one command code set that has been predetermined to be likely to be usable

based on the automatic procedure steps. CIB at 99.

       Roku, on the other hand, argues that the Accused Products do not meet the limitation of

1(g) because they do not identify the type of target device to be controlled via the setup procedure

steps. Roku submits that the Roku 317 Accused Players

                                                                RIB at 81, citing Tr. (Balakrishnan)

at 686:14-687:6. Roku further argues that the Roku 317 Accused Players fail to select at least one

command code set because the products

                          RIB at 82. Roku submits that the remote controls

                                                                                                     Id.

And Roku asserts that a code set “is the set of all the codes for a particular device.” Id. at 83.

       The evidence shows that limitation 1(g) is met. A user’s initial selection of the command

“Set up remote for TV control” feature in the remote control Remote Settings menu is a

“communication received via the use of the receiver from the controlling device.” Once the Roku

317 Accused Players receive this communication, a TV is by definition selected. Further, it is this

selection of “set up the remote” that begins the automatic progression through a plurality of setup

procedure steps, as recited in element 1(e). There is nothing in the asserted claims that recite that

there must be more than one device to be controlled – just that the user must choose a device,

which is accomplished by entering the set up mode. Once the mode is selected, the Roku 317

Accused Players automatically progress through a plurality of setup procedure steps by




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                                                                     These are a plurality of setup

procedure steps, which meets the limitation of claim 1(f).

          Finally, element 1(g) is met since at least one command code set “likely to be usable” is

selected when the Roku 317 Accused Players automatically progress through the set up steps to

determine that a television has been selected and the particular brand is determined. Moreover,

the term “command code set,” although it has not been formally construed, plainly does not mean

every function of the television must be part of the code that is selected and provisioned to the

remote control. In fact, the 317 patent does not define the term command code set beyond being

codes that “will operate appliances.” JX-0004 (317 patent) at 5:46. The code sets used by Roku

317 Accused Players operate functions of the television, which is consistent with the specification.

And UEI has not “acknowledged” that “command code set” means all the codes for a particular

device; that UEI’s counsel took that position in oral argument regarding a different patent is

irrelevant. See RIB at 83.

          Accordingly, the Roku 317 Accused Players meet every limitation of claim 1 of the 317

patent. Claims 3, 6, 9, and 11, which all depend from claim 1, are the claims of the 317 patent that

are asserted against Roku. The evidence shows that the Roku 317 Accused Players infringe these

claims.

                        Claim 3: the controlled device as recited in claim 1, wherein the at least
                        one command code set comprises an infrared command code set.

          Roku does not dispute that Roku 317 Accused Players select an infrared command code

set to provision to the Roku remote.         See Tr. (Rosenberg) at 160:11-15; CPX-0115C at

ROKU_ITC_SC_0000076. Thus, the Roku 317 Accused Players satisfy the limitations of Claim

3.




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                      Claim 6: The controlled device as recited in claim 1, wherein the
                      instructions cause the controlled device to exit the plurality of setup
                      procedure steps in response to a predetermined communication being
                      received via use of the receiver from the controlling device

       The Roku 317 Accused Players exit the setup procedure for “Set up Remote for TV

control” when the “home” button is pressed on the Roku remote. See Tr. (Rosenberg) at 160:16-

25; CX-0058. This meets the limitations of claim 6.

                      Claim 9: The controlled device as recited in claim 1, wherein the
                      instructional information being displayed by the display device
                      comprises a series of displayed navigable menus

       The Roku 317 Accused Players display a series of navigable menus, such as “Please point

your remote at the TV” and “Is music playing? Yes or No?”, on the attached TV as part of the TV

control configuration, which the user navigates using the arrow keys and OK button. Tr.

(Rosenberg) at 161:1-12. This meets the limitations of Claim 9.

                      Claim 11: The controlled device as recited in claim 1, wherein the
                      controlled device comprises a transceiver coupled to the processing
                      device for receiving the executable instructions from a remote server
                      for storage in the memory

       Roku does not dispute that its Roku 317 Accused Players include a Wi-Fi transceiver (and

the Roku Ultra includes an ethernet port and associated circuitry) that receive the Roku OS

(including the software associated with the setup procedures for controlling the TV with the Roku

remote) for storage in memory. Additionally, Roku does not dispute that when the Roku 317

Accused Players                                                               which includes the

code that provides the functionality described in Claim 1, including the IR code sets. Tr.

(Rosenberg) at 161:13-162:9; CX-0509C; JX-0068C (Murthi) at 43:8-14, 46:13-48:4. Thus, the

Roku 317 Accused Players satisfy the limitations of Claim 11.

       Therefore, the Roku 317 Accused Players infringe asserted claims 3, 6, 9, and 11 of the

317 patent.




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               Domestic Industry – Technical Prong

                       Samsung DI Products Are Protected by the 317 and 196 Patents 1

       UEI asserts that the Samsung DI Products are “expressly licensed to the 196 and 317

Patents.” CIB at 53. The licensing agreement, effective January 1, 2011, grants to Samsung and

its subsidiaries the right to

                                                                          JX-0035C.1. The UEI

Products include UEI QuickSet and QuickSet cloud. JX-0035C.13. The licensed products

definition was amended to include



                                                                      (JX-0035C.70). Thus, UEI

asserts that the “Samsung DI Products are Licensed products under the Licensing Agreement and

its amendment because they are TVs with Smart Remote controls.” CIB at 53. UEI further states

that it “authorized Samsung to use the 196 and 317 Patents through years of support and assistance

in aiding Samsung in the practice of the 196 and 317 Patents.” CIB at 53, citing Tr. (Barnett) at

35:4-42:10, 48:23-53:25, 60:15-63:4; JX-0431; CDX-0078C.5-9, 13. UEI states that Samsung has

been its customer for 10 years, that UEI has spent                              Samsung-specific

implementation costs, and that the Samsung DI Products make about                QuickSet Cloud

transactions a week. Id.

       Roku presents a number of arguments against finding that the Samsung DI Products are

protected by the 196 and 317 patents. Roku first argues that in the amendment to the Samsung

software license, dated July 25, 2012, UEI

                                                                   to UE Singapore Private Ltd.,


1
 The licensing issues regarding the 196 and 317 patents are discussed together by both parties.
To the extent that the issues overlap, both are discussed together here as well.




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a Singapore corporation. RIB at 46. Subsequently, on June 30, 2013, UE Singapore



                                                                         Id. at 48. Therefore, Roku

submits, as of July 2012 the Samsung software license was not with UEI, the owner of the Asserted

Patents was not a party to the Samsung software license, and the Samsung DI Products are not

“protected by” the 196 and 317 patents. RIB at 46.

       But the license agreement states that C.G. Development is acting

                                                                 such as UEI (JX-0035C.65). C.G.

Development acts as UEI’s licensing agent with certain Asia-based customers and partners, such

as Samsung, and has the right to sub-license UEI’s patents based on an intracompany agreement.

See RX-0019C.54-55. UEI is, in essence, the real party in interest with respect to the Samsung

license.

       Roku next argues that Samsung did not have an express license to the 196 and 317 patents

because the Samsung software license



                         RIB at 47. Roku submits that the “Licensed Materials” were defined as



            RIB at 47. Roku further submits that the license “does not include a license to any of

UEI’s intellectual property, including its patents, and expressly restricts the license to the limited

rights granted in Section 1.0.” of the license agreement. Id. Although no individual patents were

originally recited as being licensed, Roku’s description of the scope of the license is otherwise too

narrow. In fact, UEI granted a license to




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                                                      See JX-0035C.1, .15, .70.

       Finally, Roku argues that the Samsung software license does not grant an implied license

to the 196 and 317 patents because the license “makes clear that



RIB at 47, citing JX-0035C.9. As UEI notes, however, section 11.02 of the license states:




                                                                          CRB at 32 (emphasis in

original), citing JX-0035C.9. And the license agreement, as confirmed by UEI, expressly grants

Samsung the right to import articles that practice the 196 and 317 patents.

                      Samsung DI Products Practice Claim 1

       Most of the elements of claim 1 of the 317 patent are practiced by the Samsung DI Products.

As UEI’s expert Dr. Rosenberg explains, the Samsung DI Products are devices controlled by a

remote control, and each possesses a receiver for receiving communications from the remote

control, a processing device coupled to the receiver, and a memory storing executable instructions.

See Tr. (Rosenberg) at 180:5-182:2.

                                        as shown in CX-0647C.5. See id. at 181:2-182:2; CIB at

11-12. Respondent does not dispute that the Samsung RU8000 is representative of the Samsung

DI Products. See RIB at 83-84.

       The elements covering “executable instructions” involve QuickSet, a UEI software product

integrated into the Samsung DI Products. See Tr. (Barnett) 35 at 13-17. Dr. Rosenberg explained

how QuickSet works:




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Tr. (Rosenberg) at 183:13-184:13. So claim elements 1(e), 1(f), and 1(g) are satisfied.

       The primary dispute between the parties is whether the Samsung DI Products meet the

limitation of claim 1(b), which recites, “a transmitter for transmitting communications to a display

device coupled to the controlled device.” RIB at 84. Roku argues that “the claim is drafted to

cover a transmitter for transmitting communications to an external display device coupled to a

controlled device (in this case, the Samsung TV).” Id. However, Roku argues,

                                                                             and therefore the LCD

display panel is not coupled to the TV but is an integral part of the TV itself. Id. Roku asserts that

the Federal Circuit held that a “part of something is not ‘coupled’ to the whole” in Cutsforth, Inc.

v. Motivepower, Inc., 643 F.App’x 1008, 1012 (Fed Cir. Apr. 6, 2016) (nonprecedential) ([i]t goes

beyond the plain meaning of ‘couple ‘ to say that a sub-component (e.g., an engine in a car) is

‘coupled to’ the component as a whole (e.g., the car)). Roku also cites another Federal Circuit

case as support for the argument that the display device must be separate from the Samsung TV.

See Stragent LLC v. BMW North America LLC, No. 6:11 cv 278, 2013 WL 3367295, *7-*8 (E.D.

Tex. July 3, 2013) (construing term “assembly” in limitation reciting “an assembly coupled to the




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automobile . . . and further connected to a media player adapted for playing music” as requiring

that the assembly be separate from the automobile).

       The parties’ dispute is fundamentally over what apparatus is identified as the “controlled

device.” UEI has identified a particular TV, the Samsung RU8000, as opposed to a component of

the Samsung RU8000, as representative of the Samsung DI Products. See CIB at 11-12. And in

his demonstrative presentation Dr. Rosenberg implied that the controlled device is a TV. See Tr.

(Rosenberg) at 183:9-12; see CDX-0002C.45. But the evidence shows that



                     In fact,



                                                                                        CRB at 53;

Tr. (Rosenberg) at 181:2-24, 182:3-14; Tr. (Balakrishnan) at 774:9-16. Exhibit CX-00647C.1

(shown below) illustrates this with a side-by-side schematic and photo of the Samsung DI TV with

the back cover removed.




CX-0647C.1. So inasmuch as claim 1 is construed as requiring the “controlled device” to be

physically distinct from, but coupled to, the “display device,” there would seem to be no barrier to




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identifying the controlled device as the main board and the display device as the LCD screen, with

both devices housed within the same overall “TV.”

       Moreover, although the parties do not frame their dispute as a matter of claim construction,

the specification is clear that claim 1 encompasses a single housing for both the claimed invention

(the controlled device) and the display device. See JX-0004 (317 patent) at 8:39-44 (“while the

exemplary embodiment above is presented in terms of interactions between a set top box and a

universal remote control, it will be appreciated that many other appliance types, e.g., TV’s, PVRs.

DVDs, PCs, etc. may be substituted for the STB without altering the spirit of the invention”).

Furthermore, Dr. Rosenberg agreed that “you can put the controlled device inside a TV,” and Dr.

Balakrishnan agreed that the 317 patent teaches that the claimed invention can be implemented in

a TV. Tr. (Rosenberg) at 183:9-12; Tr. (Balakrishnan) at 777:7-12. So whether the controlled

device is the TV overall or just the main board inside the TV, element 1(b) is present in the

Samsung DI Products, and the cases on which Roku relies are beside the point.

       Therefore, the Samsung DI Products practice claim 1 of the 317 patent.

                      The Samsung DI Products Practice the Asserted Claims

       The only argument Roku presents regarding the asserted claims is that the Samsung DI

Products do not practice them because they do not practice independent claim 1. RIB at 85. The

Samsung DI Products do practice claim 1, however, and the evidence shows that they also practice

claims 3, 6, 9, and 11. UEI’s discussion of this evidence is adopted:

       Claim 3: The controlled device as recited in claim 1, wherein the at least one
       command code set comprises an infrared command code set

       “The Samsung DI Products configure the Samsung smart remote to control devices

connected to the Samsung TV with an infrared command codeset.” CIB at 110, citing Tr.

(Rosenberg) at 185:1-4; CX-0533C.




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       Claim 6: The controlled device as recited in claim 1, wherein the instructions
       cause the controlled device to exit the plurality of setup procedure steps in
       response to a predetermined communication being received via use of the
       receiver from the controlling device

       “The universal remote setup feature (the instructions) of the Samsung DI Products (the

controlled device) will exit the setup procedure of the Universal Remote setup when the user

presses the home button (the predetermined communication) on the Samsung remote and that

command is received by the Samsung TV.” Id., citing Tr. (Rosenberg) at 185:5-16.

       Claim 9: The controlled device as recited in claim 1, wherein the instructional
       information being displayed by the display device comprises a series of
       displayed navigable menus

       “The Samsung DI Products display a series of navigable menus that display instructional

information to the user as part of the Universal Remote setup feature.” Id., citing (Tr. (Rosenberg)

at 185:17-25).

       Claim 11: The controlled device as recited in claim 1, wherein the controlled
       device comprises a transceiver coupled to the processing device for receiving
       the executable instructions from a remote server for storage in the memory




Id. at 100-111, citing CX-0642.108.

       Accordingly, the Samsung DI Products practice the asserted claims of the 317 patent.

                 Validity

       Roku identifies the following invalidity theories for the 317 patent:

 Claims                                   Theory




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 1, 3, 6, 9                              Anticipated under 35 U.S.C. § 102(e) by U.S. Patent
                                         No. 9,792,133 to Lee (JX-0374)

 1, 3, 6, 9, 11                          Anticipated under 35 U.S.C. § 102(a) and (b) by TiVo
                                         Series 2 DVRs, including SVR-3000 Installation Guide
                                         (RX-0223) (“SVR-3000”)

 1, 3, 6, 9                              Obvious under 35 U.S.C. § 103 by Lee in combination
                                         with U.S. Patent No. 6,650,248 to O’Donnell (RX-
                                         0225)

 1, 3, 6, 9, 11                          Obvious under 35 U.S.C. § 103 by various
                                         combinations of Lee with SVR-3000 or U.S. Patent No.
                                         7,673,297 to Arsenault (RX-0219) and optionally
                                         O’Donnell

 1, 3, 6, 9, 11                          Unpatentable subject matter under 35 U.S.C. §101

See generally RIB at 85-123; RRB at 50-63.

        U.S. Patent No. 9,792,133 (“Lee”) issued on October 17, 2017, has a priority date of

February 10, 2004, and is prior art to the 317 patent under pre-AIA 35 U.S.C. § 102(e) because

the 317 patent’s earliest priority date is 2005. RIB at 85; JX-0374; JX-0004. The TiVo Series 2

DVR, including the Sony/TiVo SVR-3000, were on sale and in public use in the U.S. in 2002, and

the SVR-3000 Installation Guide was publicly available as of 2002. RX-0220C.0001; RX-0223;

Tr. (Schmidt) at 642:22-643:3 (TiVo began sales of Series 2 DVRs in 2002). Thus, the SVR-3000

product and its documentation are prior art to the 317 patent under pre-AIA 35 U.S.C. §§ 102(a)

and (b). O’Donnell issued on November 13, 2003 and is prior art to the 317 patent under pre-AIA

35 U.S.C. §§ 102(a) and (b). RX-0225. Arsenault issued on March 2, 2010, with a priority date

of September 3, 2003, and is prior art to the 317 patent under pre-AIA 35 U.S.C. § 102(e). RX-

0219.

                        Anticipation Under 35 U.S.C. § 102

                        a.    Lee




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       Roku contends claims 1, 3, 6, and 9 are anticipated by Lee, which “describes a system for

setting up a universal remote control to control multiple electronic consumer devices, which

‘enables users to program their electronic consumer devices in a step-by-step interactive manner.’”

RIB at 86, citing JX-0374 (Lee) at 15:31-43. Roku further states that Lee discloses several similar

embodiments setting up a universal remote control, “the second of which (disclosed starting at

17:28) is nearly identical to the preferred embodiment of the `317 patent.” Id., citing JX-0374

(Lee) at 17:28-19:50; Tr. (Balakrishnan) 695:3-696:17. To illustrate this, Roku annotates Fig. 14:




JX-0374 (Lee) at Fig. 14.

       According to Roku, Lee teaches:

              [P]rogramming the universal remote to control an electronic device begins
       by pressing a “set-up” key on the remote, which causes the system to enter into a
       “configuration mode.” JX-0374 (Lee) at 17:36-39; 19:28-29. Once the




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       “configuration mode” is initiated, display 113 displays instructions to guide the
       user through the set-up process. As shown in Fig. 16 below, “the user is first
       prompted to select the device type,” from among the options: “TV, VCR, DVD,
       AMP, SAT, and CABLE.” Id. at 18:5-9. The user then uses the arrow keys on the
       remote to highlight his choice, and then presses the “select” key to select the
       appropriate device type, in this case, “TV.” Id. at 18:11-14; see also Tr.
       (Balakrishnan) 695:3-14; see also RDX-0004C.32.
               After the user chooses the type of device, the text shown in Fig. 17 (below)
       is shown, which “prompts the consumer to select the brand” of the TV. JX-0374
       (Lee) at 18:16-29; see also Tr. (Balakrishnan) 695:15-24; see also RDX-
       0004C.33.
               After the user chooses a brand of television, text is shown that “prompts
       the consumer to select a model” of the brand chosen, in this case, of a Sylvania
       TV. See JX-0374 (Lee) at 18:32-36; see also RDX-0004C.34. The circuit 111 then
       “displays a designation of a first code set on display 133, for example, the number
       ‘062,’” as shown in Fig. 14 above, which the user enters into the remote control.
       See JX-0374 (Lee) at 18:36-43; see also RDX-0004C.35. This activates a code set
       in the remote control, which allows the user to operate the TV’s various controls,
       such as volume and channel controls. Id. at 18:44-48; see also Tr. (Balakrishnan)
       695:22-696:11.

RIB at 86-87.

       The teachings of Lee with respect to the claims follows, using the same claim limitations

and designations previously used.

                      (i)     Claim 1

                              (a)     Limitation 1(preamble) – “a controlled device”

       As shown in Fig. 14 of Lee, set top box 122 contains a remote control communicating

circuit 111. JX-0374 (Lee) at 15:58-62. UEI does not dispute that Lee discloses limitation

1(preamble). See generally CIB at 111.

                              (b)     Limitation 1(a) - “a receiver for receiving
                                      communications from a remotely located controlling
                                      device”

       Lee discloses “a receiver for receiving communications” (IR photodetector 127 in Fig. 14)

“from a remotely located controlling device” (remote control 112 in Fig. 14). JX-0374 (Lee) at,




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17:39-42 and 20:17-23 and Figs. 16-18; Tr. (Balakrishnan) 697:11-22; RDX-0004C.37. UEI does

not dispute that Lee discloses limitation 1(a). See generally CIB at 111.

                              (c)     Limitation 1(b) – “a transmitter for transmitting
                                      communications to a display device coupled to the
                                      controlled device”

       Lee discloses “a transmitter” (composite video output chip 142 in Fig. 14) “for transmitting

communications to a display device” (display/TV 113) “coupled to the controlled device” (set-top

box 122). JX-0374 (Lee) at 17:31-36, 17:66-18:4, and Fig. 14; Tr. (Balakrishnan) 697:23-698:14;

RDX-0004C.38. UEI does not dispute that Lee discloses limitation 1(b). See generally CIB at

111.

                              (d)     Limitation 1(c) – “a processing device coupled to the
                                      receiver and the transmitter”

       Lee discloses “a processing device” (on-screen display controller chip 140 in Fig. 14)

which is “coupled to the receiver” (IR photodetector 127) “and the transmitter” (composite video

output chip 142). JX-0374 (Lee) at 17:44-56, 17:62-18:4, and Fig. 14; Tr. (Balakrishnan) 698:15-

699:4; RDX-0004C.39. UEI does not dispute that Lee discloses limitation 1(c). See generally

CIB at 111.

                              (e)     Limitation 1(d) – “a memory storing executable
                                      instructions, wherein the instructions, when executed by
                                      the processing device, cause the controlled device to”

       Lee discloses “a memory storing executable instructions” (memory 128 in Fig. 14),

“wherein the instructions, when executed by the processing device” (on-screen display controller

chip 140 in Fig. 14) “cause the controlled device” (set-top box 122) to perform certain operations.

JX-0374 (Lee) at 16:25- 31, 17:57-18:4, and Fig. 14; Tr. (Balakrishnan) 699:5-22; RDX-

0004C.40. UEI does not dispute that Lee discloses limitation 1(d). See generally CIB at 111.

                              (f)     Limitation 1(e) – “automatically progress through a
                                      plurality of setup procedure steps in response to each of




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                                      a plurality of communications received via use of the
                                      receiver from the controlling device”

       Lee discloses “automatically progress[ing] through a plurality of setup procedure steps”

(the procedure steps shown in Figs. 16-19) “in response to each of a plurality of communications

received via use of the receiver” (IR photodetector 127 in Fig. 14) “from the controlling device”

(the remote control 112, which transmits a signal to the set-top box 122 when the user presses a

“select” key on the remote control, which automatically activates the next setup procedure step).

JX-0374 (Lee) at Figs. 16-19, 17:36-39, 18:5-14, 18:16-30, 18:33-36, 18:63-19:50, and 19:51-

20:16; Tr. (Balakrishnan) 699:23-700:16; RDX-0004C.41.

       UEI disputes that Lee discloses limitation 1(e). UEI argues that “merely selecting a device

type and brand does not teach or suggest the automatic progression through a plurality of setup

procedure steps.” CIB at 112. UEI relies on its proposed claim construction, which has two

requirements: “element 1(e) requires a plurality of setup procedure steps; and while a user prompt

(for example an inquiry of the type and brand of device to be controlled) is part of a procedure

step, a prompt alone is not a procedure step and/or two user prompts is not a plurality of setup

procedure steps.” CIB at 82. As discussed above, however, UEI’s proposed construction is not

adopted, and an individual procedure step can consist of a selection of an individual type or brand.

And that is what Lee teaches. See JX-0374 at 18:5-43 and Figs. 16-18 (showing selection of device

type, brand, and model in response to prompts).

                              (g)     Limitation 1(f) – “transmit to the display device via use
                                      of the transmitter communications to cause the display
                                      device to display instructional information to a user
                                      while progressing through the plurality of setup
                                      procedure steps”

       Lee discloses “transmit[ting]” (via composite video output signal 143) “to the display

device” (display 113) “via the use of the transmitter” (composite video output chip 142) “to display




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instructional information to a user while progressing through the plurality of setup procedure

steps” (instructional information and steps shown in Figs. 16-19). JX-0374 (Lee) at Figs. 16-19,

17:36-39, 18:5-14, 18:16-30, 18:33-36, 18:63-19:50, and 19:51-20:16; Tr. (Balakrishnan) 701:24

-703:3; RDX-0004C.43-44.

       As with limitation 1(e), UEI disputes that Lee discloses limitation 1(f), based on its

proposed claim construction. CIB at 112. As noted, that claim construction was not adopted,

because prompts to the user qualify as “instructional information.” Lee plainly discloses this

element. See JX-0374 at 18:5-43 and Figs. 16-18 (showing prompts for selection of device type,

brand, and model transmitted to the display device).

                               (h)    Limitation 1(g) – “in response to at least a type and
                                      brand of a target device to be controlled via use of the
                                      controlling device being identified via use of the plurality
                                      of setup procedure steps, select at least one command
                                      code set which has been predetermined to be likely to be
                                      usable by the controlling device to control the
                                      operational functions of the target device when
                                      subsequently provisioned to the controlling device”

       Lee discloses “select[ing] at least one command code set” (the controlled device selecting

a designation of a first code set such as “062” after the user chooses type, brand, and model using

the remote control) “which has been predetermined to be likely to be usable to control . . . the

operational functions of the target device when subsequently provisioned to the controlling device”

(the first code set is predetermined to be likely to control the target device TV 114 because it was

predetermined based on the user’s selection of the type, brand, and model of the TV to be

controlled) “in response to a type and brand of target device” (TV 114) “identified via the use of

the plurality of setup procedure steps” (the steps identified in Fig. 16-18 where the user identifies

type, brand, and model of the TV). JX-0374 (Lee) at Figs. 16-19, 17:36-39, 18:5-14, 18:16- 30,

18:33-36, 18:36-43, 18:44-46, 18:63-19:50, and 19:51-20:16; Tr. (Balakrishnan) 704:4-705:5;




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RDX-0004C.46-48. The command code is “subsequently provisioned to the controlling device”

when a code set on the remote is activated (see JX-0374 (Lee) at 18:44-46), or when the code set

is sent from the controlled device (STB 122) to the remote (see JX-0374 (Lee) at 20:17-21:11, Fig.

20; see also Tr. (Balakrishnan) 705:6-706:23).

        UEI disputes that Lee teaches element 1(g) based on its proposed claim construction. CIB

at 113. Specifically, UEI argues that only testing can predetermine whether a code set is likely to

be usable, and identifying type, brand, and model “is not sufficient.” Id. As noted above, this

construction was not adopted. And Lee recites the use of at least device type and brand for

selecting a code set, where the displayed code set “corresponds to the . . . electronic consumer

device that the consumer has selected.” JX-0374 (Lee) at 19:21-22.

        Thus, Lee discloses all limitations of claim 1 of the 317 patent, and claim 1 is anticipated.

                        (ii)      Claim 3 – “The controlled device as recited in claim 1, wherein
                                  the at least one command code set comprises an infrared
                                  command code set”

        Lee discloses that the signal for controlling the target device is transmitted at infrared

frequencies: “An IR photodetector 136 on television 114 receives operational signal 135 . . . to

operate television 114.” JX-0374 (Lee) at 17:2-7; Tr. (Balakrishnan) 709:9-20; RDX-0004C.50.

UEI does not dispute that Lee discloses the additional limitation of claim 3. See CIB at 113 (UEI

states that since Lee “does not teach all of the limitations of Claim 1, it similarly does not anticipate

any of Claims 3, 6, 9, or 11”).

                        (iii)     Claim 6 – “The controlled device as recited in claim 1, wherein
                                  the instructions cause the controlled device to exit the plurality
                                  of setup procedure steps in response to a predetermined
                                  communication being received via use of the receiver from the
                                  controlling device”

        Lee discloses a “predetermined communication” (a second press of the “setup” key) that

causes “the controlled device” (e.g., set-top box 122) “to exit the plurality of setup procedure steps”




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(leave the configuration mode and return to the operational mode). JX-0374 (Lee) at 18:44-51 and

19:28-29; Tr. (Balakrishnan) at 709:21-710:10; RDX-0004C.51.

                      (iv)    Claim 9 – “The controlled device as recited in claim 1, wherein
                              the instructional information being displayed by the display
                              device comprises a series of displayed navigable menus”

       Lee discloses “instructional information being displayed” (“highlight device type,” and

lists of device types, brands, and models, as shown in Figs. 16-18) that “comprises a series of

navigable menus” (the user navigates through the menus shown in Figs. 16-18 using arrow keys

44 in Fig. 15). JX-0374 (Lee) at Figs. 16-19, 18:5-14, 18:16-30, and 18:33-36; Tr. (Balakrishnan)

at 711:22-712:7; RDX-0004C.53.

                      b.      TiVo Series 2 DVRs, including SVR-3000

       As a preliminary matter, UEI argues that Roku relies on multiple items of prior art as a

single anticipatory reference, which is inappropriate. CIB at 114. Specifically, UEI asserts that

Roku relies on both the SVR-2000 and SVR-3000 as a single reference. See id. Roku clarifies

that its anticipation case is based on the sale of the SVR-3000 (and, presumably, its public use)

more than a year before the 317 patent’s priority date as the anticipatory reference, and “the

publications, along with the testimony of a witness with first-hand knowledge (former TiVo

employee Margret Schmidt),” to describe the SVR-3000 product. RRB at 53. This is appropriate.

See Sonoscan, Inc. v. Sonoter, Inc., 936 F.2d 1261, 1263 (Fed. Cir. 1991) (multiple references can

be used to prove an on-sale bar); IP Innovation L.L.C. v. Red Hat, Inc., No. 2:07–cv–447, 2010

WL 9501469 at *4 (E.D. Tex. Oct. 13, 2010) (“This court sees no error in using multiple references

to describe a single prior art system for the purpose of showing anticipation”). And if proven to

anticipate the asserted claims of the 317 patent, the SVR-3000 would render them invalid under

pre-AIA 35 U.S.C. § 102(a) because it was “known or used by others in this country” before the

317 patent’s priority date, and under pre-AIA 35 U.S.C. § 102(b) because it was on sale and in




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public use more than one year before the 317 patent’s priority date. See Tr. (Schmidt) at 642:20-

24 (the SVR-3000 was a Sony/TiVo product).

       Also, although the SVR-2000 reference, which is almost identical to the SVR-3000

reference, was listed in an Information Disclosure Statement during prosecution, there is no

evidence it was explicitly considered. See CX-0152 at UEI-ITC_0488589. So the weight of the

SVR-3000 as a prior art reference is unaffected. See Sciele Pharma Inc. v. Lupin Ltd., 684 F.3d

1253, 1260 (Fed. Cir. 2012) (“it could be reasonable to give more weight to new arguments or

references that were not explicitly considered by the PTO”).

       Roku describes the steps to set up an SVR-3000:

               Once the user sees the “Welcome to TiVo!” screen, the user can set up and
       activate the TiVo Service. See RX-0223 (Sony SVR-3000 Installation Guide) at 34;
       see also Tr. (Balakrishnan) 715:18-25.

               Next, the user can set up the remote control to control the power, muting,
       and volume of a target device (e.g., a TV) by using the “Remote Control Setup”
       option on the Messages & Setup screen. See RX-0223 (Sony SVR-3000 Installation
       Guide) at 41; Tr. (Balakrishnan) 715:23-716:3; RDX-0004C.57. The user can also
       use the same screen to set up the remote control to control a connected A/V stereo
       system. The process for setting up the remote control uses interactive instructions
       through a series of displayed navigable menus/prompts. For example, after the user
       chooses “Messages & Setup,” the user then selects “SVR Remote Setup.” RX-0223
       (SVR-3000 Installation Guide) at 41. Then, the user can choose either “SVR
       Remote – TV” or “SVR Remote – A/V Stereo System” to setup the remote to
       control either type of device. See RX-0223 at 41; Tr. (Balakrishnan) 715:23-716:4;
       RDX-0004C.57.




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      RX-0223 (Sony SVR-3000 Installation Guide) at 41; see also RDX-
0004C.57.

       Assuming the user chooses to set up the remote to control the TV, next, the
user can use the CH (Channel) +/– buttons to scroll down the list of TV brands page
by page, or use the arrow buttons to scroll down line by line, to choose the TV
brand from the list, and press SELECT. See RX-0223 at 41; Tr. (Balakrishnan)
716:4-13; RDX-0004C.58.




       When the user selects the TV brand, he/she will see a screen with one or
more four-digit codes for controlling the TV. See RX-0223 at 42; Tr.
(Balakrishnan) 716:14-19; RDX-0004C.59.




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             RX-0223 (Sony SVR-3000 Installation Guide) at 42; see also RDX-
       0004C.59.

                The user is instructed by the on-screen instructions to press the power and
       TiVo buttons on the remote for five seconds. The user is then instructed to use the
       number keys on the remote control to enter the four-digit code the user wants to
       test. See RX-0223 at 42; see also Tr. (Balakrishnan) 716:20-717:1; Tr. (Schmidt)
       649:3-15; RDX-0004C.59. The user is then instructed to test the code by pointing
       the remote control in the direction of the TV and pressing the TV POWER button.
       If this turns the TV off, the user has found the correct code. Now the user can use
       the remote control to turn the TV on and off, control volume, and mute the sound.
       Id. If the TV does not turn off, then the user is instructed to “try the next code.” See
       RX-0223 at 42; Tr. (Balakrishnan) 716:20-717:1; Tr. (Schmidt) 649:16-650:6;
       RDX-0004C.59.
                Additionally, the user can receive software updates and upgrades for the
       TiVo service regularly and automatically. See RX-0595 (TiVo Viewer’s Guide) at
       iv, 75, 103, and 105; see also Tr. (Schmidt) 652:1-653:24.

RIB at 93-95.

       The teachings of SVR-3000 with respect to the claims follow, using the same claim

limitations and designations previously used.

                      (i)     Claim 1

                              (a)     Limitation 1(preamble) – “A Controlled Device”

       The SVR-3000 is “a controlled device.” See RX-0223 (Sony SVR-3000 Installation

Guide) at 8; Tr. (Balakrishnan) at 717:6-15; RDX-0004C.60.




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                            (b)     Limitation 1(a) – “a receiver for receiving
                                    communications from a remotely located controlling
                                    device”

       The SVR-3000 “[r]eceives control signals from your Remote Control,” via a “remote

control signal reception window.” RX-0223 (Sony SVR-3000 Installation Guide) at 9; Tr.

(Balakrishnan) at 717:16-718:5; RDX-0004C.61.

                            (c)     Limitation 1(b) – “a transmitter for transmitting
                                    communications to a display device coupled to the
                                    controlled device”

       The SVR-3000 has “a transmitter” (which includes audio-video output jacks and video

driver) “for transmitting communications to a display device” (a television) “coupled to the

controlled device” (SVR-3000). RX-0223 (Sony SVR-3000 Installation Guide) at 10; RX-0222C

(SVR-3000 Service Manual) at 11; Tr. (Balakrishnan) at 718:6-719:8; RDX-0004C.62-63.

                            (d)     Limitation 1(c) – “a processing device coupled to the
                                    receiver and the transmitter”

       The SVR-3000 has “a processing device” (MIPS CPU) “coupled to the receiver” (Remote

Control Signal Reception Window) “and the transmitter” (including audio-video output jacks and

video driver). RX-0222C (Sony SVR-3000 Service Manual) at 11, 18; RDX-0004C.65; see also

Tr. (Balakrishnan) at 719:9-720:5 (this limitation is inherent in RX-0223 (Sony SVR-3000

Installation Guide)).

                            (e)     Limitation 1(d) – “a memory storing executable
                                    instructions, wherein the instructions, when executed by
                                    the processing device, cause the controlled device to”

       The SVR-3000 has multiple memories, including the system memory, that store executable

instructions. See RX 0222C (Sony SVR-3000 Service Manual) at 11, 20; RDX-0004C.66; see

also Tr. (Balakrishnan) at 720:6-721:2 (this limitation is inherent in RX-0223 (Sony SVR-3000

Installation Guide)).




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                               (f)     Limitation 1(e) – “automatically progress through a
                                       plurality of setup procedure steps in response to each of
                                       a plurality of communications received via use of the
                                       receiver from the controlling device”

       The SVR-3000 “automatically progress[es] through a plurality of setup procedure steps”

(the “SVR Remote Setup,” “Television Brand, and “Codes for [Brand]” setup steps) “in response

to each of a plurality of communications received . . . from the controlling device” (the remote

transmits a signal to the SVR-3000 when the user makes a selection, which automatically causes

the device to go to the next step) “via use of the receiver” (remote control signal reception

window). RX-0223 (Sony SVR-3000 Installation Guide) at 9, 41-42; Tr. (Balakrishnan) at 717:22,

721:3-16; RDX-0004C.67-69.

       UEI does not expressly dispute the presence of limitations 1(preamble) through 1(d) in the

SVR-3000, but does dispute the presence of limitation 1(e). See CIB at 114. UEI first argues that

prompts to the user do not qualify as “setup procedure steps,” an argument that, as explained, is

inconsistent with the proper claim construction. See id. at 114-15. UEI also argues that once the

type and brand of device is identified, and a list of codes is displayed, the display screen is static

and therefore does not “automatically progress.” See id. at 115. This is beside the point, though,

because the SVR-3000 “automatically progress[es] through a plurality of setup procedure steps”

earlier in the setup process. See RX-0223 (Sony SVR-3000 Installation Guide) at 41 (describing

the user prompts displayed at each step). Therefore, the SVR-3000 discloses limitation 1(e).

                               (g)     Limitation 1(f) – “transmit to the display device via use
                                       of the transmitter communications to cause the display
                                       device to display instructional information to a user
                                       while progressing through the plurality of setup
                                       procedure steps”

       SVR-3000 “transmits to the display device . . . communications” (from the SVR-3000 to

the TV display) “via use of the transmitter” (audio-video output jacks and video driver) “to cause




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the display device to display instructional information to a user” (the “SVR Remote Setup,”

“Television Brand,” and “Codes for [Brand]” screens) “while progressing through the plurality of

setup procedure steps” (each instructional information screen displayed corresponds to a setup

procedure step). RX-0223 (Sony SVR-3000 Installation Guide) at 41; Tr. (Balakrishnan) at

718:12-25, 723:7-19; RDX-0004C.70.

       UEI disputes the presence of limitation 1(f) in the SVR-3000 because the prompts the SVR-

3000 causes to be displayed do not qualify as “instructional information.” CIB at 115. Again, this

argument is inconsistent with the proper construction of that claim element. Therefore, the SVR-

3000 limitation 1(e).

                              (h)     Limitation 1(g) – “in response to at least a type and
                                      brand of a target device to be controlled via use of the
                                      controlling device being identified via use of the plurality
                                      of setup procedure steps, select at least one command
                                      code set which has been predetermined to be likely to be
                                      usable by the controlling device to control operational
                                      functions of the target device when subsequently
                                      provisioned to the controlling device”

       The SVR-3000 “select[s] at least one command code set” (a user identifying a type and

brand causes the SVR-3000 to select and then display one or more four-digit codes on the “Codes

for [Brand]” screen) “which has been predetermined to be likely to be usable by the controlling

device to control operational functions of the target device” (the setup steps identify the type and

brand of the TV to find one or more codes that are likely to work to operate the TV) “in response

to at least a type and brand of a target device to be controlled via use of the controlling device

being identified via the setup procedure steps” (the “SVR Remote Setup,” “Television Brand, and

“Codes for [Brand]” setup steps) “when subsequently provisioned to the controlling device” (by

activating the selected command code set in the remote). RX-0223 (Sony SVR-3000 Installation

Guide) at 41-42; Tr. (Balakrishnan) at 724:17-726:1; RDX-0004C.72-75.




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       UEI disputes that this limitation is taught. First, it argues that the SVR-3000 does not select

a command code that is predetermined to be likely to “work on the target device.” CIB at 116.

UEI bases this argument on an incorrect claim construction, though, as discussed above. Second,

it argues that the SVR-3000 discloses “fully provisioning the code set before” the displayed codes

are tested, that is, the SVR-3000’s operation is “backward” because “you must first provision and

thereafter test each code manually.” Id. (emphasis omitted). This argument, too, is inconsistent

with the proper claim construction, which is that “predetermined” means, in essence, selected

before any testing by the user. And UEI does not dispute that the SVR-3000 selects codes from

the universe of all possible codes based on the type and brand of target device, and before any such

codes are either input to the remote control or tested. See CIB at 116, 121.

       Thus, the SVR-3000 possesses all limitations of claim 1 of the 317 patent, and claim 1 is

anticipated.

                       (ii)    Claim 3 – “The controlled device as recited in claim 1, wherein
                               the at least one command code set comprises an infrared
                               command code set”

       The SVR-3000 discloses “at least one command code set” that “comprises an infrared

command code set.” The remote control is set up to control the target device (e.g., a television)

via infrared commands. Tr. (Schmidt) at 651:19-25. The SVR-3000 Installation Guide refers to

the “IR Emitter” on the remote that can control the TV, which shows that the remote uses IR

command codes. RX-0223 (Sony SVR-3000 Installation Guide) at 42-43; Tr. (Balakrishnan) at

728:2-11; RDX-0004C.76. UEI does not expressly dispute that the SVR-3000 discloses the

additional limitations in dependent claims 3, 6, 9, or 11. CIB at 116.

                       (iii)   Claim 6 – “The controlled device as recited in claim 1, wherein
                               the instructions cause the controlled device to exit the plurality
                               of setup procedure steps in response to a predetermined
                               communication being received via use of the receiver from the
                               controlling device”




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       The SVR-3000 discloses that, “[t]he controlled device . . . exit[s] the plurality of setup

procedure steps in response to a predetermined communication . . . from the controlling device”

(pressing the TiVo button on the remote control causes the SVR-3000 to go back to the main

menu). RX-0223 at 11-12; Tr. (Schmidt) at 650:1-11; Tr. (Balakrishnan) at 728:12-729:2; RDX-

0004C.77.

                      (iv)   Claim 9 – “The controlled device as recited in claim 1, wherein
                             the instructional information being displayed by the display
                             device comprises a series of displayed navigable menus”

       The SVR-3000 causes the “display device” (TV) to display “instructional information”

(display screens asking the user to select the type and brand of device and then displaying codes

corresponding to the type and brand) that “comprises a series of displayed navigable menus” (the

user navigates through a list of types and brands by scrolling via the remote control). RX 0223

(Sony SVR-3000 Installation Guide) at 41-42; Tr. (Balakrishnan) at 729:3-18; RDX-0004C.78.

                      (v)    Claim 11 – “The controlled device as recited in claim 1, wherein
                             the controlled device comprises a transceiver coupled to the
                             processing device for receiving the executable instructions from
                             a remote server for storage in the memory”

       The SVR-3000 has “a transceiver coupled to the processing device” (modem and/or

transceiver coupled to MIPS CPU). See RX-0222C (Sony SVR-3000 Service Manual) at 11 and

accompanying text. The transceiver “receiv[es] the executable instructions from a remote server”

(SVR-3000 provides automatic software updates (“executable instructions”) from a remote server)

“for storage in the memory” (SVR-3000 has multiple memories, including the system memory, as

disclosed in its Service Manual, that store executable instructions). See RX-0595 (TiVo Viewer’s

Guide) at vi, 75, 103, and 105; RX-0222C (SVR-3000 Service Manual) at 11, 20; Tr. (Schmidt) at

652:1-654:2; Tr. (Balakrishnan) at 729:19-731:11; RDX-0004C.79-80.




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       Accordingly, Roku has shown anticipation of asserted claims 3, 6, and 9 by Lee by clear

and convincing evidence, and has shown anticipation of asserted claims 3, 6, 9, and 11 by the

SVR-3000 by clear and convincing evidence.

                      Obviousness Under 25 U.S.C. § 103

       Roku contends that various combinations of references render various claims invalid as

obvious, but some of Roku’s arguments presuppose that its asserted claim construction is not

adopted. See generally CIB at 100-09. Because that proposed claim construction was adopted,

and UEI’s was not, many of Roku’s arguments are not well-taken, and it has accordingly not

carried its burden. Nonetheless, anticipation is the “epitome of obviousness,” so all the asserted

claims of the 317 patent are necessarily obvious in view of Lee and the SVR-3000. In re Kalm,

378 F.2d 959, 962 (C.C.P.A. 1967).

       In light of these observations, the obviousness analysis is fairly straightforward. Lee

renders obvious (because of anticipation) claims 3, 6, and 9, so Roku has demonstrated the

obviousness of these claims in light of Lee in combination with any other reference. Similarly,

the SVR-3000 renders obvious (because of anticipation) claims 3, 6, 9, and 11, so Roku has

demonstrated the obviousness of these claims in light of the SVR-3000 in combination with any

other reference. Roku’s asserted combinations of (1) Lee and the SVR-3000 or Arsenault and

optionally in light of O’Donnell, and (2) Lee and O’Donnell are predicated on the rejected claim

construction that “setup procedure steps” requires testing. See RIB at 100, 105. So Roku has not

demonstrated the obviousness of any claim based on those two combinations of references.

       The only combination of references remaining is Lee and Arsenault as it applies to claim

11. See RIB at 104-05. Arsenault teaches a method and apparatus for updating set-top box

software from a resident software version stored in a memory of the set-top box to the most current

software via a satellite link. RX-0219 (Arsenault) at 2:12-14. Specifically, in Fig. 5, Arsenault




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discloses a “transceiver” (tuner/demodulator 504) “coupled to the processing device”

(microcontroller 510) and “memory” (RAM memory 550 and flash memory 552) and in the

associated textual description. RX-0219 (Arsenault) at Fig. 5 and 9:26-12:36; Tr. (Balakrishnan)

at 743:5-744:17; RDX-0004C.90, .92.          Arsenault further discloses “receiving executable

instructions from a remote server”: “The method comprises the step of automatically checking to

determine if the resident software version is the current software version, and downloading data

comprising at least a portion of the current software version if the resident software version is not

the current software version.”       RX-0219 (Arsenault) at Abstract, 2:10-27, Fig. 6; Tr.

(Balakrishnan) at 743:5-744:17; RDX-0004C.91.

       As discussed, Lee teaches all the elements of claim 11 except the “transceiver . . . for

receiving the executable instructions.” And Arsenault teaches that element, so the scope and

content of the prior art contain all the features of claim 11, and the differences between claim 11

and the prior art are small (because Lee comes close to anticipating that claim). Roku’s expert

opined that Arsenault is in the same field of endeavor as the 317 patent, namely, set-top boxes, it

is reasonably pertinent to the problems solved by the 317 patent, because it deals with automatic

updates of remote controls, and a skilled artisan would have been motivated to combine

Arsenault’s transceiver-related teaching with the 317 patent, because “there’s certainly a

motivation there to keep things updated.” Tr. (Balakrishnan) at 742:15-743:4, 744:18-745:2.

       UEI points to no testimony from its expert, Dr. Rosenberg, regarding Arsenault. See CIB

at 120; CRB at 58; see generally Tr. (Rosenberg) at 1218-1308. UEI instead presents only an

argument that Arsenault pertains to a different subject matter, “updating software on a set-top box

over a satellite link,” and that a skilled artisan would not be motivated to combine Arsenault’s

teaching with Lee. See CIB at 120.




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       I do not agree. Arsenault is related to using and programming set-top boxes. See RX-0219

(Arsenault) at Abstract. Moreover, the combination on which Roku relies is Lee and the teaching

by Arsenault to update a set-top box’s software, and that reference is not limited to just

transmission via satellite. See, e.g., RX-0219 (Arsenault) at 1:18-22 (the invention relates to “a

system and method for automatically updating software”); id. at 1:30-33 (“One product which

particularly benefits from the ability to upgrade software are set top boxes (STBs) . . . used in cable

or satellite television reception”). And the only evidence pertaining to motivation to combine

came from Dr. Balakrishnan, who opined that there was such a motivation. Thus, the knowledge

of one skilled in the art weighs in favor of obviousness.

       As for secondary indicia of non-obviousness, although there is considerable evidence of

such indicia for the QuickSet products, and Dr. Rosenberg opined that such indicia exist relative

to the 196 patent, UEI offers no evidence providing a nexus between any secondary indicia and

the 317 patent. See CIB at 76-78; Tr. (Rosenberg) at 1246:24-1247:2. In particular, Mr. Barnett’s

description of QuickSet’s operation does not closely resemble claim 1 of the 317 patent, because

it lacks the “automatically progress” and “transmit to the display device” elements. See generally

Tr. (Barnett) at 55-59. Overall, the scope and content of the prior art, the knowledge of one skilled

in the art, and the differences between the claimed invention and the prior art all weigh in favor of

obviousness, and there are no countervailing secondary considerations of non-obviousness.

Therefore, claim 11 is obvious in view of Lee in combination with Arsenault.

       Accordingly, in view of the Graham factors Roku has shown asserted claims 3, 6, 9, and

11 of the 317 patent to be obvious in light of Lee, the SVR-3000, and the combination of Lee and

Arsenault. Roku has otherwise not shown the claims to be obvious.

                       35 U.S.C. § 101

                       a.      Legal Standard




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        35 U.S.C. § 101 provides that “[w]hoever invents or discovers any new and useful process,

machine, manufacture, or composition of matter, or any new and useful improvement thereof, may

obtain a patent therefor, . . .” In defining exactly what is patentable subject matter, the Supreme

Court has held that abstract ideas form the “basic tools of scientific and technological work” and

are therefore unpatentable subject matter under 35 U.S.C. § 101. Alice Corp. v. CLS Bank Int’l,

573 U.S. 208, 216 (2014). The Supreme Court provided a two-part test for assessing patent

eligibility under Section 101. First, a court must determine whether the claims are directed to a

patent-ineligible concept. Id. at 217. If not, the inventions are patent-eligible, and the inquiry

ends. Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1339 (Fed. Cir. 2016). If the claims are

directed to a patent-ineligible concept, the court must then “consider the elements of each claim

both individually and as an ordered combination to determine whether the additional elements

transform the nature of the claim into a patent eligible application.” Alice, 573 U.S. at 217-218.

Claims are patent-eligible under step two if they contain limitations that “involve more than

performance of well-understood, routine, and conventional activities previously known to the

industry.” Berkheimer v. HP Inc., 881 F.3d 1360, 1367 (Fed. Cir. 2018).

        At step one, courts examine the claims to determine whether their “character as a whole,”

or their “focus,” is an abstract idea. Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353

(Fed. Cir. 2016). Claims focused “on collecting information, analyzing it, and displaying certain

results of the collection and analysis, . . . fall into a familiar class of claims ‘directed to’ a patent-

ineligible concept.” Id. The key inquiry is whether the claims recite “‘a specific means or method

that improves the relevant technology’ or are ‘directed to a result or effect that itself is the abstract

idea and merely invoke generic processes and machinery.’” Apple, Inc. v. Ameranth, Inc., 842

F.3d 1229, 1241 (Fed. Cir. 2016). Furthermore, “mere automation of manual processes using




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generic computers does not constitute a patentable improvement in computer technology.” Credit

Acceptance Corp. v. Westlake Services, 859 F.3d 1044, 1055 (Fed. Cir. 2017); FairWarning IP,

LLC v. Iatric Sys., 839 F.3d 1089, 1095 (Fed. Cir. 2016). By contrast, a claim that recites a specific

technique that “improve[s] the functioning of the computer itself” may be patent eligible if

appropriately claimed. Enfish, 822 F.3d at 1335.

       If the claims at issue are directed to a patent-ineligible concept, step two requires that the

claim elements be scrutinized “both individually and ‘as an ordered combination’ to determine

whether the additional elements ‘transform the nature of the claim’ into a patent-eligible

application.” Enfish, 822 F.3d at 1354 (quoting Alice, 573 U.S. at 217). What is required to

establish eligibility, under both steps one and two, is an element of technological innovation that

amounts to more than the abstract idea itself. “[I]t is ‘relevant to ask whether the claims are

directed to an improvement in computer functionality versus being directed to an abstract idea,

even at the first step of the Alice analysis.”’ Procter & Gamble Co. v. QuantifiCare Inc., 288 F.

Supp. 3d 1002, 1022 (N.D. Cal. 2017) (quoting Enfish, 822 F.3d at 1335). A patentee may be

required to present “an arguably inventive set of components or methods, such as measurement

devices or techniques, that would generate new data.” Electric Power, 830 F.3d at 1355.

                       b.      Step One

       On July 22, 2020, Respondents moved for summary determination that the asserted claims

of the 317 patent and related U.S. Patent No. 7,969,514 (which was later withdrawn from the

investigation) are invalid for claiming patent ineligible subject matter under 35 U.S.C. § 101.

Summary determination was denied, although the claims of the 317 patent were found to recite the

abstract idea of automating the set-up of a remote controller to enable it to control a plurality of

devices by “using conventional electronic components that substitute for a user’s” having to

manually look up setup codes and enter instructions into the remote controller. See Order No. 21




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at 8 (Sept. 14, 2020), citing Certain Road Construction Machines and Components Thereof, 337-

TA-1088, Initial Determination at 7 (May 24, 2018), aff'd, Comm’n Op. (July 15, 2019) (public

version). Specifically, claim 1 of the 317 patent recites “a controlled device, i.e., a set top box,

that has a receiver and a transmitter for communicating with a remote controller, as well as a

memory in which executable instructions for the remote controller are stored, where the claimed

device performs” essentially the steps of (a) providing programming on a device for displaying

instructions in response to input from a user, (b) the user providing an input on the remote control

indicating that the user wants to set up the remote control, (c) accessing data (e.g., the appliance

code number) associated with the device to be controlled, and (d) displaying the data (e.g., the

appliance code number) to the user. Order No. 21 at 9. Because they were “virtually on all fours

with Certain Road Construction Machines,” the claims of the 317 patent were found to be directed

to an abstract idea under Alice step one. Id.

       UEI now argues that “the evidence showed that the claims cover only never-before-known

functionality to progress not only through interactive steps, but doing so in a manner that requires

automatic testing of certain functionality to ensure a correct codeset is predetermined to work on

the actual target device.” CIB at 126. As discussed above, however, the properly construed claims

of the 317 patent do not recite testing to ensure a correct code set is predetermined to work on the

actual target device. Instead the inventions recited in claims 3, 6, 9, and 11 select a “likely”

command code set by choosing a type and brand of target device, thereby narrowing the number

of possible code sets. Except for the fact that they rely on conventional electronic hardware

(receiver, transmitter, and the like), the claims recite processes that could be performed by a human

being with a look-up table.

       Therefore, the asserted claims of the 317 patent are directed to an abstract idea under step




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one of Alice.

                       c.      Step Two

       UEI argues with respect to Alice step two is that “each of the asserted claims of the 317

patent contains inventive concepts, including in its ordered combinations, that confirm that each

is directed to patent-eligible subject matter.” CIB at 128-29. But UEI’s only substantive point is

that the “claims require automatically progressing through multiple procedure setup steps so as to

predetermine that a codeset will work with the specific target device prior to provisioning.” Id.

Again, the asserted claims do not recite testing for predetermination of code sets for a particular

target device, and thus, this argument fails.

       Nor is the relevant evidentiary record much more developed than it was at the summary

determination stage. In finding a genuine issue of material fact, I noted that consideration of the

prosecution history and of the prior art might be helpful. See Order No. 21 at 12-13. The parties

do not rely on the prosecution history, however, and at best the prior art simply establishes that the

individual elements of the claims were “well-understood, routine, [and] conventional.” Yu v. Apple

Inc., No. 20-1760 (Fed. Cir. June 11, 2021) (slip op.) at 9; see CIB at 128-29; RIB at 111-20.

Certainly the claims are all anticipated by the SVR-3000, and Roku unsurprisingly cites to that

reference extensively. See RIB at 111-20. But eligibility and novelty are distinct inquiries, so the

fact that the claims lack novelty under Section 102 does little to resolve eligibility under Section

101. See Yu, slip op. at 9 (“even if claim 1 recites novel subject matter, that fact is insufficient by

itself to confer eligibility”). I also noted that expert evidence might be helpful (Order No. 21 at

12), but Dr. Rosenberg’s testimony on the topic is conclusory and presupposes (incorrectly) that

the claims were construed to cover testing to predetermine that a code set will work with the

specific target device (see Tr. (Rosenberg) at 1273:21-1274:23).




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       Dr. Balakrishnan, by contrast, provides extensive testimony, and when combined with the

relevant legal precedent it is clear that the claims are ineligible under step two of Alice. As one

example, Dr. Balakrishnan testified that “walking a user through a predetermined set of steps with

instructions and asking the user to pick options, these are standard user interface techniques that

were described in textbooks.” Tr. (Balakrishnan) at 753:13-16. As another example, he testified

that in 2005 there were “many, many devices that will display information onto a connected display

or television, and it would send instruction information as you’re stepping through whatever setup

procedure that was being stepped through.” Id. at 762:25-763:4.

       And as with Alice step one, the analysis under Alice step two is virtually the same as in

Certain Road Construction Machines. This is readily illustrated by excerpting the operative

language of the Commission’s Opinion in that case and substituting the relevant components and

operations from claim 1 of the 317 patent:

       [T]he [317 patent] recites the use of standard electronic components to improve the
       functionality of a [controlled device], and the patent discloses no innovative system
       for implementing the invention. Claim 1 describes and claims a generic [controlled
       device] that functions in a conventional way to collect, manipulate, and
       communicate data for [setting up a controlling device to control operational
       functions of the target device] using the [selected] setting data.

Certain Road Construction Machines, Comm’n Op. at 15-16; JX-0004 (317 patent) at cl. 1. As

the United States Court of Appeals for the Federal Circuit put it in Yu, “[t]he claimed hardware

configuration itself is not an advance . . . and does not add sufficient substance to the underlying

abstract idea . . . [and instead] the generic hardware limitations of claim 1 merely serve as ‘a

conduit for the abstract idea.’” Yu, slip op. at 10 (emphasis and citation omitted).

       Likewise, the asserted dependent claims do not recite an inventive concept. Claim 3, which

recites that the command code set is an infrared code set, presents no inventive concept because

infrared command code sets are part of the “technological environment of a universal remote




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control system.” RIB at 120, citing JX-0004 (317 patent) at 4:22-26. Dependent claim 6 requires

that a “predetermined communication” from the remote control “cause[s] the controlled device to

exit the plurality of setup procedure steps.” JX-0004 (317 patent) at cl. 6. This feature was a well-

understood, routine, and conventional behavior of controlled devices since at least the early 1980s.

See Tr. (Balakrishnan) at 764:24-765:15, 766:9-15; RDX-0004C.111. Dependent claim 9 requires

that the instructional information comprises a series of navigable menus. JX-0004 (317 patent) at

cl. 9. This claim does not recite any particular improved mechanism for such a display. See

Ameranth, 842 F.3d at 1241-43 (claims directed to generating menus on a computer, generating,

and modifying a second menu from a first menu and sending the second menu to another location

for user selection did not contain an inventive concept). And the use of navigable menus on

controlled devices was well-understood prior to September 8, 2005. See Tr. (Balakrishnan) at

729:3-18, 766:16-767:11; RDX-0004C.78, RDX-0004C.112; RX-0230 (The Essential Guide to

User Interface Designs) at 249-254, 256, 271, 554, 562-564, 566-568; RX-0229 (Microsoft

Windows User Experience) at 139, 141, 143, 371, 381, 383-384, 390, 391, 396, 399-408; RX-

0223 (Sony SVR-3000 Installation Guide) at 41-42; RX-0221 (Sony SVR-2000 Setup Guide) at

41, 51-52. Dependent claim 11 requires that the “executable instructions are received from a

remote server for storage in memory.” JX-0004 (317 patent) at cl. 11. This claim fails to recite

any specific technological improvement for how the receiving from a remote source is

accomplished. See Two-Way Media Ltd. v. Comcast Cable Comms., LLC, 874 F.3d 1329, 1337-

38 (Fed. Cir. 2017) (claims must focus on how a result is achieved in a non-abstract way instead

of merely reciting “result-based functional language.”). Roku presented evidence that controlled

devices receiving software updates from a remote source was well understood prior to September

8, 2005. See RIB at 122. For example, the Sony/TiVo SVR-2000 and SVR-3000 products




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received and stored automatic software updates from a remote source. RX-0595 (TiVo Viewer’s

Guide) at 75, 103, 105; RX-0222C (SVR-3000 Service Manual) at 11, 20; RX-0221 (Sony SVR-

2000 Setup Guide) at 10, 44, 50.

       Accordingly, on balance the asserted claims of the 317 patent are not patent eligible under

35 U.S.C. § 101.

       U.S. PATENT NO. 10,593,196

               Level of Ordinary Skill in the Art

       Unlike the 642 and 317 patents, no claims of the 196 patent have yet been construed, nor

has the level of ordinary skill in that patent’s art been established. See generally Order No. 24.

UEI asserts that a skilled artisan:

       would have had a bachelor’s degree that involved software design and development
       coursework, for example, electrical engineering, computer engineering, computer
       science, cognitive science, industrial engineering, information systems,
       information studies, or a similar degree, and at least one year of work experience
       in software programming, development, or design of consumer applications as of
       October 28, 2011, the priority date of the 196 Patent. Additional education might
       substitute for some of the experience, and substantial experience might substitute
       for some of the educational background.

CIB at 30. Roku submits that a skilled artisan would have had a bachelor’s degree in electrical

engineering or equivalent degree with two years of work experience relating to communications

and consumer electronics. RIB at 29-30. Roku further states that UEI’s proposal to include a

broad range of fields, such as cognitive science, would not change any substantive analysis if

adopted. RIB at 30.

       Dr. Rosenberg offered no explicit opinion on the level of ordinary skill, although he did

summarize the subject matter of the 196 patent as “using data to decide whether to control a target

device via HDMI or to configure a remote control.”          Tr. (Rosenberg) at 104:12-19.      Dr.

Rosenberg’s summary is consistent with the longest, and presumably most significant, element of




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claim 1 of the 196 patent, an element which involves electronic communication, data processing,

and software development and implementation. See JX-0005 (196 patent) at cl. 1. Roku’s expert,

Dr. Russ, provided a conclusory opinion on the level of ordinary skill, but he did opine that that

level would be the same for both the 196 and 642 patents. See Tr. (Russ) at 825:10-18. Dr. Russ’

opinion is not entirely on point, however, because the focus of the 642 patent, or at least asserted

claim 19, is on hardware, whereas the focus of the 196 patent is on a combination of hardware and

software. See JX-0002 (642 patent) at cl. 19. In fact, the 196 patent is seemingly closer in subject

matter to the 317 patent than to the 642 patent.

       On balance, while a bachelor’s degree in electrical engineering and sufficient work

experience would suffice to qualify as a skilled artisan in the field of the 196 patent, a more

appropriate education would include at least some training in software and electronic

communication, such as that available in computer engineering or computer science with a

specialty in human-computer interaction. See Tr. (Balakrishnan) at 673:12-22 (describing the field

of human-computer interaction). Therefore, a person having ordinary skill in the art of the 196

patent would have a bachelor’s degree in electrical engineering, computer engineering, computer

science, or equivalent degree, with two years of work experience relating to communications,

consumer electronics, or human-computer interaction, and with additional experience substituting

for education, and vice versa.

               Claims-at-Issue

       Claims 1, 3, 11, 13, 14, and 15 are asserted against Roku. UEI also submits that the

Samsung DI Products practice claims 1 and 2 of the 196 patent. CIB at 29. These claims are

reproduced below:

       1. A first media device, comprising:
       a processing device;




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a high-definition multimedia interface communications port, coupled to the processing
       device, for communicatively connecting the first media device to a second media
       device;
a transmitter, coupled to the processing device, for communicatively coupling the first
       media device to a remote control device; and
a memory device, coupled to the processing device, having stored thereon processor
       executable instruction;
wherein the instructions, when executed by the processing device, cause the first media
       device to be configured to transmit a first command directly to the second media
       device, via use of the high-definition multimedia communications port, to control
       an operational function of the second media device when a first data provided to
       the first media device indicates that the second media device when the first data
       provided to the first media device indicates that the second media device will be
       responsive to the first command, and cause the first media device to be configured
       to transmit a second data to a remote control device, via use of the transmitter, for
       use in configuring the remote control device to transmit a second command directly
       to the second media device, via use of a communicative connection between the
       remote control device and the second media device, to control the operational
       function of the second media device when the first data provided to the first media
       device indicates that the second media device will be unresponsive to the first
       command.

2.     The first media device as recited in claim 1, wherein the second media device
       comprises a media source device for the first media device acting as a media sink
       device and wherein the first media device receives media data from the media
       source device via use of the high-definition multimedia interface communications
       port.

3.     The first media device as recited in claim 1, wherein the second media device
       comprises a media sink device for the first media device acting as a media source
       device and wherein the first media device transmits media data to the media sink
       device via use of the high-definition multimedia interface communications port.

11.    The first media device as recited in claim 1 wherein transmitter comprises a radio
       frequency (RF) transmitter.

13.    The first media device as recited in claim 1, wherein the first data provided to the
       first media device comprises data indicative of a success status of a test command
       that was transmitted to the second media device.

14.    The first media device as recited in claim 13 wherein the test command is
       transmitted to the second media device by the first media device via use of the high-
       definition multimedia interface communications port.




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       15.     The first media device as recited in claim 13, wherein the test command comprises
               a command transmitted to test a volume functional operation of the second media
               device.

JX-0005 (196 patent) at cls. 1, 2, 3, 11, 13, 14, and 15.

               Claim Construction

       No claims of the 196 patent that remain asserted have been construed, nor does either party

seek any such construction. See CIB at 30; RIB at 29; Order No. 24 at 16 n.3.

               Standing

       Five months after the present complaint was filed the parties became aware that Mr. Brian

Barnett, a UEI employee, is a joint inventor of the 196 patent. See generally Order No. 40

(February 1, 2021). Mr. Barnett was not originally named as an inventor, and thus, also did not

assign his rights to the patent to UEI at the time the application was filed. Upon learning of the

omission, UEI filed a petition with the U.S. Patent and Trademark Office (“the USPTO”) to correct

the inventorship of the 196 patent, and at the same time Mr. Barnett executed an assignment of his

rights in the 196 patent to UEI. The USPTO then issued a Certificate of Correction adding Brian

Barnett as an inventor. CX-1393. In light of the timing of Mr. Barnett’s assignments to the patent

at issue, Roku moved for summary determination that UEI lacked standing to assert the 196 patent.

I granted this motion in Order No. 40, but by an Opinion dated March 3, 2021, the Commission

reversed and remanded. Comm’n Op., EDIS Doc. No. 735072 (Mar. 3, 2021).

       The background to this standing issue is as follows. The 196 patent claims priority to

several prior applications, some of which name both Mr. Arling and Mr. Barnett as inventors,

while others name only Mr. Arling:




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       Mr. Barnett and Mr. Arling are the inventors of the original 857 Provisional Application,

the 876 Provisional Application, and the 176 Application; and they executed assignments to UEI

that were timely filed with the USPTO. JX-0410C at 4-9; JX-0411C at 4-9 (“the 2012 Barnett

Assignments”).     The Commission found that there is “no dispute that the 2012 Barnett

Assignments expressly operate as a present conveyance . . . of Mr. Barnett’s entire right, title, and

interest in the invention disclosed in each Priority Application.” Comm’n Op. at 13 (citation

omitted). Thus, the Commission found that Roku was not entitled to summary determination that

UEI lacked standing to assert the 196 patent. However, the Commission did not find as a matter

of law that UEI has standing to assert the 196 patent. Rather, the Commission found “that [Roku]

has not demonstrated that it is entitled to summary determination as a matter of law that UEI was

not the rightful owner of all substantial rights in the ’196 patent at the time it filed its complaint

and thus lacked standing to assert the ’196 patent in this investigation.” Id. at 1.




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       At the hearing, Mr. Barnett testified that “it was always my understanding that I had no

ownership of the [196] patent from the start of my employment” at UEI. Tr. (Barnett) at 74:1-5.

Roku did not present evidence to the contrary, or indeed, any new evidence at all. See RIB at 30-

38. Thus, there is no basis to disturb the Commission’s substantive conclusions, and UEI has

standing to assert the 196 patent.

               Design-Around Products –Revised Roku Products

       As briefly discussed, Roku alleges that it designed, implemented, and imported “Revised

Roku Products” that do not infringe the 196 patent. RIB at 42. Roku submits that these design-

around products do not infringe the 196 patent because they fail to “satisfy claim 1’s recited

prioritization for control via HDMI-CEC over control via configuring the remote.” Id. UEI argues,

on the other hand, that the Revised Roku Products infringe the 196 patent “in the same manner as

the original Roku Ultra and Roku Soundbar products.” CIB 38-39. UEI further argues that

adjudication of the Revised Roku Products is an improper advisory opinion. Id. at 50.

       The Commission has held:

       [T]hat the test for determining whether a respondent has met its burden for
       adjudication of a redesigned or alternative product includes four factors: (1)
       whether the product is within the scope of the investigation; (2) whether it has been
       imported; (3) whether it is sufficiently fixed in design; and (4) whether it has been
       sufficiently disclosed by respondent during discovery. See Two-Way Radio, 2018
       WL 8648379 at *13-14.

Certain Human Milk Oligosaccharides and Methods of Producing the Same, Inv. No. 337-TA-

1120, Comm’n Op. at 18 (June 8, 2020) (“Oligosaccharides”). The Commission clarified that it

has a standing “policy in favor of adjudicating redesigns to prevent subsequent and potentially

burdensome proceedings that could have been resolved in the first instance in the original

Commission investigation” (id.) and, despite factor (2) in the excerpt above, redesigns do not

actually need to be imported at all (id. at 18 n. 21); but see Certain Dental and Orthodontic




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Scanners and Software, Inv. No. 337-TA-1144, Comm’n Op. at 8 (Dec. 3, 2020) (confirming

“affirmative” evidence of importation is necessary for an accused product)). As an example of the

flexibility on this issue, the Commission held in Oligosaccharides that two documents produced

without explanation from the producing party during fact discovery (and one, a patent application

containing no reference to the redesigned product name) qualified as “sufficient” discovery under

factor (4). See id. at 14-15, 20-23. The Commission also held, in a determination that adjudication

of a redesign was warranted, that evidence of actual importation outweighed a request for

admission (“RFA”) response that importation had not occurred. See id. at 15, 20.

       Three of the four factors enumerated above are not in dispute. First, the Revised Roku

Products are within the scope of the investigation, which includes televisions, set-top boxes,

remote control devices, streaming devices, and sound bars. See 85 Fed. Reg. 31211. The second

factor, importation, also is met. See RX-0652C (Mendenhall Dep.) at 278:7-16; RX-0285 (FedEx

label); RX-0286 (FedEx tracking report); see also RPX-0001C (design-around Roku Ultra); RPX-

0002C (design-around Roku Streaming Stick); RPX-0003C (design-around Roku Smart

Soundbar). Mr. Mendenhall specifically testified that the three design-around products “were

imported from Cambridge, England.” RX-0652C (Mendenhall Dep.) at 278:15-16. The fourth

factor, whether the product has been sufficiently disclosed by Roku during discovery, is also met.

Roku produced to UEI a preliminary feature guide that describes the design-around functionality,

produced two source code files with the final version of the design-around, and produced physical

products implementing the design-around. RIB at 45. Roku also offered its expert, Mr.

Mendenhall, to testify about the design-around after it was disclosed to UEI. Id. UEI does not

challenge the sufficiency of this discovery, nor does it challenge the first two factors. CIB at 50-

52.




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        The third factor, “fixed in design,” is in dispute, however. UEI argues that the Revised

Roku Products are not sufficiently fixed in design because “the actual implementation of the

Revised Roku Products is inconsistent with the description found in Roku’s feature guide on the

product (JX-0288C).” CIB at 50. Specifically, UEI submits that “the feature guide represents that

the remote setup flow will

                                                           CIB at 50-51. However, UEI contends that,

according to the source code, the setup process will actually proceed

                 to configure the remote. See id. at 51. Thus, “the sole piece of non-source code

evidence as to how the products operate is incorrect, further demonstrating that the Revised Roku

Products are not fixed in design nor sufficiently disclosed.” Id.

        Roku, on the other hand, argues that it “produced three physical Roku Design-around

Products which UEI could – and its counsel did – inspect.” RIB at 43; see RX-0023C at 8, 14.

And Roku submits that whether the feature guide is accurate is not relevant to the inquiry. Roku

states that “the source code itself is the actual implementation of the Roku Design-around

Products.” RRB at 21. As Roku clarifies, “the Feature Guide was only meant to be a high-level,

preliminary description of the features Roku planned to implement.” RIB at 44; Tr. (Mendenhall)

at 502:8-503:8, 504:1-16.

        UEI also contends that the Revised Roku Products are not sufficiently fixed in design

“[b]ecause the source code build in the [Revised Roku Products] will never be present in any

commercially imported or sold product.” CIB at 52. UEI apparently bases this contention on the

allegation that “Roku has not taken any of the steps necessary to release the Revised Roku Products

to its factories.” Id. at 51. But this is not the test for showing that an alleged redesign is sufficiently

fixed. See, e.g., Certain Unmanned Aerial Vehicles and Components Thereof, Inv. No. 337-TA-




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1133, Comm’n Op. at 24 (September 8, 2020) (“[T]he Commission does not require that a redesign

involve a commercial product in order to be adjudicated.”).

        Accordingly, the Revised Roku Products are sufficiently fixed in design. Moreover, the

prerequisites to adjudication have all been established, and the Revised Roku Products will be

adjudicated. 2

                 Infringement

        UEI alleges that Roku directly infringes claims 1, 3, 11, 13, 14, and 15 of the 196 patent

by making, using, offering to sell, selling, selling for importation, and importing the Roku Ultra,

Revised Roku Ultra, Roku Soundbar, and Revised Roku Soundbar (collectively the “Roku 196

Accused Products”). CIB at 34. Originally, UEI also accused the Roku Streaming Sticks of

infringing the 196 patent; however, these products are no longer accused of infringement. RIB at

38. For the reasons discussed below, UEI has shown infringement of claims 1, 3, 11, and 13-15

by certain products.

        Claim 1 of the 196 patent is the only independent claim asserted, claims 3, 11, and 13

depend directly from claim 1, and claims 14 and 15 depend from claim 13. The 196 patent relates

to systems for “appliance control via use of a controlling device, such as a remote control, smart

phone, tablet computer, etc.” JX-0005 (196 patent) at 1:67-2:1. The 196 patent teaches that a

Universal Control Engine (“UCE”) selects the best method of sending commands to the target

appliance – either through the wired HDMI connection (which implements Consumer Electronic




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  Roku presents no evidence, and does not claim, that it has revised all accused products, including
the Nemo, Marlin 4K, Chico, Littlefield, Gilbert, Cooper, Austin, Tyler, Mustang, and Dallas (Tr.
(Mendenhall) at 521:4-522:6). Thus, the only Revised Roku Products at issue are the Roku Ultra
(Bryan 2) and Roku Soundbar (Fruitland).




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Control, or “CEC,” protocols) between the set-top box and the target appliance or through a path

directly from the set-top box’s remote controller to the target appliance. Id. at Abstract, 2:7-45.

                       Functionality

       The functionality of the Roku Ultra and Roku Soundbar is described above. Roku submits

that its revised products “modify the                                                     to obviate

UEI’s infringement arguments.” RIB at 41. According to Roku “[w]hereas the original Roku

Streaming Boxes and Soundbars may                                       the design-around products

                                                               Id., citing Tr. (Mendenhall) 498:11-

22’ Tr. (Lipoff) 556:18-557:1; RDX-0007C.30 (design-around flowchart); JX-0228C (Deign-

Around Feature guide). UEI, however, submits that the Revised Roku Products also have the

feature that if                is unsuccessful (as indicated by the user feedback), the Revised

[Products] will prompt the user to manually enter a brand and then proceed to               with the

newly selected brand.” CIB at 38-40, citing Tr. (Mendenhall) at 498:11-499:24.

                       Claim 1

                       a.      Roku Ultra and Soundbar

       The Roku Ultra and Soundbar are media streaming devices (i.e., “first media device[s]”)

that each possess a system on a chip (i.e., “processing device”), an HDMI port coupled to the

processing device for communicating with a second media device, a transmitter coupled to the

processing device for communicating with a remote control device, and a memory device coupled

to the processing device for storing executable instructions. See Tr. (Rosenberg) at 127:8-129:11.

In fact, the only disputed limitation is the last “wherein” clause of claim 1. CIB at 40-42. UEI

asserts that both the Roku Ultra, which controls the power and volume functions of an attached

TV, and the Roku Soundbar, which controls the power functions of an attached TV, meet this




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limitation as summarized in the annotated claim (the Roku devices and functionality are in bold

brackets):

       wherein the instructions, when executed by the processing device, cause the first
       media device [Roku Ultra or Soundbar] to be configured to transmit a first
       command [mute signal from Ultra or Power Off from Soundbar] directly to the
       second media device [TV], via use of the high-definition multimedia
       communications port [via HDMI cable to the TV], to control an operational
       function of the second media device when a first data [user indicates yes TV is
       muted or Off] provided to the first media device indicates that the second media
       device will be responsive to the first command, and cause the first media device to
       be configured to transmit a second data [code set to configure the remote control]
       to a remote control device, via use of the transmitter, for use in configuring the
       remote control device [configuring the remote to send an IR mute command] to
       transmit a second command [IR command] directly to the second media device,
       via use of a communicative connection [IR] between the remote control device and
       the second media device, to control the operational function of the second media
       device when the first data [user says TV is not muted or On] provided to the first
       media device indicates that the second media device will be unresponsive to the
       first command.

       Dr. Rosenberg testified that the Roku Ultra and Soundbar receive user feedback to confirm

the success or failure of the test CEC command (is TV muted? or is TV off?), which is passed into

the function                                                                            CIB at 42,

citing Tr. (Rosenberg) at 130:2-131:17; 132:20-134:21. UEI asserts that the user feedback is the

claimed “first data.” CIB at 42. If the CEC test is successful (i.e., the user selected “yes” and a

                                                                                              , the

accused product (the first media device) is configured to transmit CEC commands (a first

command) directly to the attached TV (the second media device) via the HDMI connection to

control that TV. See Tr. (Rosenberg) at 130:2-131:17.

       If the first data instead indicates that the CEC test was unsuccessful and the TV is not

muted or turned off, the user selects “no” and a

                                           Tr. (Rosenberg) at 131:18-134:21. In this situation, the

Roku devices will send data (“test code sets”) to the remote for use by the remote to send IR


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commands from the Roku remote directly to the TV. Id. UEI submits that the sending of code

sets and commands in this manner allows the remote to be “configure[d] . . . to transmit a second

command.” See CIB at 43; Tr. (Lipoff) at 548:19-24 (“So the IR command is automatically sent . . .

as soon as you enter no. And then if . . . that works, the end user will confirm that . . . and you’ll

configure the remote to control the TV via IR codes.”). The process is iterative; the Ultra and

Soundbar may transmit multiple codes to the remote to identify a working code set. See Tr.

(Rosenberg) at 134:10-21 (“if the CEC test was false . . . it would go through and configure IR

commands and ultimately arrive at an IR codeset that works”); Tr. (Balakrishnan) at 772:4-9 (Q.

“Okay. You do know that the Roku products, though, do perform iterative testing of successive IR

command codes for use in configuring the remote control to connect another device by IR; is that

right?” A. “Well, it only does it for televisions. Only one type of device, yes, one type of device,

yes.”). If no working code set is found, the user may abandon the process or start over by

identifying a different brand. See Tr. (Lipoff) at 549:5-11.

       Such evidence strongly supports UEI’s infringement allegations. For the first half of the

“wherein” element of claim 1, Roku’s expert, Mr. Lipoff, succinctly describes how both the Ultra

and the Soundbar operate consistently with that element:

       [Y]ou start off with testing the CEC command at the top, and then you make a
       determination with the branch to the left where the user confirms the CEC actually
       works, in which case you proceed to the yes branch on the left and you configure
       the [Roku product] according to CEC.

       However, if that CEC command does not result in the [Roku product] being
       configured by CEC, you take the branch to the right.

Tr. (Lipoff) at 548:4-12 (referring to RDX-0007C.21), 549:12-14. Roku argues, however, that

because the same term – “first data” – is used in both the “responsive” and “unresponsive” cases,

claim 1 necessarily requires that the data used to decide whether to send a command via HDMI is




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the same data that is “used to decide whether to send a command via configuring the remote

control.” RIB at 39. But according to Roku, the Ultra and Soundbar “do not configure the remote

to control a second media device using the ‘first data’ as required by the claim.” RIB at 39.

       Roku mischaracterizes the claim’s requirements, and to the extent Roku’s position

implicates claim construction, its proposed construction is rejected. The first data is the original

“yes” or “no” from the user indicating whether the first HDMI test signal was successful: the “first

data provided to the first media device indicates that the second media device will be” responsive

or unresponsive “to the first command.” JX-0005 (196 patent) at cl. 1. Once that first data is sent

to the first media device, it is “used to decide” which branch of the decision tree to follow,

HDMI/CEC or IR, and then becomes irrelevant. RIB at 39. That is precisely how the first data is

used in the Ultra and Soundbar. See Tr. (Lipoff) at 548:4-12. The first data is not used to

“configure the remote to control a second media device,” because that is what the “second data”

is for: the executed instructions “cause the first media device to be configured to transmit a second

data to a remote control device . . . for use in configuring the remote control device . . . to control

the operational function of the second media device.” RIB at 39; JX-0005 (196 patent) at cl. 1.

       In other words, the executed instructions must “cause the first media device to be

configured” to perform a particular operation, namely, “transmit[ting] a second data to a remote

control device,” where the transmitted second data is “for use in configuring the remote control

device” to perform its own particular operation, namely, “transmit[ting] a second command

directly to the second media device . . . to control the operational function of the second media

device.” JX-0005 (196 patent) at cl. 1. There is no requirement that the second data actually

“change the configuration of the remote control.” RIB at 39. It is enough that the second data is




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“for use in configuring the remote control device” to perform its particular operation. JX-0005

(196 patent) at cl. 1.

        Nor is there any limitation on when the “second command” is sent or whether the “second

command” is demonstrably successful at “control[ling] the operational function of the second

media device.” JX-0005 (196 patent) at cl. 1. The claim requires that (1) the specific executed

instructions cause the first media device to be configured to transmit the second data, (2) the second

data is for use in configuring the remote control to transmit a second command, (3) the purpose of

the second command is to control the operational function of the second media device, and (4) the

processing device executes these specific instructions “when the first data . . . indicates that the

second media device will be unresponsive” to HDMI/CEC. Id. It is irrelevant that there may be

“additional data” communicated between receipt of the first data and (actual) transmission of the

second data, so long as the first media device is configured according to the claim. RRB at 18. It

is also irrelevant that the second data does not by itself “cause any changes to the configuration of

the remote control,” so long as the second data is “for use in configuring the remote control device”

to transmit a second command, and the purpose of the second command is “to control the

operational function of the second media device.” Id.; JX-0005 (196 patent) at cl. 1.

        Given this interpretation of the claim language – and again, to the extent Roku’s position

implicates claim construction, its proposed construction is rejected – the evidence shows that the

Roku Ultra and Soundbar practice the second half of the “wherein” clause. As Dr. Rosenberg

explained:

        Q. Now during the setup process, if the CEC test fails, the Roku player then uploads
        the test IR code to the remote, right?
        A. Yes, it does.
        Q. And then the remote transmits that test IR code to the TV, right?




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       A. It does, but it's not a blind repeating of that. It changes it from WiFi direct to
       make a temporary configuration in that remote, changes it to IR format, and then
       transmits it in IR format.

Tr. (Rosenberg) 209:12-21. In other words, if the “first data” indicates “unresponsive” (i.e., “if

the CEC test fails”), the “first media device” (i.e., “the Roku player”) is “configured to,” and

actually does, “transmit the second data” (i.e., “the test IR code”) “for use in configuring the remote

control” (i.e., the test IR code is “upload[ed] . . . to the remote”) to “transmit a second command”

(i.e., “the test IR code”), the purpose of which “to control the operational function of the second

media device.”

       Although Mr. Lipoff does not agree that this process qualifies as “configuration,”

temporary or otherwise, his description is very similar to Dr. Rosenberg’s:

       Q. So in your opinion is the test command used in configuring the remote control
       device?

       A. No, there's no configuration with respect to how I think someone would
       understand configuration.


                                                                 . There's no configuration
       that occurs in either of the two microcontrollers or anything in the remote at all.

Tr. (Lipoff) 553-12-21 (emphasis mine). Inasmuch as the parties dispute whether “tak[ing] the RF

coming from the Roku Box [and] converting it to IR” qualifies as “configuring” the remote control,

the specification and Figure 2 of the 196 patent demonstrate that it does: “a setup app . . . may be

utilized . . . to initially configure [the claimed invention] for operation with the specific group of

appliances to be controlled, i.e., to communicate to [the claimed invention] a matching command

code set and capability profile for each particular appliance to be controlled.” Id.; JX-0005 (196

patent) at 4:50-58 (emphasis added).




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       In short, receiving code set data via incoming RF signals, and then converting it to be

transmissible via IR, amounts to “configuring the remote control device to transmit a second

command,” as recited in claim 1. JX-0005 (196 patent) at cl. 1. And it is beside the point whether

the code set data actually works, either the first time or after multiple attempts, and the remote

control is thereafter configured some more to use that working code set. See Tr. (Lipoff) at 548:21-

24 (“if that works . . . you’ll configure the remote to control the TV via IR codes”). As Dr.

Rosenberg testified, the second data can “be the first and the full provisioning or either one or

both.” Tr. (Rosenberg) at 137:11-13.

       Accordingly, the evidence shows that the Roku Ultra and Roku Soundbar infringe claim 1

of the 196 patent.

                       b.     Revised Roku Products

       The Revised Roku Products were the subject of testimony from Roku’s expert, Mr. Lipoff,

but apparently not from UEI’s expert, Dr. Rosenberg. See CIB at 47-48. Mr. Lipoff explained the

operation of the Revised Roku Products by reference to a block diagram:




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RDX-0007C.31. The process starts by



                         Tr. (Lipoff) at 557:7-10. “[O]nly after you’ve exhausted

                                                           Id. at 558:1-3. According to Mr. Lipoff’s

diagram, if the                     is successful, all the equipment is

RDX-0007C.31. UEI correctly asserts that this latter portion of the process corresponds to the first

half of the “wherein” element of claim 1, because “the Revised Roku Ultra and the Revised Roku

Soundbar will                           of the attached TV in response to

CIB at 47; see Tr. (Lipoff) at 592:21-593:3.

       The second half of the “wherein” element, however, is implemented in the revised products

rather differently. Claim 1 requires that the “executable instruction[s]” cause the first media device

“to be configured to transmit” either a “first command” or a “second data,” depending on the

content of the “first data.” JX-0005 (196 patent) at cl. 1. More precisely, “when the first data . . .




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indicates that the second media device will be unresponsive to the first command” (i.e., the user

response to                           is “No”), the “executable instruction[s]” must cause the first

media device “to be configured to transmit a second data to a remote control device” for

configuring the remote control device. Id.; RDX-0007C.31. But that is not how the executable

instructions cause the accused first media devices (i.e., Roku Revised Products) to be configured;

instead, the Roku Revised Products are configured to transmit a prompt to the user to select either

“Give Up” or “Try Again.” RDX-0007C.31.

         Admittedly, in this process the Roku Revised Products                                     that

is, they become “configured to transmit a second data to a remote control device . . . for use in

configuring the remote control device to transmit a second command directly to the second media

device,” either initially or, at the user’s option,                                         See RDX-

0007C.31; JX-0005 (196 patent) at cl. 1. According to UEI, the addition of

              before the normal                                 is of no moment to the infringement

analysis” because claim 1 does not preclude tests prior to the claimed functionality. CIB at 47.

Id. UEI contends that the                              causes the revised Roku product to present the

user with                                                      which includes sending the second data

to the remote.” Id. at 48.

         While the addition of an                     at the beginning of the setup process is not the

determinative factor in the infringement analysis, the evidence does not show that the Revised

Roku Products infringe claim 1. The “first data” as defined in the claim is not the data that triggers

the executable instructions to cause the Revised Roku Products to transmit the second data (i.e.,

the                to the remote control device a second time. Instead, what triggers the sending

of the                                                                      with a different identified




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         The user’s request that the processing device                                   is not the

same “first data” as that sent

       Therefore, the Revised Roku Products do not satisfy the requirements of claim 1.

                       Dependent Claims 3, 11, and 13-15

       The Revised Roku Ultra and Revised Roku Soundbar do not infringe the dependent claims,

for the same reason that they do not infringe claim 1. However, since the original Roku Ultra and

Soundbar do infringe claim 1, further analysis is necessary. UEI prepared a chart to illustrate how

each of these asserted claims re infringed. See CIB at 49-50. The following is an updated version

of UEI’s chart, which eliminates discussion of the Revised Roku Products.

               Claim                    Roku’s Infringement             Supporting Evidence
  3. The first media device as     The Roku Ultra, and              Tr. (Rosenberg) at 137:19-
  recited in claim 1, wherein      Roku Soundbar (first             138:15; 138:16-25.
  the second media device          media devices)
  comprises a media sink           transmit media data
  device for the first media       (video and audio),
  device acting as a media         thereby acting as
  source device and wherein        media source devices,
  the first media device           to the TV (the second
  transmits media data to the      media device), which
  media sink device via use of     receives the media and
  the high-definition              thereby acts a media
  multimedia interface             sink device,via the
  communications port.             HDMI port in the
                                   Roku devices.
  11. The first media device as    The Roku Ultra, and              Roku Ultra: Tr. (Rosenberg)
  recited in claim 1, wherein      Roku Soundbar include            at 128:7-12; JX-0102C.
  the transmitter comprises a      WiFi transmitters
  radio frequency (RF)             (Realtek RTL8812 for             Soundbar: Tr. (Rosenberg)
  transmitter.                     Ultra and Realtek                at 129:4-8; CX-0404C.
                                   RTL8822/8811 for
                                   Soundbar), which are             All: Tr. (Rosenberg) at
                                   radio frequency (RF)             137:19-138:15; 139:1-10;
                                   transmitters.                    CX-0370C (Daly) at 39:7-
                                                                    40:11; 50:11-54:1; 57:2-
                                                                    16.




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  13. The first media device as    As part of the “Set up remote    All: Tr. (Rosenberg) at 130:2-
  recited in claim 1, wherein      for TV control” functionality    137:13; 137:19-138:15;
  the first data provided to the   the Roku Ultra and Roku          139:11-21; CPX-0115C; JX-
  first media device comprises     Soundbar receive feedback        0024.
  data indicative of a success     from the user as to whether
  status of a test command that    the CEC test command that
  was transmitted to the second    was transmitted from the
  media device.                    Roku device to the TV was
                                   successful. The user selects
                                   from a menu whether the TV
                                   muted (Roku Ultra) or the TV
                                   turned off (Roku Soundbar).


  14. The first media device as The Roku Ultra and                  Roku Ultra: JX-0102C.
  recited in claim 13, wherein   Roku Soundbar
  the test command is            transmit a CEC test                Soundbar: CX-0404C.
  transmitted to the second      command from the
  media device by the first      Roku device to the                 All: Tr. (Rosenberg) at 130:2-
  media device via use of the    attached TV via the                137:13; 137:19-138:15;
  high-definition multimedia     HDMI port in the                   139:11-140:1; JX-0222C.5.
  interface communications port. Roku device.
  15. The first media device as The Roku Ultra                      Tr. (Rosenberg) at 130:2-
  recited in claim 13, wherein   uses a CEC mute                    137:13; 137:19-138:15;
  the test command comprises a command (a volume                    139:11-21; 140:2-9; CPX-
  command transmitted to test a functional operation) to test       0115C; JX-0024.
  volume functional operation    whether CEC commands are
  of the second media device.    operable.
CIB at 49-50.

       Roku does not dispute the allegations made in the chart, and they are otherwise meritorious.

See RRB at 20. Therefore, the Roku Ultra and Soundbar Accused Products infringe claims 3, 11,

13, and 14 of the 196 patent, the Roku Ultra further infringes claim 15, and the Revised Roku Ultra

and Revised Roku Soundbar do not infringe any claim.

               Domestic Industry – Technical Prong

               1. The Samsung DI Products are Protected by the 196 and 317 Patents

       As noted, the Samsung DI Products are protected by the 196 and 317 patents.




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               2. Samsung DI Products Practice Claims 1 and 2 of the 196 Patent

       UIE asserts that the Samsung TVs that include UEI’s QuickSet software and the Samsung

smart remote are the Samsung DI Products that practice claims 1 and 2 of the 196 patent. CIB at

page 52. The representative models are the Samsung RU8000 and TU8000 models.

                      a. Claim 1

       As with the infringement analysis above, the only dispute between the parties regarding

the technical prong of domestic industry issue is whether the Samsung DI Products practice the

last “wherein” clause of claim 1. This is discussed below. For those remaining limitations that

are not in dispute, UEI has shown that the Samsung DI Products practice the limitations as alleged

in view of the testimony of Dr. Rosenberg, as shown by the table below:

             Limitation                Samsung DI Products            Supporting Evidence
  1. A first media device,         The Samsung DI Products are     CX-0655
  comprising:                      media devices. They display
                                   media and produce audio.
  [1(a)] a processing device;      The Samsung DI Products         CX-0645C.10; Tr.
                                   include a processing device.    (Rosenberg) at 173:10-15,
                                                                   174:9-13.
  [1(b)] a high-definition         The Samsung DI Products         CX-0647C.5; Tr. (Rosenberg)
  multimedia interface             include an HDMI port that is    at 173:16-21, 174:9-13.
  communications port,             coupled to the processor for
  coupled to the processing        connecting the TV to a
  device, for communicatively      second media device.
  connecting the first media
  device to a second media
  device;
  [1(c)] a transmitter, coupled    The Samsung DI Products         CX-0646C.19; CX-0647C;
  to the processing device, for    include a transmitter that is   CX-0642.7; Tr. (Rosenberg)
  communicatively coupling         coupled to the processing       at 173:22-174:2; 174:9-13.
  the first media device to a      device for communicatively
  remote control device; and       coupling the TV to the
                                   Samsung remote control.
  [1(d)] a memory device,          The Samsung DI Products         CX-0642; CPX-0118; Tr.
  coupled to the processing        include a memory device that    (Rosenberg) at 174:3-7,
  device, having stored thereon    is coupled to the processor     174:9-13.
  processor executable             that stores executable
  instruction;                     instructions.




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See CIB at 59.

       The “wherein” clause is, again:

       wherein the instructions, when executed by the processing device, cause the first media
       device to be configured to transmit a first command directly to the second media device,
       via use of the high-definition multimedia communications port, to control an operational
       function of the second media device when a first data provided to the first media device
       indicates that the second media device when the first data provided to the first media device
       indicates that the second media device will be responsive to the first command, and cause
       the first media device to be configured to transmit a second data to a remote control device,
       via use of the transmitter, for use in configuring the remote control device to transmit a
       second command directly to the second media device, via use of a communicative
       connection between the remote control device and the second media device, to control the
       operational function of the second media device when the first data provided to the first
       media device indicates that the second media device will be unresponsive to the first
       command.

JX-0005 (196 patent) at cl. 1. The Samsung DI Products send CEC commands directly to

peripheral devices such as an AVR or cable box via the HDMI port to control operational functions

(e.g., volume, power) when the universal remote setup procedure determines that CEC

communications will successfully control those functions. See Tr. (Rosenberg) at 163:4-172:6,

174:14-176:3.    The Samsung DI Products also configure the Samsung smart remote (via

Bluetooth) to transmit IR commands directly to the peripheral devices (i.e., AVR or cable box)

when the universal remote setup procedure determines that CEC control will not work. See Tr.

(Rosenberg) at 166:22-169:24.

       Roku asserts that UEI failed to prove that the Samsung TVs containing QuickSet software

practice claim 1, primarily because no analysis of the source code showing how the TVs actually

operate was performed. RIB at 48. Therefore, Roku argues, without the source code, there is no

way to show that the Samsung TV use the same “first data” to determine whether to use CEC or

IR control, and merely watching the operation results is speculation. Id. at 49. Roku also argues




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that Dr. Rosenberg’s testing was not adequate because he did not observe all branches of the

clamed algorithm. See RIB at 49.

          UEI’s expert was not the only witness to discuss how the representative Samsung TV

containing QuickSet operates, however; the developer of the Quickset software, Mr. Barnett, also

testified as to how it operated. See Tr. (Barnett) at 32:6-19 (Mr. Barnett was “instrumental in the

development of QuickSet” and has worked on the product continuously, “all the way through

today”). He testified that the QuickSet software used in the Samsung DI Products control rule

controls the setup procedure. See Tr. (Barnett) at 57:10-58:24. Mr. Barnett testified that if the

QuickSet control rule indicates that a peripheral device (the second media device), such as a Denon

AVR, will be responsive to CEC then the Samsung TV will configure itself to issue CEC

commands, and if the control rule indicates that the Denon AVR will not be responsive to CEC

control then the Samsung TV will proceed to IR configuration. See id. at 59:3-23.

          Overall, such evidence is sufficient to show that claim 1 reads on the Samsung DI Products.

Accordingly, the Samsung TVs containing UEI’s QuickSet software practice claim 1 of the 196

patent.

                         b. Claim 2 – The first media device as recited in claim 1, where the
                            second media device comprises a media source device for the first
                            media device acting as a media sink device and wherein the first
                            media device receives media data from the media source device via
                            use of the high-definition multimedia interface communications
                            port.

          Roku’s only argument regarding this claim is that since claim 2 depends from claim 1, UEI

“has failed to show that the Samsung TVs practice claim 2 as well.” RIB at 49. At the same time,

though, UEI’s evidence is thin. Dr. Rosenberg’s testimony regarding claim 2 is conclusory, and

his one demonstrative exhibit on the topic merely identifies the Samsung TV as the first media

device, two peripheral devices as the second media devices, and HDMI cables connecting them.




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See Tr. (Rosenberg) at 176:4-13; CDX-0002C.44.             Nonetheless, Dr. Rosenberg elsewhere

identifies the second media device, in one instance as a cable box. See Tr. (Rosenberg) at 175:18-

25. It stands to reason that there are numerous instances of a Samsung TV (first media device)

being connected to a cable box (second media device) via HDMI such the Samsung TV “receives

media data” in the form of TV signals from the cable box, the Samsung TV thereby acts as a

“media sink,” and the cable box thereby acts as a “media source.”

       Therefore, the Samsung TVs containing UEI’s QuickSet software can and do practice

claim 2 of the 196 patent when connected to a media source controllable by the Samsung TV,

including a cable box.

               Validity

       Roku asserts that the 196 patent is obvious under 35 U.S.C. § 103 in view of the

combination of U.S. Patent Appl. Pub. No. 2012/0249890 to Chardon (RX-0488) (“Chardon”) and

Mishra (U.S. Patent Appl. Pub. No. 2001/0005197A) (JX-0316), and optionally HDMI 1.3a (RX-

1077). See RIB at 54. According to Roku:

       Chardon discloses a multi-media gateway and other media devices that control
       target devices using an IR blaster or the HDMI-CEC bus, as well as mechanisms
       that use data (e.g., HDMI response or identity data) to decide whether to use IR or
       CEC to control a particular operation of a specific device. . . . Chardon also
       discloses a remote control that has a transceiver, and that receives, stores, and
       transmits IR codes (id. ¶ 43), but does not explicitly teach that IR codes are sent
       from a media device to configure the remote control to control other devices.
       However, Mishra discloses an intermediating device that controls target devices by
       sending IR codes and protocols to a remote control which can then store and
       transmit (i.e., relay) the IR codes to a target device. . . . It would have been obvious
       to modify Chardon to relay IR codes through its remote control rather than sending
       them through an IR blaster, based on: (a) Chardon’s disclosure of a remote that can
       receive/transmit IR codes, (b) Mishra’s disclosure of a remote that relays IR codes
       through a remote control, (c) and the background knowledge of a POSA of the
       disadvantages of IR blasters as compared to relaying.

RIB at 50 (internal citations deleted).




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       Although Chardon and the HDMI 1.3a reference are cited on the face of the 196 patent, the

prosecution history shows that Chardon was filed in an Information Disclosure Statement that

contained over 50 other references. CX-0152C.0070-75. Moreover, neither of these references

was ever substantively discussed during prosecution of the 196 patent. See generally CX-0152C.

Thus, the disclosure of these references during prosecution does not limit the weight given to them.

                       Chardon

       Chardon was filed on March 31, 2011, which is before October 28, 2011, the earliest

priority date of the 196 patent. See RX-0488 (Chardon). Thus, Chardon is prior art under pre-

AIA 35 U.S.C. § 102(e)(1).

       Chardon relates to remote-control systems that are “configured to operate on a variety of

remote control platforms, such as High Definition Multi-Media Interface appliances.” RX-0488

(Chardon) at ¶ 1. It discloses various HDMI appliances 105 such as a display, set-top box, and

DVD player, “a multi-media gateway” 110, and remote control device 115. Id. at ¶¶ 29-31, Fig.

1. All of these have a “remote-control system 140” and “remote control engine 145,” which can

control the other devices in the system. Id. at ¶¶ 6, 36, 38-41, 43, 45, Fig. 1; Tr. (Russ) at 876:11-

877:17. The remote control engine is software that selects the command code (IR or CEC) for

controlling a particular operation of a target device. See RX-0488 (Chardon) at ¶¶ 16, 26-27, 39-

40, 88; Tr. (Russ) at 892:7-895:1.

       Chardon discloses embodiments that choose between IR and CEC codes in one of two

ways. First, the “remote control system” may monitor the CEC bus for a response issued from an

HDMI appliance in response to receipt and execution of a CEC command code, and if a response

is not issued from the HDMI appliance, the remote control system determines an IR command

code that corresponds to the CEC command code for the HDMI appliance, and transmits that IR

command code to the HDMI appliance to perform a function associated with the CEC command




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code. RX-0488 (Chardon) at ¶¶ 12, 58, Fig. 5, elements 510-530; Tr. (Russ) at 896:3-25. The

remote control system stores the success or failure of CEC commands and associates the target

device with CEC and/or IR codes for use in future attempts to control the same operation of that

device. See RX-0488 (Chardon) at Abstract, ¶¶ 14, 20, 33-34, 58-59, 68; Tr. (Russ) at 898:21-

901:11.

        Second, Chardon teaches that the remote control system may obtain an EDID (Extended

Display Identification Data Standard (EDID)) or CEC vendor ID from a connected device, which

can be used to determine whether the second device will be responsive or unresponsive to specific

CEC commands. RX-0488 (Chardon) ¶¶ 10, 11, 20, 49, 50, 59. The remote control system (Roku

refers to this as the first media device) transmits this CEC command directly to a target device

(i.e., the second media device) when the CEC vendor ID (i.e., first data) indicates that the target

device supports vendor specific commands (i.e., will be responsive to the first command). RIB at

51-52, citing RX-0488 (Chardon) at ¶¶ 10, 12, 49, 62; Tr. (Russ) at 922:1-927:16. If it is

“determine[d] from the remote server that a given HDMI appliance is not configured to receive

CEC command codes,” the system will “send IR command codes” instead. RX-0488 (Chardon)

at ¶¶ 60, 69.

                      Mishra

        Mishra is prior art to the 196 patent under at least pre-AIA 35 U.S.C. §§ 102(a), 102(b),

and 102(e)(1) because it was filed on February 17, 2001 and published on June 28, 2001, both

dates being more than one year before October 28, 2011. JX-0316 (Mishra) at 22, 43. Mishra is

discussed above with respect to the 642 patent, the details of which need not be repeated. Roku

contends that Mishra “discloses that a set-top-box (system 12) sends key codes to a remote control

(Mishra’s RCU 18), which saves those key codes for later use in controlling home theater devices.”

RIB at 52, citing JX-0316 (Mishra) at ¶ 38; Tr. (Russ) at 878:8-16.




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                       HDMI 1.3a

       HDMI 1.3a is prior art under at least pre-AIA 35 U.S.C. §§ 102(a) and 102(b) because it

was published and known on November 10, 2006, more than one year prior to October 28, 2011.

RX-1077 (HDMI 1.3a) at 1. The evidence showing that it was published and known includes

evidence that it was available for download on the Internet, without confidentiality restrictions,

and that those working in the field were aware of its availability and contents. See Tr. (Venuti) at

618:16-619:22, 623:11-625:4, 626:7-627:7; RX-1103 (Venuti Decl.) at RX-1103.0001-0007, RX-

1103.0287-0288; Tr. (Russ) at 879:7-15, 886:3-14.

       HDMI 1.3a discloses an interface and cable for transmitting audiovisual signals among

various devices in a home theater, including a CEC line for sending control and status information.

RX-1077 (HDMI 1.3a) at RX-1077.0017, .0023-0024; Tr. (Russ) at 879:16-880:6. HDMI sources

(i.e., devices sending A/V content) can determine the identity and characteristics of an HDMI

display by reading its EDID (Extended Display Identification Data Standard (EDID)), which

happens “at the moment of attachment” when the devices are physically connected pursuant to

HDMI’s “Hot Plug Detect” protocol.             RX-1077 (HDMI 1.3a) at RX-1077.0024-25,

0067, .0128, .0134 (“A Source shall read the EDID … to determine the capabilities supported by

the Sink”); Tr. (Russ) at 922:16-18, 969:9-21. When an HDMI source sends a message to another

device which is acknowledged and does not result in a “feature abort,” the HDMI source assumes

the message has been “correctly received” and “acted upon.” RX-1077 (HDMI 1.3a) at RX-

1077.0192; Tr. (Russ) at 921:2-17, 886:21-887:3.

                       Combination of Chardon, Mishra, and HDMI 1.3a

       Chardon discloses, among many other embodiments, a “multi-media gateway” (i.e., “first

media device”) that includes a “processor” (i.e., “processing device”), “transceivers,” a “memory”

(i.e., “memory device”), and a “CEC bus” (i.e., HDMI “port”). JX-0005 (196 patent) at cl. 1; RX-




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0488 (Chardon) at ¶¶ 38, 40, Fig. 2. The transceivers, memory, and CEC bus are all “coupled” to

the processor, CEC command codes are “communicated” over the CEC bus to “HDMI appliances”

(i.e., the HDMI “port” is “for communicatively connecting the first media device to [] second

media device[s]”), and the memory “may be configured to store computer code” (i.e., the “memory

device . . . ha[s] stored thereon processor executable instruction[s]”), include code for a “remote-

control engine.” JX-0005 (196 patent) at cl. 1; RX-0488 (Chardon) at ¶¶ 39, 40, Fig. 2. This

embodiment, although it is called a “remote-control system,” does not include a “remote control

device”; Chardon teaches other embodiments comprising a remote control device, however. RX-

0488 (Chardon) at ¶¶ 38, 43.

       As relevant to the 196 patent, Mishra discloses a “system” (i.e., “first media device”), a

“remote control unit,” or RCU (i.e., “remote control device”), and a controlled or target “device”

(i.e., “second media device”), where the system transmits IR codes to the RCU for relaying to the

target device. JX-0005 (196 patent) at cl. 1; RX-0316 (Mishra) at ¶ 20. Roku contends that

“Chardon does not explicitly teach that IR codes are sent from a [first] media device to configure

a remote control to control [second media] devices,” and that Mishra fills this gap. RIB at 50.

                   a.     Limitation 1(c) – “a transmitter, coupled to the processing device,
                          for communicatively coupling the first media device to a remote
                          control device”

       UEI’s first argument against obviousness is framed as pertaining to limitation 1(c), relating

to the “transmitter,” but in fact it relates to other elements of claim 1, as well. In summary, UEI

contends that Chardon does not disclose either the multi-media gateway sending communications

to the remote, or the remote control sending communications directly to the target device. See CIB

at 69. In other words, UEI asserts, although Chardon discloses that the multi-media gateway has

a transceiver, there is no teaching that the transceiver is used to communicate with the remote

control, and that because of this, and the lack of disclosure of programming the remote control (a




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lack Roku apparently relies on Mishra to remedy), Chardon offers no reason or motivation to send

communications from the multi-media gateway to the remote control. See id.

          Roku identifies Chardon’s “multi-media gateway 110” as either the claimed “first media

device” or “second media device,” the “various HDMI appliances 105” as the claimed “second

media device[s],” and the “remote control device 115” as the claimed “remote control device.”

CIB at 50; CRB at 28; RX-0488 (Chardon) at ¶¶ 29-31, Fig. 1. Again, Chardon discloses an

embodiment of a “remote-control system” that is “included in . . . the multi-media gateway” and

that comprises both IR and RF transceivers, but that embodiment does not include a separate

remote control device or unit, and the transceivers transmit and receive signals between the multi-

media gateway and HDMI appliances, not between the multi-media gateway and a remote control

device.     See RX-0488 (Chardon) at ¶¶ 38, 40. And although Chardon does disclose two

embodiments where the remote control device “may be configured to transmit and receive in IR,

RF, etc.,” in one embodiment all the claimed hardware is incorporated into the remote control

rather than the multi-media gateway, and in the other the “first media device” is an “HDMI

display” rather than the multi-media gateway. See id. at ¶¶ 43, 44. Roku fails to identify any

teaching in Chardon of “a transmitter” – as opposed to a receiver or transceiver – “for

communicatively coupling the first media device” – i.e, the multi-media gateway – “to a remote

control device” and with all the claimed hardware components configured as required by claim 1

of the 196 patent. See CRB at 28; JX-0005 (196 patent) at cl. 1. So inasmuch as the “transmitter”

requirement is satisfied by the transceiver, the “communicative[] coupling” is not achieved by

transmission; and inasmuch as the “communicative[] coupling” requirement is satisfied by

reception, it does not involve the transceiver acting as a “transmitter.” In short, this element is not

taught by Chardon.




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       To be sure, Chardon does disclose the remote control device communicating directly with

a “first HDMI appliance.” See RX-0488 (Chardon) at ¶ 62. But that appliance is not a target

device; in fact, it plays the role of first media device normally played by the multi-media gateway.

See id. (“the first HDMI appliance receiving the set of IR command codes [from the remote control

device] may transmit a set of CEC command code[s] to a second HDMI appliance”). And the

other embodiment cited by Roku as disclosing direct communication between the remote control

device and a target device does not, in fact, include a remote control device. See CRB at 28, citing

RX-0488 (Chardon) at ¶ 40. So UEI is correct that there is no reason in Chardon for the multi-

media gateway/first media device to transmit to the remote control device, because the remote

control device directly controls the multi-media gateway rather than any target device. E.g., RX-

0488 (Chardon) at ¶ 5 (describing the need for “embedded” remote control systems).

                       b.     Limitation 1(e) – wherein the instructions, when executed by the
                              processing device, cause the first media device to be configured
                              to transmit a first command directly to the second media device,
                              via use of the high-definition multimedia communications port,
                              to control an operational function of the second media device
                              when a first data provided to the first media device indicates
                              that the second media device when the first data provided to the
                              first media device indicates that the second media device will be
                              responsive to the first command, and cause the first media
                              device to be configured to transmit a second data to a remote
                              control device, via use of the transmitter, for use in configuring
                              the remote control device to transmit a second command
                              directly to the second media device, via use of a communicative
                              connection between the remote control device and the second
                              media device, to control the operational function of the second
                              media device when the first data provided to the first media
                              device indicates that the second media device will be
                              unresponsive to the first command.

       Chardon discloses an embodiment where the remote-control engine, implemented on the

multi-media gateway, sends “a CEC command code to an HDMI appliance” and the HDMI

appliance responds. RX-0488 (Chardon) at ¶ 58, Fig. 5. It also discloses an embodiment where




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the multi-media gateway queries the “HDMI display” for certain identification information, and

the multi-media gateway is thereafter “configured” to link the identification to IR or CEC

command codes for the HDMI display. Id. at ¶ 44.

       UEI argues that because the multi-media gateway is configured by default to control the

HDMI appliance by CEC, there is no further configuration of the multi-media gateway after the

response or identification information (i.e., the “first data”) is received. See CIB at 70; CRB at 29

(the response is the “first data” for “subsequent commands”). Although there does not appear to

be an express disclosure that the remote control engine thereafter causes the multi-media gateway

to be configured to transmit a first command if the HDMI appliance responds positively, it stands

to reason that the remote control engine would cause the multi-media device to continue to control

the HDMI appliance using CEC/HDMI, as Dr. Russ testified. See Tr. (Russ) at 899:20-900:20;

see also RX-0488 (Chardon) at ¶ 59 (“the method described above with respect to Fig. 5 is

executed if the remote control engine has ‘response’ information that indicates that the HDMI

appliance” will respond to CEC command codes). And any such command from the remote

control engine would seemingly qualify as “configur[ing]” the multi-media gateway “to transmit

a first command,” because it can include “storing in memory pass information for the CEC

command code.” JX-0005 (196 patent) at cl. 1; RX-0488 (Chardon) at ¶ 14; see Tr. (Russ) at

928:4-929:8.

       So Chardon teaches the first half of the “wherein” clause. As to the second half, Chardon

teaches that the multi-media gateway sends the IR codes directly to the second media device. JX-

0488 (Chardon) at ¶¶ 38-40. Chardon fails to teach or suggest “transmitting a second data to a

remote control device, via use of the transmitter, for use in configuring the remote control device

to transmit a second command directly to the second media device.” JX-0005 (196 patent) at cl.




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1. Roku submits that Mishra teaches this feature, and one skilled in the art would be motivated to

combine these references.

       Specifically, Roku states that “Mishra’s system 12 is an intermediating device configured

to send IR ‘codes’ and ‘protocols’ (i.e., ‘second data’) to Mishra’s remote control (RCU 18) via

path 24 (i.e., a ‘communicative connection’).” RIB at 67 (referring to JX-0316 (Mishra) at ¶¶ 20,

33, Fig. 1). Mishra teaches that system 12 (i.e., “first media device”) transmits control codes and

protocols to remote control 18 (i.e., “remote control device”), either all at once or on an as-needed

basis, so that when the user presses a button, the remote control either interrogates the system to

obtain the needed codes and protocols, or “fetch[es] the necessary codes from local memory and

send[s] a unidirectional infrared message … using the protocol that is also stored locally on the

RCU.” JX-0316 (Mishra) ¶ 37-39; Tr. (Russ) at 938:10-939:20. Thus, Roku asserts that Mishra’s

“system 12 transmits second data (IR key codes and protocols) to a remote control device

(Mishra’s RCU 18) for use in configuring it to transmit commands (i.e., IR messages) directly to

another device.” RIB at 67. Additionally, as Roku notes in connection with dependent claim 11,

Mishra discloses an RF transmitter coupled (via some intervening components) to a chipset (i.e.,

“processing device”) for communicatively coupling the system (i.e., “first media device”) to a

remote control device. See JX-0316 (Mishra) at ¶¶ 49-52; JX-0005 (196 patent) at cls. 1, 11.

                       c.      The Scope and Content of the Prior Art, the Level of Ordinary
                               Skill in the Art, and the Differences Between the Prior Art and
                               the Claimed Invention

       All the limitations of claim 1 of the 196 patent can be found in Chardon and Mishra,

although a certain amount of cherry-picking is required to do so, because Chardon and Mishra

teach rather different processes. For instance, Chardon’s remote control only works as such when

it has all the hardware recited in claim 1 of the 196 patent, whereas Mishra’s remote control works

as such all the time. See Tr. (Rosenberg) at 1239:1-6. In fact, Chardon’s disclosed embodiments




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either do not include a multi-media gateway (RX-0488 (Chardon) at ¶ 12), or do not include a

remote control (RX-0488 (Chardon) at ¶¶ 40, 49, 68), or there can optionally be one but not the

other (RX-0488 (Chardon) at ¶¶ 44, 50, 51). As another example, Mishra does not discuss HDMI

or CEC, both of which are central to Chardon. See Tr. (Russ) at 1012:10-16. Moreover, neither

Chardon nor Mishra come close to disclosing all the limitations of claim 1 separately; Chardon

comes closer, but Mishra is still needed to identify a transmitter with the necessary features, a

remote control that receives second data from the first media device, and a remote control that may

be configured to transmit a second command directly to a second media device.

       So the differences between the claimed invention and the prior art are more substantial here

than with either the 642 or 317 patents. Nonetheless, the scope and content of the prior art does

encompass all the limitations of claim 1, and, as Dr. Russ implied, a skilled artisan would have

been capable of adding the transmitter and remote control of Mishra to Chardon. See Tr. (Russ)

at 940:5-942:3. And Dr. Russ opined that Chardon teaches an “IR blaster,” which has “problems,”

so a person of ordinary skill would have known to solve those problems by using direct control

with a remote. Id. at 941:7.

       Admittedly, Chardon and Mishra are not especially analogous to the 196 patent, for the

reasons explained by Dr. Rosenberg. See id. at 1233:22-1235:11. But they do not have to be

directed to the exact same problem to be reasonably pertinent, nor do they need to be physically

combinable. See Orthopedic Equip. Co., 702 F.2d at 1013; Tr. (Rosenberg) at 1241:10-15 (“you

wouldn’t need to have two units, one is enough”). Mishra states that its “invention relates generally

to remotely controlling electronic devices.” JX-0316 (Mishra) at ¶ 1. Chardon’s invention

“relate[s] to a remote-control system configured to operate on a variety of remote control

platforms.” RX-0448 (Chardon) at ¶ 6. Moreover, both Mishra and the 196 patent seek to make




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improvements to remote controls in a user friendly way. See JX-0316 (Mishra) at ¶ 5; JX-0005

(196 patent) at 2:4-5.

       Therefore, on balance Roku has made out a prima facie case for obviousness as to claim 1

of the 196 patent in view of Chardon and Mishra. 3

                         d.    Secondary Considerations of Non-Obviousness

       In sharp contrast to the 642 and 317 patents, the objective indicia of non-obviousness for

the 196 patent are substantial; indeed, they are dispositive. UEI asserts essentially four items of

evidence: (1) a Wall Street Journal article published in 2016, that is, between filing and issuance

of the 196 patent; (2) a CNET article also published in 2016; (3) witness testimony by Dr.

Rosenberg; and (4) witness testimony by Mr. Barnett, including certain documentation. See CIB

at 76-78.

       The evidence shows a long-felt but unmet need.            Dr. Rosenberg testified that the

“proliferation of devices,” operating over disparate communications methods, presented a

problem, which the 196 patent solved specifically by “determining the best command control path

for any given device to have reliable user-friendly operation.” Tr. (Rosenberg) at 1247:7-14.

Admittedly, QuickSet by itself contributed to solving this problem, but determining the best

command and control path, i.e., choosing between HDMI/CEC and IR, is specific to the 196 patent.

See Tr. (Barnett) at 32:20-35:1; Tr. (Rosenberg) at 183:13-184:13 (describing the operation of

QuickSet). The presence of a long-felt but unmet need is pithily summed up in the Wall Street Journal

article: “Hallelujah! Samsung fixed the most annoying thing about TVs! It only took 30 years!” JX-

0267 at 1.




3
 Roku correctly asserts that HDMI 1.3a is “not necessary for the conclusion of obviousness.” RIB
at 58. Its teachings therefore need not be addressed further.




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        The evidence shows praise by the industry. As noted, the Wall Street Journal praised the

technical solution, and there is sufficient nexus to the 196 patent for such praise to be pertinent.

Specifically, the article states:

        The first time I set up the TV, it probed all my devices via their HDMI cables.
        Newer gadgets . . . it knew right off the bat. For older ones, it asked me to identify
        a brand or a model number.

        Behind the scenes, the TV was labeling each input and wirelessly teaching its
        remote the language of its corresponding device . . .. Some equipment uses infrared
        signals, while others communicate via HDMI or Wi-Fi. Samsung’s TV and remote
        are your universal translator.

        JX-0267 at 2. The article also has a diagram showing a Samsung TV (“first media device”),

a remote control, and various controlled devices (“second media device[s]”), including an Apple

TV. Id.; JX-0005 (196 patent) at claim 1. The CNET similarly praised the Samsung TVs, and

similarly described the programming process: “[i]f the device works with HDMI-CEC . . . the TV

can recognize that and control it accordingly, [thereby] operating the device via the HDMI

connection.” JX-0282 at 4. If HDMI does not work, “the TV . . . queries its database and programs

the IR (infrared) commands of the TV remote automatically.” Id.

        The evidence shows widespread adoption. Dr. Rosenberg’s testimony, where he agreed

that “the ’196 patent [is] used often in the QuickSet embodiments,” is somewhat conclusory. Tr.

(Rosenberg) at 1248:15-19. Mr. Barnett, however, summarized the process by which QuickSet

operates with the Samsung DI Products:




                        See generally Tr. (Barnett) at 55-59. UEI tracks Samsung’s use of QuickSet




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Cloud, which is a measure of “operations per year, just for Samsung customers,” and

                                                   See id. at 51:10-17; Tr. (Rosenberg) at 1248:15-

19.

       As to all three objective indicia asserted by UEI, there is a sufficient nexus to the 196

patent. The Wall Street Journal article, and even more so the CNET article, describe in general

terms what is recognizably claim 1 of the 196 patent – but, significantly, not Chardon or Mishra –

and even considering the various other features of QuickSet, Mr. Barnett’s explanation of how that

software works is also recognizably claim 1 of the 196 patent. So Roku’s assertion that “UEI’s

evidence falls far short of showing a nexus” is not persuasive. RIB at 73. Nor does Dr. Russ’

opinion undermine this conclusion. Chardon does not solve the same long-felt need as the 196

patent, because it does not teach the same type of interactions between a remote control and a first

media device (see Tr. Russ at 964:23-966:12), nor does the fact that QuickSet “us[es] features of

the HDMI standard” to control and query devices mean that the HDMI standard is capable of

automatically configuring a remote control based on the claimed “first data” (see id. at 970:16-

971:13). Dr. Russ’ opinion is otherwise conclusory (e.g., id. at 980:12-16) or inconsistent with

the underlying fact evidence (see Tr. (Russ) at 967:5-20 (“one of the things that’s appealing about

QuickSet” is its IR database); RX-0069C (Arling Depo.) at 134:8-13 (Q: Okay. But the ability to

control the wide variety of devices through a complete IR database is at least one factor that’s

relevant to your customer[s’] decisions, isn’t it? A: Well, unfortunately, it’s a small factor.)).

       On balance, UEI’s evidence of secondary considerations of non-obviousness is impressive,

so much so that it outweighs Roku’s marginal prima facie case of obviousness. Accordingly, and

in view of all of the Graham factors, Roku has not proven that claim 1 of the 196 patent is obvious.

                       e.      The Dependent Claims




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       Roku does not assert that claim 2, which is practiced by the Samsung DI Products, is

invalid. Instead, its obviousness arguments for the dependent claims pertain only to those claims

relating to infringement.

              Claim 3 – The first media device as recited in claim 1, wherein the
       second media device comprises a media sink device for the first media device
       acting as a media source device and wherein the first media device transmits
       media data to the media sink device via use of the high definition multimedia
       interface communications port.

       Chardon discloses the multi-media gateway receiving a “media stream” from a source, and

then transferring “the media stream to an HDMI display or the like for play thereon.” RX-0488

(Chardon) at ¶ 74. UEI does not separately dispute this point, but rather argues that since the

combination of Chardon, Mishra, and HDMI 1.3a does not render Claim 1 obvious, it does not

render Claim 3 obvious. CIB at 74.

             Claim 11 – The first media device as recited in claim 1, wherein the
       transmitter comprises a radio frequency (RF) transmitter.

       UEI first argues that since the combination of Chardon, Mishra, and HDMI 1.3a does not

render Claim 1 obvious, it does not render Claim 11 obvious. CIB at 74. UEI also argues that

“[a]s none of the prior art relied upon by Roku discloses using an RF transmitter to communicate

data to the alleged remote control via RF Claim 11 is not rendered obvious.” CRB at 41. This is

incorrect. As noted, Mishra discloses that its “system 12” includes an RF transceiver for

transmitting to a remote control. JX-0316 (Mishra) at ¶ 52, Fig. 7.

               Claim 13 – The first media device as recited in claim 1, wherein the first
       data provided to the first media device comprises data indicative of a success
       status of a test command that was transmitted to the second media device.

              Claim 14 – The first media device as recited in claim 13, wherein the
       test command is transmitted to the second media device by the first media
       device via use of the high-definition multimedia interface communications
       port.




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       Claims 13 and 14 are considered together because the same disclosures in Chardon are

relevant to both claims. Namely, Chardon discloses “transmitting a CEC command code to an

HDMI appliance via an HDMI cable,” and “if a response is issued from the second HDMI

appliance, then storing in memory pass information for the CEC command code.” RX-0488

(Chardon) at ¶¶ 14, 58. UEI argues that since the combination of Chardon, Mishra, and HDMI

1.3a does not render Claim 1 obvious, it does not render Claims 13 or 14 obvious. CIB at 75-76.

UEI also argues that CEC commands do not alone qualify as test commands, because then every

single CEC command would be a test command. See id. But that is what the 196 patent teaches:

“[s]uch testing may take the form of . . . monitoring of HDMI interface status changes.” JX-0005

(196 patent) at 9:46-49; see Tr. (Russ) at 1013:15-21.

              Claim 15 – The first media device as recited in claim 13, wherein the test
       command comprises a command transmitted to test a volume functional
       operation of the second media device.

       Chardon discloses that every CEC command is monitored for a response, and that such

monitored CEC commands can include volume control: “other states . . . may be monitored by

the remote-control engine such as . . . the volume state.” RX-0488 (Chardon) at ¶ 66. UEI argues

only that since “the combination of Chardon, Mishra, and HDMI 1.3a does not render Claims 1and

13 obvious, it does not render Claim 15 obvious.” CIB at 76.

                       f.      Discussion

       The additional features of the various dependent claims are all disclosed in either Chardon

or Mishra, so as with claim 1, the scope and content of the prior art weighs in favor of obviousness.

However independent claim 1 is not found to be obvious in view of secondary considerations.

Thus, its dependent claims, 3, 11, 13, 14, and 15 (the latter two depending from dependent claim

13) also are not found to be obvious. See Ortho-McNeil Pharm., Inc. v. Mylan Labs., Inc., 520

F.3d 1358, 1365 (Fed. Cir. 2008) (“But if claim 1 is not obvious [based on secondary




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considerations] then claims 6–8 also cannot be obvious because they all depend from a nonobvious

claim.”); In re Fritch, 972 F.2d 1260, 1266 (Fed.Cir.1992) (“[D]ependent claims are nonobvious

if the independent claims from which they depend are nonobvious.”).

        DOMESTIC INDUSTRY - ECONOMIC PRONG

        In a patent-based complaint, a violation of Section 337 can be found “only if an industry

in the United States, relating to the articles protected by the patent ... concerned, exists or is in the

process of being established.” 19 U.S.C. § 1337(a)(2). Under Commission precedent, this

“domestic industry requirement” of Section 337 consists of an economic prong and a technical

prong. Stringed Instruments, Inv. No. 337-TA-586, Comm’n Op. at 12-14. The complainant bears

the burden of establishing that the domestic industry requirement is satisfied. See Certain Set-Top

Boxes and Components Thereof, Inv. No. 337-TA-454, Initial Determination at 294 (June 21,

2002) (not reviewed in relevant part).

        The economic prong of the domestic industry requirement is defined in subsection (a)(3)

of Section 337 as follows:

                (3) For purposes of paragraph (2), an industry in the United States shall be
        considered to exist if there is in the United States, with respect to the articles
        protected by the patent, copyright, trademark or mask work concerned --

                (A) Significant investment in plant and equipment;

                (B) Significant employment of labor or capital; or

               (C) Substantial investment in its exploitation, including engineering,
        research and development, or licensing.

        19 U.S.C. § 1337(a)(3). The economic prong of the domestic industry requirement is

satisfied by meeting the criteria of any one of the three factors listed above. The Commission has

clarified that investments in plant and equipment, labor, and capital that may fairly be considered

investments in research and development are eligible for consideration under subsections (A) and




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(B), in addition to subsection (C). See Certain Solid State Storage Drives, Stacked Electronics

Components, and Products Containing Same, Inv. No. 337-TA-1097, Comm’n Op. at 14 (June 29,

2018) (“Solid State Storage”).

         UEI contends that its domestic investments “focus largely on the significant and substantial

investments of its U.S. employees in developing, maintaining, and supporting various aspects of

Quickset.” CIB at 129. UEI asserts that for the 196 and 317 patents, it relies on the investments

in the QuickSet Platform and Samsung DI Products QuickSet integrations, and for the 642 patent,

it relies on the design and development of the UEI DI Products and the UE 878 microcontroller

contained in the remotes. Id. As discussed above, the technical prong of domestic industry was

shown to exist for all three patents as of the filing of the complaint, although the claims practiced

by domestic industry for the 642 and 317 patents have been proven invalid.

         A.     Domestic Industry Investments

                        UEI Quickset Platform (SDK + Cloud) Investments

         UEI states that the QuickSet Platform is “central to the enablement and embodiment of the

exploitation of the technology in the 196 and 317 Patents.” CIB at 130. The QuickSet Platform

is comprised of two primary elements: the QuickSet Software Development Kit (“QuickSet

SDK”) and the QuickSet Cloud. See Tr. (Barnett) at 39:16-19; CDX-0078C.7. QuickSet SDK is

the software development kit, which is software provided to and installed onto the Samsung DI

Products (among others), to implement QuickSet on end-user devices and for end users to use

QuickSet technology on those devices. See Tr. (Barnett) at 40:3-19. According to Mr. Barnett,

QuickSet SDK undergoes successive development, where each new version is based on the

previous version and adds “features, enhancements, [and] optimizations.” Tr. (Barnett) at 47:18-

48:16.




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       UEI explains that its QuickSet Cloud is a cloud-based portion of QuickSet, including an

online database and a series of enhanced functionality beyond the SDK, which “does the work in

figuring out what devices are located in the home theater, essentially through receiving the digital

signature fingerprint from the QuickSet SDK.” CIB at 130, citing Tr. (Barnett) at 40:20-41:7. UEI

further states that the Samsung DI Products                                       of times a year as

they function to support the QuickSet implementation on those TVs,

                                                                                     Id., citing Tr.

(Barnett) at 51:4-17.     Both the QuickSet SDK and Cloud are necessary for Samsung’s

implementation and use of QuickSet in the Samsung DI Products. See Tr. (Barnett) at 41:8-42:14.

       UEI tracks the costs of its engineering and R&D investments by project code, in the

ordinary course of business, through UEI’s record keeping software called “KeyedIn.” See, e.g.,

Tr. (Barnett) at 43:17-25, 45:7-47:3. The information includes the labor costs tracked on a project

by project basis. See id. at 96:8-97:1.

       To determine the labor costs for this investigation, UEI selected “projects that only relate

to QuickSet SDK and Cloud.” CIB at 131.



              See Tr. (Barnett) at 47:6-17 (identifying SDK projects shown in CDX-0078C.11);

49:24-50:13 (identifying QS Cloud projects in CDX-0078C.12); JX-0431C (containing SDK

investments)). However, UEI is not relying on version 4.0 through 4.6 to establish its domestic

industry. CRB at 68.



                                                       See Tr. (Barnett) at 49:24-50:13 (identifying

QuickSet Cloud projects in CDX-0078C.12); JX-0431C (database containing investment figures




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for said projects)). Although Samsung had not yet finished implementing some Cloud projects at

the time of the complaint, those features “were nonetheless provided and available to Samsung for

use at that time.” CIB at 131-132, citing Tr. (Barnett) at 50:8-25, 93:21-95:14. Mr. Barnett

explained this delay between delivery and implementation as the way Samsung integrates software

into the Samsung DI Products: “Samsung “need[s] all the software well in advance that can be

integrated and tested. It goes through their own QA cycle. They need lots of lead time.” Tr.

(Barnett) at 95:2-5). The Samsung DI Products presently use all of the features provided by these

Cloud projects. See Tr. (Barnett) at 50:23-25.

                      Samsung Customer QuickSet Integration Investments

        In addition to investments in the QuickSet Platform, UEI states that it invests in R&D

projects “dedicated to implementing and integrating QuickSet on Samsung DI Products

specifically, [and] tracks the Samsung DI Products integration investments by project code in the

ordinary course of business in its KeyedIn database.” CIB at 132, citing Tr. (Barnett) at 60:15-

61:4.    Mr. Barnett explained that these projects involve the integration of QuickSet

implementations on the Samsung DI Products. See Tr. (Barnett) at 60:15-61:23; CDX-0078C.13.

From 2012 to March 2020, UEI invested                 in domestic R&D labor for these projects.

See Tr. (Barnett) at 61:5-23; CDX-0078C.13.

                      UEI DI Products (Remotes) Investments

        UEI designs and develops remote controls for use in QuickSet for customers such as Dish

Network, Netflix, AT&T, and Verizon. See Tr. (Barnett) at 64:15-19; Tr. (Prouse) at 265:25-

266:6; CDX-0078C.14-.19. UEI selected representative remote controls (the “UEI DI Products”)

as representative of UEI’s domestic industry in the 642 patent with respect to Claim 19. See CIB

at 132. These UEI DI Products were all designed and developed primarily in the United States by




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UEI employees. See Tr. (Barnett) at 65:6-20. UEI also developed the UE878 microcontroller for

use in smart remotes, including the UEI DI Products. See Tr. (Barnett) at 66:5-12.

       UEI tracks the UEI DI Products and UE878 chip R&D investments in the ordinary course

of business in its KeyedIn program. See Tr. (Barnett) at 65:6-20, 66:5-12. From 2016 through

March 2020, UEI invested                in U.S. labor investments in the UEI DI Products and an

additional            in the UE878 microcontroller. See CX-1321C; CX-1322C.

                      Roku’s Objections

       Roku advances several criticisms of UEI’s economic prong case, other than significance

and substantiality, which are addressed below. First, Roku argues that UEI fails to properly

allocate its investments related to, and includes investments unrelated to, the Samsung DI

Products. See RIB at 126-32. Roku asserts that “the indisputable fact is that the QuickSet Platform

contains a wide range of features—many of which are not used on the Samsung DI Products—and

there are significant factual questions as to which projects resulted in features actually

implemented in the Samsung DI Products.” RIB at 127, citing Tr. (Vander Veen) 1060:20-1062:6;

RDX-0010C.9-10 (Vander Veen demonstratives); Tr. (Lipoff) 562:19-566:5, (Balakrishnan)

745:3-747:15.

       But Mr. Barnett testified that for its domestic industry UEI selected QuickSet projects that

are “necessary” for the functioning of Samsung DI Products. Tr. (Barnett) at 48:17-49:1, 50:14-

18, 61:20-23. Moreover, Dr. Prowse testified that UEI only counted QuickSet investments that

related to either “QuickSet SDK Cloud or specifically to Samsung.” Tr. (Prowse) at 450:16-18.

Thus, UEI did not include “hundreds of QuickSet projects specific to other customers or in

products not at issue, such as Nevo Butler.” CIB at 134, citing Tr. (Prowse) at 449:12-450:18;

CDX-4C.22-26. Dr. Prowse further testified that he counted only investments in the QuickSet

SDK for Samsung DI Products up to the version (3.9) at the time of the Complaint. See Tr.




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(Prowse) at 247:9-20. Finally, Dr. Prowse testified that for prong B he allocated the QuickSet

Platform investments by generating a ratio of Samsung DI Products-specific investments to all

customer-specific investments. See Tr. (Prowse) at 402:19-405:20; Tr. (Barnett) at 63:15-18. And

the more a customer uses QuickSet, the more they use and rely upon the QuickSet Platform (id.).”

CIB at 134. Thus, UEI asserts that based on this analysis, “Samsung comprised                   of all

customer-specific investments from 2014 to 2019.” CIB at 134, citing Tr. (Prowse) at 403:8-

405:7.

         Roku further argues that UEI inappropriately included investments relating to recently

developed technology not actually implemented in the Samsung DI Products. See RIB at 126

Specifically, Roku states that UEI claims investments related to the “QuickSet Cloud – Predictive

Discovery Engine” (project number 30167), which was not in products shipped at the time of the

filing of the complaint. See RIB at 127-128, citing Tr. (Barnett) 85:22-7.

         But “Commission precedent is clear in stating that any activities or investments prior to the

filing of the complaint are relevant to showing that a domestic industry exists or is in the process

of being established, regardless of whether the product has been sold prior to filing.” Certain

Electronic Devices, Inv. No. 337-TA-847, Order No. 18, at 4 (May 28, 2013) (denying motion in

limine to exclude investments related to products not yet released at the time of the complaint)).

While a domestic industry must be measured at the time of the complaint, that does not mean that

investments made prior to filing in future to-be released products do not count. See id. Moreover,

CX-1320C shows that project number 30167 investment was                    which even if disregarded

has little effect on the finding that UEI has a domestic industry.

         Roku also argues that UEI inappropriately included total investments over the past eight

years, which include investments that were made before the March 2020 issuance of the 196 and




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317 patents. RIB at 126. But the priority dates of the 196 and 317 patents are October 28, 2011

and September 8, 2005, respectively, and an invention can be commercialized during the pendency

of a patent application. See CRB at 72.

       Roku argues that the Samsung DI Products incorporate only QuickSet SDK version 3.4

and the RF4CE feature of version 3.9. RIB at 132. But Mr. Barnett testified that each version of

QuickSet was built on the previous version, and thus, by definition the Samsung DI Products

incorporated the older version of QuickSet:

       Q . . .What does it mean to have the next version of QuickSet? What are those
       developments, 1 when you determine that it's a new version of QuickSet?

       A. A new version is developed based on the previous versions. So we take the
       previous released version, we add features, enhancements, optimizations to that to
       create the new follow-on release.

       Q. So, again, QuickSet version 3.8, does that build on all of your efforts in 3.7?

       A. Yes, it does.

       Q. And all of your efforts in 2.7?

       A. Yes.

       Q. All of your efforts in 2.1?

       A. That's correct.

       Q. Are there any of these QuickSet projects where you decided we're just going to
       develop QuickSet all over again from scratch?

       A. No.

Tr. (Barnett) at 47:24-48:16. Thus, the previous project versions were necessarily part of the

Samsung DI Products’ implementation of QuickSet, and appropriately utilized in the domestic

industry calculation.

       Roku also argues that “UEI’s overexpansive view of its domestic industry also masks the

declining trend in UEI’s asserted investments and artificially inflates the level of its investments




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at the time of the filing of the Complaint.” RIB at 133, citing Tr. (Vander Veen) 1068:10-1069:12;

RDX-0010C.12 (Vander Veen demonstrative). Roku argues that “projects are not ongoing

investments and many of these project investments ended several years ago,” and thus, at the time

the complaint was filed UEI’s domestic industry activities were minimal. RIB at 133. But UEI

continues to invest in the QuickSet implementation on Samsung DI Products, as even Roku’s

expert acknowledges. See Tr. (Vander Veen) at 1095:10-1096:2 (“I don’t believe that investments

in QuickSet related to Samsung are being discontinued.”).

       Moreover, Dr. Prowse demonstrated that UEI spent

                              on implementations for the Samsung DI Products. See Tr. (Prowse)

at 262:4-263:13. This is shown below, based on CX-1320C:




       The Commission has stated that nothing requires that a “complainant’s domestic industry

investment at the time of the filing of the complaint be increasing compared to past years.” Certain

Marine Sonar Devices, Inv. No. 337-TA-921, Comm’n Op. at 63 (Dec. 1, 2015). All a complainant




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needs to show is that there are past expenditures and that it is “continuing to make qualifying

investments at the time the complaint is filed.” Certain Television Sets, Inv. No. 337-TA-910,

Comm’n Op. at 68 (Oct. 30, 2015). UEI has done this.

          UEI’s summary of its domestic industry bases in the QuickSet Platform, QuickSet

Samsung Integration, and UEI DI Products (remotes + chips), is provided below:




JX-0431C; JX-0432C; JX-0433C; CDX78C.11-13; and Tr. (Barnett) at 65:6-20, 66:912.

          B.     Significant Employment of Labor or Capital under Prong B

                 1.     “Significant” or “Substantial”

          The next step in the evaluation of domestic industry is to determine if the investment

amounts identified above are “significant,” as in subsections (A) (which is not asserted by UEI)

and (B), or “substantial,” as in subsection (C). The most recent precedential decision by the Court

of Appeals for the Federal Circuit addressing this determination is Lelo, which restated law

applicable to a number of issues surrounding the economic prong of domestic industry. See Lelo

Inc. v. ITC, 786 F.3d 879, 883-85 (Fed. Cir. 2015). In particular, the Federal Circuit held that the

statutory terms “‘significant’ and ‘substantial’ refer to an increase in quantity, or to a benchmark


4
    As discussed, this investment will not be used in calculating UEI’s investments in DI Products.




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in numbers,” and “[a]n ‘investment in plant and equipment’ therefore is characterized

quantitatively, i.e., by the amount of money invested in the plant and equipment.” Lelo, 786 F.3d

at 883. Continuing, the Federal Circuit held “[a]ll of the foregoing requires a quantitative analysis

in order to determine whether there is a ‘significant’ increase or attribution by virtue of the

claimant’s asserted commercial activity in the United States.” Id. In short, “[q]ualitative factors

cannot compensate for quantitative data that indicate insignificant investment and employment.”

Id. at 885. The Commission has since made clear that some sort of comparative analysis must be

made before significant or substantial can be found. See, e.g., Certain Gas Spring Nailer Products

and Components Thereof, Inv. No. 337-TA-1082, Notice of Comm’n Determination at 3 (Dec. 12,

2019); Certain Carburetors and Products Containing Such Carburetors, Inv. No. 337-TA-1123,

Comm’n Op. at 17-19 (Oct. 28, 2019).

               2.      The 196 and 317 Patents

       Considering subsection (B), “significant employment of labor or capital,” UEI states that

it has a significant domestic employment of labor or capital in the Samsung DI Products that

practice the 196 and 317 patents through its investments in R&D labor in (1) QuickSet Platform

(allocated to Samsung) and (2) Samsung DI Products-specific QuickSet integration projects. See

CIB at 133. Based on Dr. Prowse’s analysis, Samsung comprised                of all customer-specific

investments from 2014 to 2019. See Tr. (Prowse) at 403:8-405:7. UEI submits that this number

is “a conservative, reasonable allocation as it was substantially less than a ‘sales-based’ allocation

       would be using QuickSet royalties.” CIB at 134, citing Tr. (Prowse) at 405:17-406:3. Dr.

Prowse calculated               in R&D labor allocated to the Samsung DI Products practicing the

196 and 317 patents at the time of the complaint, based in part on the testimony of Mr. Barnett and




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Mr. Barnett’s spreadsheets. See Tr. (Prowse) at 406:18-407:9. As noted above, these figures are

sufficiently reliable to evaluate for significance under subsection (B).

       Quantitatively,



                                              See Tr. (Prowse) at 257:21-258:23, 408:22-409:25.

Moreover,



                                See Tr. (Prowse) at 258.24- 259.15; see generally JX-0431C.

Qualitatively, “without the investment, the Samsung TVs wouldn’t practice the patent[s].” Tr.

(Prowse) at 259:16-260:11. As Mr. Barnett put it, QuickSet is “necessary” for the Samsung TVs

to practice the asserted patent claims. Tr. (Barnett) at 48.17-49:1, 50:14-18.

       Roku argues that UEI did not show that its QuickSet investments are significant in

comparison to the Samsung DI Products, “which are complex and expensive consumer electronic

devices,” and the “features QuickSet purportedly enables are only a small part of the Samsung DI

Products.” RIB at 135, citing Tr. (Lipoff) 562:19-566:11; (Balakrishnan) 746:2-13; (Prowse)

440:25-441:4. Roku cites no precedent for this argument, and there is no clear relevance to the

fact that the patented article (a first media device comprising a few hardware components and

implementing QuickSet software) is incorporated into a larger apparatus.

       Roku further argues that UEI’s investments are not significant because “QuickSet may

never be used in the Samsung DI Products,” if, for example, an end user controls a connected

device (e.g., cable box or DVD player) with that device’s dedicated remote and does not connect

any other device to the Samsung DI Product (e.g., uses a Samsung TV without a cable box). RIB

at 135, citing Tr. (Lipoff) 565:4-566:5; (Balakrishnan) 747:5-15. This may be relevant for claim




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2 of the 196 patent, which requires a second media device, but it is otherwise irrelevant; the

Samsung DI Products practice claim 1 of the 196 patent, and the fact that a DI product need not

be used for its intended purpose is neither here nor there.

       Roku further argues that UEI fails to show significance because neither UEI nor Dr. Prowse

compared UEI’s domestic investments in QuickSet to any other investments in the Samsung DI

Products, whether by Samsung or by another supplier of components or software. RIB at 135-

136. Roku reasons that a “comparison is necessary to establish the significance or substantiality

of UEI’s investments, because the Samsung DI Products—not QuickSet—are the protected

articles.” Id. But the test for significance under prong B involves a comparative analysis of the

complainant’s labor and capital investments, not some other company’s investments.

       Lastly, Roku argues that QuickSet is not an article protected by the 317 and 196 patents.

See RIB at 126, 131-32. That QuickSet is intangible is not dispositive, and Roku’s reliance on

ClearCorrect Operating, LLC v. ITC, 810 F.3d 1283 (Fed. Cir. 2015), is misplaced. In that case,

the United States Court of Appeals for the Federal Circuit was not discussing what defines a

domestic product, but rather whether “digital data that was transferred electronically, i.e., not

digital data on a physical medium such as a compact disk or thumb drive” is an “article” as

described in 19 U.S.C. § 1337(a). 810 F.3d at 1290, 1296. The court held that digital data alone,

as opposed to “digital data on a physical medium,” is not an article under the statute. Id. at 1300.

This holding simply is not relevant here. Nor is the fact that QuickSet alone fails to practice all

the elements of any claim of the 317 and 196 patents, because the Samsung DI Products do practice

the claims when implementing QuickSet, and the Samsung DI Products are licensed. See Certain

Multi-Stage Fuel Vapor Canister Systems and Activated Carbon Components Thereof, 337-TA-




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1140, Initial Determination at 116-17 (Jan. 28, 2020) (“Multi-Stage Fuel Vapor Canister

Systems”).

       Overall, UEI’s comparison of the number of UEI R&D employees performing activities

related to the Samsung DI Products with the total number of UEI QuickSet R&D employees, and

the

                                                                             See Tr. (Prowse) at

257:21-259:15. Accordingly, UEI has made significant investment in labor and capital under

prong B for the 196 and 317 patents.

               3.     Remote Control Investments for the 642 Patent

       UEI asserts that it has demonstrated a significant employment of labor or capital under

prong B for the 642 patent through its domestic investments in R&D labor in the design and

development of the UEI DI Products. See CIB at 135-36. Quantitatively, Dr. Prowse calculated

             dollars in domestic R&D labor from 2016 through March 2020 for prong B. See Tr.

(Prowse) at 410:1-21; JX-0432C. Qualitatively, all the investments in question go to the critical

activities in the design and development of virtually every aspect of the UEI DI Products. See Tr.

(Barnett) at 64:15-19; Tr. (Prowse) at Tr. 266:7-17.

       Roku asserts that UEI has failed to show that these investments are significant in the

context of its overall business because the “asserted item numbers comprised between

of UEI’s originally claimed revenues related to its Asserted Domestic Industry Remote Products

between 2017-2019.” RIB at 138. And, over this same time period, this represents

      of UEI’s total asserted revenues.” Id. Furthermore, Roku asserts that the UEI DI Products

make up a small fraction of UEI’s remote control business overall. Id. at 139, citing RX-0641C

(UEI remote revenue). Moreover, UEI manufactures all of its remotes in foreign countries, but it




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did not “provide a comparison between the alleged domestic investments and manufacturing labor

investments abroad—even as to the particular UEI DI Products at issue here.” Id., citing Tr.

(Prowse) at 444:16-22.

       Considering foreign manufacturing costs is not the only factor the Commission examines

in evaluating a complainant’s economic prong calculations. “Commission precedent permits

complainants to present evidence of their U.S. investments using methods and approaches that are

appropriate to the facts of a particular investigation.” Certain Movable Barriers, Inv. No. 337-

TA-1118, Comm’n Op. at 23-26 (Jan. 12, 2021). “Thus, while foreign manufacturing costs may

be relevant to proving that a complainant’s investments are significant or substantial, [Respondent]

has provided no authority that compels a finding that domestic investments cannot satisfy the

domestic industry requirement in the absence of presenting a comparison of foreign manufacturing

costs to a complainant’s U.S. investments.” Id. In Certain Movable Barriers¸ the Commission

found that Complainant’s domestic labor and capital investments were “significant” because they

supported “critical” and “foundational” engineering, R&D, and technical support for its DI

products. Id. at 22. Similarly, in this case, UEI established that its R&D investments in its remotes

go directly to the functionality necessary to practice the 642 patent, and thus, UEI met its burden

to show that its domestic investments were “significant” under prong B.

               Substantial Investments in the Exploitation of the Asserted Patents Under
               Prong C

                       The 196 and 317 Patents

       UEI asserts that its investments in engineering and R&D labor are substantial under prong

C. CIB at 136-137. UEI further asserts that “there is no need to allocate the engineering and R&D

investments in the QuickSet Platform to the Samsung DI Products (e.g. Samsung TVs) because . . .

all of the R&D investments [have] a strong and direct nexus to the claimed features of the Asserted




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Patents.” Id., citing Certain Multi-Stage Fuel Vapor Canister Systems at 218 (“The ‘nexus’

requirement for subsection (C) can be met through allocation to patent-practicing articles, but it is

not necessary, as there is only a need to have a nexus to the asserted intellectual property.”).

       Dr. Prowse summarized his analysis of UEI’s investments under prong C for the 196 and

317 patents:




CDX-4C.9, citing JX-0431C. Thus, UEI invested approximately                              in domestic

engineering and R&D for the 196 and 317 patents.

       Dr. Rosenberg and Mr. Barnett explained the nexus between these investments and both

the patents and the Samsung DI Products. See Tr. (Barnett) at 54:25-60:2 (discussing how

QuickSet SDK and Cloud function on and with Samsung TVs), 40:3-19 (SDK is the software

installed on Samsung TVs); Tr. (Rosenberg) at 163:4-169:24 (explaining how QuickSet SDK

operates as software instructions for the 196 and 317 patents), 224:7-227:2 (same). They also

explained how QuickSet Cloud provides the “control rule” for the Samsung DI Products to practice

claim 1 of the 196 patent. See Tr. (Barnett) at 57:7-58:20 (explaining how control rules are

developed by UEI, maintained on the cloud, and delivered and used by Samsung DI Products); Tr.

(Rosenberg) at 167:18-23, 169:25-172:17 (explaining use of the control rule by Samsung DI

Products in practicing the 196 patent). They further explained how QuickSet Cloud provides the

command codes needed to practice claim 1 of the 317 patent. See Tr. (Barnett) at 57:3-15

(explaining how Quickset Cloud provides the specific code set information); Tr. (Rosenberg) at




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168:21-169:24, 175:18-25, 183:13-184:13 (discussing use of code sets in Samsung DI Products to

meet claim 1 of the 317 patent). And investments in QuickSet Samsung integration projects go

directly to the integration of the QuickSet platform onto the Samsung DI Products, thus enabling

them to practice the 196 and 317 patents. See Tr. (Barnett) at 60:15-61:23.

       Quantitatively, approximately two-thirds of UEI’s engineering and R&D investments the

QuickSet Platform and Samsung integration projects are carried out in the U.S.:




See Tr. (Prowse) at 257:21-258:23; CDX-0004C.9. Moreover, a substantial portion of

                                                            See Tr. (Prowse) at 258:24-259:15.

Quantitatively, as noted, UEI’s investments go directly to the functionality necessary to practice

many claimed elements of the 317 and 196 patents.            See Tr. (Prowse) at 259:16-260:5.

Furthermore, maintenance of the QuickSet Platform is necessary to promote and sustain the

commercial viability of the Samsung DI Products. See Tr. (Barnett) at 61:20-23; Tr. (Prowse) at

248:4-9.




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       Such evidence is sufficient to establish nexus, because QuickSet involves software and

“software updates” that result in practice of the asserted claims when implemented on the Samsung

DI Products. Certain Marine Sonar Devices at 65.        As in Certain Marine Sonar Devices, the

“entirety of [Complainant’s asserted] expenditures is attributable to [its] domestic investment in

research and development and engineering.” Id. at 64-66. And because “the complainant is

engaged in substantial research and development involving the asserted patent[s]” – on average,

over             per year between 2012 and 2020 – UEI’s evidence is also sufficient to establish

substantiality. Id. at 65-66. Roku’s remaining criticisms regarding prong C are meritless. See

RIB at 139-43.

       Therefore, UEI has shown by a preponderance of evidence that it has satisfied prong C for

the 196 and 317 patents.

                       The 642 Patent

       UEI asserts that its investments in engineering and R&D related to the UEI DI Products

and the UE878 chips are substantial. See CIB at 140-41. Quantitatively,

        investment in R&D relating to the UEI DI Products and UE878 chip have taken place in

the U.S. See Tr. (Prowse) at 398:22-399:19; CDX-4C.17. Qualitatively, there is a strong nexus

between UEI’s investments and exploitation of claim 19 of the 642 patent, and the investments

involved the actual design, development, and testing of the UEI DI Products and UE878 chip. See

Tr. (Barnett) at 64:15-19; Tr. (Prowse) at 266:7-17, 399:20-400:5. Roku asserts that UEI did not

offer evidence that its investments share a nexus to a claim limitation of the 642 patent. See RIB

at 143. This argument, and Roku’s other arguments pertaining to prong C, are meritless; the

UE878 chip plainly corresponds to the microcontroller recited in claim 19 of the 642 patent. See

id. at 143-44; Tr. (Barnett) at 54:16-17, 65:21-66:1.




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       Thus, UEI has shown by a preponderance of evidence that it has satisfied prong C for the

642 patent.

       CONCLUSIONS OF LAW

       1.     The Commission has in rem jurisdiction over the Accused Products, electronic
              devices, including streaming players, televisions, set top boxes, remote controllers,
              and components thereof.

       2.     The importation or sale requirement of Section 337 is satisfied for Roku.

       3.     UEI has been shown to practice claim 19 of U.S. Patent No. 7,589,642.

       4.     UEI has been shown to practice claims 3, 6, 9, and 11 of U.S. Patent No.
              10,600,317.

       5.     UEI has been shown to have standing to assert U.S. Patent No. 10,593,196.

       6.     UEI has been shown to practice claims 1 and 2 of the 196 patent.

       7.     The domestic industry requirement is satisfied with respect to the 642 patent.

       8.     The domestic industry requirement is satisfied with respect to the 317 patent.

       9.     The domestic industry requirement is not satisfied with respect to the 196 patent.

       10.    Roku’s Elk Remotes directly infringe claim 19 of the 642 patent.

       11.    Roku’s Alice Remotes do not infringe claim 19 of the 642 patent.

       12.    Roku directly infringes claims 3, 6, 9, and 11 of the 317 patent.

       13.    Roku’s Ultra and Soundbar directly infringe claims 1, 3, 11, 14, and 15 of the 196
              patent.

       14.    Roku’s Revised Ultra and Soundbar do not infringe the 196 patent.

       15.    Claim 19 of the 642 patent has been shown to be invalid under 35 U.S.C. § 103.

       16.    Claims 3, 6, 9, and 11 of the 317 patent have been shown to be invalid under 35
              U.S.C. § 102 due to anticipation, invalid as obvious under 35 U.S.C. § 103, and not
              patent eligible under 35 U.S.C. § 101.

       17.    Claims 1, 3, 11, 13, 14, and 15 of the 196 patent have not been shown to be invalid
              under 35 U.S.C. § 103.

       18.    There is no violation of Section 337 with respect to the 642 patent.




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       19.     There is no violation of Section 337 with respect to the 317 patent.

       20.     There is a violation of Section 337 with respect to the 196 patent.

       RECOMMENDED DETERMINATION ON REMEDY AND BOND

       The Commission’s Rules provide that subsequent to an initial determination on the

question of violation of section 337 of the Tariff Act of 1930, as amended, 19 U.S.C. § 1337, the

administrative law judge shall issue a recommended determination concerning the appropriate

remedy in the event that the Commission finds a violation of section 337, and the amount of bond

to be posted by respondent during Presidential review of the Commission action under section

337(j). See 19 C.F.R. § 210.42(a)(1)(ii).

       The Commission has broad discretion in selecting the form, scope, and extent of the

remedy in a section 337 proceeding. Viscofan, S.A. v. Int’l Trade Comm’n, 787 F.2d 544, 548

(Fed. Cir. 1986). Under Section 337(d)(1), if the Commission determines as a result of an

investigation that there is a violation of section 337, the Commission is authorized to enter either

a limited or a general exclusion order. 19 U.S.C. § 1337(d)(1). A limited exclusion order (“LEO”)

instructs the U.S. Customs and Border Protection (“CBP”) to exclude from entry all articles that

are covered by the patent at issue and that originate from a named respondent in the investigation.

A general exclusion order instructs the CBP to exclude from entry all articles that are covered by

the patent at issue, without regard to source. Certain Purple Protective Gloves, Inv. No. 337-TA-

500, Comm’n Op. at 5 (Dec. 22, 2004). Under section 337(f)(1), the Commission may issue a

cease and desist order (“CDO”) in addition to, or instead of, an exclusion order. 19 U.S.C. §

1337(f)(1). The Commission generally issues a cease and desist order directed to a domestic

respondent when there is a “commercially significant” amount of infringing, imported product in

the United States that could be sold, thereby undercutting the remedy provided by an exclusion

order. See Certain Crystalline Cefadroxil Monohydrate, Inv. No. 337-TA-293, USITC Pub. 2391,




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Comm’n Op. on Remedy, the Public Interest and Bonding at 37-42 (June 1991); Certain

Condensers, Parts Thereof and Prods. Containing Same, Including Air Conditioners for

Automobiles, Inv. No. 337-TA-334 (Remand), Comm’n Op. at 26-28 (Sept. 10, 1997).

        Additionally, during the 60-day period of Presidential review under 19 U.S.C. § 1337(j),

“articles directed to be excluded from entry under subsection (d) . . . shall . . . be entitled to entry

under bond prescribed by the Secretary in an amount determined by the Commission to be

sufficient to protect the complainant from any injury.” See 19 U.S.C. § 1337(j)(3). “The

Commission typically sets the bond based on the price differential between the imported infringing

product and the domestic industry article or based on a reasonable royalty. However, where the

available pricing or royalty information is inadequate, the bond may be set at one hundred (100)

percent of the entered value of the infringing product.” Certain Industrial Automation Systems

and Components Thereof Including Control Systems, Controllers, Visualization Hardware,

Motion and Motor Control Systems, Networking Equipment, Safety Devices, and Power Supplies,

Inv. No. 337-TA-1074, Comm’n Op. at 13 (Apr. 23, 2019) (“Automation Systems”) (public

version) (citation omitted).

                Limited Exclusion Order

        Should a violation be found, UEI argues the Commission “should issue an LEO containing

the standard, customary language used by the Commission, namely that the relief should be

directed against infringing articles ‘manufactured by or on behalf of’ or ‘imported by or on behalf

of’ Roku and its related affiliates and subsidiaries.” CIB at 142. UEI further assets that “the

exclusion order should cover all components of the Accused Products, as well as any products

containing the Accused Products.” Id. UEI further explains that this means that “the remedial

orders should cover infringing remotes that are imported and/or sold along with Roku Players or




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other Roku devices.” Id. Specifically, “even were Roku to import the remotes separately from a

Roku device, and kit them together in the United States for sale, such activities should be covered

by the exclusion order.” Id. “It should also, by virtue of standard language, cover scenarios where

Roku imports products with older (or no) software and flashes it onto products after importation

and/or sale.” Id. UEI further asserts that no certification or service/repair exception should be

included in an LEO order. Id.

       Roku states that an LEO is not warranted, but if issued, the remedy should be restricted to

an LEO “directed only to the Accused Products that have been proven to infringe a valid patent.”

RIB at 144. Roku further states that the LEO should “be specific to products with the specific

functionality of the Roku OS that have been found to infringe.” Id. at 145. Roku further requests

that “where a violation is found with respect to claim 19 of the ’642 patent, the LEO should

specifically carve out non-accused RF-only, IR-only, and non-programmable RF/IR remote

controls and include a certification provision that allows for the importation of such remote

controls.” Id. Roku further submits that any LEO “should contain an express exemption allowing

for Roku to continue to provide [software] updates and services to customers who already own”

Accused Products. Id.

       Should the Commission find a violation, it is recommended that a limited exclusion order

issue. As for Roku’s concerns over the non-accused RF-only, IR-only, and non-programmable

RF/IR remote controls, it is not recommended the Commission include a standard certification

provision within the LEO. According to the Commission, “[t]he standard provision does not allow

an importer to simply certify that it is not violating the exclusion order. Rather, CBP only accepts

a certification that the goods have been previously determined by CBP or the Commission not to

violate the exclusion order.” See Certain Road Milling Machines and Components Thereof, Inv.




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No. 337-TA-1067, Comm’n Op. at 15, 15 n. 5 (Aug. 7, 2019) (citations omitted). Infringement

by the RF-only, IR-only, and non-programmable RF/IR remote controls was not evaluated in this

investigation and a certification provision is not appropriate.

       As for a warranty and repair exception, this involves a consideration of the public interest.

See e.g., Certain Two-Way Radio Equipment and Systems, Related Software and Components

Thereof, Inv. No. 337-TA-1053, Comm’n Op. at 31-32 (Dec. 18, 2018). Public interest was not

delegated to the administrative law judge in this investigation.        EDIS Doc. No. 685056.

Accordingly, no recommendation is provided on this issue.

       Finally, Roku submits that because the PTAB issued a Final Written Decision holding

many of the claims of the 642 patent and 389 patent to be unpatentable, the Commission should

suspend enforcement of any cease and desist orders to any such claims and those substantially

similar thereto pending any appeal of the PTAB’s decision to the Federal Circuit. See RIB at 147.

I do not recommend that the Commission suspend enforcement. The only claim that is even

tangentially related to the PTAB’s Final Written Decision is claim 19 of the 642 patent. The PTAB

did not institute an IPR regarding this claim and did not issue a Final Written Decision on this

claim. Thus, any decision by the Federal Circuit will have no direct bearing on this claim.

               Cease and Desist Order

       Should a violation be found, UEI argues a CDO is appropriate because Roku maintains and

owns inventory of accused products in the United States. CIB at 142, 143, citing JX-0067C

(Slosek Depo.) at 33:9-18; 40:12-42:8; 47:7-12 (Roku owns and/or controls inventory in U.S. at

“JIT”; “JIT Consumer Direct”, “Contec” and “In transit”); JPX-0027C              of U.S. inventory

of Accused Products); CPX-0125C. UEI further states that the inventory




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          of the subset comprising the 196 Accused Products.” CIB at 143, citing JPX-0027C at

lines 16-17, 44-94, 98.

       In opposition, Roku argues UEI did not meet its burden on the issue and, specifically, UEI

“did not even attempt to prove that Roku’s inventory is commercially significant.” Id. at 73-74.

However, Roku does not dispute that it maintains                          of inventory of Accused

Products in the United States.

       Complainants bear the burden on the issue of cease and desist orders. Certain Microfluidic

Devices, Inv. No. 337-TA-1068, Comm’n Op. at 23 (Jan. 10, 2020). Such orders “are generally

issued when, with respect to the imported infringing products, respondents maintain commercially

significant inventories in the United States or have significant domestic operations that could

undercut the remedy provided by an exclusion order.” Id. at 22-23 (citations omitted). The

evidence demonstrates                      of inventory are stored in the U.S., which constitutes a

significant inventory.

       Accordingly, it is recommended that cease and desist orders issue against Roku.

               Bond

       The Commission has held that “[t]he complainant bears the burden of establishing the need

for a bond” during the Presidential Review period. See Robotic Vacuums, Inv. No. 337-TA-1057,

Comm’n Op. at 68. UEI asserts that the price of Accused Products “can vary dramatically”: $12

for Roku remote to $100 for a Roku Ultra to $149 for a Roku Soundbar to thousands of dollars for

Roku TVs. CIB at 144, citing JPX-0025C; CPX-0127C; CPX-0101C. UEI further asserts that

Roku deflates the prices of its products with a goal of monetizing its advertising revenue, making

the prices of its products unreliable as a basis for comparison. Id., citing JX-0066C (Bright Depo.)

at 101:21-102:20. Therefore, UEI asserts, a reasonable royalty is not readily discernable because




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there is no “standard” rate for licensing technology for remote control of televisions or set top

boxes. Id. UEI submits that a 100% bond is thus appropriate to prevent harm to UEI during the

Presidential review period. Id.

        UEI has not shown the need for a bond in the event of a violation. While the Commission

has made clear that a 100% bond is appropriate when a price differential is not practical or not

possible given the record, the overall focus is to protect the complainant from injury. Non-Volatile

Memory, Inv. No. 337-TA-1046, Comm’n Op. at 67, citing 19 C.F.R. § 210.50(a)(3). UEI offers

no evidence that it competes with Roku, and concedes that a reasonable royalty is not ascertainable,

and thus, no bond is warranted. Certain Digital Video Receivers and Related Hardware and

Software Components, Inv. No. 337-TA-1103, Comm’n Op. at 32 (May 13, 2020) (“The

Commission agrees with the RD’s conclusion that Rovi failed to justify the need for a bond,

including that Rovi did not establish an appropriate price differential in view of the absence of

reliable pricing information . . . or royalty rate, where Rovi failed to show the role of these patents

in the portfolio patent licenses.”).

        Accordingly, it is recommended that no bond requirement should issue.

        INITIAL DETERMINATION AND ORDER

        Based on the foregoing, 5 it is my Initial Determination that there is a violation of Section

337 of the Tariff Act of 1930, as amended, 19 U.S.C. § 1337, in the importation into the United

States, the sale for importation, or the sale within the United States after importation of certain

electronic devices, including streaming players, televisions, set top boxes, remote controllers, and


5
 The failure to discuss any matter raised by the parties or any portion of the Record herein does
not indicate that said matter was not considered. Rather, any such matter(s) or portion(s) of the
Record has/have been determined to be irrelevant, immaterial or meritless. Arguments made on
brief which were otherwise unsupported by Record evidence or legal precedent have been
accorded no weight.




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components thereof, in connection with the asserted claims of U.S. Patent No. 10,593,196. It is

also my Initial Determination that there is no violation of Section 337 of the Tariff Act of 1930, as

amended, 19 U.S.C. § 1337, in the importation into the United States, the sale for importation, or

the sale within the United States after importation of certain electronic devices, including

streaming players, televisions, set top boxes, remote controllers, and components thereof, in

connection with the asserted claims of U.S. Patent Nos. 7,589,642 and 10,600,317.

        Furthermore, it is my determination that a domestic industry in the United States exists that

practices or exploits U.S. Patent No. 7,589,642, 10,600,317, and 10,593,196.

        I certify to the Commission this Initial Determination, together with the Record of the

hearing in this investigation consisting of the following: the transcript of the evidentiary hearing,

with appropriate corrections as may hereafter be ordered; and the exhibits accepted into evidence

in this investigation. 6

        Pursuant to 19 C.F.R. § 210.42(h), this Initial Determination shall become the

determination of the Commission sixty (60) days after the date of service of the Initial

Determination, unless a party files a petition for review of the Initial Determination within twelve

(12) business days after service of the Initial Determination pursuant to 19 C.F.R. § 210.43(a) or

the Commission, pursuant to 19 C.F.R. § 210.44, orders on its own motion, a review of the Initial

Determination or certain issues therein. Any issue or argument not raised in a petition for review,

or response thereto, will be deemed to have been abandoned and may be disregarded by the

Commission in reviewing the Initial Determination pursuant to 19 C.F.R. § 210.43(b) and (c).




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  The pleadings of the parties filed with the Secretary need not be certified as they are already in
the Commission’s possession in accordance with Commission rules.




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Confidentiality Notice:

        This Initial Determination is being issued as confidential, and a public version will be

issued pursuant to Commission Rule 210.5(f). Within seven (7) days of the date of this Initial

Determination, the parties shall jointly submit: (1) a proposed public version of this opinion with

any proposed redactions bracketed in red; and (2) a written justification for any proposed

redactions specifically explaining why the piece of information sought to be redacted is

confidential and why disclosure of the information would be likely to cause substantial harm or

likely to have the effect of impairing the Commission’s ability to obtain such information as is

necessary to perform its statutory functions. 7

SO ORDERED.




                                                      ________________________________
                                                      Cameron Elliot
                                                      Administrative Law Judge




7
   Under Commission Rules 210.5 and 201.6(a), confidential business information includes
information which concerns or relates to the trade secrets, processes, operations, style of works, or
apparatus, or to the production, sales, shipments, purchases, transfers, identification of customers,
inventories, or amount or source of any income, profits, losses, or expenditures of any person,
firm, partnership, corporation, or other organization, or other information of commercial value, the
disclosure of which is likely to have the effect of either impairing the Commission’s ability to
obtain such information as is necessary to perform its statutory functions, or causing substantial
harm to the competitive position of the person, firm, partnership, corporation, or other organization
from which the information was obtained, unless the Commission is required by law to disclose
such information. See 19 C.F.R. § 201.6(a). Thus, to constitute confidential business information
the disclosure of the information sought to be designated confidential must likely have the effect
of either: (1) impairing the Commission’s ability to obtain such information as is necessary to
perform its statutory functions; or (2) causing substantial harm to the competitive position of the
person, firm, partnership, corporation, or other organization from which the information was
obtained.




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       I, Lisa R. Barton, hereby certify that the attached INITIAL DETERMINATION has
been served upon the following parties as indicated, on July 9, 2021.




                                               Lisa R. Barton, Secretary
                                               U.S. International Trade Commission
                                               500 E Street, SW, Room 112
                                               Washington, DC 20436

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On Behalf of Respondents TCL Electronics Holdings Limited,
f/k/a TCL Multimedia Holdings Limited, Shenzhen TCL New
Technology Company Limited, TCL King Electrical
Appliances (Huizhou) Company Limited, TTE Technology
Inc. d/b/a/ TCL USA and TCL North America, TCL Corp.,
TCL Moka, Int’l Ltd., TCL Overseas Marketing Ltd., TCL
Industries Holdings Co., Ltd., and TCL Smart Device
(Vietnam) Company, Ltd.

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                         United States Patent and Trademark Office

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     THE RECORDS OF THlS OFFICE OF:




     U.S. PATENT: 10,593,196
     ISS UE DATE: March I 7, 2020




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                           Under Secretary of Commerce for Intellectua l Proper ty
                           a nd Director of the United State tent and Trademark Office




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 ( 12>   United States Patent                                                     (10) Patent No.:                  US 10,593,196 82
         Arling                                                                   (-15) Dale      or Patent:                  *Mar. 17, 2020

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 (72)     inventor:    Paul D. Arllng, 1Iv1m:, CA (U ')                                                     (Continued)
 (73)     Assignee: U 1IVERSAL ELECTIWNICS l"!C.,                                          rOREJGN PATENT DOCUMENTS
                    Santa Ana, CA (US)
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                                                                            (74) Allomey, Agent, or Firm - Greenberg Traurig, LLP
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                   Related U.S. Application Data                            (57)                         ABSTRACT
(63) Continuation of application No. 15/789,547, filed on                   In response to a detected presence of an intended target
     Oct.20.2017, now Pat. No. 10.325,486. which is a                      appliance within a logical topography of controllable appli-
                      (Continued)                                          ances identity infoanation associated with the intended
                                                                           target appliance is used lo automatically add to a graphical
(51)     Int. C l.                                                         user interface of a controlling device an icon representative
         G08C 1 7102             (2006.0 1)                                of1he intended targel appliance and to create at a Universal
         GOBC MIO-I              (2006.01 )                                Control Engine a listing of communication methods for use
                            (Continued)                                    in controlling corresponding functional operations of the
(52)     U.S. Cl.                                                          iutended target appliance. When the icon is later activated,
         CPC ............. G08C 1 7102 (2013.01); G08C 23104               the comrolling device is placed into an operating sta te
                          (20 13.0l); JJ04N 2}/42226 (2013.01);            appropriate for controlling functional operations of the
                                                                           intended large! appliance while tbe Universal Control
                             (Continued)
                                                                           Engine uses at least one of the communication methods to
(58)     Field of C l:is~Hication Search                                   transmit a l least one command to place the inleodcd target
         CPC .... G08C 17/02; Gose 23104; G08C 2201120;                    appliance into a predetermined operating state.
                      G08C 23/30; G08C 23/40; G08C 23/70;
                             (Continued)                                                     22 Claims, 14 Drawing Sheets




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                                                  Figure 1




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                                  Figure 2




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                                         Figure 3




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                                       Figure 4




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                                            Figure 6




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                                                        Figure 8




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                   Appliance command
                                                                 Set up app                      UCE programming
                     database server

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                                                               Determine CEC                      ,       Scan for   ~
                                                I                 enabled              .   I           connected CEC
                                                                appliances                               appliances
                                                I                                       I
                                                I                     -!,         _908
                                                                                    _,, I                                910
                                                                 Determine                        ,'   Scan for other ._..,,
                                               I               HDMI (non-CEC)              I           HOM! attached
                                                                                                        appliances
                                               I                 appliances
                                                                                           I
                                               I                      i            912 I
                                                                                  __,
                                                                Display list of
                                               I                   located                 I
                                               I                 appliances                I
                                               I                      i           _914
                                                                                    _,,    I
                                                               User identifies
                                               I           non-CEC and noo-                I
                                                           HDMI appliances
                                               I                                           I
                                         918   I                      J.                   I

             ~v
                        Retrieve       ,                           Obtain     ~6
   207,              command sets              I
                                                       ~
                                                               command sets                I
,:::_
                     for appliances
                                               I               for appliances
                                                                                           I
         -                                                            J.
                       Retrieve      ,
                                      34 I                                         920
                                                                                  ,__,,    I
                                                                                                 ,'        Receive     ~
                                                                                                                         9 22
                                                            Test and
              ~        alternat e  '           I                                   .       I           codesets, issue
                                                       • conf irm codsets
                     command set s             I                                           I           test commands

......
             -'\    Build command
                         matrix
                                      3s       I
                                               I
                                                       .
                                                       '
                                                                     J.
                                                           Build command
                                                           matrix, transfer _
                                                                            .....
                                                                                   926
                                                                                  __,,     I
                                                                                           I
                                                                                                         Store final
                                                                                                         command
                                                                                                                        ~30

                                               I                to UCE
                                                                                           I               matrix

                                               I                     i            32       I
                                               I                 Configure
                                                                 activities
                                                                                           I
                                               I                                           I
                                               I                     i                     I
                                               I           (       Done                    I




                                                           Figure 9


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                      Set up app                                  UCE programming

                       Configure                I
                       activities               I
                                                I
                                        1002
                     Present list of
                                                I
                       activities               I
                                        1004    I
                    User selects an             I
                       activity
                                                I
                                        1006    I
                   Identi fy conte nt
                       source                   I
                                                I
                                        1008
                                         ,
                    Identi fy video             I
                      rendering
                      device and
                                                I
                    conten t route              I
                                        1010
                                                I
                   Identi fy audio              I
                     rendering
                     device and
                   conte nt route

                                        1012
                    Build activit y
                       matrix
                                                     ~ - - - - , .,,
                                                                 1016
                                                         Issue commands
                    Test activit y                          and report
                                                             status as
                                                             required


              N



                                                     ~ - - - - - , 1022
                                                                   .,;
                    Down load
                                                         Store finalized
                  activity matrix 1----- ---,-- ---;ri
                                                         activity matrix
                      to UCE



             y                         1024




                      Done
                                                                           Figure 10


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                                       ,--1100
                                   I
                                                                                                                                 ,- 1101           ,-- 1102
                               /                                                                                             /
                           i             I                          Activity = "Listen to music"
                        I                                                                                                '                         ,--
                                                               Activity= "Watch a movie"
1104 ---,_,
        ...__ .,
               ~




                                                                     Activity = "Watch TV"
                                                                                                                                           ,__
                                                                                                                                                   ,--

                               Appliance

                                        Power
                                                                   TV
                                                                   On
                                                                                      STB/DVR

                                                                                              On
                                                                                                          DVD

                                                                                                          Off
                                                                                                                             AVR

                                                                                                                                 On
                                                                                                                                           ,..._
                                                                                                                                           ,__ ,__
                                                                                                                                                   -
                     ..,
                       (!J

                     ..,
                   V')
                      ro                 Input                HDMll                           --              --         S/PDIF2
                                                                                                                                       1
                                                                                                                                           ~

                                                                                                                                                   w
                   1                                      I                   I                                                        \   i----          I
                   I
                   ' ----... ..--- ----r ----,1-- ---,-
             /l,t---.                                 I   I   '               I                                                                           I
           I   '-'                                      -----
                                                          .
                                                              ,'                                                                               '1..
     1106
           1
                   .gc                  Volume                !.   Off                                                   Active ,.
                                                                                                                                       \              ----
                                                                                                                                                              --- 1110
                       v               Transport              \ --                        Active,
                       § 1 - - - -- + --+\---+- ----.- --+--Off
               ,~
           ,/!./
                   u..                    \
                                            \
                                               I       \, I
                                                             --;\-+- - ---, ·, ,_
                                                                 ·, I            --.. __ 1118

       I
                                                                    '· 1116                         '"--- 1112 \'-- 1114
    1108

                                                                              Figure 11




                                                                                                                                       /       1200
                                                                                                                                       I
                                                                         Current appliance state
 1202 ---      .z_ .--)                 Appliance                        1V                   STB/DVR              DVD                AVR
                                                  Power                  On       :
                                                                                                   Off             On                  ??     --· --·· 1210
                               ..,a,
                               ..,
                                ro                Input              HDMl2 ;                        --             --                  ??      _.,. .--· 1212
                               V')                            I I                     I                   I
                           I                ~                 I I                     II                  I                      I
                                         f\

                                         I ,,
                                         • \ 1
                                              \
                                                              1/                      \ I
                                                                                          I
                                                                                                                                                      j


                                                                                '
                                                                              1208
                                                          1206
                                       1204


                                                                                      Figure 12




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                                                    Command request

                                                                    '--·-- 1300
                                                 Retrieve corresponding
                                                   data element from
                                                  preferred command
                                                         matrix



                                             y




                                                    Transmit function
                                                  request to appliance
                                                 using indicated method

                                                                      \.__ 1306
             Retrieve corresponding
               data element from
              alternate command
                     matrix

                                 \.__ 1316
                                                                          y




                                             y

                                                                   , __ 1312




                                             Generate error message           1314
                                                                              ___   ,,


                                                         Done




                                    Figure 13



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                       "Watch TV"
                     activity request

                                                 1400
                    Access appliance
                    state matrix for
                      "Watch TV"


                                                1402
            y


                                                1404


                  Send TV " Power on"
                                                                    Set transport
                         {CEC)
                                                                  commands = DVR


              r - - - - i -_ _\.__
                              ....,            1406
                    Send lV "Mute"
                          (IR)




            y                                                     Send DVD "Power
                                                                     off" (CEC)

                                                          1422

                                                                     SendAVR
                  Send TV "lnputl"
                                                                    "Power on"
                       (CEC)
                                                                       (IR)

                                     \
                                         '--...... 1412                          \__1424
                                                                     Send AVR
                                           y                          Input=
                                                                      S/PDIF2
                                                                        (IR)
                                           1414
                                                                                      1426
                  Send STB " Power                                  Set volume
                     on" (CEC)                                    commands= AVR

              I
                                                                                      1428
      1416../
                                                                       Done




                                            Figure 14


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                                   I
                                   I
                                   I
                                              Set up app
                                   I
                                   I
                                                                             1502
                                   I
                                              Set up UCE             1S04
                                   I                                                                      1508
                                                                                              1506
                                   I                                                           )
                                   I        Determine CEC                       Scan for
                                             or IP enabled                   connected CEC
                                   I          appliances                       appliances
                                   I
                                   I
                           1510 I
                              ''-:--...        Determine                     Scan for other
                                   I ..______HDMI (non-CEC)                  HDMI attached
                                   I           appliances                     appliances


                                   I         Display list or             1514
                                   I            located          ,,.
                                                               ___       /
                                              appliances
                                   I                                     1516
                                                                     /
                                   I
                        1520       I
                                                                         1518
                                   I                                 /
           Retrieve icon           I         Obtain icon
           metadata for                      metadata to~
            appliances                                               1526
                                   I                                     /
         ..---_.__-_, 1~22 I              ----"---,,,-~✓
          Retrieve a11to
           generated       .,.___._j
              macros
                                   I
                                                                     1528
                                   I
           Build user
                                             Test rr:acros
            profile       I
                  ,_~1s24 I
                          I
                          I
                          I
                          I
                          I                          y



                                                 Done




                                           Figure 15




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                                          Appx665
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                                                       us 10,593, 196 8 2
                                  l                                                                 2
         SYSTEM AND METOOD FOR O PTTMlZEO                                  remote control. smart phone, tablet computer. cl~-, and ~
                APPLIANCE CONTROL                                          particular to methods for taking advantage of improv
                                                                           appl iance control communicatio~ m~thods and/or cornmand
               RELATED APPLICATION INFORMATION                             formals in a reliable manner which 1s largely transpan:111 to
                                                                           a user and/or seamlessly integrated with legacy appliance
          lltis application claims the benefit of aDd is a coutinuatiou    control tcchoology.                           .
      of U.S. a~plicatiou Ser. No. 15/789,547, filed on Ocl. 20,              To tl1is end, 1hc instant invention comprises a modular
      201 7, which application claims the benefit of and is a              hardware and software solution, hereafter referred to as :1
      continuation of U.S. application Ser. No. 15/259.8-17, filed         Universal Control Engine (UCE), whtch is adapted to pro•
      ?0 Sep. 8, 2016, which application cl:iims the benefit of and vide device control across a variety of available control
      ts a continuation of U.S. application Ser. No. 14/136,023, to methodologies ;01d communicntion media, such as for
      filed on Dec. 20, 2013, which application claims tl1e benefit        example various i11frn red OR) remote control protocols;
      of and is a cominuation-in-par1 o f U.S. ap plication Ser. No.       Consumer Electronic Control (CEC) as may be tmpleme~ted
      13/899,671 , filed on May 22. 201 3, which application claims        over a wired IIDMl connection; internet protocol (IP), wtted
      Lhe bene~t of and is a continuation of U.S. applic:ition Ser.        or wireless; RF4CE wireless; Bluetooth (BT) wireless per•
     No: 13/6:,7,176, filed on Dec. 22, 201 2, which application ts sonal area network(s); UPnP protocol utilizing wired USB
     claims Lhe benefit of U.S. Provisional Application No.                connections; or any other nvaifoble st~ndard or p_rop_n7tary
      6 1/_552,857, filed Oc1. 28, 20 11 , and U.S. Provisional Appli-     appliance command methodology. Smee each md1v1dual
     catton No. 6 1/680,876, filed Aug. 8, 20 12, the d isclosures of      control paradigm m:iy have its own strengths and weak·
     which are incorporated herein by reference in their entirety.         ncsses, the UCE may be adapted to combine various control
         lllis application is also related to U.S. patent application 20 methods m order to realize tl1e best control option for each
     Ser. No. 12/62 1,277, filed on Nov. 18, 2009 and entitled             individual commnnd for each individual device.
     "Syste m and Method for Reconfiguration of an Entertain-                 Tue UCE itself may be adapted to receive commands
     ment Sys1eni Controlling Device," which in tum is a con-              from a controlling device, for example, a conventional
     tinuation-in-part of U.S. patent application Ser. No. 12/569,         remote control or a remote control app resident on a smart
     121 (no_w U.S. Pat. No. 8,243,207), filed on Sep. 29, 2009
                                                                        25 device such as a phone or tablet. etc., utilizmg any conve-
     and entuled "System and Method for Activity Based Con-                nient protocol and command strucnire (JR. RF4CE, BT,
     figuration of an Entertaimnent System," the disclosures of            proprietary RF. etc.) As will become apparent, the control-
     whic~ are incorporated herein by reference in tl1eir entirety.        ling device may range from a very simple uiiidircctional IR
         lllis application is also related to U.S. patent application      device to a fully functional WiFi enabled sman phone or the
    Ser. No. 13/ 198,072, filed on Aug. 4, 20 11 and entitled              like. The UCE may receive command requests from such a
    ··system and Method for Configuring tl1e Remote Control 30 controlling device and apply the optimum methodology to
    ~ ctionali ty of a Pon able Device,·• the disclosure of which          propagate tlle command function(s) to each intended target
    1s mcorporated herein by reference in its entirety.                    appliance, s uch as for example a TV, AV receiver, DVD
        This application is also related to U.S. patent application        player, etc. In this manner ilic UCE may enable a single
    Ser. No. 13/240,604, filed on Sep. 22, 201 I and entitled              controlling device to command ilie operation of all appli-
    "System and Metllod for Configuring Controlling Device 35 ances in a home theater system while coordinating available
    Fun~tionality," the disclosure of which is incorporated                methods o f controlling each panicular appliance in order to
    herein by reference in its entirety.                                   select the best and most reliable metllod for issuing each
                                                                           command to each given device. By way of example without
                             BACKGROUND                                    limitation, a UCE may utilize lR commands to power on an
                                                                        40 AV receiver appliance while CEC commands or another
       Contro lling devices, for example remote controls, for use
                                                                           method may be used to select inputs or power down the
   in issuing commands to entertainment and oilier appliances,
  and tlle features and functionality provided by such control-            same   AV receiver appliance; or CEC commands may be
   ling devices are wel l known in the an . In o rder to faci litate       used to power on and select inputs on a TV appliance while
  s uch functi onality, various communication protocols, com-              IR commands may be used to control the volume on the
  mand formats, and interface meiliods have been imple- 45 same TV appliance .
  men ted by appliance manufacnirers to e nable operational                   As will become apparent, a UCE may comprise modular
  control o f entertainment and other appliances, also as well             hardware and software which may be embodied in a stand-
  known in the an. In particular, the recent proliferation of              alone device suitable for use in an existing home theater
  wireless and wired communication and/or dig ital intercon-               equipment configuration, or may be incorporated into any
  nection methods such as WiFi, Bluetooth, HDMJ, etc., 50 one of the appliances such as a STB, TV, AV receiver, HDMI
 amongst and between appliances has resulted in a corre-                   switch etc. Further, when incorporated into an appliance,
 sponding proliferation of such communication protocols and                UCE functionality may be provisioned as a separate hard-
 command formats. While many o f tllese newer methods may                  ware module or may be incorpo rated together with other
 o ffer improved performance and/or reliability when com-                  hardware functionality, e.g., as pan ofan HDMl interface IC
 pared to previo us control protocols, appliance manufacturer 55 or chip set, etc.
 adoption of such newer methods remains inconsistent and                      A bencr understanding o f the obj ects, advantages, fea-
fragmented. This, together with the large installed base o f               tures, propenies and relationships of the invention will be
prior generation appliances. may cause confusion, mis-                     obtained fro m the following detailed description and accom-
operation, or other problems when a user o r manufacturer of               panying drawings which set fonh illustrative embodiments
a controlling device, such as a remote control, anempts to 60 and which are indicative o f the various ways in which the
take advantage of the enhanced features and functi onalities               principles o f the invention may be employed.
of these new contro l methods.
                                                                                  BRIEF DESCRIPTION OF THE DRAWINGS
            SUMMARY OF THE 1NVEN110N
                                                                   65     For a bener understanding of the various aspects of the
  Tilis inven tion relates generally to enhanced methods fo r           invention, reference may be had to preferred embodiments
appliance control via use o f a controlling device, such as a           shown in the anached drawings in which:



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                                                         Appx666
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                                                           US I 0.593, 196 B2
                                   3                                                                        4
         FIGS l ilnd 1 illas1r.11c cxcmplmy •Y~tcms m ,,1hieh 3            recehcr 110 may tl0L support I JDMJ inputs, being con.oected
     .s:iandnloae UEC device may be utilittd to commaod opera•             to nudlo source appliances 108,110 vi:l. for example ~/PDlF
     Uva of several appliam:-e:;;                                          inLerfoces 122. Accordingly UCF J 011 niay I><; coastr:uncd lo
         Fl(!S, J _and 4 illostrateexemplmy systems in which U£C           tr:u1sm11 all commands d~ttncd for. V roce1ver J20 exclu-
      funcuooahty m;iy be iocorporatcd in10 an :ippli:mce which is • si\ ely as JR signals, while co1Jllll81lds destined for tbe other
     pan of a home l!lllL"fl.Jiruneot svstem:                              :ippliMces 106 lhroo)!.h U 0 may take the fom.i oieilbl!t CEC
         F_IG 5 illustrates a block du1graru uf an t-xcruplaiy UEC         or [R :si~ls as appropriate for eadt command. By way of
     o.L.>vtce;                                                            eimmrle wi1hout limitation, certain TV oia11u fa:tur.:rs ruay
         FIG. 6 iUustrar~ a graphical repn:il?llmtiuo of an excm-          dect ool lo supporL volume adjustment via Cr.C, If the
     placy UCE-b:tscd control <!llvironmcnt;                           tu 11lustrativc T\' J 06 is of such ni:mufncturc, UCf,.: I 00 moy
         FT~ 7 illustrates an cxempl:iry pref..-rrud corumaud              relay volume ,1dj11sunen1 requests 10 fV I 06 as lit s[~nals
     malrJx for use m a UCE.-based comrol L'llv1moment. for                Jl.t. while o t.her r<..-quc.·,as sncb as power on/off or mput
     example as illustrated m FIG. 6;                                     sckctions may be relayed in tbl! fonn of c t:r commWJds
         FIG. 8 illostra1es a block diagram of an exemplary Slll11f1      over HOMJ co11nectioo ll2.
     dcvici: which may support a remote control app and ;i scmp )              Jt Y.ill ho\\<evc.r be :ipprccialA!d Lhat while llhi,m.itcd in the
     method for USC i D configurin~ a \JCE,                               coorexl of IR. Rf, and wirL-d Cl~ s1iµuil tr.msmJssiow, 10
         FIG. \I 1Uustn11es an exemplary series of seeps which IIlllY      general. trausmtSStons 10 and from UCE device 100 may
     be perfonncd in onlcr 10 se1 up nod confi11urc an exemplary          131:c lhi! form of any convenfont JR. RF. hardwired, poin1-
     UCE;                                                                  l<l-poin1, or actworkc:d pm10eol, as oecc.sary for a particuk1r
         FIG, JO WUStraies au exemplary cries n[ steps which may w erubod1rucnl Further. '>'bile wireless ~ommunications ll6.
     be performed in onlcr to define 10 a UCE on appliance                "8, etc,, bmween exemplary device~ .ire illwtrn1ed herein
     conJlgu!'lltion \vluc:h correspond,, 10 a user acliVtLy:             .;is direct links, it ~hould be opprcciatcd th.al in some
         FIG. ll illustr.Jtes exemplary activity ronfiguratioo matri-     Ul.Stanee!, ..uc:h communicatioo ma} take rloce via :i lo~!
    ces :.ucb as may be defined durilll! the steps of FIG. LO;            area network nr pcrsoo.11 ;irca nc1work. and as such DlJly
         FIG. 12 iUu,;tralL'S an ext"mpL1ry cw:rent appliance stoic :is iovolvc various in1ennediary devices s-uch as ronlct5,
     matrix which may be m.tl01ai.ocd by a UCB for us..- io               bridges, :iccess points, etc Since these nems rut: nor neces-
    dc1ennlning the commands OQCCSS31)' lo mvoke uoc of the               sary for an uodel".Standiog of the iostaJll inveoliuu, they urc
    states defined by the tnalrix of FIG. 11 ;                            omiucd from thh and subsequent FigUitS for              we     sake or
        PIG. J3 illustra1c-s an cxcmr):uy scrie<; of steps which may      danty.
    be p<:rfonned by a UCE in 1ssuing a function command to au 10 Since .smart dcvice n:motc control upps such as tba1
    appl iance.                                                           con1empla1cd in the illus1m1ive device J 04 are well k.Mwn,
        FIG. 14 illustrates an exemplnry series of sicps which may        for tbcsakeofbre\ity the opera1iuo. features, und functions
    be pei:formed by n UCE in L~blishini,t uppliance states               thCl'.""Df will not be described in dt.:tail b.:reio. N<."Vcrthelcss,
    matching a d~ircd ac1ivity dcfinoo in one oftbc malrices of           if a more complete understanding oft.he na111re of such apps
    FIG. lJ : and                                                     35 is desired, the interested ~ adcr may lul'[l lo, for example. the
        PIG. lS illustrates an exemplary series of stcps which may        before mentioned U.S. patent application Ser. NLI. 12/406,
    be perfonned by a sman device 10 setttp command control               601 or U.S. patent application Ser. No. 13/329.940, (now
    mncros.                                                               U.S. Pat. No. 8.243,207).
                                                                              Turning now to FIG. 2. in a further illustrative cmbudi-
                       DIITAlLED DESCRIPllON                          40 mcDL, UCE 100 may receive wireless request signals from e
                                                                          remote control 200 and/or an app resideol on a table!
        Wi1h reference 10 FIG. I, there is illustrated an exemplary       computer "202. As befon:, command translllissions lo ;ippli-
   sys1cm in which a UCE device 100 may be used 10 Issue                  anc:cs 106,108,110 may take lhe fonn of wired CEC cmn-
   commands to control various co01rollable llppliances. such             mands or wireless IR commands. However, in this ci-amplo:
   as a ta:lwh;oo I -06, a cable sci top box combined with a 45 remote coo1rol 200 may be in bi-directional communicatiou
   djgi1al video recortler (''STB/DVR") UO. a DVD player                  208 \vith UC E 100 and accordlngly we UCE may deJcga1c
   J 08, and an AV receiver UO. While illustrated in the c:onll..-xt                          or
                                                                          !he transmission IR commands 210 10 the remote conlrol
   ofa 1elevis100 106. STB/DVR 110, a DVD player 108, and                 device 200. i.e .. use remote coo1.r0l "2U0 as a relay device for
  an AV n.--ceiver 120, i1 is lo be understood tha1 controllable          those commands determined lo be bes1 cxccu1ed via IR
  appliances may include, but need noL be linuted lo, televi- 50 transmissions. As also gcncrnlly illus1rated ln FIG. 2. a serup
  s ions, VCRs, DVRs. DVD players, cable or satellite con-                app 214 executing ona smart device such es tablet contputer
  verter set-top boxes ("STBs"), amplifiers, CD players, game             202 may be utiliu>d in coojunction with an lotcmet (212,
  consoles. home lighting_. drapery, fans, HVAC systems,                  204) accessible or cloud based server 206 and associated
  thermostats. personal computers, etc. In the illustrative               database 207 to initiaUy CQnfigure \JCE l00 for o pcrauon
 example of FJG. l . appliance co1111llfillds may be issued by ss with the specific group of appliance 10 be co ntrolled, i.e .. 10
 UCE 100 in response lo infrJrcd ("TR") request signals U6                co01rnunicate 10 UCE I 00 a matching command code set
 received froJn a remote control device 102. radio frequency              and capability profile for each panicular appliance 10 be
 ( ..RF..) n:quest signals J18 reccived from~ app 124 rt:5i•              controlled, for example based oa 1ypc, manufacture. model
deal on a smart device 104. or any other device from wluch                number, c1c., as will be ch.-scribed in greater dctai I hereafter.
 UCE J 00 n1ay be udapted 10 receive requests, USU\g nny 60                    With reference 10 FIG. 3, in a further ill ustrative: embocli-
appropriate communication _method. As iUu&trated. trans-                  mcnt UCE func1iunality 100' may be embedded in an
mission of the requested apphaocc commands from the LICE                  appliance. fo r example STB/DVR 310, In this example,
to appliances 106,101',ll2,120 may take the form ofwireless               remote control 102 and/or swan device 104 may transmit
m signals 114 or CEC co~ands issued o~e: ~ win:<1 1lDMJ                   wireless request signal directly to STB/DVR 310 for action
interface 112 os appropn atc to tile capabtlitte:. of the par- 6S by Lhc buil!-in UCE function 100', which ac1ions may, os
ticular appli~ce lo which each command m,ay be directed..                 befor~, comprise CEC command trao.~missions via HDM l
In particular, in the exemplary system illustrated. A\'                   connection l12 or JR command transmissions 114, originat-



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                                                      US 10,593, 196 B2
 .    .                          5                                                                    6
   mg lil thi · · st         ·                                           and/or cen afo portfons of interface hardware items 504
  STB           s rn 8;11cc from an IR blaster provisioned 10 the
  a   !D':R       app.hance. 310. In this configuration, a set up         through 514 may be shared with oilier functiorialitJes of the
     pphcatton rc.s1dent 10 STB/DVR 310 rnny be utilized to               host appliance.
  con.figure
    •            UEC 100', UsLOg
                               · fior example an Jotcmet cormcc-             As will be tmderstood by those skilled in the art, some or
   lJ~n 304 accessible through a cable modem and/or cable 5 all of the memory 502 way include exeuutable lnstrucllons
  diSllibu1ion system hcadend.                                            that arc int.ended Lo be cxeculed by the processor 500 lo
           th
  ,, In . e ~unber illustrative embodiment of PIG. 4 UCE                 control  the operalton of the UCE cJevice 100 (colkctivcly,
   ,w1 et:1onaltty I 00' may be cmbedded m      . an AV receiver
                                                               • 420      the VCE programming) as well as daW which serves In
      bicl                                                               define the nl'Cessary control protocols and command vu Inc<
          1
  IV          iuay serve as nu 1-]DMJ switch between various
  content      sources su  b    . STB/D                               10  for use in transmittins comm,1nd sig.nals to cuntmllablc
   108                  . c as "          YR 110 or a D D player         appliances (collectively, the co1nmaod dllta). In tbi.s manner.
   llD~~ n reucienng device such .is TV L06. In addition 10               the processor 500 may be programwed to control the v:inous
            . input ' AV receiver 420 may also suppon various
  other mpnt fonu t 1.                                                   electronic components williin the cxcmplary UCI:. dwtce
  .
  111
              .         as, or cxmuple a nalog input· such .i the        100, e.g., 10 monitor tJ1e communicntmn meall!, 5(),1,510 for
      us~~ve -tO-l froui CD player 408; composite or compo-
                                                                      15 incoming request messages from cuutrolling devices, In
   nent vi co; SIPI?IP couxlal or fiberoptic- etc. In this embodi-       cause the transmission of appliance ctiwmand signals, ctr
  rnent, request signals 40 6
           Ji
                                        b . '
                                  may e d11-ec1cd to AV rL-cewcr
                                                                 .
  420                                                                    To cause the LJ [l device I 00 lo perform no QC't ion, the UCE
   UCB ';; ex_amplc from t1.<m11te coulrol 402, for action by            device 100 may be adapted to Ix, responsive: tu events. such
              mcllon lOO' · As l:icfon.:, l\'iiullins appliance co01-    as .i received rcqueSt m.:ssage from remote cooJn)I 102 or
   mands may be transmiucd using CEC signals transmitted 20 smart device 104, changes in connected .:1ppliancc stams
  over. HDMI connt,t1·ions lll, or vm lR signals 114 trans-              rcponcd over HDMI iulcrface 5011, Wi Fi interface 510, or
   min~d fro~ au ~ssocim~~ ~ blaster. As appropriate foe a               El11emct interface 512, etc:. IJJ response to an event, appro-
   parucuJar emb.odunent, truhal conJiguration of UCB 100' 10            priate instructions within the UC-B programming may be
   match the equipment lo be cuntroll <l may be performed by             el(ecutcd. For example, when a command request is received
   an lnteme~-connccted app resiclent in AV receiver 420, or by 25 .from a s1m1rt phone 104, the UCE device 100 mny retrieve
   anapp ~sident ln tablet computer 202 or other smM device              .from the command data stored in memory 502 a preferred
   as mcnt~oned previously in conjunction with PIG. 2.              '    command transmission medium (e.g,,, TR. CEC over HDMl,
       As Wtl! be a~prcciated, various other configurations are          ]P over WiFi, etc.) and a corresponding command value and
   also poss1.ble w1thour depal1ins from the underlying UCE              control protocol to be used in transmitt1ng th.it command to
   cone°!'!. for example UCE fonction LOO' may be incorpo- 30 an intended target appliance. e.g., TV 106, in a format
   rated 1010 an lute~et-capable TV, an HDMJ switch, a game              recognizable by that appliance lo thereby control one or
  console, etc.: appliance commiUld set and capability data-             more functional openttious of IJ1at appliance. By way of
   base 207 may be located at an interne cloud or a cable                 further example, the status of connected appliances, e.g.,
  sys!em headen<l, may be stored locally (in all or in part),            powered or not powered, currently selected input, playing or
  which local storage may take the fonn of internal memory 35 paused, etc., as may be discerned from interfaces 508
  within the ~ CE itselJ or in an appliance such as a TV, STB            through 514, may be monitored and/or tabulated by the UCE
  or AV receiver, or may lake the form of a memory stick or              programming in order to facilitate adjustment of appliance
  the ]ike attachable to a smal1 device or appliance; etc.               settings lo match user-defined activity profiles, e.g. " Watch
      With reference to FlG. 5, an exemplary UCE device JOO              TV", "View a movie", etc.
  (whether stand alone or in an appliatlce supponing UCE 40                  An overview of an ex<!roplary UCE control environment
 functionality) may include, as needed for a particular appli-           is presented in FIG. 6. The UCE programming of an
 cation, a processor 500 coupled to a memory 502 which                   exemplary UCE device 100 may comprise a universal
  memory may comprise a combination of ROM memory,                       control engine core 650 together wilJ.1 a scrk s of scalable
  RAM memory, and/or non-volatile read/write memory and                  software modules 652 through 660, each module supporting
 may take the form of a chip, a llard disk, a magnetic disk an 45 a particular appliance command protocol or method and
 optical disk, a memory stick, etc., or any combination                  provisioned as appropriate for a particular embodiment. By
 thereof. l t will also be appreciated that some or all of the           way of example, the illustrative embodiment of FlG. 6 111ay
 illustrated memory may be physically incorporated within                 include an internet protocol (]P) module 652, a CEC over
 the same IC chip as the processor 500 (a so called "micro-               HDMI. module 654, a Bluetooth module 656, an IR module
 controller") and, as such, it is shown separately in FrG. 5 so 660, aod other modnles(s) 658, as appropriate for the
 only for the sake of clarity. Loter.face hardware provisioned            particular application. The appliances to be controlled may
 as part of the exemplary UCB platfocn may include lR                     include an IP enabled AV receiver 6-:Z0, an 1P enabled
 receiver circuitry 504 and JR transmitter circuitry 506; an              STB/DVR 610, TV 106, DVD player 108. and CD player
 HDMT interface 508; a WiFi transceiver and interface 51 O;               408. As illustrated, certain of tJ1cse devices may be inter-
 an Ethernet interface 51 2; and any other wired or wireless 55 connected via HDMI. ll 2 and/or Ethernet 670 .interfaces. (In
1/0 interface(s) 514 as appropriate for a particular embodi-              this regard, it should be appreciated IJiat the illustrative
ment, by way of example without li mitation Bluetooth,                    interconnectfons 112 and 670 of PIG. 6 are intended to
RF4CE USB, Zigbee, Zensys. X JO/lnsteon, HomePlug.                        depict logical topography only, and accordingly details of
HomePNA, etc. The electronic components comprising the                    exact physical cabling structure and/or the presence of any
exemplary UCB device 100 may be powered by an ex1er:ia1 60 necessary switches, routers, bubs, repeaters, interconnec-
power source 516. Io the case of a standalone UCE _dev1~e                 tions, etc., are omitted for the sake of clarity.)
such. as illnstratoo in FTG. 1 or 2, this may comp11se for                   The preferred method/protocoVmedium for issuance of
example a compact AC adapter "wall warr," wbilc integrated                cotnmands to the exemplary appliances of FIG. 6 may vary
UCB devices such as illustrated in FlG. 3 or 4 may draw                   by both appliance and by the function 10 be perfoancd. By
operating power from the appl)ance into. which. they are 65 way of example, volume control and analog input selection
integrated. It will also be appreciated that 10 the lauer case,           commands 622 targeted to AV receiver 620 may be required
in certain embodiments processor 500 and/or memory 502                    to be issued via JR transmissions, while power on/off and



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                                                       US l 0,593, 196 B2
                                 7                                                                     8                               .
  HDMJ input ~election ftmctionalitv commands 624 may be                 appliances remaio ~imilar, ccordlngly, it ,~ill be _app~CI ·
  bcuer communicated via CBC c·o=an ds and ad :lOccd                     ated tbnt tJu: mctho,t~ compri ing tlw ill~stnlt~ve UCE c u~
  functionality rommand~ 626 sucb a sound field configuru•               opplicatiou presente d below in conjuocholt w1tJ1 FIGS. 8 _an
  lion nrny be best communicated via an Etherne t connection.            9 may be gcacrall y applied. muta11~ mut.audis. to various
  In a similar manner, lbe various operational functions of the          alternati ve set up upplicat ion cmboduncnt~.
  oilier appliances may best comm.anded via a n1ixture of                    With relcronce to FJG. 8, as known in the_ ~rt u toblet
  mediums methods and protocols, as illuslmk d. As will bet              computer such us the cirnmplruy device _2o:z. ol HG. 2 ~i:iy_
  appreciated, _io some instances a particula r appliance may            comprise, as needed for a particular apphcau on, u pmcc~so1
 suppon receipt of an operational command vin more thtlll                800 ,m:mory 802 which memory may compns e ii cou1bll1:8·
 one _path, for example tbe power on/off fimction of AV 10 Lion of ROM m~mory, RAM memory.
                                                                                                                       autVor u11~-vula11le
  receiver 6~0 may be avallabl e not only as a C C command,              read/write memory und may mke the form of" chi~, !l bard
  but also via au IR command. lo ucll instances, the UCE                 cti k. a 111agnetic disk, an optical disk, fl mem?ry slick. etc,,
  prefcrr ~ COl.11ll1and fon:uar may be that which has been              or ,my combipa tiou tJ1cn::of. !11 St1IUCl cmbodu ncnts, pruVI·
  determ~ ed to offer the greatest rclinbiliry, r rcxamp lc io the       sion ma)' also be mode for attochm cal of extern.ii memory
                                                  11
  a!J:ove mstance lhe CE~ eonwtan d mny be prclerrL-d ~iucc I 804 which mny iake the form
                                                                                                          ofan SD card. mcmncy stJck,
  this form ~f cornoi,md_1s 001 depcod1.:nl on line-of-sight and         or the like. Hardware provisioned os part of uu cxempla ry
  also pemuts confin.n nuon that tJ1~ action bn: been pcrfom1cd          1ablct computer platform ma)' include :lll I.. 'l) tou~hscrc~ 11
  by tJ1c target appliance,
                                                                         8\ 0 with ossocioted display driver IS06 and 1ouch mterfocc
     1n order to dctcnni ne lbe orlimw n method for each                 808; ha.rd keys 812 such a~ fot cxa1uplca ~wer_o o/olfk~ y:
  configured applian c: type and commnocl, the exemplary 20 a USB pon 816;
                                                                                                WiPi mmsccivcr and rnterinc e 818, a
   UCE core pro~ m 6:,0 mar be provisioned wiU, a preferred              Bluetooth tmnsa•ivcr and intctfacc H20: n camera 822: and
  command matnx 700, ns_ 1\lusuate d in FIG. 7. Exemplary                various olber features 824 :is uppropriate for a particala.r
   preferred command mntnx 700 may comprise a series of                  embodiment, for example an uccelero meter. GPS. ambic?t
   data cells or elements, e .g. cells 7l2, each corresponding 10
                                                                         light sensor, aear (jeld commuuicator, elc. The electrow c
   a specific command 702 and a specific one oftbeappliances 2s compon
                                                                                   ents compris ing the exempla ry tahh!t c~mputer
   to be conuolled 704. foe data content of such a cell or               device 202 may be powered by a battery-based rntemal
   element may compris e identification ofu form or .:ommand/
                                                                         power source 814 . rccbargc-<1ble for example vin U B inter•
   transmission to be used and a pointer to the required data
                                                                         face 816.
   Vl!lue and fom1atting infonnation for tJ1e specific command.
                                                                             Memory 802 may include executable instructions that arc
   By way of example , the data element 712 corresponding to
                                                                     JO intended to be execute d by \he processor 800 to control
   the ·'hlput 2" comman d 706 for the configured TV appliance                                                                         the
                                                                         operation of the tablet compnter device 202 and to imple-
   708. may comprise an indicato r that a [! comman d is 10
                                                                         ment various functionalities such as Web browsing, game
   be used. i.e .. an indicato r of ilie transmission device that is
                                                                         playing, video streaming, etc. A s is known in the art,
  to be used to comnmn icate the command to tbe intended
                                                                         programmingcomprisiat; additional functionalities (referre d
  target appliance, together with a pointer to the appropriate 35
                                                                         to as "apps'') may be downloaded into tablet comput er 202
  command data value and HDMI-CEC bus address; while
                                                                         via, for example, WiFi interface 818, USO 8 l6, external
  data clement 714 corresponding to the same command
                                                                         memory 804, or any other convenient method. Ar, discu sed
 function for the configured AV receiver 710 may comprise
                                                                         previously. oue such app may compris e a remote control
 un indicfllor that an lRcom.m and is to be used, together with
                                                                         app, for example as that described in co-pend iog U.S. patent
 a pointer 10 appropriate comman d data and fonnatting 40 applicat
                                                                                   ion Ser. No. 13/329,940 of like assignee and it:\cor•
 information within an JR code library stored elsewhere in
                                                                         porated herein by reference in its entirety, which app may be
 UCE memory 502. 1n cenain embodiments one or more
                                                                         for use in commanding the operatio n of appliances 106, J 08,
 secondary comman d matrices 716 may also be provisioned,
                                                                         11.0 and/or 120 via UCE. device 100. 1n order 10 initially
 allowin g for the use of alternate command methods in the
                                                                         configure UCB device 100 to match the applianc es 10 be
 event it is determi ned by the UCB programming that a
                                                                     4S controlled and to establish an appropr iate comma
 preferred comman d was unsuccess ful. Colllllland matrix 700                                                                   nd matrix,
                                                                         tablet compute r 202 may ,llso be provisio ned with a setup
 may also contain null entries, for example 718, where a
                                                                         app 214, either as part of a remote control a pp or as
 particul ar function is not available on or not supported by a          separately downloadable item.
 specific applianc e. Jn an exemplary embodim ent, colTl.llland
                                                                             With reference now to f!G. 9 such a setup app, upo11
 matrix 700 may be created and loaded into the memory 502
                                                                      so bciog invoked at step 902 may initially request that the user
 of UCE 100 duriog au iuitialization and set-up process, as
                                                                          place all of the applianc es to be couuoll ed into a known
will now be descrlbe d in fu11her detail.
                                                                          state e .g .. powered on, in order to enable tJ1e applian ce
     bi order to perfom1 initial co1lfigllratiou of a UCE device,         detection and/or tc ting steps which follow. Nex1, at step 904
a setup applicat ion may be provided. 1n some embodiments,
                                                                          tJw setup app may detcm1ioe the identity of those applianc es
such a set up application may take the form of programming
                                                                     55 which are CECeu abled. 'Ibis may be accomp
10 be executt!d on any conveni ent device with a suitable                                                                        lished by
                                                               user       communicating a request to tbe associated UCB, which al
interfac e and capable of establishing communication with
                                                                          step 906 which may cause the UCB program ming 10 scan
the UCE, such as without limitation a smaJ1 ~hone, tablet
                                                                          connected HDMJ devices for applia.nces which are CEC-
computer, personal comput er, se t top box, rv; etc., as
                                                                          enabled and/or identifia ble via interact ion over the HDMJ
appropr iate for a particular embodiment. ln other embodi-
                                                                      60 interface. for exampl e as described in co-pend ing U.S.
ments such a set up applicat ion may be incorporated into the
                                                                          patent application Ser. No. 13/ 198,072. of like assignee and
UCE program ming itself, utilizing for example a cow1ected
                                                                          incorporated herein by reforeoce in ils entirety, and com-
TV screen and au associated controUing device a. the u ser                municat e such appliance identities to the setup applicat ion.
iuierfac e. Regardl ess of the exact form and location of tJ1e
                                                                          Thereal ler, at step 904 the setup applicat ion may determi ne
program ming and user interface means, tJie s~ries of steps 65
                                                                          if additional uon-CEC applianc es a.re connect ed to tJ1e U CE
which may be perfon11ed by a UCE set up application when
                                                                          device via the HDMI io1erface. 111is may be accomp lished
configuring a UCE device for operatio n with a specific set of
                                                                          by requesting the UCB progrru1).llling 10 scan for any further



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                                                      US I 0,593,196 8 2
                                9                                                                     10
I IDMl conn'--clions al step 910 and co1un1W1ica1e the find-          exact selection of command method pnon·w~s        ·        mapping
                                                                                                                             o r li;bil it
io~s back to the semp application. Though not illustrated, it         may take into accoWlt factors uch connection re . . y,
will be apprccia1ed Ihm where apprnpriotc for a particular            c g, wt.red vcrsu5 wireless, bidirectional versus nm? tr~-
embodiment the UCE progrnmming may conduct similar                    ti~nal commllllicalion, etc.; speed ofcommw d ~ nsm1ss1011
s~ns to in order to discover appHanccs co110cclcd via                 or execution; internal priorities within an apph::mce, e,~·
Elhcrne1. USB. Bluctoo1h, RF4CE WiFi etc., where such                 received IP received packets processed before CEC packets.
[n1erfaces may be provisioned to a UCB.                               etc.; type of protocol suppo11 (e.g. error correct.ion ven:us
     :11.ereaftcr, at step 912 the setup application may display      error detection: :ick/nak, elc.); or any other factors which
a listing of detected appliances (both identllied and not yet         [11:JY applied in order lo achieve optimum perfom1ance of a
identified) to _the ust:r. At step 9 14, the 11ser may be prompted 10 pnrticul~r embodiment.                      .
to enter appham:e identifying infomrntion for those HDMJ                  As will be appreciated. the construc11on of satd prcfcrTed
or 0~1e"".1se connected appliances which were dewcted but             command matrix may be pcrfonncd at the ~lab?~c server or
 not 1de~t'.fied, as \~ell as idt?ntify10g information regarding      withi n the sen1p application, or .i comb10.at1on thereof,
 any addlt1ooal appl tanccs which mny limn part of the sy tern        depending on the particular crn?°dimcnl. Oncc_a preferred
 lo be controlled but are oot discovemble as described above 15 command mau:ix has been fina hzcd and stored in the UCE
 (for example appliances such as AV receiver 120 or CD                device. al step 932 a series o f desired ,,ppliaocc configura-
 player 40R which may be respo11sivc only to unidirectiona l          tions associntc<l with specific user activities may be config-
 lR :°mmaods). WiU1ou1 lim1lation, such idcntifying infor-             un:d and ~torud into the UCB device, as will b-, now be
 111a1Jon may lake U1e form of user-entered dato such as an           clcscribetl
 applianc~ rype. _brand and n~odel number, or a setup code 20              Upon completion and storage of a preferred command
  from a hsuug tn a user guide; or may take the fomt or                matrix , nn e)(emplary setup application may suhseq_ucntly
  scam1ed ? r el~ tronic inf~nnounn such as a dlgital picture of       guide n llscr thmugh a series of steps in order_lo cst:3bhsh_the
  ilie apphauce 11self or oJ a bar code, QR code., or the like         dcsir..-d applinnce configu rations for a series of possible
  associated wiU1 applianc_e ; n~ar field acquisi1Jon ofRPlD tag      activities. Wilh rt:ferencc to FIG. 10, at step 1002, the user
  data; etc., or any combrnauon tbcrc.-of as appropriate for a 15 mny be presented with a list nf possible uctlvities. e.g
                                                                                                                                         ..
  particular embodiment.                                              " Watch TV", '' Watch a movie", "Listen to music". etc. lo
      Once appropriate identifying iuformolioo has been                some embodiment , the user may nlsn he able 10 ooll nctivity
  acquired. at step 916 the setup app may coromunlcate that            titles and/or create additional user defined octivlUc . At step
   information to a databa e server, for example servt:r 206, for      1004 a user may select a particular activity for configuratloo ,
  performance of step 918, co111prising identification of aud J O for example "Watch 1V'. At step 1006,
                                                                                                                      the user may be
  retrieval of command codeset and capability data corre-              prompted lo identify the content source for the act ivlty being
  sponding to the identified appliances from a database 207            configured, for example cable STB/DVR 110 for the exem-
  and provision of this data to the setup application lo;              plary ''Watch TV" activity. Such a prompt ruay take the fom1
  processing and ultimate transfer to tbe UCE device. As will          of a listing of eligible appliances as detennined during the
  be appr(>eiated, the transferred codcsct data may comprise JS foregoing appliance set up steps; explicit
                                                                                                                       user entry of an
  complete command data values aod fonnaning information,              appliance type; etc. Next, at steps 1008 the user may be
  may comprise pointers to command data values and format-             prompted in a similar manner lo select video and audio
  tiug iuformotio11 already stored in tbe memories 502 mid/or          rendering appliances for use iu this activity, for example TV
  802/804 of ilie UCE or the clevil.-e upon which the setup            106 and AYR receiver 120 respectively. Depending upon the
  application is curreully resident, or a combination iliereof. 40 system topography and the interfaces m
                                                                                                                      use (i.e. IIDMl/
  Where necessary, for example when database '207 may                  CEC, IP, analog, ecc.) the set up application in concert with
 contain alternate code ets for an identified appliance, or            UCE progranuning may be able lo asce.rtaiu which input
 where tmcertaiury exists rega rding a particular appliance            port o r each rendering appliance is at1ached to the content
  model tlllmber, etc., al steps 920, 922, and 924 various             source appliance identified for this acti vity and/or if any
 control paradigms and/or corumaod data sets may be tested 45 ioteonediate switching appliance is in use
                                                                                                                      (for example AV
 against ilie appliances to be controlled. Such testing may            receiver 420 of the system illustrated in FIG. 4). Where such
  take the form of soliciting user response to effects observ-          infomrnlion is obtainable, the set up applicatiou may auto-
  able commands. monitoring of HDMJ imcrfacc status                     matically create all or part of au appropriato renderi ng
 changes as described for example in U.S. patent application           device input selectiOll for ilic activity being configured. lf
 Ser. No. 13/240,604, of likt: assignee and iucorporatc.-d o not, at steps 1008 and 1010, the user may be additionally
  herein by reference in its entirety. or any other mcU1od as           reques1ed to identi fy the applicable content route(s) to the
 conve.nient for a particular application. Once nppropriatc            rendering appliances. e.g~ iupu\ port number.;, presence or
 codesets bave been fully determined, at steps 926,928 and              intermediate switches, etc. During or upon eooclusfon of
 930 a suiwble preferred command matrix, for example ns                 steps 1004 through 1010, the set up application m:iy con-
 illustrated iu FIG. 7, may be constructed uud stored iota the - struct an activity matrix. for example as illustrated
                                                                                                                                  In FJG.
 memory 502 of exemplary UCE device 100. the matrix                      U . By way of example, activity matrix U00 for a "Watch
 being co11structed by considering the communic:nlon capa-             TV" activity may comprise a series of cells, for example
 bilities und functionalities of the devices identified via the         1110 or 1112. each corresponding to a desired configuration
 above-described processes.                                             of a particular state LI 06 or function U08 of a specific
      lu o rder to select the optimum command method for e.ich fiO appliance 1104 during the s pecified activity. Ay way of
 fllllction of each configurc..'CI appliance any ui1able method         example, ceU1110 may indicate that the input of AV receiver
 may be utilized, for example a system-wide prioritizaliou of           120 is to be set 10 ·•sJPD IF2". while cells lll 2 and 1114 may
 command media aud methods by desirability (e.g. apply 1P.              indicate that transport func1ion COJllJJlllllds (e.g., "play".
 CEC. JR in descending artier); appliance-specific command              "pause". "fas1 fo rward" etc.) are 10 be directed lo STB/DVR
 maps by brand and/or model; func1io11-spccific prefcren~c 65 11(I and not lo DVD 114. lo iliis regard. h will be appreciated
 and/or priority maps (e.g. all volume func11on commands via            Utat while in some embodiments the a signment of functions
 JR where available); etc.; or any combination thereof. The             such as, for example, volume control, to specific appliances



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                                                     US 10,593.196 B2
                              11                                                                    12
                                                                                                  .       1 3 UC'F.· is· mcvrporatcd
?u~~ a panicular activity may be performed withiu nn                 natively, in those embodwe~ts w_ierc                 d·- I may
mdividual contmlliug device, i.e .. the con1rnlling, device          into   an appliance.  that  appliances Jron t pane1 1,p ay
may determfoe the applfance 10 wl.ucb volWDC coutrol                 be utilitL'CI.                                 · 1 ent d·11a is
co~ands are 10 be: directed, m a preferred embodiment 1l1is               [fthe retrieved preferred con1ma11d niatn1'. e crn       ' ,.
assignment may be pcrlorrued lo within the U E thereby 5             vnlld,   at step  1306  Lhe  UCE  rnay commurucnu~      tlle coi:rc
ensuring consistency ac.ross each ac1ivity when ' multiple           spondlng function co=ind to the t~ el _appliance USIDB
                                                                     tbe indicated command v.ilue and tr:1ns01Jss1on method. e.~..
commlling devices nre present in an environment, for
                                                                     for tlie exemplary data ('[cmeut 720 this ma)'. compr!se
example devices 102 aud I 04 of the envirowucnt illustrated          . .
in FlG. 1.                                                                       CFC "power on" command to CEC logical device
                                                                     ISSU1ug a                                   .     .    508 0
                                                                  tu adclress zero (TV) via the UCE lll)MJ mterfuce              . nee
    Retumiug 110w to FIG. JO, nt steps 1014 and 1016 the
                                                                     lhe commund bas been i ·sned. nt slep ~JO~ (~e uc_E
newly-constmcted activity matrix UOO ruoy be tested by               programming may dctermu1c ir the commutu cau~11 mt_erfm:e
causing Ille UC · progr:umning, utiliriug preferred com-             and protocol used in imiing the co_m_mand provides tor ony
ma~cl matrix 700, lo issue the commands necessary In place           conJinnatlon mechanism, i.e., e1'phc1l ockn?wle~gemcnt of
U1e identified appliances into the desired stole aud thereafter 15 receipt, monitoring
                                                                                            of HDMl status on on interlace del~-
receiving verification at step 1018 iliat the desired activity       tion of a media stream or HDCP baods!Jake, _ct~ If_ nol. tor
Was successfully Initiated. It will be appr~iated lhat such          example the conunand was issued using n umd1rL'Cllonal IR
 vl!rification may comprise. fo r example, detection and             signal and no oll1cr confirmation mcru1s such as power or
 reporti ng of HOM! or ol11~r content streams and/or oppli-          input signal monitoring u. availoblc, the UCE progmmmmg
ance status by UC[: programming by directly muuitoring 21, may simply assume th:it the command was suc~cssful and
 CEC status or by u. iug mell1ods such as dcscribl'CI for            processing is complek . Ir however con_f1I01u110u m~os
 example in U.S. patent application er. No. 13/240,604;              .:xists, at ~tep 1310 the U E programming may wail to
solicitation ofu erioput confmulng correct oper.ition; !llou1-       de1em1inc 1f the commru1d wos successfully cxe(.1.1ted. Once
 toriug for presence or absence of analog inpul sig,nal ·;           positive cortfirmntloo is received, proccs~ng ~s com~letc. If
 recording of appliance Sl3tus or error 111cssuges: etc.; or a11y 2s no confirmation or a negntivl! confirmation 1s n..>ec1ved, a l
 combination thereof as appropriate for a particular cmbodi-            tcp 1312 Uie U 8 progrJmruing mny <L;tcrmine if an
  mCJ11.                                                             allernative method is availoble to commucucote Lite com-
     If te ting is unsuccessful, at step 1018 the set up oppli-      maud to 1110 target applia11ce. Returning to the specific
 cation may return 10 step I002 to allow recontis uration of         example presented above this may comprise acc~si~g a
 LIJDI nctlvity and/or definition or alternative activities. 1f ·10 secondary command matrix 7 16 in order to determine 1f an
  testing was successful , at steps 1020 'and 1022 ilie completed    alternati ve communication mel110d is available for the spe-
 activity matrix, for example 1100 as illusuated in FIG. ll,         cific function. e.g., "TV power on: · If an alternative docs
  moy be transferred 10 the UCE 100 for stor.ige in UCl1             exist, at step 1316 L11e substitute command value and trans-
  memory 502. 'Jliercafter, at step l 024 L11c u er may be           ruJssion method may be retrieved and processing may return
                                                                  35 to step 1306 to initiate an allemative attempt. Returning
 offered L11c opportunity to return 10 tep 1002 to define
                                                                     again to lhe specific example. if tbe CEC "power oo"
 additional activity configi.1rations, for example .JJ 01.1102 as
                                                                     collllllaud corresponding to data clement 720 or matrix 700
 ill\Jstratl!d in FIG. 11 or lo exit the 3ctivity configuration      issued to TV 106 cannot be co11fim1ed1 an lR "power on"
  pmcess.                                                            command encoded accordiug to STRCS (Sooy lnfrared Con-
     Willi reference uow 10 FIG. 13, the series of steps 40 trol System) in correspondence with the
                                                                                                                     equi valent cfata
  perfonued by the UCB progran1ming in order to convey a             element in secondary matrix 716 may be :nte.mpted as a
 functiou command to an appliance in accordance witll a              substitute.
 command request 1300 received from a controlling device                  In addition to relaying individual command requl! ts as
 such ns remote control 102 or 200, smart device 104 or 202,         describetl above, an exemplary UCE may also support
 etc .. or in accordance with an intemaBy generated require- 45 activity selection, whereby receipt of a single user request
 mentresulting from receipt ofan activity request (as will be         from a controlling device may cause a series of coum1ands
 described hereafter) may initially comprise retrieval from a         lo be issued to various appliances in order to configure a
 preferred command matrix Llrnt data clement which corre-             system appropriately for a particular user acti vity, sucb as
 sponds to ilie requested command and target appliance. By            for example, watching television. To this end a set of
 way of spc.-cific example. receipt of a "TV power on" reqnest 50 matrices defining desired equipment states suitable to vari-
 from remote coutrol 102 or lbe like at a UEC provisioued             ous activities. for example as illustrated at U00 through
 with L11e preferred command matrices illustrated in FIG. 7           1102 of !'JG. 11, may be stored in UCE ml!mory 502 for
 way cau e retrieval of data clement 720, indicating that the         access by UCE programming when executing such a
command is to be communicated to the TV appliance, e.g.,              request. As illustrated in FlG. U , in some embodirucuts the
 televi ion l 06, using ao HDMI CEC command. At step 55 programming of an exemplary UCE may maintain an addi-
1304, Lbc UCE programming may detcm1ine if the retrieved              tional matrix 1200 representative of the current state of the
value constitutes a null element. If so, the referenced appli-        controlled appliances arrnngcd for example by appliance
ance: docs not support the requested command and accord-              J 202 and by operational state 1204. By way of example, data
ingly at tcp 1314 an error message may be generated and               elements 1206 and 1208 in the illustrative table 1200 may
tl1e process lhereaftt-r tcnninated. As will be appreciated, ilie 60 indicate that TV I 06 is currently powered 011 (1208) with
exact uature of such an error message may depend upon the              HDMI port number 2 selected as the input (1206). The data
particular embodime~t and/or the re_q1_1esting .coolrolling            contents of the elements in such a table may be maintained
device: for example, 1f ilie request ongmated from a con-              in any convcnh:nt manner as appropriate 10 a particular
trolling device which is in bidirectional conummication with           embodiment, for cxan1plc without limitation retrieval of
the UCE Lhe error may be conuuunic~ted back to the 65 llDMl/CEC status; monitoring input media streams and/or
rcquesling device for action, i.e., display 10 the_user, illu-         llDCP status; measuring power consumption; construction
minate a LED, activate :i buzzer, etc. as appropnatc. Alter-           of a simulated appliance talc such as described for example



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                                                     US 10,593,196 B2
                               13                                                                  14
   in U.S. Pat, No. 6,784,805: etc.: or any con1binmion thereof.     eliemplnry UCE progrnmmlng m:1y ~et an 1_u lcmal s1a111s "'
   lo the case of cert;:iiu appliances. such ;is for cxnm ple AV     indicate that foruro volume control comomnd requests (c.l!,
   receiver 120 which may be controllable only via uoidlrcc•         volume up/down, route) slsould be routed t,, Av rece1v.:r
   tional JR, the current state of the appliance may not be           120, 11 iuclia,ted by elomcut l1 11! of matrix 11 00. wh.-ro
   discernible. In such cases, a oull data element 1210 maybe        ,1fter proce,slng; of the nctivlty request is complete,
   entered into exemplary matrix 1200 to indicate tbat Uu~                As noted abovt', t!Je c11cinpl11ry UCli may :ils,, suppori
   appliance may require configuration using discrete com-           activity ~election. whereby rccc1pl of a single ,,~er request
   mands otlly and/or user interaction. As will be appreciated,      from n ~mnrt device may c3mc a series of coOJJDOnds to be
   in some embodiments the data content or tl1c illusthltiw          is~ttcd to vuriou, applil.Lllc~s in onlcr I(> cor.uigure a system
   table may be maintained in memory 50;2 oo an ongoing busi · 1o sppmrrialcly tor llni; ur more uRcnictivitie~ .. nuh a. "wntcb
   by UCB programming, while in other embodiments tbis dato           TY," "wntch mov,e.'" ·•n~ten to music," etc. To oenip the user
    may be gathered "on the By" at the timl! the activity requt::lt   interlucc of tlu! <truirt devic~ tc.> . tppc.>rt suc11 macro com-
    is being processed. Combinations of these method. mny ols<J      mand functimmhty, Jo exemplary mcl11od is illustntted in
    be used. for exiuuple "on the fly" gathering for nppliances       FIG IS. More.: [lMliculru-Jy, with reforeuce to FIG. 15, vpon
    connected vla an HDMl bus combined witb muintl!nauceof 1, mvoc.itlmi of a setup am, ·11 step 1502 n user may be
    a simulated slate for appliances controlled viu IR signals.       roqu~ ll<d lo placu all of Uic 1lppliances to be cooLrolled into
         In order to configure a group of appliances for a desired    II l-nmv11 stale, c.g,. powered nn or 11lre:idy joined in a
    activity, UCli programming may compare a desire~ slate            1\fiic!Cl;~ network, in order lo t'nnblc the appliance delectioo
     m<1trix, for example 1100, to a cum:nt state matnx, for         and/or te:,tiug, steps which follow. Next, at step 1504 the
     example noo, element by element, iss\Jing commands ns 20 ·etup app moy detem1lm: the identity llf those appliances
     necessary to bring appliances to the desired state. By way of    whioh are CfiC-enabled or IP cu~blcd. TI1is may he accom-
     example, an exemplary series of steps Wllich may be per-         plished by com1nu1ticatii\g a request to the associated UCB,
     formed by the programming of n UCE in order lo effect a          whicli UI steJ:) l506 ruoy cau e tl1c UCE programming to scan
     "Watch TV" activity configuration will now be presented in       connected HDMl devices lbr oppliauces wh ich arc CEC-
     conjWJctioo witl1 FIG. 14. For the purposes of this example, 25 cnabled and/or identifiable via in1eroction OVl.!r the HDMl
     the reader may also wish to reference the equipment con-         interface, for example as described io co-pcndi.ug U.S.
     fi1llll"~lion of ·FJG. 1 and the activity and current state      patent application Ser, No. 13/ 198,072, of like assignee nod
     m°;;triccs 1100 and 1200 of FlGS. U and 12.                      incorporated herein by reforence in its entirety, and com-
         Upon receipt of o "Watcll TV'' request 1400, at step 1402    municate such appliance identities to the setup application.
     the exemplary UCE progr.unming may access an applicable 30 Next, at step 1508 the setup app may also determine if tbc
    appliance state matrix 1100. Next, at step 1404 it may be         appliances llas any associated icon information (for example
    detennined by t11e UCE progranuni:ug wlletlier the present        stored as metadata on the appliance, available from a remote
    "power" state of TV 106 as indicated by current stale matrix      server, or the like) as well as information related to interface
    J200 matcbes the desired state stored in the corresponding        connection types, e.g., Wl-Fl, HDMl input/output, for use in
    data element of matrix 1100. If the states match, processing 35 the creation of supported macros. 1f the icon infommtion is
    may continue at step 1408. lf tl1e states do not match, at step   available, the icon information may be sent to the smart
    1406 a ''power on" command may be communicated to TV              device by the appliance and/or retrieved by the smart device
   106. As will be appreciated from the earlier discussion in          using other infonnation provided by the appliance as appro-
   conjunction with FIG. 13 aod iu.spection of exemplary               priate as sllown in step J526. An icon corresponding to the
   preferred collllll.aud matrix 700, in the illustrative system 40 icon information may then be automatically ~dded to llle
   communication of tlie "power on" conunand to TV 106 may             user interface of the smart device whereupon an activatlon
  comprise a CEC command issued over HDMJ connection                   of the added icon may be used to provide access to command
  112. Next, at step 1408 a "mute" command mny be com-                 and control functionalitie associated with the correspond-
  municated to TV 106, since element 1116 of illustrative              ing controllable device, including commands in the fom1 of
  matrix 1100 indicates that TV 106 is not the primary audio 45 a listing of automatically generated macros available for tluit
  rendering appliance. In accordance witll preferred command           controllable device as described below. ·[bus, icon informa-
  matrix 700, communication of the "mute" command to TV                tion provided to the smart device may be used in connection
  106 may comprise an JR transmission ll4. 111ereafter. at             witll information stored on the smart device, stored in tile
 steps 1410,14U the active input of TV 106 may be set to lo            internet cloud end/or at a remote server to automatically add
 "HDMll" via a CEC conu.uaud, and a( steps 1414,1416 a 50 an icon to the user Interface of the smart device where the
 CEC "power Ott'' coJlllJland mny be communicated to STB/              icon can be in the form of ll logo for tl1e controllable
 DVR 110 if that appliance is not alre:1dy powered Oil. At step        appliance, icons in the form of logos for content (e.g..
 1418, l11e excUJplary UCB programming may set an internal             television station logos) that can be accessed v ia the con-
 status to indicate that future transport command requests             trollable appliance, etc, In a further illustrative embodiment,
 (e.g., play, pouse, FP, etc.) should be routed to STB/DVR S5 icons may function as so fl keys which may be selected to
 110, as indicated by element IU2 of matrix ilOO. Therea f-            cause the performance of o furtl.ter action for example to
ter, at steps 1420,1422 a C6C "power off'' command may be              display a device contml page (e.g .. to present televisio11
communicated lo STB/DVR )08 if that appliance is 0 0 1                 control soft keys such as channel up, channel dow_n, etc.),
already powered off. Thereafter, at steps 1424 and 1426                cause the transmission of commands, etc. as described for
"power oo" and "input S/PDJF2" commands Diay be com- 60 example in U.S. patent application Ser. No. 10/288,727,
municated to AV receiver 120 via JR signals, As will be                (now U.S. Pat. No. 7,831 ,930~ o'. like ~ssigoec and incor-
appreciated, it may not be possible to determine the current           porated llerein by reference m. sis enllreiy, ~r any other
status of AV receiver 120, as indicated for example by                 method as convenient for a particular apphcauon.
elements 1210 and 1220 of matrix 1200, and accordingly                    Tiie setup application then continues to step 1510 (after
so-called ''discrete,'' or explicit, function commands may be 65 scanning for CEC connected appliances as discu~scd_abov~)
issued which may establish the desired status regardless of            whereat the setup application may next detemuoe if addi-
the current state of the appliance. Finally, at step 1428 tl1e         tional ooo-CEC appliances are connected to the UCE device



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                                               US I0,593, 196 B2
                           15                                                              l(j
 vio Ut" Hl)Ml intcrfoce. nu.~ IIUIY be .iccumplishcd by cu11sU'\lclc<1 by con;icltlriUl!, the l!llITT0111nk'llt1011 c;i1mb1lil1c,
 requestiog Ille UCE progrommiog to scan for any funh~r                         aru:I fuu(;lionn\i1 ic• uf Ulc device~ 1tfon11Aoo vi,1 lhc nhcwc•
 HDMl CQJUlection~ ;n step 1512 rui<l conununi<::nc the                         rlcscrihc1I l'f'OCC.'\.<.c~
 findings back 10 !he setup application. Though 1101 illus-                          rn oroec ll' select tbc r,11tilllUW 1.:.:,,11mund mctl,"J fM <!'J , b
 tratcd. it will be appl"L"Ciatod lrull., wbCI'\: appropriate for O ~           t\.u11:t1µu ,,r ..,,d 1 configured ilppllu11ct: uny su1111hlL· mcUuxl
 p.:uiicnlarcmbodiment, the UC-6. pro_g.rauimins may C(lntluct                  runy be 111iliL~-d. h,r ci.~mph:" ~)slcm-w 1dc pnnrilrroliuu uf
 $urular scans ·m order to dis~nvct appliance~ conncc:i...'<I viii              comm.and mc<l11111nd mt.'1hodri hy de.\ir11hll11y (e.g. ,1pply tr,
 Elhemcl. USR. 131uctoolh, Rf'4CE. W1Fi etc,. whcrt: such                       C\..C-, 1R 111 ,lcscending order): upplia11cc-!pi:c1ht.: lWJ1ITTur1J
                                                                                mnps by hmncl ,md/01 ml'ldel limcti11u-11pccilic:- prefm,'11c:c
   iatei-foc~s may be provisioned ro "tlCC!.                                ll' and/or pnorily mur ~(e S Hll vohunc.- f1111c.hon eu11110t11Klr, ' m
       Thefl!3ftcr. a1 RtC{I 1514 the sctupapplica1ion nrny disrln,y            TR -..•li= uvailnhlc); etc . or uny c,imblll~ll(1n 1111.:f\., .f 1'111!
   a lisli.llg of dc11x:1cd applillliccs (both id~nti1ir:<l 1111cl 110\ ye1     cxAd ~clccih,n nf commnnd 111~thntl 111forilie~ ,,r m:ipJ11nl!
   identifled) to the usct At step 1S16, Ilic user may then be                  may take rnto au:uunl lisclor such t'•Uin.:choa ~•h~hihty,
   prompted to enter aprliancc idcnlU)'UJg i11fonnu11on for                     c-i.;. wlri:d 1 ~rsll~ wuch,ss. l1tJtn <'UuU11! 1uall!, 111111hrcc~
    those l lDMl or 01herwise coll.l.lectcd nprlionc:cs which were Is iional c<.1mn,unil"'.it1un, c1c., s(M!L-d 11l ,·011111u1td tm1bruts~100
   detected but not idcm16ed, as \\'ell '(is identifying infonn.1•              or c.x-.'C1l11,m; 1oll!n1nl rrforiti," w1th111 ,u, ;,ppU,incc. " I,\,
    tion rcgardio11, any :iddilion~l appliartccs which may fonu                 received u• lt'Ce\VN p~sl:,m; pm.:.:!-Scd h..-f,,n : Clir p:.ickcts.
    part of the $)!Siem 111 be comrolled b\11 whi~b w"r~ oot                     etc.: type of pr,1locul illJltl(ll't (I.!!,! ei1c,1 co1TtC'l11 11 u:rsll.l,
    discoverabl" as described nbovc (for ex:imr,Je ~I'J'liaoce1,                L'rrur d<'l<'(liou; m:k/o.ik, i:!tt: .): ur auy n1llor f.1.:1, u wlu~h
    such ns AV recciwr UO or CD rlnycr 401! whicb uiay be .!I' may uprlicd in ortlur 10 .1cl1ic1•c 1>ph111w11 pt!tlll1m:iric.: 01 "
     responsive only to wildin..-ctional IR co111man<ls). \Vithoul              purlictl.lru- cmb,.,d.imcnl
     limitation, such ideotifyUJI; infnrmplion may take the rom1                     As will he appro:i:11L-rl. lhu cons1rnc1im1 ur said user
    or uscr-,mtc.red dnln sucb a~ an oprlinnce 1ypc, br:iltd and                prunlt.: J 524 111uy be pcrfnnn<"d ur tl1e dil1ut..a.-~ ~et\'t:t o~
    model number, or n setup codufmrn a liscfog wa u$Cr suitlt;                  wi1hln 1hc scmp nppltcarion, or a cmnh11u1ion thcm~J.
    or may take the fonu of scannl?d or clcctrouic infonnalinn                   dcpcnJing on l'hc particulur cmbodi.Inenl
    sucb o.~ a di!:\ital picmre of the appli1incc ilsclf or of-a b:lr                While v11rio11s coocep1s have hccn clc.scribe<I in cle1nil, iL
    <:<,de, QR codl', or the u'ke asrociatcd wi1J1 nrplianoo; near               will be appn:cia1<"'1 by those skilled in lhc art that various
    field acquisition of RPlD 1ag dota; MAC ad~s. me.; or any                    modilk:itions nnd ahcru:nivcs to tbos~ cooc1.1)LS could be
    combinniion thereof os approprintc for n particular cmbudi-                  developed in U!!,ht oflhc 011crall tcachi11gs of lhc cfaclos11re.
   IDenl.                                                                   Ju l'or example. io an n!leruate embodimecit uf l,JCG fuoctina•
       Once -:ippropriatc idcu1ifyiug infonn~1ion has becu                       a1i1y, in place of a prcfc1Tcd oommond ma1rix s11eh as
   acquired, Ol seep 1518 1be setup a.pp IIl.3Y cooU11uuica1c that               ill11s1mtcd lo FIG. 7, tl.m prOJ:!.l"drnming of an cxemplury UCE
   infonn:11ion to tJ dtit..bascscr,1cr. for cxrunple serve-r 206, for           may uliliLc a cuuuuand prioriti:r.mion 1is1, for CX3lllple u
   perfonnauceof Step lSZ0 in which. the da1.tba.se server uses                  prioritizat.iou list "lP, CBC, JR'' 01.ay cause 1hc \JCP. pro•
   the identification infomtalion lo retrieve ito11 information as v; gralll.llling to !ml determine if the requested 1.:(lm111nnd cou
   needed (e.g .. when such dara was nol ob11u.aable from !he                    be issued using lorcrtJc~Pl:01ocol, 011ly if nm, 1hcn detenn.ioe
   applianci?), comnumd iu!orrnation as discussed p~•ious)y,                     if Ute requested com.lll:lhd can be i:;Jrucd using a C:EC
  .and in step 1522, lo autoruaticnlly ,generate macros which                    command over tho HDMl interface. :md only if 11QI, then
  corre,;pood to I.be appliance or a pl11rnJity of .ippliances                   a11emr1 IC'> issue the requ-,stcd colllll1a11d vi:i an infrared
  considering 1hcir capability daln as maiuwiued io o dahtbase 40 sig,na.J,,. Such a pnoriti:r.a1ion rellects an e,cumplary prclcrence
  201 and/or as retrieved from the appliances. Any sucb data                     or using bi-d.itectiooal communication prota<:ols over uui•
  gathered fn,m OQdlur qculcd by tbe server 206 will 1he11 Ile                   directional communic:ition ptotoools over line of s ight cum·
  provisi!loecl 10 lhc se1ur application for processing nod                      1n11nic&1ion prolocols, e.1c1 .. I.R. Wb(:Jl supported by the
 ultimate 1.ransfer to the sman devic.e ancl/ot UCB a:. 1\.--quircd.             i111ended target appliance.
 As wlll be oppro::iated. the trausferrod information and!or 45 Furuier, while descnlied in the context of fu11ctional
 meiadarn may comp.rise complete conunand data VAlues,                            modules and iUusu-atL'Cl usio~ block diayam fornrnt, it is lo
 appliRnce iop111/output darn and current s111tus, fo mIBltinp,                  be understood ililll, unlcs$ othenvise swto.:d to the t-on1r:iry,
 information. pofoscr.; 10 command darn values w,d form;,l•                       one or more of the dt:l>'<:ribed lunc1ions and/Qr foarures may
 ting iofomJ.ation already stored in the memories 502 and/or                      be integrated in a sing.Ii: physical device and/ot a £oClwru-e
 8011804 of the VCt:: or Use device upon which tile setup so module, or one or more fu.rwlions anti/or features mity be
 application is currently resident, etc. Where necessary. for                     i.Jnpll.!Ol(!.Qlcd in sepnrnte pbyr.ic::tl devicl'S or soJhwre mud-
 example ,vhen database 207 may contain altemate codc.se1s.                       ules, H will also be appreciated Lila.In detailed discussion of
 icon roetadti~. or macro inforuu11ion for an idl!lltifled eppli·                 lhc acrual implemcmation of each m~1tlulc is not nec:esslll)'
 nnce. or wbel\! unc•:rttlioly 1.'Xists regarding a pllflicular                   For an cnabli.ng undemanding of \he ilWeotion. Rather. the
appliance model number, elc,, at sleps 1S28. 1S30, and 152'2 ~ aCllml impleooent.lltiou of such modules ~vould be well
various control pruad.ig,ms aocl/or command data sets may be                      within 1he routine sltill of an cngj11ccr. given the disclosorc
tested against the appliances to bt cootrolk'Ci. Such lesliag                     herein of the nutibutes, functionalil)\ rmd inrer-relalio.nship
may 1akc lhe fonn of soliciling user response to effects                          of1he v;iriot1s funct.iowl modUICl\ in the6)'stem. T~icl"orc.
observable collllllands, muniroril.lg of HDM I interface stafUs                   a person skilled in the ru-1., applying oroinary skill, will be
ch1111ges a5 described for example fo U.S. patent :1pplication w able to prnc1ice the invention SCI forth in the clnims without
Ser. No. 13/240,604, of like assignee and incorporalcd                            undue experimentation.. It Will be additionally 11pprecia1ed
herein by relereuce lo its entirety. or any oilier method as                       that the pnrticnlur concepts di.scloscd are tu~lll 10 be illus•
conveuienl for n particula.t appli'c.:ition. Once appropriate                      lrativc. only an<l not linilting as to lhe $Cope of lhe invention
codesets IUld macro operations b1.11,1c bcco fully detcmlincd.                    which is to be given the full btea<lth uf the appended claims
al step, 1528 and 1530 n suiJoble pr~fom..-<l user profile I524. M and n11y eq111valems U1ereAf.
may be constn1c1ed anti stored i1110 tlic memory 50'2 of                              All patents cited within this docl.Jnlent are hereby iocor-
exemplo.ry UCEi device 100, the uso.:r proule 1524 being                           pormed by reference in their eutltety.



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                                     17                                                                               18
      What is c lnimed is:                                                             _9. Tb~ !in,1mcdia_dcvtcc us rcc-iwd ia clnirn II, whcrciil llll.:
      1. A lirs1 media device, comprising:                                        ,~irL-d ~?~m\Jn1ca11011s ~mtocol C4;>mpn, cs a Cun~um...r
      a processing, device;                                                       Elcctro111cs Cllntrol _(Cllt ) COU1m1m,cu liorns pmtncol.
                                                                  ications              IO._Titc First mcd1:, dcvi~ as n.-citL'd 111 clc1im II wb . .·
      a liigh-dcfinilioo multimedia interface commllll
                                                                                  the     \\lucless c~n11?"1unicat1<1n protocol co,npri~e1; 01; , ~ :
         port. coupled Lo the processing device. for cou11nuni- < (JI() N nur1un1cn111111s rrolocol.
         calivcly coo.nccting the first media device to a scCQntl                       J1. TI1c _lirs1 media device os reciter! m claitu 1. whcix:in
         media device;                                                            the tr.\osmlltcr compri es n r.1rlio lr1.-gttc11cy (Rf:) tran~millc r.
      a transmitter, coupled to Lhe processing device, for com-                          12. TI1e first m,'<fla dcv,ce as rL-ciLl.'tl in clnim l. whcrcitt
         municati    vely  coupling   Lhc   first   media   device      to   o w ~,c n_rst Jam pro~1d1,.-d to the firsl ml-dla device comptiru
         remote conlrul device; uod                                               identity d:ua n.'C1:1vccl fmm the Rtcond m~din clcviro.
      a memory device, coupled to tbe processing device,                                13. Tho fin,t wcdio device~. 1-.~--it"d I.Jt ,·fai.ru I, wllcr"iu
         having stored thereon processo        r executab  le instructio    n:    the      l\rst _dal? proVJdL'fl 1,, lht> firs! m•-dia device n•mpri>c~
      wherein the instn.1ctious. when executed by the processin              g    da1    a   md1Ci11tvc of .t ~ueccs::s 31.itn~ uf u test command lhnl
                                                                                  Wps transru.inod to the st'-<111cl ruc'<lin dcviC(l
         device. cause the    first media  device    to be  conligute    d  to
                                                                                         14. Tiic f1CSL medm dl'V1Cl' 11 recited in
          transmil a first command directly to the second nledin ts tl1e test cOrnmnml is t.r,.umuitll.'<l tc, the M!COtld meclin dcvkc
                                                                                                                                       "'"'°'   Ll , v. b,.'11:iu
          device. via use of the hlgh-deliitiliou mullimedia com-                 by the first medii! device via u~c or tlte higb-clcli 11itfon
          ruwiications port, to control :u1 operational functiuo or
                                                                            10    111ulti111cilia intcrf;ict> communicutiort• rwc1.
          the sccoml u1edia device when n first data rrovidcd                            15. The first Olcdia device :ts rccltccl ih clai111 J3. wl.Jerein
         the first media device indicates that the second media                            test comruaoJ compose~ a conun~nd trJn.qmiued 10 1cs1
                                       e  to   the  Orst coruruanc    l, and   JO  the
         device will be responsiv
                                                             d to trpnsmit        a     volume       fUncliooa.l opcr:itiou of the second tnl-dia device.
         c:nJse the first media device to be configure
                                                                                         16.    111c  first media device as recited in claim 12, w!Jeroin
         a s1."Cond data to a remote control device via use of Ute
                                                 ng  Lhe ~m01    e  conlrol       tJ.1c     first   clata provided to tbt: first tuedfa clcvicc tunller
         trru1_5mi11er, for u_sc in  configuri
                                                                                  comprises clntR indicative uf a succcss smlus of II t~t
         device lo tra_nsmll ~ second command directly 10 tl1c 25                                     lhat was trunsmill (:d to the second media dt"Vice.
                                                                                  command
         second mcdiu device. via use or a communicative                                              fus1 media device as recited iu claim 16, wlicrci1l
                                                                                         17,    The
         coo.nection between tbe remote co,urol device and 1he                                    command       is transmi11ed to the secoad mcdin device
                                                   1bc operation   al  func-       the     test
         s_ccood media device. to control                                                         first   media     device via use of the bigh-dc!i nltion
                                                                                  by       the
         uon of the second media device when the first data                                         ia  iuterfacc    cornn1unicatiot1s port.
                                                                                   multimed
         provided to tbe first media device indicates thal the ~                                      first  media   device as recited in clatm 16, wbcn:iu
                                          be  unrespon   sive  to  the   tirs1           18,    The
         second media device will                                                                 command       comprise   s a cornmaad tronsmiltl-d to test
         command.                                                                  tJ.1 c  test
                                                                                   a    volume       functiona    l operation  of the scwod media device,
      2. The first media device as recited in claim 1, wherein the                              T!Jc  first  media device as recited ill claim 1:l, whert!in
                                        s  a  medi:i   source   device     for           19.
  second media device comprise
                                                                                   the iostructioL1s cause the first media de.vice lo be cOufi.l,IUfc d
  t11e first media device acting os .i media sink device and 35
                                                                                   to    monltor Lhc high-definition mullimedia interface commu-
  wherein the first media device ~ceives media dato from the                                  ions port for a status and wherein the. da111 iodica1jvc of
                                     of  the  Wgh-defi   nition  mullime-          aicat
  media SuUrCe device via use                                                      the     success      s1ntus of the test command that was trans mined
  din inlcrfoce communications pon           .
                                                                                   to    tl1e   second    media device comprises data indicative of the
      3. The llrst media device as recited in claim I, wherein the                                             of tlu, high-definition multimed ia interface
 ;:~~c~:1t!~~!c:i::::~ a;::ta
                                                                                               orecl   status
                                                     :!:~e~ ~~:~r       !:         ruoni1
                                                                               40 comrnuaications port.
                                                                                         20. The first media device as recited in claim 16 wherein
 wherein the first media device transmits media data to the                        the     ins1;uctio ns ~ause the first media device to be c~nfigured
 media sink device via -uso oflhe high-definition multimedia                        to   morutor       the high-definition mullimed.ia interlace commu-
 interface communications pon .                                                                      pon    for a status and wherein the da1a indicative of
                                                                                   llications
     4. The first media device as recited in claim 2, wherein the 45 the success status of the test command that was transmitted
 media sink device comprises a video rendering device.
                                                                                    to ~ second media device comprises the data iod[cative of
     5. 171e firs t ruc<lia device as reci ted in claim 2, wherein the              the     monitored starus of the high-dcfinitiou multimed ia inter-
media sink device comprises a sound rendering device.                               face       communications port .
     6, Tbe first media device as recited in claim 3, wherein the                        21.     Th~ firs t media device as recited in claim 1, wherein
media sink device comprises a video rendering device.                          50
                                                                                    the     func   ttonal operation of the second media device com-
     7. The first media device as recited in claim 3, wherein lhe                   prises a volume functi onal opcrntion of the mcclia sink
media sink device comprises a sound rendering device.                               device.
    8. The first media dev'ice asrecited In claim I, wherein the                          22. The firs t media device as recited in claim 1 wherein
first coWD1ao.d comprises comman d data fonnaned fortrons-                          the      functiona l operation of tl1e second media de;ice com-
mission using a wired Clllll.Jlltmicatioos protocol and tbc 5., prises a puwer fu nctional operation of lbc media sink device.
scconcl command comprises commood data form atted for
tr.uismission using a wireless corumuuicatloas protocol.




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                                                                    Appx674
                   Case: 22-1386               Document: 21            Page: 309             Filed: 06/15/2022



                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 10,593,196 B2                                                                                      Page 1 of 1
APPLICATION NO.             : 16/197748
DATED                       : March 17, 2020
INVENTOR(S)                 : Paul D. Arling

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:



         On the Title Page

         Item (72) Inventor: add --Brian Barnett, Oakland, CA (US)--




                                                                                     Signed and Sealed this
                                                                               Fifteenth Day of December, 2020


                                                                                                      Andrei Iancu
                                                                               Director of the United States Patent and Trademark Office




                                                            Appx676
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                      CERTIFICATE OF COMPLIANCE

      The undersigned certifies that this brief complies with the type-volume

limitation of Federal Rule of Appellate Procedure 32(a)(7)(B). The brief contains

13,676 words, excluding the parts of the brief exempted by Federal Rule of Appellate

Procedure 32(a)(7)(B)(iii). This brief complies with the typeface requirements of

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proportionally spaced typeface using Microsoft Word 365 in Times New Roman 14-

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                                             /s/ Matthew J. Rizzolo
                                             Matthew J. Rizzolo
                                             Counsel for Roku, Inc.
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FORM 31. Certificate of Confidential Material                                          Form31
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                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                    CERTIFICATE OF CONFIDENTIAL MATERIAL

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